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10                      UNITED STATES DISTRICT COURT
11                    SOUTHERN DISTRICT OF CALIFORNIA
12
     IN RE:                         Case No. 3:17-CV-00108-GPC-MDD
13
     QUALCOMM LITIGATION,           [Consolidated with Case No. 3:17-CV-01010-
14
                                    GPC-MDD]
15
                                    FINAL PRETRIAL CONFERENCE ORDER
16
17                                  Judge:    Gonzalo P. Curiel
                                    Dept:     2D
18                                  Date:     November 30, 2018
19                                  Time:     1:30 p.m.
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      FINAL PRETRIAL CONFERENCE ORDER              CASE NO. 17-CV-00108-GPC-MDD
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 1         Pursuant to Paragraph 10 of the Court’s May 21, 2018 Amended Scheduling
 2 Order Regulating Discovery and Other Pre-Trial Proceedings—Non-Patent and
 3 Patent Claims (Dkt. 508) and Local Civil Rule 16.1, Apple Inc. (“Apple”), Compal
 4 Electronics, Inc.; FIH Mobile LTD.; Hon Hai Precision Industry Co., LTD.; Pegatron
 5 Corporation; and Wistron Corporation (together, the “Contract Manufacturers” or the
 6 “CMs”), and Qualcomm Incorporated (“Qualcomm”) submit the following Final
 7 Pretrial Conference Order.
 8         NATURE AND SCHEDULING OF TRIAL
 9         The parties have different proposals as to the nature of trial, which are set forth
10 below.
11         Apple and the Contract Manufacturers’ Position:
12         Apple and the CMs respectfully request (i) that all causes of action and defenses
13 that are triable as of right to a jury be tried to a jury; (ii) that the same jury be
14 empaneled as an advisory jury for all claims or defenses that must ultimately be
15 decided by the Court; (iii) that trial begin on April 15, 2019; and (iv) that the Court
16 allocate 14 court days for trial, not including jury selection, split according to the
17 proposal below. Apple and the CMs object to Qualcomm’s proposed allocation of
18 time, and specifically object to Qualcomm’s proposal that it be granted more trial time
19 than Apple and the CMs. Apple and the Contract Manufacturers propose to divide
20 any time for opening and closing arguments three ways between Apple, the Contract
21 Manufacturers, and Qualcomm, and to divide time for witnesses and evidence such
22 that 60% is allocated to Apple and the Contract Manufacturers and 40% is allocated
23 to Qualcomm.
24         Apple and the CMs propose (i) that the order of opening statements shall be
25 Apple, Qualcomm, and then the CMs; and (ii) that the order of closing statements
26 shall be Apple, the CMs, Qualcomm, the CMs’ rebuttal, and then Apple’s rebuttal.
27         The parties have agreed that for each witness a party calls for live testimony at
28 trial and who is on another party’s witness list, the party calling the witness shall also

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 1   make the witness available for live direct examination by such other party. Apple and
 2   the CMs propose that:
 3               1.     For each such witness, the calling party shall conduct its direct
 4               examination, followed by each other party’s respective combined direct
 5               examination and cross-examination (which, for the avoidance of doubt,
 6               shall not be limited to the scope of the calling party’s direct
 7               examination). The other parties shall then conduct their respective
 8               combined cross-examination and re-direct, if any, concluding in the
 9               calling party’s combined cross-examination and redirect. Any further
10               questioning shall be at the Court’s discretion. For example, if Apple
11               calls a witness for live testimony who is also on Qualcomm’s witness
12               list, the order of examinations shall proceed as follows:
13                            Apple’s direct examination
14                            CMs’ combined direct examination and cross examination
15                            Qualcomm’s combined direct examination and cross-
16                      examination
17                            CMs’ cross-examination and redirect, if any
18                            Apple’s cross-examination and redirect, if any.
19                            Further questioning as permitted by the Court.
20               2.     In another example, if Qualcomm calls a witness for live
21               testimony who is also on Apple and the CMs’ witness list, the order of
22               examinations shall proceed as follows:
23                            Qualcomm’s direct examination
24                            Apple’s combined direct examination and cross
25                      examination
26                            CMs’ combined direct examination and cross-
27                      examination
28                            Qualcomm’s cross-examination and redirect, if any.


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 1                              Further questioning as permitted by the Court.
 2           Qualcomm’s Position:
 3           Qualcomm respectfully requests (i) that all causes of action and defenses that
 4   are triable as of right to a jury be tried to a jury, while all other issues be decided by
 5   the Court; (ii) that trial be set to begin on February 11, 2019; 1 (iii) that Qualcomm be
 6   permitted 6 days to present its evidence and 6 days to respond to evidence presented
 7   by Apple and the CMs (for a total of 12 days), which, in addition to the 8.4 days
 8   requested by Apple and the CMs (on which Qualcomm takes no position), would
 9   result in a trial of approximately 20.4 days, not including jury selection; and (iv) that
10   Qualcomm receive half of the time permitted for openings and closings, i.e., that
11   Qualcomm receive the same amount of time for openings and closings as Apple and
12   the CMs combined; (v) that the order of presentation of opening and closing
13   statements be Apple and the CMs first, followed by Qualcomm; and (vi) that live
14   witnesses who are on both sides’ witness list be called once, at which time the non-
15   calling party can conduct its examination of the witness.
16           STATEMENT OF THE CASE
17           The parties have agreed on the following statement of the case to be read to
18   the jury:
19           This case involves Apple, Qualcomm, and a group of companies that I will
20   refer to as the Contract Manufacturers or the CMs—Pegatron; Compal; Wistron;
21   and Foxconn, which is made up of Hon Hai and its subsidiary FIH.
22           Apple designs, manufactures, and markets mobile communication and media
23   devices, including iPhones, iPads, and personal computers, as well as related
24   software, accessories, and content. The CMs manufacture iPhones and/or iPads for
25   Apple, as well as cell phones, tablets, and other electronics products for other
26   companies.
27
28   1
      The CMs object to Qualcomm’s proposal that trial begin on February 11, 2019
     because their lead counsel has a pre-existing conflict.

         FINAL PRETRIAL CONFERENCE ORDER              3     CASE NO. 17-CV-00108 GPC MDD
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 1           Qualcomm develops technologies, obtains patents on those technologies, and
 2   licenses its patents to companies that make cellular devices, such as cell phones and
 3   tablets. [Apple/CMs Proposal: Qualcomm also designs, markets, and sells cellular
 4   baseband chipsets, which are components of cellular phones, tablets, and watches.
 5   Qualcomm Proposal: Qualcomm also has subsidiaries that design, market, and sell
 6   cellular baseband chipsets, which are components of cellular phones, tablets, and
 7   watches.]
 8           The parties have very different views of what the evidence will show, which
 9   you will hear directly from them. Generally, Apple and the CMs have claims that
10   Qualcomm violated the federal antitrust laws and California competition law, and
11   also breached certain contracts. Qualcomm denies those claims. Qualcomm has
12   claims that Apple and the CMs breached certain contracts, including that the CMs
13   breached their license agreements with Qualcomm, and a claim that Apple caused
14   the CMs to breach those license agreements. Apple and the CMs deny those claims.
15           After you hear all the evidence, you will be asked to decide a variety of issues
16   related to these claims.
17           CAUSES OF ACTION2
18           A.    CAUSES OF ACTION ALLEGED BY APPLE INC. AGAINST
19           QUALCOMM INCORPORATED.
20           Below are the causes of action brought by Apple, the damages and other relief
21   sought by Apple, and the defenses asserted by Qualcomm. With respect to each cause
22   of action listed below, Apple seeks a judgment awarding Apple its expenses, costs,
23   and attorneys’ fees in accordance with Rule 54(d) of the Federal Rules of Civil
24   Procedure, or as is otherwise appropriate. Apple filed its First Amended Complaint
25
     2
26     Without waiving any objections each party may have to the identification of
     elements for each claim, the parties agree that the wording of the elements in the
27
     jury instructions will be determined at a later date in accordance with the Court’s
28   usual practice.


         FINAL PRETRIAL CONFERENCE ORDER             4      CASE NO. 17-CV-00108 GPC MDD
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 1   against Qualcomm (“Apple Claims”) on June 20, 2017 (Case No. 17-cv-0108-GPC-
 2   MDD, Dkt. 83.). The Counts from the Apple Claims set forth below shall be tried.3
 3           Qualcomm is the defendant in a case brought by the United States Federal
 4   Trade Commission and currently pending before Judge Lucy Koh in the Northern
 5   District of California, in which Apple is a third-party witness: FTC v. Qualcomm Inc.,
 6   No. 17-cv-0220 (N.D. Cal). That case is scheduled to begin a bench trial on January
 7   4, 2019; evidence is projected to run through January 28, 2019, after which the Court
 8   will issue findings of fact and conclusions of law after appropriate post-trial briefing.
 9   Qualcomm is a party to other related cases as well, including several proceedings
10   pending before the International Trade Commission. Apple and the CMs contend that
11   the facts and relief sought in the FTC v. Qualcomm case and in other Qualcomm cases
12   overlap with the facts to be found and the relief sought in the instant action, and thus
13   Apple and the CMs contend that the resolution of that matter and other matters are
14   likely to affect the scope of this trial. Apple reserves its rights to amend this list, as
15   well as the defenses it has identified to Qualcomm’s causes of action, and to move the
16   Court to apply collateral estoppel, issue preclusion, or other/similar doctrines to
17   simplify the issues to be tried. 4
18                 1.     COUNT I: BREACH OF CONTRACT (BCPA) (Apple Claims
19                 ¶¶ 245-60 5)
20
     3
       The Court on November 20, 2018 dismissed counts V-XXXI and LIX, without
21   prejudice. See Order Granting Qualcomm’s Motion for Partial Dismissal of Apple’s
22   First Amended Complaint and the CMs’ Counterclaims at 15-16, In re: Qualcomm
     Litigation, No. 17-cv-00108-GPC (S.D. Cal. Nov. 20, 2018), Dkt. 737. Apple
23   preserves its right to appeal the dismissal of counts V-XXXI and LIX.
     4
24     Qualcomm objects to Apple and the CMs’ characterization and speculation
     regarding other cases not pending before this Court. Qualcomm objects to the
25   inclusion of this paragraph entirely, which Apple and the CMs inserted for the first
26   time at 10:27pm eastern time the night the pretrial order was due to be filed and
     refused to remove.
27   5
       All cross-references to paragraph numbers in Apple’s Causes of Action section
28   refer to its First Amended Complaint. (Dkt. 83)


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 1                             Applicable Elements:
 2                                   The existence of a contract;
 3                                   Apple’s performance or excuse for nonperformance;
 4                                   Qualcomm’s breach; and
 5                                   The resulting damages to Apple.6
 6                             Damages and/or Relief Sought:
 7                                   Economic damages, including $963,453,309 in
 8                             unpaid BCP Payments, subject to any applicable offset
 9                             against monies withheld by Apple, plus statutory interest.
10                                   Apple seeks a determination that Qualcomm is
11                             liable for breach of contract.
12                                   Apple seeks a declaration that Qualcomm has
13                             breached its commitments under the BCPA.
14                             Apple seeks an award of such other and further relief as
15                             the Court deems just and proper.
16                             Applicable Defenses:7
17                      Without taking on (or relieving any other party of) the burden of
18                      proof on any element on which another party bears the burden,
19                      Qualcomm asserts the following defenses in response to Apple’s
20                      Count I:
21                                   Apple’s claim fails to state a claim on which relief
22                             can be granted.
23                                   Apple’s claim is barred in whole or in part by the
24                             doctrine of estoppel.
25                                   Apple’s claim is barred in whole or in part by the
26
     6
      Oasis W. Realty, LLC v. Goldman, 250 P.3d 1115, 1121 (Cal. 2011).
27   7
      No party is conceding that any defenses on any causes of action included in the
28   Pretrial Order are properly asserted or were adequately pled. The parties reserve all
     future rights regarding challenging asserted defenses on all causes of action herein.

         FINAL PRETRIAL CONFERENCE ORDER               6   CASE NO. 17-CV-00108 GPC MDD
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 1                         doctrine of waiver.
 2                               Apple’s claim is barred in whole or in part by the
 3                         doctrine of unclean hands.
 4                               Apple’s claim for breach of contract is barred in
 5                         whole or in part because Apple breached the BCPA, and
 6                         therefore excused Qualcomm from its obligations.
 7                               Apple’s claim for breach of contract is barred in
 8                         whole or in part because of its claims filed in this and
 9                         other lawsuits around the world.
10                               Apple’s claim for breach of contract is barred
11                         because Apple breached the covenant of good faith and
12                         fair dealing implied in every contract governed by
13                         California law, and therefore excused Qualcomm from its
14                         obligations.
15                               Apple’s claim for breach of contract is barred
16                         because Apple has not suffered any damages from any
17                         such alleged breach.
18                               Apple’s claim for breach of contract is barred by the
19                         doctrines of misunderstanding, mistake, or fraud.
20                               Apple’s claim is barred in whole or in part because
21                         it has sustained no injury in fact or damages proximately
22                         caused by any act or omission of Qualcomm.
23                               Apple’s claim is barred in whole or in part because
24                         any damages that Apple purports to have suffered are too
25                         remote or speculative to allow recovery, and it is
26                         impossible to ascertain and allocate such alleged damages
27                         with reasonable certainty.
28                               Apple’s claim is barred in whole or in part because


      FINAL PRETRIAL CONFERENCE ORDER             7     CASE NO. 17-CV-00108 GPC MDD
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 1                           of ratification, agreement, acquiescence or consent to
 2                           Qualcomm’s alleged conduct.
 3                                 To the extent that Apple has suffered damages, if at
 4                           all, it has failed to take reasonable measures to mitigate its
 5                           damages in whole or in part, and is barred from recovering
 6                           damages that it could have reasonably avoided.
 7                                 To the extent that Apple has suffered damages, if at
 8                           all, all damages were caused by Apple’s own actions.
 9                                 To the extent that Apple has suffered damages, if at
10                           all, its damages are subject to offset in the amount of any
11                           obligations Apple owes Qualcomm.
12                                 Apple’s claim is barred in whole or in part because
13                           any recovery would result in unjust enrichment to Apple.
14                                 Apple is not entitled to interest, attorney’s fees or
15                           costs in connection with this action.
16                2.   COUNT II: BREACH OF IMPLIED COVENANT OF GOOD
17                FAITH AND FAIR DEALING (Apple Claims ¶¶ 261-67)
18                           Applicable Elements:
19                                 The existence of a contract;
20                                 Apple fulfilled its obligations under the contract;
21                                 Qualcomm unfairly interfered with Apple’s right to
22                           receive the benefits of the contract; and
23                                 Apple was harmed by Qualcomm’s conduct. 8
24                           Damages and/or Relief sought:
25                                 Economic damages, including $963,453,309 in
26
27   8
       Amata v. Narconon Fresh Start, No. 14-cv-588-GPC, 2014 WL 5390196, at *9
28   (S.D. Cal. Oct. 23, 2014); Sarbaz v. Wachovia Bank, No. 10-cv-3462-CRB, 2011
     WL 830236, at *3 (N.D. Cal. Mar. 3, 2011).

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  1                         unpaid BCP Payments, subject to any applicable offset
  2                         against monies withheld by Apple, plus statutory interest.
  3                               Apple seeks a determination that Qualcomm
  4                         breached the implied covenant of good faith and fair
  5                         dealing.
  6                               Apple seeks a declaration that Qualcomm has
  7                         breached its commitments under the BCPA.
  8                               Apple seeks an award of such other and further
  9                         relief as the Court deems just and proper.
 10                         Applicable Defenses:
 11                   Without taking on (or relieving any other party of) the burden of
 12                   proof on any element on which another party bears the burden,
 13                   Qualcomm asserts the following defenses in response to Apple’s
 14                   Count II:
 15                               Apple’s claim fails to state a claim on which relief
 16                         can be granted.
 17                               Apple’s claim is barred in whole or in part by the
 18                         doctrine of estoppel.
 19                               Apple’s claim is barred in whole or in part by the
 20                         doctrine of waiver.
 21                               Apple’s claim is barred in whole or in part by the
 22                         doctrine of unclean hands.
 23                               Apple’s claim for breach of contract is barred in
 24                         whole or in part because Apple breached the BCPA, and
 25                         therefore excused Qualcomm from its obligations.
 26                               Apple’s claim for breach of contract is barred in
 27                         whole or in part because of its claims filed in this and
 28                         other lawsuits around the world.


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  1                               Apple’s claim for breach of contract is barred
  2                         because Apple breached the covenant of good faith and
  3                         fair dealing implied in every contract governed by
  4                         California law, and therefore excused Qualcomm from its
  5                         obligations.
  6                               Apple’s claim for breach of contract is barred
  7                         because Apple has not suffered any damages from any
  8                         such alleged breach.
  9                               Apple’s claim for breach of contract is barred by the
 10                         doctrines of misunderstanding, mistake, or fraud.
 11                               Apple’s claim is barred in whole or in part because
 12                         it has sustained no injury in fact or damages proximately
 13                         caused by any act or omission of Qualcomm.
 14                               Apple’s claim is barred in whole or in part because
 15                         any damages that Apple purports to have suffered are too
 16                         remote or speculative to allow recovery, and it is
 17                         impossible to ascertain and allocate such alleged damages
 18                         with reasonable certainty.
 19                               Apple’s claim is barred in whole or in part because
 20                         of ratification, agreement, acquiescence or consent to
 21                         Qualcomm’s alleged conduct.
 22                               To the extent that Apple has suffered damages, if at
 23                         all, it has failed to take reasonable measures to mitigate its
 24                         damages in whole or in part, and is barred from recovering
 25                         damages that it could have reasonably avoided.
 26                               To the extent that Apple has suffered damages, if at
 27                         all, all damages were caused by Apple’s own actions.
 28                               To the extent that Apple has suffered damages, if at


      FINAL PRETRIAL CONFERENCE ORDER            10      CASE NO. 17-CV-00108 GPC MDD
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  1                           all, its damages are subject to offset in the amount of any
  2                           obligations Apple owes Qualcomm.
  3                                 Apple’s claim is barred in whole or in part because
  4                           any recovery would result in unjust enrichment to Apple.
  5                                 Apple is not entitled to interest, attorney’s fees or
  6                           costs in connection with this action.
  7                3.   COUNT III: VIOLATION OF CALIFORNIA CIVIL CODE
  8                § 1671 (Apple Claims ¶¶ 268-75)
  9                           Applicable Elements:
 10                                 As interpreted by Qualcomm, the second paragraph
 11                           of Section 7 of the BCPA is a provision in a contract
 12                           liquidating the damages for the breach of the contract; and
 13                                 The provision was unreasonable under the
 14                           circumstances existing at the time the contract was made. 9
 15                           Damages and/or Relief Sought:
 16                                 Apple asks the Court to invalidate the liquidated
 17                           damages provision in Section 7, paragraph 2 of the BCPA.
 18                                 Economic damages, including $963,453,309 in
 19                           unpaid BCP Payments, subject to any applicable offset
 20                           against monies withheld by Apple, plus statutory interest.
 21                                 Apple seeks an award of such other and further
 22                           relief as the Court deems just and proper.
 23                           Applicable Defenses:
 24                     Without taking on (or relieving any other party of) the burden of
 25                     proof on any element on which another party bears the burden,
 26                     Qualcomm asserts the following defenses in response to Apple’s
 27
      9
 28    Cal. Civ. Code § 1671(b); Ridgley v. Topa Thrift & Loan Ass’n, 953 P.2d 484, 488
      (Cal. 1998); Guthy-Renker Corp. v. Bernstein, 39 Fed. App’x 584 (9th Cir. 2002).

          FINAL PRETRIAL CONFERENCE ORDER         11     CASE NO. 17-CV-00108 GPC MDD
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  1                   Count III:
  2                                Apple’s claim fails to state a claim on which relief
  3                         can be granted.
  4                                Apple’s claim is barred in whole or in part by the
  5                         doctrine of unclean hands.
  6                                Apple’s claim for breach of contract is barred in
  7                         whole or in part because Apple breached the BCPA, and
  8                         therefore excused Qualcomm from its obligations.
  9                                Apple’s claim for breach of contract is barred in
 10                         whole or in part because of its claims filed in this and
 11                         other lawsuits around the world.
 12                                Apple’s claim for breach of contract is barred
 13                         because Apple breached the covenant of good faith and
 14                         fair dealing implied in every contract governed by
 15                         California law, and therefore excused Qualcomm from its
 16                         obligations.
 17                                Apple’s claim for breach of contract is barred
 18                         because Apple has not suffered any damages from any
 19                         such alleged breach.
 20                                Apple’s claim for breach of contract is barred by the
 21                         doctrines of misunderstanding, mistake, or fraud.
 22                                Apple’s claim is barred in whole or in part because
 23                         it has sustained no injury in fact or damages proximately
 24                         caused by any act or omission of Qualcomm.
 25                                Apple’s claim is barred in whole or in part because
 26                         any damages that Apple purports to have suffered are too
 27                         remote or speculative to allow recovery, and it is
 28                         impossible to ascertain and allocate such alleged damages


      FINAL PRETRIAL CONFERENCE ORDER            12      CASE NO. 17-CV-00108 GPC MDD
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  1                          with reasonable certainty.
  2                                To the extent that Apple has suffered damages, if at
  3                          all, it has failed to take reasonable measures to mitigate its
  4                          damages in whole or in part, and is barred from recovering
  5                          damages that it could have reasonably avoided.
  6                                To the extent that Apple has suffered damages, if at
  7                          all, its damages are subject to offset in the amount of any
  8                          obligations Apple owes Qualcomm.
  9                                Apple’s claim is barred in whole or in part because
 10                          any recovery would result in unjust enrichment to Apple.
 11                                Apple is not entitled to interest, attorney’s fees or
 12                          costs in connection with this action.
 13             4.    COUNT IV: DECLARATORY RELIEF (BCPA) (Apple Claims
 14             ¶¶ 276-80)
 15                          Applicable Elements:
 16                                There is a substantial and actual controversy
 17                          between Apple and Qualcomm having adverse legal
 18                          interests, of sufficient immediacy and reality.
 19                                Qualcomm has breached its obligations under the
 20                          BCPA.
 21                                If Qualcomm’s interpretation of Section 7 of the
 22                          BCPA were given effect, that interpretation would render
 23                          Section 7 void as against public policy.
 24                                (a)    The Court must consider whether
 25                                Qualcomm’s interpretation of Section 7 would
 26                                contravene public policy or whether the interest in
 27                                the provision’s enforcement is outweighed in the
 28                                circumstances by a public policy against the


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  1                                   enforcement of such terms. 10
  2                                   The statements to regulators and others that
  3                            Qualcomm claims form the basis for its withholding of
  4                            monies pursuant to Section 7 of the BCPA are protected
  5                            by California’s litigation privilege, Cal. Civ. Code § 47.
  6                                   (a)       California’s litigation privilege applies to any
  7                                   communication made (1) in judicial or quasi-
  8                                   judicial proceedings; (2) by litigants or participants
  9                                   authorized by law to make such statements; (3) for
 10                                   the purpose of achieving the objects of the
 11                                   litigation; and (4) with some connection or logical
 12                                   relation to the action. 11
 13                                   Apple did not breach Section 7 of the BCPA.
 14                                   Qualcomm must pay the remaining BCP Payments,
 15                            plus interest.
 16                                   (a)       Supra III.A(1) and (2) for pertinent elements.
 17                                   The second paragraph of Section 7 of the BCPA
 18                            does not survive termination or expiration of the BCPA.
 19                                   Apple did not breach its express or implied
 20                            obligations under the BCPA.
 21                                   Apple did not breach the implied covenant of good
 22
 23   10
         Boston LLC v. Juarez, 245 Cal. App. 4th 75, 85 (Cal. Ct. App. 2016) (citing
 24   Restatement (Second) of Contracts § 178); Morey v. Paladini, 203 P. 760 (Cal.
      1922); Sheppard, Mullin, Richter & Hampton, LLP v. J-M Mfg. Co., 425 P.3d 1, 8
 25   (Cal. 2018); D’Arrigo Bros. of California v. United Farmworkers of Am., 169 Cal.
 26   Rptr. 3d 171 (2014); Cariveau v. Halferty, 99 Cal. Rptr. 2d 417 (2000); Cal. Civ.
      Code §§ 1598-99, 1667.
 27   11
         Morales v. Coop. of Am. Physicians, Inc., Mut. Prot. Tr., 180 F.3d 1060, 1062
 28   (9th Cir. 1999) (quoting Silberg v. Anderson, 786 P.2d 365 (Cal. 1990)); Cal. Civ.
      Code § 47(b).

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  1                         faith and fair dealing or any other implied covenant of the
  2                         BCPA.
  3                         Damages and/or Relief Sought:
  4                               Apple seeks a judicial determination as to the
  5                         parties’ rights and obligations under the BCPA.
  6                               Apple seeks a declaration:
  7                               (a)    That Qualcomm has breached its obligations
  8                               under the BCPA.
  9                               (b)    That, if Qualcomm’s interpretation of the
 10                               BCPA were given effect, such interpretation would
 11                               contravene public policy.
 12                               (c)    That the statements to regulators and others
 13                               that Qualcomm claims form the basis for its
 14                               withholding of monies pursuant to Section 7 of the
 15                               BCPA are protected by California’s litigation
 16                               privilege, Cal. Civ. Code § 47.
 17                               (d)    That Apple’s actions did not trigger the
 18                               second paragraph of Section 7.
 19                               (e)    That Qualcomm must pay the remaining BCP
 20                               Payments, plus interest.
 21                               (f)    That the second paragraph of Section 7 of the
 22                               BCPA does not survive termination or expiration of
 23                               the BCPA.
 24                               (g)    That Apple did not breach its express or
 25                               implied obligations under the BCPA.
 26                               (h)    That Apple did not breach the implied
 27                               covenant of good faith and fair dealing or any other
 28                               implied covenant of the BCPA.


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  1                                Apple seeks an award of such other and further
  2                         relief as the Court deems just and proper.
  3                         Applicable Defenses:
  4                   Without taking on (or relieving any other party of) the burden of
  5                   proof on any element on which another party bears the burden,
  6                   Qualcomm asserts the following defenses in response to Apple’s
  7                   Count IV:
  8                               Apple’s claim fails to state a claim on which relief
  9                         can be granted.
 10                               Apple’s claim is barred in whole or in part by the
 11                         doctrine of estoppel.
 12                               Apple’s claim is barred in whole or in part by the
 13                         doctrine of waiver.
 14                               Apple’s claim is barred in whole or in part by the
 15                         doctrine of unclean hands.
 16                               Apple’s claim for breach of contract is barred in
 17                         whole or in part because Apple breached the BCPA, and
 18                         therefore excused Qualcomm from its obligations.
 19                               Apple’s claim for breach of contract is barred in
 20                         whole or in part because of its claims filed in this and
 21                         other lawsuits around the world.
 22                               Apple’s claim for breach of contract is barred
 23                         because Apple breached the covenant of good faith and
 24                         fair dealing implied in every contract governed by
 25                         California law, and therefore excused Qualcomm from its
 26                         obligations.
 27                               Apple’s claim for breach of contract is barred
 28                         because Apple has not suffered any damages from any


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  1                         such alleged breach.
  2                               Apple’s claim for breach of contract is barred by the
  3                         doctrines of misunderstanding, mistake, or fraud.
  4                               Apple’s claim is barred in whole or in part because
  5                         it has sustained no injury in fact or damages proximately
  6                         caused by any act or omission of Qualcomm.
  7                               Apple’s claim is barred in whole or in part because
  8                         any damages that Apple purports to have suffered are too
  9                         remote or speculative to allow recovery, and it is
 10                         impossible to ascertain and allocate such alleged damages
 11                         with reasonable certainty.
 12                               Apple’s claim is barred in whole or in part because
 13                         of ratification, agreement, acquiescence or consent to
 14                         Qualcomm’s alleged conduct.
 15                               To the extent that Apple has suffered damages, if at
 16                         all, it has failed to take reasonable measures to mitigate its
 17                         damages in whole or in part, and is barred from recovering
 18                         damages that it could have reasonably avoided.
 19                               To the extent that Apple has suffered damages, if at
 20                         all, all damages were caused by Apple’s own actions.
 21                               To the extent that Apple has suffered damages, if at
 22                         all, its damages are subject to offset in the amount of any
 23                         obligations Apple owes Qualcomm.
 24                               Apple’s claim is barred in whole or in part because
 25                         any recovery would result in unjust enrichment to Apple.
 26                               Apple is not entitled to interest, attorney’s fees or
 27                         costs in connection with this action.
 28                         Qualcomm objection:


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  1                                     Apple states the incorrect standard the Court must
  2                              use to determine whether a contract or its provision violate
  3                              public policy. The correct standard is whether the interest
  4                              in the contract’s enforcement is “clearly outweighed” in
  5                              the circumstances by public policy. Erhart v. BofI
  6                              Holding, Inc., 2017 WL 588390, at *6 (S.D. Cal. Feb. 14,
  7                              2017) (citing Restatement (Second) of Contracts § 178)
  8                              (emphasis added); Restatement (Second) of Contracts
  9                              § 178. Several of the cases Apple cited in support of its
 10                              recitation of the elements also use the “clearly
 11                              outweighed” standard. Boston LLC v. Juarez, 245 Cal.
 12                              App. 4th 75, 85 (Cal. Ct. App. 2016) (citing Restatement
 13                              (Second) of Contracts § 178); Cariveau v. Halferty, 99
 14                              Cal. Rptr. 2d 417, 420 (2000).12
 15                5.     COUNT LX: DECLARATORY RELIEF: STA ASSIGNMENT
 16                AGREEMENT (Apple Claims ¶¶ 593-606)
 17                              Applicable Elements:
 18                                     There is a substantial and actual controversy
 19                              between parties having adverse legal interests, of
 20                              sufficient immediacy and reality.
 21                                     STA Assignment Agreement § 4.4 is unenforceable
 22                              as against public policy because it requires Apple to pay
 23                              for a license fee on exhausted patents, thereby violating
 24                              public policy prohibiting extension of patent rights beyond
 25
      12
 26     Apple and the CMs have requested a jury trial on all claims, including that various
      contracts, interpretations thereof, or portions thereof, violate public policy. As such,
 27   Apple and the CM’s position is that the parties will need to craft a jury instruction
 28   for this issue as well, and will be in a position to brief this issue for the Court at the
      time jury instructions are decided.

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  1                              their proper boundaries.
  2                                    (a)    The Court must consider whether public
  3                                    policy provides that STA Assignment Agreement
  4                                    § 4.4 is unenforceable, or whether the interest in the
  5                                    provision’s enforcement is outweighed in the
  6                                    circumstances by a public policy against the
  7                                    enforcement of such terms. 13
  8                              Damages and/or Relief Sought:
  9                                    Apple asks the Court for a declaration that STA
 10                              Assignment Agreement § 4.4 is unenforceable as against
 11                              public policy.
 12                                     Apple seeks an award of such other and further
 13                              relief as the Court deems just and proper.
 14                              Applicable Defenses:
 15                        Without taking on (or relieving any other party of) the burden of
 16                        proof on any element on which another party bears the burden,
 17                        Qualcomm asserts the following defenses in response to Apple’s
 18                        Count LX:
 19                                    Apple’s claim fails to state a claim on which relief
 20                              can be granted.
 21                                    Apple’s claim is barred in whole or in part by the
 22                              doctrine of estoppel.
 23                                    Apple’s claim is barred in whole or in part by the
 24                              doctrine of waiver.
 25                                    Apple’s claim is barred in whole or in part by the
 26                              doctrine of unclean hands.
 27                                    Apple’s claim is barred in whole or in part because
 28
      13
           See supra note 10.

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  1                             it is non-justiciable.
  2                                    Apple’s claim for declaratory relief is barred in
  3                             whole or in part because there is no active case or
  4                             controversy under the Declaratory Judgment Act, 28
  5                             U.S.C. §§ 2201-2202, and Apple is seeking an advisory
  6                             opinion.
  7                                    Apple’s claim is barred in whole or in part because
  8                             of ratification, agreement, acquiescence or consent to
  9                             Qualcomm’s alleged conduct.
 10                                    Apple is not entitled to interest, attorney’s fees or
 11                             costs in connection with this action.
 12                             Qualcomm objection:
 13                                    Apple states the incorrect standard the Court must
 14                             use to determine whether a contract or its provision violate
 15                             public policy. The correct standard is whether the interest
 16                             in the contract’s enforcement is “clearly outweighed” in
 17                             the circumstances by public policy. Erhart v. BofI
 18                             Holding, Inc., 2017 WL 588390, at *6 (S.D. Cal. Feb. 14,
 19                             2017) (citing Restatement (Second) of Contracts § 178)
 20                             (emphasis added); Restatement (Second) of Contracts
 21                             § 178. Several of the cases Apple cited in support of its
 22                             recitation of the elements also use the “clearly
 23                             outweighed” standard. Boston LLC v. Juarez, 245 Cal.
 24                             App. 4th 75, 85 (Cal. Ct. App. 2016) (citing Restatement
 25                             (Second) of Contracts § 178); Cariveau v. Halferty, 99
 26                             Cal. Rptr. 2d 417, 420 (2000).14
 27                 6.    COUNT LXI: DECLARATORY RELIEF (QUALCOMM’S
 28
      14
           Apple Response: See supra note 12.

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  1                  AGREEMENTS WITH APPLE’S CONTRACT
  2                  MANUFACTURERS) (Apple Claims ¶¶ 607-14)
  3                             Applicable Elements:
  4                                   There is a substantial and actual controversy
  5                             between parties having adverse legal interests, of
  6                             sufficient immediacy and reality.
  7                                   The license agreements between Qualcomm and
  8                             Foxconn, Pegatron, Wistron, and Compal are
  9                             unenforceable as against public policy because, among
 10                             other issues, they seek license fees on exhausted patents,
 11                             seek to bundle together license fees on exhausted patents
 12                             with license fees on non-exhausted patents, violate the
 13                             antitrust laws, and do not comply with Qualcomm’s
 14                             FRAND obligations.
 15                                   (a)     The Court must consider whether public
 16                                   policy provides that the license agreements are
 17                                   unenforceable, or whether the interest in the license
 18                                   agreements’ enforcement is outweighed under the
 19                                   circumstances by a public policy against the
 20                                   enforcement of the agreements. 15
 21                             Damages and/or Relief Sought:
 22                                   Apple seeks a judicial determination as to the
 23                             parties’ rights and obligations under the CMs’ license
 24                             agreements.
 25                                   Apple asks the Court for a declaration:
 26                                   (a)     That the license agreements between
 27                                   Qualcomm and Apple CMs Foxconn, Pegatron,
 28
      15
           See supra note 10.

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  1                                Wistron, and Compal are unenforceable as against
  2                                public policy.
  3                                (b)   Apple is entitled to at least restitution of
  4                                monies paid pursuant to the CMs’ license
  5                                agreements for Apple’s iPhones and iPads for
  6                                patents that were exhausted, which constitutes at
  7                                least $3,180,424,905 in restitution.
  8                                Apple seeks an order requiring Qualcomm to
  9                         disgorge royalties for exhausted patents that Qualcomm
 10                         previously extracted from Apple, including royalties paid
 11                         through Apple’s CMs for Apple’s iPhones and iPads, and
 12                         to pay such unjust gains to Apple.
 13                                Apple seeks an award of such other and further
 14                         relief as the Court deems just and proper.
 15                         Applicable Defenses:
 16                   Without taking on (or relieving any other party of) the burden of
 17                   proof on any element on which another party bears the burden,
 18                   Qualcomm asserts the following defenses in response to Apple’s
 19                   Count LXI:
 20                                Apple’s claim fails to state a claim on which relief
 21                         can be granted.
 22                                Apple’s claim is barred in whole or in part by the
 23                         applicable statutes of limitations, including, but not limited
 24                         to, California Business and Professions Code § 17208 and
 25                         15 U.S.C. § 15b.
 26                                Apple’s claim is barred in whole or in part by the
 27                         doctrine of laches.
 28                                Apple’s claim is barred in whole or in part by the


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  1                         doctrine of estoppel.
  2                                Apple’s claim is barred in whole or in part by the
  3                         doctrine of waiver.
  4                                Apple’s claim is barred in whole or in part by the
  5                         doctrine of unclean hands.
  6                                Apple’s claim is barred in whole or in part because
  7                         it is non-justiciable.
  8                                Apple’s claim for declaratory relief is barred in
  9                         whole or in part because there is no active case or
 10                         controversy under the Declaratory Judgment Act, 28
 11                         U.S.C. §§ 2201-2202, and Apple is seeking an advisory
 12                         opinion.
 13                                Apple’s claim is barred in whole or in part because
 14                         Qualcomm’s alleged conduct did not unreasonably restrain
 15                         trade and was lawful, pro-competitive, and based on
 16                         legitimate business and economic justifications.
 17                                Apple’s claim is barred in whole or in part by the
 18                         Illinois Brick doctrine, which prohibits antitrust recovery
 19                         by indirect purchasers.
 20                                Apple’s claim is barred in whole or in part because
 21                         Apple has not suffered antitrust injury or any injury of the
 22                         type the antitrust laws were intended to prevent.
 23                                Apple’s claim is barred in whole or in part because
 24                         it has sustained no injury in fact or damages proximately
 25                         caused by any act or omission of Qualcomm.
 26                                Apple’s claim is barred in whole or in part because
 27                         any damages that Apple purports to have suffered are too
 28                         remote or speculative to allow recovery, and it is


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  1                         impossible to ascertain and allocate such alleged damages
  2                         with reasonable certainty.
  3                               Apple’s claim is barred in whole or in part because
  4                         of ratification, agreement, acquiescence or consent to
  5                         Qualcomm’s alleged conduct.
  6                               Apple’s claim is barred in whole or in part because
  7                         it lacks standing.
  8                               Apple’s claim seeking to disgorge royalties paid
  9                         through the CMs is barred in whole or in part because
 10                         Apple lacks standing.
 11                               To the extent that Apple has suffered damages, if at
 12                         all, it has failed to take reasonable measures to mitigate its
 13                         damages in whole or in part, and is barred from recovering
 14                         damages that it could have reasonably avoided.
 15                               To the extent that Apple has suffered damages, if at
 16                         all, its damages are subject to offset in the amount of any
 17                         obligations Apple owes Qualcomm.
 18                               Apple’s claim is barred in whole or in part because
 19                         it is not entitled to restitution or disgorgement of profits.
 20                               Apple’s claim is barred in whole or in part because
 21                         any recovery would result in unjust enrichment to Apple.
 22                               Apple’s claim is barred in whole or in part because
 23                         Qualcomm has satisfied its FRAND commitments.
 24                               Apple is not entitled to interest, attorney’s fees or
 25                         costs in connection with this action.
 26                         Qualcomm objection:
 27                                Apple states the incorrect standard the Court must
 28                         use to determine whether a contract or its provision violate


      FINAL PRETRIAL CONFERENCE ORDER            24      CASE NO. 17-CV-00108 GPC MDD
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  1                            public policy. The correct standard is whether the interest
  2                            in the contract’s enforcement is “clearly outweighed” in
  3                            the circumstances by public policy. Erhart v. BofI
  4                            Holding, Inc., 2017 WL 588390, at *6 (S.D. Cal. Feb. 14,
  5                            2017) (citing Restatement (Second) of Contracts § 178)
  6                            (emphasis added); Restatement (Second) of Contracts
  7                            § 178. Several of the cases Apple cited in support of its
  8                            recitation of the elements also use the “clearly
  9                            outweighed” standard. Boston LLC v. Juarez, 245 Cal.
 10                            App. 4th 75, 85 (Cal. Ct. App. 2016) (citing Restatement
 11                            (Second) of Contracts § 178); Cariveau v. Halferty, 99
 12                            Cal. Rptr. 2d 417, 420 (2000).16
 13               7.     COUNT LXII: MONOPOLIZATION (Apple Claims ¶¶ 615-52)
 14                            Applicable Elements:
 15                                  Qualcomm possesses or at relevant times possessed
 16                            monopoly power in a relevant market;
 17                                  Qualcomm has willfully acquired or maintained that
 18                            power; and
 19                                  Qualcomm’s conduct has caused antitrust injury. 17
 20                                  Injunctive relief under Section 16 of the Clayton
 21                            Act, 15 U.S.C. § 26, is appropriate if a plaintiff faces a
 22                            significant threat of injury from an impending violation of
 23                            the antitrust laws or from a contemporary violation likely
 24                            to continue or recur.18
 25
      16
 26      Apple Response: See supra note 12.
      17
         Cost Mgmt. Servs., Inc. v. Washington Nat’l Gas Co., 99 F.3d 937, 949 (9th Cir.
 27
      1996); Safeway Inc. v. Abbott Labs., 761 F. Supp. 2d 874, 888 (N.D. Cal. 2011).
      18
 28      Zenith Radio Corp. v. Hazeltine Research, 395 U.S. 100, 130 (1969).


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  1                                    A plaintiff has standing to enforce Section 16 of the
  2                            Clayton Act when its threatened loss or damage is of the
  3                            type the antitrust laws were designed to prevent and that
  4                            flows from that which makes defendants’ acts unlawful. 19
  5                            Damages and/or Relief Sought:
  6                                    Apple asks for a determination and declaration that
  7                            Qualcomm has violated Section 2 of the Sherman Act and
  8                            an order enjoining Qualcomm from all unlawful acts, as
  9                            well as further injunctive relief necessary to remedy
 10                            Qualcomm’s unlawful behavior, the specifics of which
 11                            will be determined at a later date.
 12                                    Apple seeks an award of such other and further
 13                            relief as the Court deems just and proper.
 14                            Applicable Defenses
 15                      Without taking on (or relieving any other party of) the burden of
 16                      proof on any element on which another party bears the burden,
 17                      Qualcomm asserts the following defenses in response to Apple’s
 18                      Count LXII:
 19                                    Apple’s claim fails to state a claim on which relief
 20                            can be granted.
 21                                    Apple’s claim is barred in whole or in part by the
 22                            applicable statutes of limitations, including, but not limited
 23                            to, California Business and Professions Code § 17208 and
 24                            15 U.S.C. § 15b.
 25                                    Apple’s claim is barred in whole or in part by the
 26                            doctrine of laches.
 27
      19
 28     Cargill, Inc. v. Monfort of Colo., Inc., 479 U.S. 104, 113 (1986) (quoting
      Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977)).

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  1                               Apple’s claim is barred in whole or in part by the
  2                         doctrine of estoppel.
  3                               Apple’s claim is barred in whole or in part by the
  4                         doctrine of waiver.
  5                               Apple’s claim is barred in whole or in part by the
  6                         doctrine of unclean hands.
  7                               Apple’s claim is barred in whole or in part because
  8                         Qualcomm’s alleged conduct did not unreasonably restrain
  9                         trade and was lawful, pro-competitive, and based on
 10                         legitimate business and economic justifications.
 11                               Apple’s claim is barred in whole or in part by the
 12                         Illinois Brick doctrine, which prohibits antitrust recovery
 13                         by indirect purchasers.
 14                               Apple’s claim is barred in whole or in part because
 15                         Apple has not suffered antitrust injury or any injury of the
 16                         type the antitrust laws were intended to prevent.
 17                               Apple’s claim is barred in whole or in part because
 18                         it has sustained no injury in fact or damages proximately
 19                         caused by any act or omission of Qualcomm.
 20                               Apple’s claim is barred in whole or in part because
 21                         any damages that Apple purports to have suffered are too
 22                         remote or speculative to allow recovery, and it is
 23                         impossible to ascertain and allocate such alleged damages
 24                         with reasonable certainty.
 25                               Apple’s claim is barred in whole or in part because
 26                         of ratification, agreement, acquiescence or consent to
 27                         Qualcomm’s alleged conduct.
 28                               Apple’s claim is barred in whole or in part because


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  1                           it lacks standing.
  2                                  To the extent that Apple has suffered damages, if at
  3                           all, all damages were caused by Apple’s own actions.
  4                                  Apple is not entitled to injunctive relief because any
  5                           alleged injury to Apple is not immediate or irreparable and
  6                           Apple has an adequate remedy at law.
  7                                  Apple’s claim is barred in whole or in part because
  8                           Qualcomm has satisfied its FRAND commitments.
  9                                  Apple’s claim is barred in whole or in part because
 10                           Apple is an unwilling licensee.
 11                                  Apple is not entitled to interest, attorney’s fees or
 12                           costs in connection with this action.
 13               8.    COUNT LXIII: VIOLATIONS OF CALIFORNIA’S UNFAIR
 14               COMPETITION LAW (Apple Claims ¶¶ 653-61)
 15                           Applicable Elements:
 16                                  Qualcomm engaged in unlawful conduct, i.e.,
 17                           violated a federal, state, or municipal statute; and
 18                                  Apple suffered injury in fact and lost money or
 19                           property as a result of Qualcomm’s unlawful conduct. 20
 20                           Damages and/or Relief Sought:
 21                                  Apple seeks a decree that Qualcomm has violated
 22                           the California Unfair Competition Law and an order
 23                           enjoining Qualcomm from all unlawful business practices,
 24
      20
 25     In re Act-Immune Marketing Litig., 2010 WL 3463491, at *6 (N.D. Cal. 2010);
      Lopez v. Stages of Beauty, LLC, 307 F. Supp.3d 1058, 1070-73 (S.D. Cal. 2018);
 26   Cel-Tech Comms., Inc. v. Los Angeles Cellular Telephone Co., 973 P.2d 527, 540
 27   (Cal. 1999) (“Section 17200 borrows violations of other laws and treats them as
      unlawful practices that the unfair competition law makes independently
 28   actionable.”).


       FINAL PRETRIAL CONFERENCE ORDER             28     CASE NO. 17-CV-00108 GPC MDD
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  1                         the specifics of which will be determined at a later date.
  2                               Apple seeks restitution of all excessive license fees
  3                         that Apple paid; Apple is entitled to at least restitution of
  4                         monies paid pursuant to the CMs’ license agreements for
  5                         Apple’s iPhones and iPads for patents that were exhausted,
  6                         which constitutes at least $3,180,424,905 in restitution.
  7                               Apple seeks an order requiring Qualcomm to
  8                         disgorge non-FRAND royalties and royalties for
  9                         exhausted patents that Qualcomm previously extracted
 10                         from Apple, including royalties paid through Apple’s CMs
 11                         for Apple’s iPhones and iPads, and to pay such unjust gain
 12                         to Apple.
 13                               Apple seeks an award of such other and further
 14                         relief as the Court deems just and proper.
 15                         Applicable Defenses:
 16                   Without taking on (or relieving any other party of) the burden of
 17                   proof on any element on which another party bears the burden,
 18                   Qualcomm asserts the following defenses in response to Apple’s
 19                   Count LXIII:
 20                               Apple’s claim fails to state a claim on which relief
 21                         can be granted.
 22                               Apple’s claim is barred in whole or in part by the
 23                         applicable statutes of limitations, including, but not limited
 24                         to, California Business and Professions Code § 17208 and
 25                         15 U.S.C. § 15b.
 26                               Apple’s claim is barred in whole or in part by the
 27                         doctrine of laches.
 28                               Apple’s claim is barred in whole or in part by the


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  1                         doctrine of estoppel.
  2                               Apple’s claim is barred in whole or in part by the
  3                         doctrine of waiver.
  4                               Apple’s claim is barred in whole or in part by the
  5                         doctrine of unclean hands.
  6                               Apple’s claim is barred in whole or in part because
  7                         Qualcomm’s alleged conduct did not unreasonably restrain
  8                         trade and was lawful, pro-competitive, and based on
  9                         legitimate business and economic justifications.
 10                               Apple’s claim is barred in whole or in part because
 11                         Apple has not suffered antitrust injury or any injury of the
 12                         type the antitrust laws were intended to prevent.
 13                               Apple’s claim is barred in whole or in part because
 14                         it has sustained no injury in fact or damages proximately
 15                         caused by any act or omission of Qualcomm.
 16                               Apple’s claim is barred in whole or in part because
 17                         any damages that Apple purports to have suffered are too
 18                         remote or speculative to allow recovery, and it is
 19                         impossible to ascertain and allocate such alleged damages
 20                         with reasonable certainty.
 21                               Apple’s claim is barred in whole or in part because
 22                         of ratification, agreement, acquiescence or consent to
 23                         Qualcomm’s alleged conduct.
 24                               Any monetary damages under California Business
 25                         and Professions Code §17200, et seq., are barred in their
 26                         entirety by those statutes and other applicable legal
 27                         authority.
 28                               Apple’s claim is barred in whole or in part because


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  1                         it lacks standing.
  2                               Apple’s claim seeking to disgorge royalties paid
  3                         through the CMs is barred in whole or in part because
  4                         Apple lacks standing.
  5                               To the extent that Apple has suffered damages, if at
  6                         all, it has failed to take reasonable measures to mitigate its
  7                         damages in whole or in part, and is barred from recovering
  8                         damages that it could have reasonably avoided.
  9                               To the extent that Apple has suffered damages, if at
 10                         all, all damages were caused by Apple’s own actions.
 11                               To the extent that Apple has suffered damages, if at
 12                         all, its damages are subject to offset in the amount of any
 13                         obligations Apple owes Qualcomm.
 14                               Apple is not entitled to injunctive relief because any
 15                         alleged injury to Apple is not immediate or irreparable and
 16                         Apple has an adequate remedy at law.
 17                               Apple’s claim is barred in whole or in part because
 18                         it is not entitled to restitution or disgorgement of profits.
 19                               Apple’s claim is barred in whole or in part because
 20                         any recovery would result in unjust enrichment to Apple.
 21                               Apple’s claim is barred in whole or in part because
 22                         Qualcomm has satisfied its FRAND commitments.
 23                               Apple’s claim is barred in whole or in part because
 24                         Apple is an unwilling licensee.
 25                               Apple is not entitled to interest, attorney’s fees or
 26                         costs in connection with this action.
 27        B.   COUNTERCLAIMS ALLEGED BY QUALCOMM, INC.
 28        AGAINST APPLE INC.


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  1         On May 2, 2018, Qualcomm filed its Second Amended Counterclaims for
  2   Damages, Declaratory Judgment, and Injunctive Relief against Apple (“QC
  3   Counterclaims”). (Case No. 17-cv-0108-GPC-MDD, Dkt. No. 469.) The following
  4   causes of action from the QC Counterclaims shall be tried: 21
  5               1.     COUNT I: TORTIOUS INTERFERENCE WITH
  6               QUALCOMM’S LICENSE AGREEMENTS WITH THE
  7               CONTRACT MANUFACTURERS (QC Counterclaims ¶¶ 264-97)
  8                            Applicable Elements:
  9                                   Qualcomm and each CM entered into a contract;
 10                                   Apple knew about Qualcomm’s contract with each
 11                            CM;
 12                                   Apple’s conduct prevented each CM’s performance
 13                            or made each CM’s performance more expensive or
 14                            difficult;
 15                                   Apple intended to disrupt the performance of each
 16                            contract or knew that disruption of performance was
 17                            certain or substantially certain to occur;
 18                                   Qualcomm was harmed; and
 19                                   Apple’s conduct was a substantial factor in causing
 20                            Qualcomm’s harm.
 21                                   In addition, Qualcomm is entitled to punitive
 22                            damages because Apple acted maliciously, oppressively
 23                            and/or fraudulently. 22
 24
      21
         The Court previously dismissed Qualcomm’s Count X. (QC Counterclaims
 25   ¶¶ 381-87.) Qualcomm preserves the dismissal of Count X for appeal.
      22
 26      CACI No. 2201; see also Pac. Gas & Elec. Co. v. Bear Stearns & Co., 50 Cal. 3d
      1118, 1126 (Cal. 1990) (cited by CACI); Barcel USA, LLC v. Baja Distributors,
 27
      Inc., 2014 WL 12539699, at *3 (S.D. Cal. Jan. 7, 2014) (using CACI to state the
 28   elements of a claim); Marlo v. United Parcel Serv., Inc., 890 F. Supp. 2d 1243, 1245


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  1                             Damages Sought:
  2                                    Economic damages and punitive damages in
  3                             amounts to be proven at trial. (See, e.g., Expert Report of
  4                             Ambreen Salters.)
  5                             Additional Relief Sought:
  6                                    Injunction prohibiting Apple from interfering with
  7                             each CM’s license agreement;
  8                                    Reasonable attorneys’ fees to Qualcomm;
  9                                    Expenses, costs, and disbursements in this action,
 10                             including prejudgment interest; and
 11                                    Such other and further relief as the Court deems just
 12                             and proper.
 13                             Applicable Defenses:23
 14                                    Qualcomm’s Counterclaim is barred in whole or in
 15                             part for the reasons stated in the Court’s November 8,
 16                             2018 decision granting in part Apple’s Motion for Partial
 17
 18   (C.D. Cal. 2012) (“The CACI instructions ‘are approved by the Judicial Council as
      the state’s official jury instructions under the California Rules of Court’”); Cal. Civ.
 19
      Code § 3294.
      23
 20      With respect to this Counterclaim and every other Counterclaim asserted by
      Qualcomm, Apple contends that Qualcomm is not entitled to any relief, whether in
 21
      the form of declaratory, injunctive, or monetary relief (whether in the form of
 22   economic losses, punitive damages, disgorgement, or restitution), costs, attorneys’
      fees, expenses, interest, or otherwise. Apple’s position is that all of Qualcomm’s
 23
      counterclaims fail on the merits and Qualcomm cannot meet its burden with respect
 24   to any of them. Apple reserves the right to amend the defenses it has identified.
 25   Furthermore, Apple asserts all of the defenses referenced herein for every
      Counterclaim without taking on (or relieving any other party of) the burden of proof
 26   for any element on which another party bears the burden of proof.
 27
      Qualcomm objects to Apple’s purported reservation to amend its defenses at any
 28   time.


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  1                         Summary Judgment on Second Amended Counterclaim
  2                         for Tortious Interference with Contract as Time-Barred
  3                         (Dkt. 729).
  4                                  Qualcomm’s Counterclaim is barred in whole or in
  5                         part because Qualcomm has failed to meet its burden of
  6                         proving the elements of its Tortious Interference with
  7                         Contract Counterclaim.
  8                                  Qualcomm’s Counterclaim is barred in whole or in
  9                         part because Qualcomm’s contracts with the CMs are
 10                         anticompetitive.
 11                                  Qualcomm’s Counterclaim is barred in whole or in
 12                         part because Qualcomm’s contracts with the CMs violate
 13                         the Sherman Act, 15 U.S.C. § 2.
 14                                  Qualcomm’s Counterclaim is barred in whole or in
 15                         part because Qualcomm’s contracts with the CMs violate
 16                         Cal. Bus. & Prof. Code §§ 17200, et seq.
 17                                  Qualcomm’s Counterclaim is barred in whole or in
 18                         part because Qualcomm’s contracts with the CMs are
 19                         unlawful acts.
 20                                  Qualcomm’s Counterclaim is barred in whole or in
 21                         part because Qualcomm’s royalty rates are non-FRAND.
 22                                  Qualcomm’s Counterclaim is barred in whole or in
 23                         part because Qualcomm seek payments on noninfringed,
 24                         non-essential, invalid, exhausted, and expired patents.
 25                                  Qualcomm’s Counterclaim is barred in whole or in
 26                         part because Qualcomm has misinterpreted the contracts at
 27                         issue.
 28                                  Qualcomm’s Counterclaim is barred in whole or in


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  1                         part because Apple did not do or is not responsible for the
  2                         acts complained of.
  3                               Qualcomm’s Counterclaim is barred in whole or in
  4                         part by the doctrine of laches.
  5                               Qualcomm’s Counterclaim is barred in whole or in
  6                         part by the doctrine of estoppel.
  7                               Qualcomm’s Counterclaim is barred in whole or in
  8                         part by the doctrine of waiver.
  9                               Qualcomm’s Counterclaim is barred in whole or in
 10                         part by the doctrine of unclean hands.
 11                               Qualcomm’s Counterclaim is barred in whole or in
 12                         part by the applicable statute(s) of limitations.
 13                               Qualcomm’s Counterclaim is barred in whole or in
 14                         part because of ratification, agreement, acquiescence or
 15                         consent to Apple’s alleged conduct.
 16                               Qualcomm’s Counterclaim is barred in whole or in
 17                         part because Apple satisfied its obligations, both
 18                         contractual and otherwise, in all material respects.
 19                               Qualcomm’s Counterclaim is barred in whole or in
 20                         part because Qualcomm’s SULAs are substantively and/or
 21                         procedurally unconscionable.
 22                               Qualcomm’s Counterclaim is barred in whole or in
 23                         part because Qualcomm has not suffered actual,
 24                         cognizable injury; has suffered no damages; and/or the
 25                         alleged injury is too speculative and uncertain so that it is
 26                         impossible to ascertain and allocate such alleged damages
 27                         with reasonable certainty.
 28                               Qualcomm’s Counterclaim is barred in whole or in


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  1                         part because of a lack of causation, including without
  2                         limitation because any injuries or damages that may have
  3                         been suffered were caused solely or proximately by the
  4                         intervening and superseding acts and omissions of others
  5                         over whom Apple had no power, authority, or control, and
  6                         because Qualcomm’s injury or damages were not
  7                         proximately caused by any act or omission of Apple.
  8                               Qualcomm’s Counterclaim is barred in whole or in
  9                         part because the contracts alleged to have been interfered
 10                         with were not actually breached or disrupted.
 11                               Qualcomm’s Counterclaim is barred in whole or in
 12                         part because any breach was not material.
 13                               Qualcomm’s Counterclaim is barred in whole or in
 14                         part by the doctrine of unenforceability and/or illegality,
 15                         including without limitation unenforceability as against
 16                         public policy.
 17                               Qualcomm’s Counterclaim is barred in whole or in
 18                         part because Qualcomm has breached its obligations under
 19                         the relevant contracts.
 20                               Qualcomm’s Counterclaim is barred in whole or in
 21                         part because Qualcomm has breached the implied
 22                         covenant of good faith and fair dealing under the relevant
 23                         contracts.
 24                               Qualcomm’s Counterclaim is barred in whole or in
 25                         part because the contracts do not impose the obligations on
 26                         Apple that Qualcomm claims were breached.
 27                               Qualcomm’s Counterclaim is barred in whole or in
 28                         part by the economic loss doctrine.


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  1                               Qualcomm’s Counterclaim is barred in whole or in
  2                         part by lack of intent or scienter.
  3                               Qualcomm’s Counterclaim is barred in whole or in
  4                         part by equitable and/or statutory setoff.
  5                               Qualcomm’s Counterclaim is barred in whole or in
  6                         part because Apple’s actions were justified.
  7                               To the extent that Qualcomm has suffered damages,
  8                         if at all, all damages were caused by Qualcomm’s own
  9                         actions.
 10                               Qualcomm’s Counterclaim is barred in whole or in
 11                         part by a failure to mitigate.
 12                               Qualcomm’s Counterclaim is barred in whole or in
 13                         part because Qualcomm has not stated a viable claim that
 14                         entitles it to a monetary recovery.
 15                               Qualcomm’s Counterclaim is barred in whole or in
 16                         part because Qualcomm is not entitled to injunctive relief,
 17                         including because Qualcomm has not suffered an
 18                         irreparable injury, Qualcomm has adequate remedies at
 19                         law to compensate for any alleged injury, the balance of
 20                         hardships does not warrant this equitable remedy, and/or
 21                         such relief would disserve the public interest.
 22                               Qualcomm’s Counterclaim is barred in whole or in
 23                         part because Qualcomm is not entitled to attorneys’ fees,
 24                         interest, expenses, costs, disbursements, or any other relief
 25                         in connection with this action.
 26                               Qualcomm’s Counterclaim is barred in whole or in
 27                         part because Qualcomm is not entitled to punitive
 28                         damages, including because Apple did not act with


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  1                         oppression, fraud, or malice, and/or Qualcomm cannot
  2                         prove the same by clear and convincing evidence.
  3             2.    COUNT II: DECLARATION THAT QUALCOMM’S
  4             LICENSE AGREEMENTS WITH THE CONTRACT
  5             MANUFACTURERS DO NOT VIOLATE QUALCOMM’S FRAND
  6             COMMITMENTS TO ETSI (QC Counterclaims ¶¶ 298-313)
  7                         There is a substantial and actual controversy between
  8                   Qualcomm and Apple having adverse legal interests, of
  9                   sufficient immediacy and reality.
 10                         Qualcomm seeks a declaration that each of its license
 11                   agreements with the CMs, listed below, does not violate
 12                   Qualcomm’s FRAND commitments to ETSI:
 13                               Compal Subscriber Unit Licensing Agreement,
 14                         dated February 10, 2000, as amended;
 15                               Foxconn Subscriber Unit License Agreement, dated
 16                         October 18, 2005, as amended;
 17                               Wistron Subscriber Unit License Agreement, dated
 18                         May 23, 2007; and
 19                               Pegatron Subscriber Unit License Agreement, dated
 20                         April 29, 2010, as amended.
 21                         Damages Sought:
 22                               None.
 23                         Additional Relief Sought:
 24                               Reasonable attorneys’ fees to Qualcomm;
 25                               Expenses, costs, and disbursements in this action;
 26                         and
 27                               Such other and further relief as the Court deems just
 28                         and proper.


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  1                         Applicable Defenses:
  2                               Qualcomm’s Counterclaim is barred in whole or in
  3                         part based on the allegations set forth in Apple’s First
  4                         Amended Complaint.
  5                               Qualcomm’s Counterclaim is barred in whole or in
  6                         part because Qualcomm’s claimed royalties are non-
  7                         FRAND.
  8                               Qualcomm’s Counterclaim is barred because
  9                         Qualcomm’s SULAs (as set forth above in Qualcomm’s
 10                         Count II and referred to in defense to this Count II as
 11                         Qualcomm’s SULAs) seek payments on noninfringed,
 12                         nonessential, invalid, exhausted, and expired patents.
 13                               Qualcomm’s Counterclaim is barred in whole or in
 14                         part because Qualcomm’s SULAs are anticompetitive.
 15                               Qualcomm’s Counterclaim is barred in whole or in
 16                         part because Qualcomm’s SULAs violate the Sherman
 17                         Act, 15 U.S.C. § 2.
 18                               Qualcomm’s Counterclaim is barred in whole or in
 19                         part because Qualcomm’s SULAs violate Cal. Bus. &
 20                         Prof. Code §§ 17200, et seq.
 21                               Qualcomm’s Counterclaim is barred in whole or in
 22                         part because Qualcomm’s SULAs are unlawful acts.
 23                               Qualcomm’s Counterclaim is barred in whole or in
 24                         part because Qualcomm failed to timely disclose its
 25                         essential IPR, and to disclose its IPR in good faith,
 26                         pursuant to Clause 4.1 of ETSI Rules of Procedure.
 27                               Qualcomm’s Counterclaim is barred in whole or in
 28                         part because Qualcomm failed to license its cellular SEPs


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  1                         under FRAND terms and conditions.
  2                               Qualcomm’s Counterclaim is barred in whole or in
  3                         part because it is immaterial if Qualcomm complied with
  4                         ETSI rules if Qualcomm violated other relevant SSO rules.
  5                               Qualcomm’s Counterclaim is barred in whole or in
  6                         part by the doctrine of unclean hands.
  7                               Qualcomm’s Counterclaim is barred in whole or in
  8                         part because it is nonjusticiable.
  9                               Qualcomm’s Counterclaim is barred in whole or in
 10                         part because there is no active case or controversy under
 11                         the Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202,
 12                         and Qualcomm is seeking an advisory opinion.
 13                               Qualcomm is not entitled to the declaration it seeks
 14                         because Qualcomm’s SULAs with the Contract
 15                         Manufacturers violate Qualcomm’s FRAND
 16                         Commitments to ETSI.
 17                               Qualcomm’s Counterclaim is barred in whole or in
 18                         part because the Court lacks subject-matter jurisdiction.
 19                               Qualcomm’s Counterclaim is barred in whole or in
 20                         part by the doctrines of res judicata and collateral estoppel.
 21                               Qualcomm’s Counterclaim is barred in whole or in
 22                         part by the doctrine of unenforceability and/or illegality,
 23                         including without limitation unenforceability as against
 24                         public policy.
 25                               Qualcomm’s Counterclaim is barred in whole or in
 26                         part because Qualcomm’s SULAs are substantively and/or
 27                         procedurally unconscionable.
 28                               Qualcomm’s Counterclaim is barred in whole or in


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  1                         part because Qualcomm has breached its obligations under
  2                         relevant contracts.
  3                               Qualcomm’s Counterclaim is barred in whole or in
  4                         part because Qualcomm has breached the implied
  5                         covenant of good faith and fair dealing under relevant
  6                         contracts.
  7                               Qualcomm’s Counterclaim is barred in whole or in
  8                         part because Qualcomm is not entitled to attorneys’ fees,
  9                         interest, costs, expenses, disbursements, or any other relief
 10                         in connection with this action.
 11                               Qualcomm’s Counterclaim is barred because
 12                         Qualcomm is not entitled to the declaratory relief sought.
 13             3.    COUNT III: DECLARATION THAT QUALCOMM’S
 14             LICENSE AGREEMENTS WITH THE CONTRACT
 15             MANUFACTURERS DO NOT VIOLATE COMPETITION LAW
 16             (QC Counterclaims ¶¶ 314-28)
 17                         There is a substantial and actual controversy between
 18                   Qualcomm and Apple having adverse legal interests, of
 19                   sufficient immediacy and reality.
 20                         Qualcomm seeks a declaration that each of its license
 21                   agreements with the CMs, listed below, does not violate Section
 22                   2 of the Sherman Act, 15 U.S.C. § 2, and California Business
 23                   and Professions Code § 17200:
 24                               Compal Subscriber Unit Licensing Agreement,
 25                         dated February 10, 2000, as amended;
 26                               Foxconn Subscriber Unit License Agreement, dated
 27                         October 18, 2005, as amended;
 28                               Wistron Subscriber Unit License Agreement, dated


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  1                             May 23, 2007; and
  2                                   Pegatron Subscriber Unit License Agreement, dated
  3                             April 29, 2010, as amended.
  4                             Apple cannot demonstrate Qualcomm’s license
  5                      agreements with the CMs violate Section § 2 of the Sherman
  6                      Act, 15 U.S.C. § 2 and California Business and Professions Code
  7                      § 17200.
  8                                   The elements for Apple’s claim under Section 2 of
  9                             the Sherman Act, 15 U.S.C. § 2 are:
 10                                   (a)    The alleged markets are valid antitrust
 11                                   markets;
 12                                   (b)    the defendant possesses monopoly power in
 13                                   the relevant markets;
 14                                   (c)    the defendant has willfully acquired or
 15                                   maintained that power in those markets by engaging
 16                                   in anticompetitive conduct;
 17                                   (d)    defendant’s conduct occurred in or affected
 18                                   interstate or foreign commerce; and
 19                                   (e)    the plaintiff was injured in its business or
 20                                   property because of the defendant’s anticompetitive
 21                                   conduct.24
 22                                   The elements for Apple’s UCL claim are:
 23                                   (a)    Qualcomm engaged in unlawful conduct, i.e.,
 24
 25   24
        ABA Model Jury Instructions, Ch. 3; see also In re: Cathode Ray Tube (Crt)
 26   Antitrust, 2016 WL 5871243, at *3 (N.D. Cal. Oct. 7, 2016) (using the ABA Model
      Jury Instructions to outline the elements of an antitrust claim); Ninth Circuit Manual
 27
      on Model Jury Instructions, p. 285 (identifying the ABA Model Jury Instructions as
 28   sources for Sherman Act § 1 and § 2 jury instructions).


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  1                                  violated a federal, state, or municipal statute; and
  2                                  (b)     Apple suffered injury in fact and lost money
  3                                  or property as a result of Qualcomm’s unlawful
  4                                  conduct. 25
  5                           Damages Sought:
  6                                  None.
  7                           Additional Relief Sought:
  8                                  Reasonable attorneys’ fees to Qualcomm;
  9                                  Expenses, costs, and disbursements in this action;
 10                           and
 11                                  Such other and further relief as the Court deems just
 12                           and proper.
 13                           Applicable Defenses:
 14                                  Qualcomm’s Counterclaim is barred in whole or in
 15                           part because Qualcomm has engaged in violations of
 16                           competition law, for all the reasons stated in Apple’s First
 17                           Amended Complaint (Dkt. 83).
 18                                  Qualcomm is not entitled to the declaratory relief it
 19                           seeks because the SULAs as set forth above in
 20                           Qualcomm’s Count III and referred to in defense to this
 21                           Count III as Qualcomm’s SULAs) with the Contract
 22                           Manufacturers violate competition law.
 23                                  Qualcomm’s Counterclaim is barred in whole or in
 24
      25
 25     In re Act-Immune Marketing Litig., 2010 WL 3463491, at *6 (N.D. Cal. 2010);
      Lopez v. Stages of Beauty, LLC, 307 F. Supp.3d 1058, 1070-73 (S.D. Cal. 2018);
 26   Cel-Tech Comms., Inc. v. Los Angeles Cellular Telephone Co., 973 P.2d 527, 540
 27   (Cal. 1999) (“Section 17200 borrows violations of other laws and treats them as
      unlawful practices that the unfair competition law makes independently
 28   actionable.”).


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  1                         part because Qualcomm’s SULAs violate Section 2 of the
  2                         Sherman Act, 15 U.S.C. § 2.
  3                               Qualcomm’s Counterclaim is barred in whole or in
  4                         part because Qualcomm’s SULAs violate Cal. Bus. &
  5                         Prof. Code §§ 17200, et seq.
  6                               Qualcomm’s Counterclaim is barred in whole or in
  7                         part because Qualcomm failed to license its cellular SEPs
  8                         under FRAND terms and conditions.
  9                               Qualcomm’s Counterclaim is barred in whole or in
 10                         part because Qualcomm’s SULAs seek payments on
 11                         noninfringed, nonessential, invalid, exhausted, and expired
 12                         patents.
 13                               Qualcomm’s Counterclaim is barred in whole or in
 14                         part because Qualcomm’s SULAs are substantively and/or
 15                         procedurally unconscionable.
 16                               Qualcomm’s Counterclaim is barred in whole or in
 17                         part because Qualcomm has misinterpreted the SULAs as
 18                         not violating the competition laws.
 19                               Qualcomm’s Counterclaim is barred in whole or in
 20                         part by the doctrines of res judicata and collateral estoppel.
 21                               Qualcomm’s Counterclaim is barred in whole or in
 22                         part by the doctrine of unclean hands.
 23                               Qualcomm’s Counterclaim is barred in whole or in
 24                         part by the doctrine of unenforceability and/or illegality,
 25                         including without limitation unenforceability as against
 26                         public policy.
 27                               Qualcomm’s Counterclaim is barred in whole or in
 28                         part because Qualcomm has breached the implied


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  1                         covenant of good faith and fair dealing in relevant
  2                         contracts.
  3                                 Qualcomm’s Counterclaim is barred in whole or in
  4                         part because Qualcomm has breached its obligations under
  5                         relevant contracts.
  6                                 Qualcomm’s Counterclaim is barred in whole or in
  7                         part because Qualcomm is not entitled to attorneys’ fees,
  8                         interest, expenses, costs, disbursements, or any other relief
  9                         in connection with this action.
 10                                 Qualcomm’s Counterclaim is barred because
 11                         Qualcomm is not entitled to the declaratory relief sought.
 12             4.    COUNT IV: DECLARATION THAT QUALCOMM HAS
 13             SATISFIED AND DISCHARGED ITS FRAND COMMITMENTS
 14             TO ETSI WITH RESPECT TO APPLE (QC Counterclaims ¶¶ 329-45)
 15                         There is a substantial and actual controversy between
 16                   Qualcomm and Apple having adverse legal interests, of
 17                   sufficient immediacy and reality.
 18                         Qualcomm seeks a declaration that its FRAND
 19                   commitments with respect to Apple have been satisfied and
 20                   discharged.
 21                         Damages Sought
 22                                 None.
 23                         Additional Relief Sought
 24                                 Reasonable attorneys’ fees to Qualcomm;
 25                                 Expenses, costs, and disbursements in this action;
 26                         and
 27                                 Such other and further relief as the Court deems just
 28                         and proper.


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  1                         Applicable Defenses
  2                               Qualcomm’s Counterclaim is barred in whole or in
  3                         part based on the allegations set forth in Apple’s First
  4                         Amended Complaint.
  5                               Qualcomm is not entitled to the declaration it seeks
  6                         because its FRAND commitments with respect to Apple
  7                         have not been satisfied and discharged.
  8                               Qualcomm’s Counterclaim is barred in whole or in
  9                         part because Qualcomm failed to license its cellular SEPs
 10                         under FRAND terms and conditions.
 11                               Qualcomm’s Counterclaim is barred in whole or in
 12                         part because Qualcomm’s declaration seeks royalties on
 13                         noninfringed, nonessential, invalid, exhausted, and expired
 14                         patents.
 15                               Qualcomm’s Counterclaim is barred in whole or in
 16                         part because Qualcomm’s SULAs with the CMs are
 17                         anticompetitive.
 18                               Qualcomm’s Counterclaim is barred in whole or in
 19                         part because Qualcomm’s SULAs violate the Sherman
 20                         Act, 15 U.S.C. § 2.
 21                               Qualcomm’s Counterclaim is barred in whole or in
 22                         part because Qualcomm’s SULAs violate Cal. Bus. &
 23                         Prof. Code §§ 17200, et seq.
 24                               Qualcomm’s Counterclaim is barred in whole or in
 25                         part because Qualcomm’s SULAs are unlawful acts.
 26                               Qualcomm’s Counterclaim is barred in whole or in
 27                         part because Qualcomm failed to timely disclose its
 28                         essential IPR, and disclose its IPR in good faith, pursuant


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  1                         to Clause 4.1 of ETSI Rules of Procedure.
  2                               Qualcomm’s Counterclaim is barred in whole or in
  3                         part by the doctrine of unclean hands.
  4                               Qualcomm’s Counterclaim is barred in whole or in
  5                         part because there is no active case or controversy under
  6                         the Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202,
  7                         and Qualcomm is seeking an advisory opinion.
  8                               Qualcomm’s Counterclaim is barred in whole or in
  9                         part because the Court lacks subject-matter jurisdiction.
 10                               Qualcomm’s Counterclaim is barred in whole or in
 11                         part because it is nonjusticiable.
 12                               Qualcomm’s Counterclaim is barred in whole or in
 13                         part because it is immaterial if Qualcomm complied with
 14                         ETSI rules if Qualcomm violated other relevant SSO rules.
 15                               Qualcomm’s Counterclaim is barred in whole or in
 16                         part by the doctrines of res judicata and collateral estoppel.
 17                               Qualcomm’s Counterclaim is barred in whole or in
 18                         part because Qualcomm has breached its obligations under
 19                         the relevant contracts.
 20                               Qualcomm’s Counterclaim is barred in whole or in
 21                         part because Qualcomm has breached the implied
 22                         covenant of good faith and fair dealing under the relevant
 23                         contracts.
 24                               Qualcomm’s Counterclaim is barred in whole or in
 25                         part because Apple is a willing licensee.
 26                               Qualcomm’s Counterclaim is barred in whole or in
 27                         part because Apple did not do or is not responsible for the
 28                         acts complained of.


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  1                                  Qualcomm’s Counterclaim is barred in whole or in
  2                            part because Apple’s actions were justified.
  3                                  Qualcomm’s Counterclaim is barred in whole or in
  4                            part because Qualcomm is not entitled to attorneys’ fees,
  5                            expenses, costs, interest, disbursements, or any other relief
  6                            in connection with this action.
  7                                  Qualcomm’s Counterclaim is barred because
  8                            Qualcomm is not entitled to the declaratory relief sought.
  9               5.    COUNT V: BREACH OF THE STATEMENT OF WORK,
 10               DATED FEBRUARY 28, 2013 (QC Counterclaims ¶¶ 346-54)
 11                            Applicable Elements
 12                                  Qualcomm and Apple entered into a contract titled,
 13                            “Statement of Work for Qualcomm Chipsets,” dated
 14                            February 28, 2013 (“2013 SOW”);
 15                                  Qualcomm’s performance or excuse of
 16                            nonperformance;
 17                                  Apple breached the 2013 SOW;
 18                                  Qualcomm was harmed; and
 19                                  Apple’s breach was a substantial factor in causing
 20                            Qualcomm’s harm. 26
 21                            Damages Sought
 22                                  Damages in an amount to be proven at trial. (See,
 23                            e.g., Expert Report of Ambreen Salters.)
 24
 25   26
        CACI No. 303; see also Richman v. Hartley, 224 Cal. App. 4th 1182, 1186 (Cal.
 26   Ct. App. 2014) (cited by CACI); Barcel USA, LLC v. Baja Distributors, Inc., 2014
      WL 12539699, at *3 (S.D. Cal. Jan. 7, 2014) (using CACI to state the elements of a
 27   claim); Marlo v. United Parcel Serv., Inc., 890 F. Supp. 2d 1243, 1245 (C.D. Cal.
 28   2012) (“The CACI instructions ‘are approved by the Judicial Council as the state’s
      official jury instructions under the California Rules of Court’”.).

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  1                         Additional Relief Sought
  2                               Reasonable attorneys’ fees to Qualcomm;
  3                               Expenses, costs, and disbursements in this action,
  4                         including prejudgment interest; and
  5                               Such other and further relief as the Court deems just
  6                         and proper.
  7                         Applicable Defenses
  8                               Qualcomm’s Counterclaim is barred in whole or in
  9                         part because Qualcomm failed to meet its burden of
 10                         proving the elements of the claim.
 11                               Qualcomm’s Counterclaim is barred in whole or in
 12                         part because Qualcomm has misinterpreted the contract.
 13                               Qualcomm’s Counterclaim is barred in whole or in
 14                         part because Apple did not do or is not responsible for the
 15                         acts complained of.
 16                               Qualcomm’s Counterclaim is barred in whole or in
 17                         part by the doctrine of estoppel.
 18                               Qualcomm’s Counterclaim is barred in whole or in
 19                         part by the doctrine of waiver.
 20                               Qualcomm’s Counterclaim is barred in whole or in
 21                         part by the doctrine of unclean hands.
 22                               Qualcomm’s Counterclaim is barred in whole or in
 23                         part because of ratification, agreement, acquiescence or
 24                         consent to Apple’s alleged conduct.
 25                               Qualcomm’s Counterclaim is barred in whole or in
 26                         part because Apple satisfied its obligations, both
 27                         contractual and otherwise, in all material respects.
 28                               Qualcomm’s Counterclaim is barred in whole or in


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  1                         part because the contract does not impose the obligations
  2                         on Apple that Qualcomm claims were breached.
  3                                   Qualcomm’s Counterclaim is barred in whole or in
  4                         part by equitable and/or statutory setoff.
  5                                   To the extent that Qualcomm has suffered damages,
  6                         if at all, all damages were caused by Qualcomm’s own
  7                         actions.
  8                                   Qualcomm’s Counterclaim is barred in whole or in
  9                         part because Qualcomm is not entitled to attorneys’ fees,
 10                         expenses, costs, interest, disbursements, or any other relief
 11                         in connection with this action.
 12                                   Qualcomm’s Counterclaim is barred in whole or in
 13                         part because it has not suffered actual, cognizable injury;
 14                         has suffered no damages; and/or the alleged injury is too
 15                         speculative and uncertain so that it is impossible to
 16                         ascertain and allocate such alleged damages with
 17                         reasonable certainty.
 18                                   Qualcomm’s Counterclaim is barred in whole or in
 19                         part because of a lack of causation, including without
 20                         limitation because any injuries or damages that may have
 21                         been suffered were caused solely or proximately by the
 22                         intervening and superseding acts and omissions of others
 23                         over whom Apple had no power, authority, or control, and
 24                         because Qualcomm’s injury or damages were not
 25                         proximately caused by any act or omission of Apple.
 26                                   Qualcomm’s Counterclaim is barred in whole or in
 27                         part because Qualcomm is not entitled to any monetary
 28                         relief.


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  1               6.    COUNT VI: BREACH OF THE BUSINESS COOPERATION
  2               AND PATENT AGREEMENT (QC Counterclaims ¶¶ 355-61)
  3                            Applicable Elements:
  4                                  Apple and Qualcomm entered into a contract titled,
  5                            “Business Cooperation and Patent Agreement,” dated
  6                            January 1, 2013 (“BCPA”);
  7                                  Qualcomm’s performance or excuse of
  8                            nonperformance;
  9                                  Apple breached the BCPA;
 10                                  Qualcomm was harmed; and
 11                                  Apple’s breach was a substantial factor in causing
 12                            Qualcomm’s harm. 27
 13                            Damages Sought:
 14                                  Damages, including but not limited to restitutionary
 15                            damages, in an amount to be proven at trial. (See, e.g.,
 16                            Expert Report of Ambreen Salters.)
 17                            Additional Relief Sought:
 18                                  Reasonable attorneys’ fees to Qualcomm;
 19                                  Expenses, costs, and disbursements in this action,
 20                            including prejudgment interest; and
 21                                  Such other and further relief as the Court deems just
 22                            and proper.
 23                            Applicable Defenses:
 24
 25   27
        CACI No. 303; see also Richman v. Hartley, 224 Cal. App. 4th 1182, 1186 (Cal.
 26   Ct. App. 2014) (cited by CACI); Barcel USA, LLC v. Baja Distributors, Inc., 2014
      WL 12539699, at *3 (S.D. Cal. Jan. 7, 2014) (using CACI to state the elements of a
 27   claim); Marlo v. United Parcel Serv., Inc., 890 F. Supp. 2d 1243, 1245 (C.D. Cal.
 28   2012) (“The CACI instructions ‘are approved by the Judicial Council as the state’s
      official jury instructions under the California Rules of Court’”.).

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  1                               Qualcomm’s Counterclaim is barred in whole or in
  2                         part based on the allegations set forth in Apple’s First
  3                         Amended Complaint.
  4                               Qualcomm’s Counterclaim is barred for all the
  5                         reasons stated in Apple’s Motion for Summary Judgment
  6                         on BCPA. Counterclaims (Counterclaims VI, VII, VIII,
  7                         IX) (Dkt. 602).
  8                               Qualcomm’s Counterclaim is barred, in whole in
  9                         part, because Qualcomm failed to meet its burden of
 10                         proving the elements of the claim.
 11                               Qualcomm’s Counterclaim is barred in whole or in
 12                         part because Qualcomm has misinterpreted the BCPA.
 13                               Qualcomm’s Counterclaim is barred in whole or in
 14                         part because Qualcomm was aware of the parties’ course
 15                         of conduct at the time of entering into the BCPA.
 16                               Qualcomm’s Counterclaim is barred in whole or in
 17                         part because Apple did not do or is not responsible for the
 18                         acts complained of.
 19                               Qualcomm’s Counterclaim is barred in whole or in
 20                         part by the doctrine of laches.
 21                               Qualcomm’s Counterclaim is barred in whole or in
 22                         part by the doctrine of estoppel.
 23                               Qualcomm’s Counterclaim is barred in whole or in
 24                         part by the doctrine of waiver.
 25                               Qualcomm’s Counterclaim is barred in whole or in
 26                         part by the doctrine of unclean hands.
 27                               Qualcomm’s Counterclaim is barred in whole or in
 28                         part because of ratification, agreement, acquiescence or


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  1                         consent to Apple’s alleged conduct.
  2                               Qualcomm’s Counterclaim is barred in whole or in
  3                         part because Apple satisfied its obligations, both
  4                         contractual and otherwise, in all material respects.
  5                               Qualcomm’s Counterclaim is barred in whole or in
  6                         part because it has not suffered actual, cognizable injury;
  7                         has suffered no damages; and/or the alleged injury is too
  8                         speculative and uncertain so that it is impossible to
  9                         ascertain and allocate such alleged damages with
 10                         reasonable certainty.
 11                               Qualcomm’s Counterclaim is barred in whole or in
 12                         part because of a lack of causation, including without
 13                         limitation because any injuries or damages that may have
 14                         been suffered were caused solely or proximately by the
 15                         intervening and superseding acts and omissions of others
 16                         over whom Apple had no power, authority, or control, and
 17                         because Qualcomm’s injury or damages were not
 18                         proximately caused by any act or omission of Apple.
 19                               Qualcomm’s Counterclaim is barred in whole or in
 20                         part because the contract alleged to have been interfered
 21                         with was not actually breached or disrupted.
 22                               Qualcomm’s Counterclaim is barred in whole or in
 23                         part because Apple did not breach the contracts at issue,
 24                         and/or any breach was not material.
 25                               Qualcomm’s Counterclaim is barred in whole or in
 26                         part by the doctrine of unenforceability and/or illegality,
 27                         including without limitation unenforceability as against
 28                         public policy.


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  1                               Qualcomm’s Counterclaim is barred in whole or in
  2                         part by Cal. Civ. Code § 47.
  3                               Qualcomm’s Counterclaim is barred in whole or in
  4                         part because if Qualcomm’s claim and interpretation are
  5                         credited, Section 7 of the BCPA would constitute an
  6                         unenforceable liquidated damages provision under Cal.
  7                         Civ. Code § 1671.
  8                               Qualcomm’s Counterclaim is barred in whole or in
  9                         part because Qualcomm has breached its obligations in the
 10                         BCPA.
 11                               Qualcomm’s Counterclaim is barred in whole or in
 12                         part because Qualcomm has breached the implied
 13                         covenant of good faith and fair dealing in the BCPA.
 14                               Qualcomm’s Counterclaim is barred in whole or in
 15                         part because the contract at issue has expired.
 16                               Qualcomm’s Counterclaim is barred in whole or in
 17                         part because the BCPA does not impose the obligations on
 18                         Apple that Qualcomm claims were breached.
 19                               Qualcomm’s Counterclaim is barred in whole or in
 20                         part by equitable and/or statutory setoff.
 21                               Qualcomm’s Counterclaim is barred in whole or in
 22                         part because Apple’s actions were justified and/or
 23                         privileged.
 24                               To the extent that Qualcomm has suffered damages,
 25                         if at all, all damages were caused by Qualcomm’s own
 26                         actions.
 27                               Qualcomm’s Counterclaim is barred in whole or in
 28                         part because Qualcomm is not entitled to restitution or


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  1                            disgorgement of profits.
  2                                      Qualcomm’s Counterclaim is barred in whole or in
  3                            part because Qualcomm is not entitled to attorneys’ fees,
  4                            expenses, costs, interest, disbursements, or any other relief
  5                            in connection with this action.
  6                                      Qualcomm’s Counterclaim is barred in whole or in
  7                            part because Qualcomm is not entitled to any monetary
  8                            relief.
  9               7.     COUNT VII: BREACH OF IMPLIED COVENANT OF GOOD
 10               FAITH AND FAIR DEALING (QC Counterclaims ¶¶ 362-71)
 11                            Applicable Elements:
 12                                      Apple and Qualcomm entered into the BCPA;
 13                                      Qualcomm’s performance or excuse of
 14                            nonperformance;
 15                                      Apple unfairly interfered with Qualcomm’s right to
 16                            receive the benefits of the BCPA;
 17                                      Qualcomm was harmed; and
 18                                      Apple’s conduct was a substantial factor in causing
 19                            Qualcomm’s harm. 28
 20                            Damages Sought:
 21                                      Damages, including but not limited to restitutionary
 22                            damages, in an amount to be proven at trial. (See, e.g.,
 23                            Expert Report of Ambreen Salters.)
 24                            Additional Relief Sought:
 25
      28
 26     CACI No. 325; see also Barcel USA, LLC v. Baja Distributors, Inc., 2014 WL
      12539699, at *3 (S.D. Cal. Jan. 7, 2014) (using CACI to state the elements of a
 27   claim); Marlo v. United Parcel Serv., Inc., 890 F. Supp. 2d 1243, 1245 (C.D. Cal.
 28   2012) (“The CACI instructions ‘are approved by the Judicial Council as the state’s
      official jury instructions under the California Rules of Court’”.).

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  1                               Reasonable attorneys’ fees to Qualcomm;
  2                               Expenses, costs, and disbursements in this action,
  3                         including prejudgment interest; and
  4                               Such other and further relief as the Court deems just
  5                         and proper.
  6                         Applicable Defenses:
  7                               Qualcomm’s Counterclaim is barred in whole or in
  8                         part based on the allegations set forth in Apple’s First
  9                         Amended Complaint.
 10                                Qualcomm’s Counterclaim is barred in whole or in
 11                         part for all the reasons stated in Apple’s Motion for
 12                         Summary Judgment on BCPA Counterclaims
 13                         (Counterclaims VI, VII, VIII, IX) (Dkt. 602).
 14                               Qualcomm’s Counterclaim is barred in whole or in
 15                         part because Qualcomm failed to meet its burden of
 16                         proving the elements of the Breach of Implied Covenant of
 17                         Good Faith and Fair Dealing claim.
 18                               Qualcomm’s Counterclaim is barred in whole or in
 19                         part because it is superfluous of Qualcomm’s
 20                         Counterclaim VI.
 21                               Qualcomm’s Counterclaim is barred in whole or in
 22                         part because Qualcomm has misinterpreted the BCPA.
 23                               Qualcomm’s Counterclaim is barred in whole or in
 24                         part because Qualcomm was aware of the parties’ course
 25                         of conduct at the time of entering into the BCPA.
 26                               Qualcomm’s Counterclaim is barred in whole or in
 27                         part because Apple did not do or is not responsible for the
 28                         acts complained of.


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  1                               Qualcomm’s Counterclaim is barred in whole or in
  2                         part by the doctrine of laches.
  3                               Qualcomm’s Counterclaim is barred in whole or in
  4                         part by the doctrine of estoppel.
  5                               Qualcomm’s Counterclaim is barred in whole or in
  6                         part by the doctrine of waiver.
  7                               Qualcomm’s Counterclaim is barred in whole or in
  8                         part by the doctrine of unclean hands.
  9                               Qualcomm’s Counterclaim is barred in whole or in
 10                         part because of ratification, agreement, acquiescence or
 11                         consent to Apple’s alleged conduct.
 12                               Qualcomm’s Counterclaim is barred in whole or in
 13                         part because Apple satisfied its obligations, both
 14                         contractual and otherwise, in all material respects.
 15                               Qualcomm’s Counterclaim is barred in whole or in
 16                         part because it has not suffered actual, cognizable injury;
 17                         has suffered no damages; and/or the alleged injury is too
 18                         speculative and uncertain so that it is impossible to
 19                         ascertain and allocate such alleged damages with
 20                         reasonable certainty.
 21                               Qualcomm’s Counterclaim is barred in whole or in
 22                         part because of a lack of causation, including without
 23                         limitation because any injuries or damages that may have
 24                         been suffered were caused solely or proximately by the
 25                         intervening and superseding acts and omissions of others
 26                         over whom Apple had no power, authority, or control, and
 27                         because Qualcomm’s injury or damages were not
 28                         proximately caused by any act or omission of Apple.


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  1                               Qualcomm’s Counterclaim is barred in whole or in
  2                         part because the contracts alleged to have been interfered
  3                         with were not actually breached or disrupted.
  4                               Qualcomm’s Counterclaim is barred in whole or in
  5                         part because Apple did not breach the contracts at issue,
  6                         and/or any breach was not material.
  7                               Qualcomm’s Counterclaim is barred in whole or in
  8                         part by the doctrine of unenforceability and/or illegality,
  9                         including without limitation unenforceability as against
 10                         public policy.
 11                               Qualcomm’s Counterclaim is barred in whole or in
 12                         part by Cal. Civ. Code § 47.
 13                               Qualcomm’s Counterclaim is barred in whole or in
 14                         part because if Qualcomm’s claim and interpretation are
 15                         credited, Section 7 of the BCPA would constitute an
 16                         unenforceable liquidated damages provision under Cal.
 17                         Civ. Code § 1671.
 18                               Qualcomm’s Counterclaim is barred in whole or in
 19                         part because Qualcomm has breached its obligations under
 20                         the relevant contract.
 21                               Qualcomm’s Counterclaim is barred in whole or in
 22                         part because Qualcomm has breached the implied
 23                         covenant of good faith and fair dealing under the relevant
 24                         contract.
 25                               Qualcomm’s Counterclaim is barred in whole or in
 26                         part because the contract at issue has expired.
 27                               Qualcomm’s Counterclaim is barred in whole or in
 28                         part because the contract does not impose the obligations


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  1                         on Apple that Qualcomm claims were breached.
  2                                   Qualcomm’s Counterclaim is barred in whole or in
  3                         part by lack of intent or scienter.
  4                                   Qualcomm’s Counterclaim is barred in whole or in
  5                         part by equitable and/or statutory setoff.
  6                                   Qualcomm’s Counterclaim is barred in whole or in
  7                         part because Apple’s actions were justified and/or
  8                         privileged.
  9                                   To the extent that Qualcomm has suffered damages,
 10                         if at all, all damages were caused by Qualcomm’s own
 11                         actions.
 12                                   Qualcomm’s Counterclaim is barred in whole or in
 13                         part because Qualcomm is not entitled to restitution or
 14                         disgorgement of profits.
 15                                   Qualcomm’s Counterclaim is barred in whole or in
 16                         part because Qualcomm is not entitled to attorneys’ fees,
 17                         expenses, costs, interest, disbursements, or any other relief
 18                         in connection with this action.
 19                                   Qualcomm’s Counterclaim is barred in whole or in
 20                         part because Qualcomm is not entitled to any monetary
 21                         relief.
 22             8.    COUNT VIII: UNJUST ENRICHMENT (QC Counterclaims ¶¶
 23             372-74)
 24                         Applicable Elements:
 25                                   Apple’s receipt of BCPA payments constituted a
 26                         benefit Apple received from Qualcomm; and
 27                                   Apple’s retention of the benefit at the expense of
 28


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  1                             Qualcomm would be unjust. 29
  2                             Damages Sought:
  3                                   Restitution for the value of unjustly retained
  4                             payments made by Qualcomm under the BCPA in an
  5                             amount to be proven at trial. (See, e.g., Expert Report of
  6                             Ambreen Salters.)
  7                             Additional Relief Sought:
  8                                   Reasonable attorneys’ fees to Qualcomm;
  9                                   Expenses, costs, and disbursements in this action,
 10                             including prejudgment interest; and
 11                                   Such other and further relief as the Court deems just
 12                             and proper.
 13                             Applicable Defenses:
 14                                   Qualcomm’s Counterclaim is barred in whole or in
 15                             part based on the allegations set forth in Apple’s First
 16                             Amended Complaint.
 17                                    Qualcomm’s Counterclaim is barred for all the
 18                             reasons stated in Apple’s Motion for Summary Judgment
 19                             on BCPA Counterclaims (Counterclaims VI, VII, VIII,
 20                             IX) (Dkt. 602).
 21                                   Qualcomm’s Counterclaim is barred in whole or in
 22                             part because the BCPA was a valid, binding, and
 23                             enforceable contract.
 24                                   Qualcomm’s Counterclaim is barred in whole or in
 25                             part because Apple did not unjustly retain any benefits,
 26
      29
        In re Nat’l W. Life Ins. Deferred Annuities Litig., 268 F.R.D. 652, 668 (S.D. Cal.
 27   2010) (citing Peterson v. Cellco P’ship, 80 Cal. Rptr. 3d 316, 323 (Cal. Ct. App.
 28   2008)); Weiner v. Ocwen Financial Corp,. 2015 WL 4599427, at *12 (E.D. Cal.
      July 29, 2015).

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  1                         and therefore Qualcomm cannot meet its burden of
  2                         proving the elements of this claim.
  3                               Qualcomm’s Counterclaim is barred in whole or in
  4                         part because Qualcomm obtained the benefits of its
  5                         bargain.
  6                               Qualcomm’s Counterclaim is barred in whole or in
  7                         part because Qualcomm was aware of the parties’ course
  8                         of conduct at the time of entering into the BCPA.
  9                               Qualcomm’s Counterclaim is barred in whole or in
 10                         part because Section 7 is unambiguous.
 11                               Qualcomm’s Counterclaim is barred in whole or in
 12                         part because Qualcomm has misinterpreted the BCPA.
 13                               Qualcomm’s Counterclaim is barred in whole or in
 14                         part because Qualcomm’s subjective misinterpretation of
 15                         the BCPA is irrelevant to whether the agreement is valid
 16                         and enforceable.
 17                               Qualcomm’s Counterclaim is barred in whole or in
 18                         part because Apple did not do or is not responsible for the
 19                         acts complained of.
 20                               Qualcomm’s Counterclaim is barred in whole or in
 21                         part by the doctrine of laches.
 22                               Qualcomm’s Counterclaim is barred in whole or in
 23                         part by the doctrine of estoppel.
 24                               Qualcomm’s Counterclaim is barred in whole or in
 25                         part by the doctrine of waiver.
 26                               Qualcomm’s Counterclaim is barred in whole or in
 27                         part by the doctrine of unclean hands.
 28                               Qualcomm’s Counterclaim is barred in whole or in


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  1                         part because of ratification, agreement, acquiescence or
  2                         consent to Apple’s alleged conduct.
  3                               Qualcomm’s Counterclaim is barred in whole or in
  4                         part by the doctrine of unjust enrichment.
  5                               Qualcomm’s Counterclaim is barred in whole or in
  6                         part because Apple satisfied its obligations, both
  7                         contractual and otherwise, in all material respects.
  8                               Qualcomm’s Counterclaim is barred in whole or in
  9                         part because it has not suffered actual, cognizable injury;
 10                         has suffered no damages; and/or the alleged injury is too
 11                         speculative and uncertain so that it is impossible to
 12                         ascertain and allocate such alleged damages with
 13                         reasonable certainty.
 14                               Qualcomm’s Counterclaim is barred in whole or in
 15                         part because of a lack of causation, including without
 16                         limitation because any injuries or damages that may have
 17                         been suffered were caused solely or proximately by the
 18                         intervening and superseding acts and omissions of others
 19                         over whom Apple had no power, authority, or control, and
 20                         because Qualcomm’s injury or damages were not
 21                         proximately caused by any act or omission of Apple.
 22                               Qualcomm’s Counterclaim is barred in whole or in
 23                         part because the contract alleged to have been interfered
 24                         with was not actually breached or disrupted.
 25                               Qualcomm’s Counterclaim is barred in whole or in
 26                         part because Apple did not breach the contract at issue,
 27                         and/or any breach was not material.
 28                               Qualcomm’s Counterclaim is barred in whole or in


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  1                         part by the doctrine of unenforceability and/or illegality,
  2                         including without limitation unenforceability as against
  3                         public policy.
  4                               Qualcomm’s Counterclaim is barred in whole or in
  5                         part by Cal. Civ. Code § 47.
  6                               Qualcomm’s Counterclaim is barred in whole or in
  7                         part because if Qualcomm’s claim and interpretation are
  8                         credited, Section 7 of the BCPA would constitute an
  9                         unenforceable liquidated damages provision under Cal.
 10                         Civ. Code § 1671.
 11                               Qualcomm’s Counterclaim is barred in whole or in
 12                         part because the contract at issue has expired.
 13                               Qualcomm’s Counterclaim is barred in whole or in
 14                         part because Qualcomm has breached its obligations under
 15                         the relevant contract.
 16                               Qualcomm’s Counterclaim is barred in whole or in
 17                         part because Qualcomm has breached the implied
 18                         covenant of good faith and fair dealing under the relevant
 19                         contract.
 20                               Qualcomm’s Counterclaim is barred in whole or in
 21                         part because the contract does not impose the obligations
 22                         on Apple that Qualcomm claims was breached.
 23                               Qualcomm’s Counterclaim is barred in whole or in
 24                         part by lack of intent or scienter.
 25                               Qualcomm’s Counterclaim is barred in whole or in
 26                         part by equitable and/or statutory setoff.
 27                               Qualcomm’s Counterclaim is barred in whole or in
 28                         part because Apple’s actions were justified and/or


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  1                         privileged.
  2                                To the extent that Qualcomm has suffered damages,
  3                         if at all, all damages were caused by Qualcomm’s own
  4                         actions.
  5                                Qualcomm’s Counterclaim is barred in whole or in
  6                         part because Qualcomm is not entitled to restitution or
  7                         disgorgement of profits.
  8                                Qualcomm’s Counterclaim is barred in whole or in
  9                         part because Qualcomm is not entitled to attorneys’ fees,
 10                         expenses, costs, interest, disbursements, or any other relief
 11                         in connection with this action.
 12             9.    COUNT IX: DECLARATION THAT QUALCOMM IS
 13             RELEASED FROM ANY OBLIGATION TO MAKE FURTHER
 14             PAYMENTS UNDER THE BUSINESS COOPERATION AND
 15             PATENT AGREEMENT (QC Counterclaims ¶¶ 375-80)
 16                         There is a substantial and actual controversy between
 17                   Qualcomm and Apple having adverse legal interests, of
 18                   sufficient immediacy and reality.
 19                         Qualcomm seeks a declaration that it is released from any
 20                   obligation to make further payments under the BCPA, including
 21                   those for the second, third and fourth quarters of 2016.
 22                         Damages Sought:
 23                                None.
 24                         Additional Relief Sought:
 25                                Reasonable attorneys’ fees to Qualcomm;
 26                                Expenses, costs, and disbursements in this action;
 27                         and
 28                                Such other and further relief as the Court deems just


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  1                         and proper.
  2                         Applicable Defenses:
  3                               Qualcomm’s Counterclaim is barred in whole or in
  4                         part based on the allegations set forth in Apple’s First
  5                         Amended Complaint.
  6                               Qualcomm’s Counterclaim is barred for all the
  7                         reasons stated in Apple’s Motion for Summary Judgment
  8                         on BCPA Counterclaims (Counterclaims VI, VII, VIII,
  9                         IX) (Dkt. 602).
 10                               Qualcomm’s Counterclaim is barred in whole or in
 11                         part because Qualcomm has misinterpreted the BCPA.
 12                               Qualcomm’s Counterclaim is barred in whole or in
 13                         part because Apple did not breach the BCPA and
 14                         Qualcomm is not excused from making further payments.
 15                               Qualcomm’s Counterclaim is barred in whole or in
 16                         part because the fact that Apple has brought litigation
 17                         alleging that Qualcomm failed to offer a license on
 18                         FRAND terms and conditions, and that the sale of a
 19                         Qualcomm chipset exhausts any Qualcomm patents, did
 20                         not relieve Qualcomm from its obligation to make
 21                         payments to Apple under the BCPA.
 22                               Qualcomm’s Counterclaim is barred in whole or in
 23                         part because Qualcomm was aware of the parties’ course
 24                         of conduct at the time of entering into the BCPA.
 25                               Qualcomm’s Counterclaim is barred in whole or in
 26                         part because Apple is entitled to the withheld payments
 27                         under the BCPA.
 28                               Qualcomm’s Counterclaim is barred in whole or in


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  1                         part because Apple did not do or is not responsible for the
  2                         acts complained of.
  3                               Qualcomm’s Counterclaim is barred in whole or in
  4                         part by the doctrine of laches.
  5                               Qualcomm’s Counterclaim is barred in whole or in
  6                         part by the doctrine of estoppel.
  7                               Qualcomm’s Counterclaim is barred in whole or in
  8                         part by the doctrine of waiver.
  9                               Qualcomm’s Counterclaim is barred in whole or in
 10                         part by the doctrine of unclean hands.
 11                               Qualcomm’s Counterclaim is barred in whole or in
 12                         part because of ratification, agreement, acquiescence or
 13                         consent to Apple’s alleged conduct.
 14                               Qualcomm’s Counterclaim is barred in whole or in
 15                         part because Apple satisfied its obligations, both
 16                         contractual and otherwise, in all material respects.
 17                               Qualcomm’s Counterclaim is barred in whole or in
 18                         part because it has not suffered actual, cognizable injury;
 19                         has suffered no damages; and/or the alleged injury is too
 20                         speculative and uncertain so that it is impossible to
 21                         ascertain and allocate such alleged damages with
 22                         reasonable certainty.
 23                               Qualcomm’s Counterclaim is barred in whole or in
 24                         part because of a lack of causation, including without
 25                         limitation because any injuries or damages that may have
 26                         been suffered were caused solely or proximately by the
 27                         intervening and superseding acts and omissions of others
 28                         over whom Apple had no power, authority, or control, and


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  1                         because Qualcomm’s injury or damages were not
  2                         proximately caused by any act or omission of Apple.
  3                               Qualcomm’s Counterclaim is barred in whole or in
  4                         part because the contract alleged to have been interfered
  5                         with was not actually breached or disrupted.
  6                               Qualcomm’s Counterclaim is barred in whole or in
  7                         part because Apple did not breach the contract at issue,
  8                         and/or any breach was not material.
  9                               Qualcomm’s Counterclaim is barred in whole or in
 10                         part by the doctrine of unenforceability and/or illegality,
 11                         including without limitation unenforceability as against
 12                         public policy.
 13                               Qualcomm’s Counterclaim is barred in whole or in
 14                         part by Cal. Civ. Code § 47.
 15                               Qualcomm’s Counterclaim is barred in whole or in
 16                         part because if Qualcomm’s claim and interpretation are
 17                         credited, Section 7 of the BCPA would constitute an
 18                         unenforceable liquidated damages provision under Cal.
 19                         Civ. Code § 1671.
 20                               Qualcomm’s Counterclaim is barred in whole or in
 21                         part because Qualcomm has breached its obligations under
 22                         the BCPA.
 23                               Qualcomm’s Counterclaim is barred in whole or in
 24                         part because Qualcomm has breached the implied
 25                         covenant of good faith and fair dealing in the BCPA.
 26                               Qualcomm’s Counterclaim is barred in whole or in
 27                         part because the contract at issue has expired.
 28                               Qualcomm’s Counterclaim is barred in whole or in


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  1                         part because the contract does not impose the obligations
  2                         on Apple that Qualcomm claims were breached.
  3                               Qualcomm’s Counterclaim is barred in whole or in
  4                         part by equitable and/or statutory setoff.
  5                               Qualcomm’s Counterclaim is barred in whole or in
  6                         part because Apple’s actions were justified and/or
  7                         privileged.
  8                               Qualcomm’s Counterclaim is barred in whole or in
  9                         part because Qualcomm is not entitled to restitution or
 10                         disgorgement of profits.
 11                               Qualcomm’s Counterclaim is barred in whole or in
 12                         part because Qualcomm is not entitled to attorneys’ fees,
 13                         expenses, costs, interest, disbursements, or any other relief
 14                         in connection with this action.
 15                               Qualcomm’s Counterclaim is barred in whole or in
 16                         part because Qualcomm is not entitled to the declaratory
 17                         relief sought.
 18             10.   COUNT XI: BREACH OF THE MASTER SOFTWARE
 19             AGREEMENT (QC Counterclaims ¶¶ 388-96)
 20                         Applicable Elements:
 21                               Apple and Qualcomm entered into a contract titled,
 22                         “Master Software Agreement For Limited Use” (“Apple
 23                         MSA”);
 24                               Qualcomm’s performance or excuse of
 25                         nonperformance;
 26                               Apple breached the Apple MSA;
 27                               Qualcomm was harmed; and
 28                               Apple’s breach was a substantial factor in causing


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  1                            Qualcomm’s harm. 30
  2                            Damages Sought:
  3                                  Damages in an amount to be proven at trial. (See,
  4                            e.g., Expert Report of Ambreen Salters.)
  5                            Additional Relief Sought:
  6                                  Injunction prohibiting Apple from continuing to
  7                            breach the Apple MSA;
  8                                  Reasonable attorneys’ fees to Qualcomm;
  9                                  Expenses, costs, and disbursements in this action,
 10                            including prejudgment interest; and
 11                                  Such other and further relief as the Court deems just
 12                            and proper.
 13                            Applicable Defenses:
 14                                  Qualcomm’s Counterclaim is barred in whole or in
 15                            part because Qualcomm has misinterpreted the MSA.
 16                                  Qualcomm’s Counterclaim is barred in whole or in
 17                            part because Qualcomm cannot meet its burden of proving
 18                            the elements of this breach-of-contract claim.
 19                                  Qualcomm’s Counterclaim is barred in whole or in
 20                            part because Apple did not do or is not responsible for the
 21                            acts complained of.
 22                                  Qualcomm’s Counterclaim is barred in whole or in
 23                            part by the doctrine of unclean hands.
 24
 25   30
        CACI No. 303; see also Richman v. Hartley, 224 Cal. App. 4th 1182, 1186 (Cal.
 26   Ct. App. 2014) (cited by CACI); Barcel USA, LLC v. Baja Distributors, Inc., 2014
      WL 12539699, at *3 (S.D. Cal. Jan. 7, 2014) (using CACI to state the elements of a
 27   claim); Marlo v. United Parcel Serv., Inc., 890 F. Supp. 2d 1243, 1245 (C.D. Cal.
 28   2012) (“The CACI instructions ‘are approved by the Judicial Council as the state’s
      official jury instructions under the California Rules of Court’”.).

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  1                               Qualcomm’s Counterclaim is barred in whole or in
  2                         part because Apple satisfied its obligations, both
  3                         contractual and otherwise, in all material respects.
  4                               Qualcomm’s Counterclaim is barred in whole or in
  5                         part because Qualcomm’s actions are anticompetitive.
  6                               Qualcomm’s Counterclaim is barred in whole or in
  7                         part because Qualcomm’s actions violate the Sherman
  8                         Act, 15 U.S.C. § 2.
  9                               Qualcomm’s Counterclaim is barred in whole or in
 10                         part because Qualcomm’s actions violate Cal. Bus. & Prof.
 11                         Code §§ 17200, et seq.
 12                               Qualcomm’s Counterclaim is barred in whole or in
 13                         part because it has not suffered actual, cognizable injury;
 14                         has suffered no damages; and/or the alleged injury is too
 15                         speculative and uncertain so that it is impossible to
 16                         ascertain and allocate such alleged damages with
 17                         reasonable certainty.
 18                               Qualcomm’s Counterclaim is barred in whole or in
 19                         part because of a lack of causation, including without
 20                         limitation because any injuries or damages that may have
 21                         been suffered were caused solely or proximately by the
 22                         intervening and superseding acts and omissions of others
 23                         over whom Apple had no power, authority, or control, and
 24                         because Qualcomm’s injury or damages were not
 25                         proximately caused by any act or omission of Apple.
 26                               Qualcomm’s Counterclaim is barred in whole or in
 27                         part because the contract alleged to have been interfered
 28                         with was not actually breached or disrupted.


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  1                               Qualcomm’s Counterclaim is barred in whole or in
  2                         part because Apple did not breach the contract at issue,
  3                         and/or any breach was not material.
  4                               Qualcomm’s Counterclaim is barred in whole or in
  5                         part by the doctrine of unenforceability and/or illegality,
  6                         including without limitation unenforceability as against
  7                         public policy.
  8                               Qualcomm’s Counterclaim is barred in whole or in
  9                         part by Cal. Civ. Code § 47.
 10                               Qualcomm’s Counterclaim is barred in whole or in
 11                         part because the contract does not impose the obligations
 12                         on Apple that Qualcomm claims were breached.
 13                               Qualcomm’s Counterclaim is barred in whole or in
 14                         part by equitable and/or statutory setoff.
 15                               Qualcomm’s Counterclaim is barred in whole or in
 16                         part because Apple’s actions were justified and/or
 17                         privileged.
 18                               To the extent that Qualcomm has suffered damages,
 19                         if at all, all damages were caused by Qualcomm’s own
 20                         actions.
 21                               Qualcomm’s Counterclaim is barred in whole or in
 22                         part because if Qualcomm’s claim and interpretation are
 23                         credited, the MSA would contain an unenforceable
 24                         liquidated damages provision under Cal. Civ. Code
 25                         § 1671.
 26                               Qualcomm’s Counterclaim is barred in whole or in
 27                         part because Qualcomm is not entitled to injunctive relief
 28                         as Qualcomm has not suffered an irreparable injury,


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  1                           Qualcomm has adequate remedies at law to compensate
  2                           for any alleged injury, the balance of hardships does not
  3                           warrant this equitable remedy, and/or such relief would
  4                           disserve the public interest.
  5                                     Qualcomm’s Counterclaim is barred in whole or in
  6                           part because Qualcomm is not entitled to restitution or
  7                           disgorgement.
  8                                     Qualcomm’s Counterclaim is barred in whole or in
  9                           part because Qualcomm is not entitled to attorneys’ fees,
 10                           expenses, costs, interest, disbursements, or any other relief
 11                           in connection with this action.
 12                                     Qualcomm’s Counterclaim is barred in whole or in
 13                           part because Qualcomm is not entitled to any monetary
 14                           relief.
 15         C.    CAUSES OF ACTION ALLEGED BY QUALCOMM, INC.
 16         AGAINST COMPAL ELECTRONICS, INC. (“COMPAL”), FIH
 17         MOBILE LTD. AND HON HAI PRECISION INDUSTRY CO., LTD.
 18         (TOGETHER, “FOXCONN”), PEGATRON CORPORATION
 19         (“PEGATRON”) AND WISTRON CORPORATION (“WISTRON”)
 20         (COLLECTIVELY, “CMS”).
 21         On May 17, 2017, Qualcomm filed a Complaint for Injunctive Relief,
 22   Specific Performance, Declaratory Relief and Damages against the CMs (“QC CM
 23   Complaint”). (Case No. 17-cv-1010-GPC-MDD, Dkt. No. 1.) The following causes
 24   of action from the QC CM Complaint shall be tried:
 25               1.    COUNT I: FOXCONN’S BREACH OF ITS LICENSE
 26               AGREEMENT (QC CM Complaint ¶¶ 127-43)
 27                           Applicable Elements
 28                                     Qualcomm and Foxconn entered into a contract


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  1                            titled, “Subscriber Unit License Agreement”, dated
  2                            October 18, 2005, as amended (“Foxconn SULA”);
  3                                  Qualcomm’s performance or excuse of
  4                            nonperformance;
  5                                  Foxconn breached the Foxconn SULA;
  6                                  Qualcomm was harmed; and
  7                                  Foxconn’s breach was a substantial factor in causing
  8                            Qualcomm’s harm. 31
  9                            Damages Sought
 10                                  Compensatory and consequential damages in
 11                            amounts to be proven at trial. (See, e.g., Expert Report of
 12                            Ambreen Salters.)
 13                            Additional Relief Sought
 14                                  Injunction prohibiting Foxconn from violating the
 15                            terms and conditions of the Foxconn SULA and requiring
 16                            Foxconn specifically to perform the obligations of the
 17                            Foxconn SULA;
 18                                  Reasonable attorneys’ fees to Qualcomm;
 19                                  Expenses, costs, and disbursements in this action,
 20                            including prejudgment interest; and
 21                                  Such other and further relief as the Court deems just
 22                            and proper.
 23
 24
      31
        CACI No. 303; see also Richman v. Hartley, 224 Cal. App. 4th 1182, 1186 (Cal.
 25   Ct. App. 2014) (cited by CACI); Barcel USA, LLC v. Baja Distributors, Inc., 2014
 26   WL 12539699, at *3 (S.D. Cal. Jan. 7, 2014) (using CACI to state the elements of a
      claim); Marlo v. United Parcel Serv., Inc., 890 F. Supp. 2d 1243, 1245 (C.D. Cal.
 27
      2012) (“The CACI instructions ‘are approved by the Judicial Council as the state’s
 28   official jury instructions under the California Rules of Court’”.).


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  1                            Applicable Defenses:32
  2                                   Qualcomm has not met its burden of proof on each
  3                            of the elements of this claim.
  4                                   Qualcomm’s claim is barred in whole or in part
  5                            because the “Foxconn SULA” does not impose the
  6                            obligations that Qualcomm claims were breached.
  7                                   The “Foxconn SULA” violates U.S. federal antitrust
  8                            law, including at least 15 U.S.C. § 1, and is therefore
  9                            illegal and unenforceable as alleged by Qualcomm.
 10                                   The “Foxconn SULA” violates U.S. federal antitrust
 11                            law, including at least 15 U.S.C. § 2, and is therefore
 12                            illegal and unenforceable as alleged by Qualcomm.
 13                                   The “Foxconn SULA” violates California Business
 14                            and Professions Code § 16700 et seq. and is therefore void
 15                            and unenforceable as alleged by Qualcomm.
 16                                   The “Foxconn SULA” is substantively and/or
 17                            procedurally unconscionable.
 18                                   The “Foxconn SULA” is unenforceable under
 19                            California’s Unfair Competition Laws, California
 20   32
        With respect to this Claim and every other claim asserted by Qualcomm, the CMs
 21   contend that Qualcomm is not entitled to any relief, whether in the form of
 22   declaratory, injunctive, or monetary relief (whether in the form of economic losses,
      punitive damages, disgorgement, or restitution), costs, attorneys’ fees, expenses,
 23   interest, or otherwise. The CMs’ position is that all of Qualcomm’s claims fail on
 24   the merits and Qualcomm cannot meet its burden with respect to any of them. The
      CMs reserve the right to amend the defenses they have identified. Furthermore, the
 25   CMs assert all of the defenses referenced herein for every claim without taking on
 26   (or relieving any other party of) the burden of proof for any element on which
      another party bears the burden of proof.
 27
 28   Qualcomm objects to the CMs’ purported reservation to amend their defenses at any
      time.

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  1                         Business and Professions Code §§ 17200, et seq..
  2                               The “Foxconn SULA” is unenforceable due to
  3                         public policy, patent misuse, and exhaustion of the
  4                         purportedly licensed patents.
  5                               The “Foxconn SULA” is unenforceable due to
  6                         Qualcomm’s contractual commitment to license its
  7                         standard-essential patents on FRAND terms, pursuant to
  8                         its contracts with standard-setting organizations including
  9                         at least ETSI, TIA, and ATIS (with respect to which
 10                         Foxconn is an intended third party beneficiary).
 11                               Qualcomm is estopped from recovering damages in
 12                         excess of a FRAND rate in light of its commitments to
 13                         standard-setting organizations, including its contractual
 14                         commitments to at least ETSI, TIA, and ATIS, with
 15                         respect to which Foxconn is an intended third party
 16                         beneficiary and/or in light of Foxconn’s reasonable
 17                         reliance upon such commitments, which was reasonable,
 18                         foreseeable, and caused Foxconn harm as a result.
 19                               Qualcomm is not entitled to any relief against
 20                         Foxconn because Qualcomm materially breached the
 21                         “Foxconn SULA,” as set forth in the CMs’ Causes of
 22                         Action. See III.D.11 (Count XI).
 23                               Foxconn is excused from performance under the
 24                         “Foxconn SULA” because the current royalty rate is
 25                         illegal and/or not in compliance with Qualcomm’s
 26                         contractual commitments to standard-setting
 27                         organizations, including at least ETSI, TIA, and ATIS.
 28                               Qualcomm is not entitled to any relief against


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  1                         Foxconn because the “Foxconn SULA” must be reformed
  2                         to be consistent with Qualcomm’s contractual
  3                         commitment to license its standard essential patents on
  4                         FRAND terms.
  5                               Qualcomm is not entitled to any relief against
  6                         Foxconn because the “Foxconn SULA” must be rescinded
  7                         in so far as it seeks relief beyond Qualcomm’s contractual
  8                         commitment to license its standard essential patents on
  9                         FRAND terms.
 10                               Qualcomm is not entitled to any relief against
 11                         Foxconn because Qualcomm is attempting to enforce a
 12                         license on patents that have expired and/or abandoned.
 13                               Foxconn is excused from performance under the
 14                         “Foxconn SULA,” and Qualcomm is not otherwise
 15                         entitled to any relief from Foxconn, because Qualcomm’s
 16                         right to collect licensing fees for its patents has been
 17                         exhausted and/or Foxconn has a license (express or
 18                         implied) to Qualcomm’s patents.
 19                               Qualcomm is not entitled to any relief against
 20                         Foxconn because Apple has or will obtain a license to
 21                         Qualcomm’s patents, or is otherwise permitted to practice
 22                         Qualcomm’s patents.
 23                               Qualcomm is not entitled to any relief because
 24                         Foxconn has satisfied its valid legal obligations to
 25                         Qualcomm in all material respects.
 26                               This claim is barred to the extent that, if
 27                         Qualcomm’s claims and interpretations are credited, the
 28                         “Foxconn SULA” would amount to unenforceable


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  1                         liquidated damages provisions under California Civil Code
  2                         § 1671 and/or would be an unenforceable penalty.
  3                                Qualcomm’s claim is barred in whole or in part by
  4                         the economic loss doctrine.
  5                                Qualcomm’s claim is barred by equitable and/or
  6                         statutory set-off or offset.
  7                                Qualcomm is barred from asserting its claim as
  8                         alleged by the doctrines of equitable estoppel, unjust
  9                         enrichment, unclean hands, patent misuse, and waiver.
 10                                Qualcomm’s claim is barred because Foxconn’s acts
 11                         and omissions were justified and/or privileged.
 12                                Qualcomm’s claim is barred in whole or in part by a
 13                         failure to mitigate.
 14                                Qualcomm’s claim is barred because of ratification
 15                         of, agreement to, acquiescence in, or consent to Foxconn’s
 16                         alleged conduct.
 17                                Qualcomm’s claim is barred in whole or in part by
 18                         the applicable statute(s) of limitations and/or doctrine of
 19                         laches.
 20                                To the extent that Qualcomm has suffered damages,
 21                         if at all, all damages were caused by Qualcomm’s own
 22                         actions.
 23                                Qualcomm’s claim is barred in whole or in part by
 24                         the doctrines of res judicata and/or collateral estoppel.
 25                                Qualcomm is not entitled to injunctive relief, and
 26                         any alleged injury to Qualcomm is not immediate or
 27                         irreparable and Qualcomm has an adequate remedy at law.
 28             2.    COUNT II: FOXCONN’S BREACH OF ITS MASTER


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  1               SOFTWARE AGREEMENT (QC CM Complaint ¶¶ 144-50)
  2                            Elements
  3                                  Qualcomm and Foxconn entered into a contract
  4                            titled, “Master Software Agreement” (“Foxconn MSA”);
  5                                  Qualcomm’s performance or excuse of
  6                            nonperformance;
  7                                  Foxconn breached the Foxconn MSA;
  8                                  Qualcomm was harmed; and
  9                                  Foxconn’s breach was a substantial factor in causing
 10                            Qualcomm’s harm. 33
 11                            Damages Sought
 12                                  Compensatory and consequential damages in
 13                            amounts to be proven at trial. (See, e.g., Expert Report of
 14                            Ambreen Salters.)
 15                            Additional Relief Sought
 16                                  Reasonable attorneys’ fees to Qualcomm;
 17                                  Expenses, costs, and disbursements in this action,
 18                            including prejudgment interest; and
 19                                  Such other and further relief as the Court deems just
 20                            and proper.
 21                            Applicable Defenses:
 22                                  Qualcomm has not met its burden of proof on each
 23                            of the elements of this claim.
 24
 25   33
        CACI No. 303; see also Richman v. Hartley, 224 Cal. App. 4th 1182, 1186 (Cal.
 26   Ct. App. 2014) (cited by CACI); Barcel USA, LLC v. Baja Distributors, Inc., 2014
      WL 12539699, at *3 (S.D. Cal. Jan. 7, 2014) (using CACI to state the elements of a
 27   claim); Marlo v. United Parcel Serv., Inc., 890 F. Supp. 2d 1243, 1245 (C.D. Cal.
 28   2012) (“The CACI instructions ‘are approved by the Judicial Council as the state’s
      official jury instructions under the California Rules of Court’”.).

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  1                               Qualcomm is not entitled to any relief because
  2                         Qualcomm has not identified any cognizable harm as a
  3                         result of the alleged breach of the “Foxconn MSA.”
  4                               Qualcomm’s claim is barred in whole or in part
  5                         because the “Foxconn MSA” does not impose the
  6                         obligations that Qualcomm claims were breached.
  7                               Qualcomm’s claim is barred because of a lack of
  8                         causation, including because any alleged injury or
  9                         damages that may have been suffered were not caused
 10                         solely or proximately by the alleged breach of the
 11                         “Foxconn MSA.”
 12                               The “Foxconn MSA” violates U.S. federal antitrust
 13                         law, including at least 15 U.S.C. § 1, and is therefore
 14                         illegal and unenforceable as alleged by Qualcomm.
 15                               The “Foxconn MSA” violates U.S. federal antitrust
 16                         law, including at least 15 U.S.C. § 2, and is therefore
 17                         illegal and unenforceable as alleged by Qualcomm.
 18                               The “Foxconn MSA” violates California Business
 19                         and Professions Code § 16700 et seq. and is therefore void
 20                         and unenforceable as alleged by Qualcomm.
 21                               The “Foxconn MSA” is substantively and/or
 22                         procedurally unconscionable.
 23                               The “Foxconn MSA” is unenforceable under
 24                         California’s Unfair Competition Laws, California
 25                         Business and Professions Code §§ 17200, et seq..
 26                               The “Foxconn MSA” is unenforceable due to public
 27                         policy.
 28                               Qualcomm is estopped from recovering damages in


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  1                         excess of a FRAND rate in connection with any claim for
  2                         damages for breach of the “Foxconn MSA” in light of
  3                         Qualcomm’s commitments to standard-setting
  4                         organizations, including its contractual commitments to at
  5                         least ETSI, TIA, and ATIS, with respect to which Foxconn
  6                         is an intended third party beneficiary and/or in light of
  7                         Foxconn’s reasonable reliance upon such commitments,
  8                         which was reasonable, foreseeable, and caused Foxconn
  9                         harm as a result.
 10                               Foxconn is excused from performance under the
 11                         “Foxconn MSA” to the extent that Qualcomm seeks to
 12                         enforce any provision containing a royalty rate that is
 13                         illegal and/or not in compliance with Qualcomm’s
 14                         contractual commitments to standard-setting
 15                         organizations, including at least ETSI, TIA, and ATIS.
 16                               Qualcomm is not entitled to any relief against
 17                         Foxconn because the “Foxconn MSA” must be reformed
 18                         to the extent that Qualcomm asserts it in a manner that is
 19                         inconsistent with Qualcomm’s contractual commitment to
 20                         license its standard essential patents on FRAND terms.
 21                               Qualcomm is not entitled to any relief against
 22                         Foxconn because the “Foxconn MSA” must be rescinded
 23                         to the extent that Qualcomm asserts it in an effort to seek
 24                         relief beyond Qualcomm’s contractual commitment to
 25                         license its standard essential patents on FRAND terms.
 26                               Qualcomm is not entitled to any relief because
 27                         Foxconn has satisfied its valid legal obligations to
 28                         Qualcomm in all material respects.


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  1                                Qualcomm’s claim for breach of contract of the
  2                         “Foxconn MSA” is preempted by Federal Law, including
  3                         at least 17 U.S.C. § 301.
  4                                Qualcomm is not entitled to any relief against
  5                         Foxconn because the “Foxconn MSA” is unenforceable
  6                         due to copyright misuse.
  7                                This claim is barred to the extent that, if
  8                         Qualcomm’s claims and interpretations are credited, the
  9                         “Foxconn MSA” would amount to unenforceable
 10                         liquidated damages provisions under California Civil Code
 11                         § 1671 and/or would be an unenforceable penalty.
 12                                Qualcomm’s claim is barred in whole or in part by
 13                         the economic loss doctrine.
 14                                Qualcomm’s claim is barred by equitable and/or
 15                         statutory set-off or offset.
 16                                Qualcomm is barred from asserting its claim as
 17                         alleged by the doctrines of equitable estoppel, unjust
 18                         enrichment, unclean hands, patent misuse, and waiver.
 19                                Qualcomm’s claim is barred because Foxconn’s acts
 20                         and omissions were justified and/or privileged.
 21                                Qualcomm’s claim is barred in whole or in part by a
 22                         failure to mitigate.
 23                                Qualcomm’s claim is barred because of ratification
 24                         of, agreement to, acquiescence in, or consent to Foxconn’s
 25                         alleged conduct.
 26                                Qualcomm’s claim is barred in whole or in part by
 27                         the applicable statute(s) of limitations and/or doctrine of
 28                         laches.


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  1                                  To the extent that Qualcomm has suffered damages,
  2                            if at all, all damages were caused by Qualcomm’s own
  3                            actions.
  4                                  Qualcomm’s claim is barred in whole or in part by
  5                            the doctrines of res judicata and/or collateral estoppel.
  6                                  Qualcomm is not entitled to injunctive relief, and
  7                            any alleged injury to Qualcomm is not immediate or
  8                            irreparable and Qualcomm has an adequate remedy at law.
  9               3.    COUNT III: PEGATRON’S BREACH OF ITS LICENSE
 10               AGREEMENT (QC CM Complaint ¶¶ 151-67)
 11                            Applicable Elements
 12                                  Qualcomm and Pegatron entered into a contract
 13                            titled, “Subscriber Unit License Agreement”, dated April
 14                            29, 2010, as amended (“Pegatron SULA”);
 15                                  Qualcomm’s performance or excuse of
 16                            nonperformance;
 17                                  Pegatron breached the Pegatron SULA;
 18                                  Qualcomm was harmed; and
 19                                  Pegatron’s breach was a substantial factor in
 20                            causing Qualcomm’s harm. 34
 21                            Damages Sought
 22                                  Compensatory and consequential damages in
 23                            amounts to be proven at trial. (See, e.g., Expert Report of
 24
 25   34
        CACI No. 303; see also Richman v. Hartley, 224 Cal. App. 4th 1182, 1186 (Cal.
 26   Ct. App. 2014) (cited by CACI); Barcel USA, LLC v. Baja Distributors, Inc., 2014
      WL 12539699, at *3 (S.D. Cal. Jan. 7, 2014) (using CACI to state the elements of a
 27   claim); Marlo v. United Parcel Serv., Inc., 890 F. Supp. 2d 1243, 1245 (C.D. Cal.
 28   2012) (“The CACI instructions ‘are approved by the Judicial Council as the state’s
      official jury instructions under the California Rules of Court’”.).

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  1                         Ambreen Salters.)
  2                         Additional Relief Sought
  3                               Injunction prohibiting Pegatron from violating the
  4                         terms and conditions of the Pegatron SULA and requiring
  5                         Pegatron specifically to perform the obligations of the
  6                         Pegatron SULA;
  7                               Reasonable attorneys’ fees to Qualcomm;
  8                               Expenses, costs, and disbursements in this action,
  9                         including prejudgment interest; and
 10                               Such other and further relief as the Court deems just
 11                         and proper.
 12                         Applicable Defenses:
 13                               Qualcomm has not met its burden of proof on each
 14                         of the elements of this claim.
 15                               Qualcomm’s claim is barred in whole or in part
 16                         because the “Pegatron SULA” does not impose the
 17                         obligations that Qualcomm claims were breached.
 18                               The “Pegatron SULA” violates U.S. federal antitrust
 19                         law, including at least 15 U.S.C. § 1, and is therefore
 20                         illegal and unenforceable as alleged by Qualcomm.
 21                               The “Pegatron SULA” violates U.S. federal antitrust
 22                         law, including at least 15 U.S.C. § 2, and is therefore
 23                         illegal and unenforceable as alleged by Qualcomm.
 24                               The “Pegatron SULA” violates California Business
 25                         and Professions Code § 16700 et seq. and is therefore void
 26                         and unenforceable as alleged by Qualcomm.
 27                               The “Pegatron SULA” is substantively and/or
 28                         procedurally unconscionable.


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  1                               The “Pegatron SULA” is unenforceable under
  2                         California’s Unfair Competition Laws, California
  3                         Business and Professions Code §§ 17200, et seq..
  4                               The “Pegatron SULA” is unenforceable due to
  5                         public policy, patent misuse, and exhaustion of the
  6                         purportedly licensed patents.
  7                               The “Pegatron SULA” is unenforceable due to
  8                         Qualcomm’s contractual commitment to license its
  9                         standard-essential patents on FRAND terms, pursuant to
 10                         its contracts with standard-setting organizations including
 11                         at least ETSI, TIA, and ATIS (with respect to which
 12                         Pegatron is an intended third party beneficiary).
 13                               Qualcomm is estopped from recovering damages in
 14                         excess of a FRAND rate in light of its commitments to
 15                         standard-setting organizations, including its contractual
 16                         commitments to at least ETSI, TIA, and ATIS, with
 17                         respect to which Pegatron is an intended third party
 18                         beneficiary and/or in light of Pegatron’s reasonable
 19                         reliance upon such commitments, which was reasonable,
 20                         foreseeable, and caused Pegatron harm as a result.
 21                               Qualcomm is not entitled to any relief against
 22                         Pegatron because Qualcomm materially breached the
 23                         “Pegatron SULA,” as set forth in the CMs’ Causes of
 24                         Action. See III.D.11 (Count XI).
 25                               Pegatron is excused from performance under the
 26                         “Pegatron SULA” because the current royalty rate is
 27                         illegal and/or not in compliance with Qualcomm’s
 28                         contractual commitments to standard-setting


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  1                         organizations, including at least ETSI, TIA, and ATIS.
  2                               Qualcomm is not entitled to any relief against
  3                         Pegatron because the “Pegatron SULA” must be reformed
  4                         to be consistent with Qualcomm’s contractual
  5                         commitment to license its standard essential patents on
  6                         FRAND terms.
  7                               Qualcomm is not entitled to any relief against
  8                         Pegatron because the “Pegatron SULA” must be rescinded
  9                         in so far as it seeks relief beyond Qualcomm’s contractual
 10                         commitment to license its standard essential patents on
 11                         FRAND terms.
 12                               Qualcomm is not entitled to any relief against
 13                         Pegatron because Qualcomm is attempting to enforce a
 14                         license on patents that have expired and/or abandoned.
 15                               Pegatron is excused from performance under the
 16                         “Pegatron SULA,” and Qualcomm is not otherwise
 17                         entitled to any relief from Pegatron, because Qualcomm’s
 18                         right to collect licensing fees for its patents has been
 19                         exhausted and/or Pegatron has a license (express or
 20                         implied) to Qualcomm’s patents.
 21                               Qualcomm is not entitled to any relief against
 22                         Pegatron because Apple has or will obtain a license to
 23                         Qualcomm’s patents, or is otherwise permitted to practice
 24                         Qualcomm’s patents.
 25                               Qualcomm is not entitled to any relief because
 26                         Pegatron has satisfied its valid legal obligations to
 27                         Qualcomm in all material respects.
 28                               This claim is barred to the extent that, if


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  1                         Qualcomm’s claims and interpretations are credited, the
  2                         “Pegatron SULA” would amount to unenforceable
  3                         liquidated damages provisions under California Civil Code
  4                         § 1671 and/or would be an unenforceable penalty.
  5                                Qualcomm’s claim is barred in whole or in part by
  6                         the economic loss doctrine.
  7                                Qualcomm’s claim is barred by equitable and/or
  8                         statutory set-off or offset.
  9                                Qualcomm is barred from asserting its claim as
 10                         alleged by the doctrines of equitable estoppel, unjust
 11                         enrichment, unclean hands, patent misuse, and waiver.
 12                                Qualcomm’s claim is barred because Pegatron’s
 13                         acts and omissions were justified and/or privileged.
 14                                Qualcomm’s claim is barred in whole or in part by a
 15                         failure to mitigate.
 16                                Qualcomm’s claim is barred because of ratification
 17                         of, agreement to, acquiescence in, or consent to Pegatron’s
 18                         alleged conduct.
 19                                Qualcomm’s claim is barred in whole or in part by
 20                         the applicable statute(s) of limitations and/or doctrine of
 21                         laches.
 22                                To the extent that Qualcomm has suffered damages,
 23                         if at all, all damages were caused by Qualcomm’s own
 24                         actions.
 25                                Qualcomm’s claim is barred in whole or in part by
 26                         the doctrines of res judicata and/or collateral estoppel.
 27                                Qualcomm is not entitled to injunctive relief, and
 28                         any alleged injury to Qualcomm is not immediate or


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  1                            irreparable and Qualcomm has an adequate remedy at law.
  2               4.    COUNT IV: PEGATRON’S BREACH OF ITS MASTER
  3               SOFTWARE AGREEMENT (QC CM Complaint ¶¶ 168-74)
  4                            Applicable Elements
  5                                  Qualcomm and Pegatron entered into a contract
  6                            titled, “Master Software Agreement” (“Pegatron MSA”);
  7                                  Qualcomm’s performance or excuse of
  8                            nonperformance;
  9                                  Pegatron breached the Pegatron MSA;
 10                                  Qualcomm was harmed; and
 11                                  Pegatron’s breach was a substantial factor in
 12                            causing Qualcomm’s harm. 35
 13                            Damages Sought
 14                                  Compensatory and consequential damages in
 15                            amounts to be proven at trial. (See, e.g., Expert Report of
 16                            Ambreen Salters.)
 17                            Additional Relief Sought
 18                                  Reasonable attorneys’ fees to Qualcomm;
 19                                  Expenses, costs, and disbursements in this action,
 20                            including prejudgment interest; and
 21                                  Such other and further relief as the Court deems just
 22                            and proper.
 23                            Applicable Defenses:
 24
 25   35
        CACI No. 303; see also Richman v. Hartley, 224 Cal. App. 4th 1182, 1186 (Cal.
 26   Ct. App. 2014) (cited by CACI); Barcel USA, LLC v. Baja Distributors, Inc., 2014
      WL 12539699, at *3 (S.D. Cal. Jan. 7, 2014) (using CACI to state the elements of a
 27   claim); Marlo v. United Parcel Serv., Inc., 890 F. Supp. 2d 1243, 1245 (C.D. Cal.
 28   2012) (“The CACI instructions ‘are approved by the Judicial Council as the state’s
      official jury instructions under the California Rules of Court’”.).

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  1                               Qualcomm has not met its burden of proof on each
  2                         of the elements of this claim.
  3                               Qualcomm is not entitled to any relief because
  4                         Qualcomm has not identified any cognizable harm as a
  5                         result of the alleged breach of the “Pegatron MSA.”
  6                               Qualcomm’s claim is barred because of a lack of
  7                         causation, including because any alleged injury or
  8                         damages that may have been suffered were not caused
  9                         solely or proximately by the alleged breach of the
 10                         “Pegatron MSA.”
 11                               Qualcomm’s claim is barred in whole or in part
 12                         because the “Pegatron MSA” does not impose the
 13                         obligations that Qualcomm claims were breached.
 14                               The “Pegatron MSA” violates U.S. federal antitrust
 15                         law, including at least 15 U.S.C. § 1, and is therefore
 16                         illegal and unenforceable as alleged by Qualcomm.
 17                               The “Pegatron MSA” violates U.S. federal antitrust
 18                         law, including at least 15 U.S.C. § 2, and is therefore
 19                         illegal and unenforceable as alleged by Qualcomm.
 20                               The “Pegatron MSA” violates California Business
 21                         and Professions Code § 16700 et seq. and is therefore void
 22                         and unenforceable as alleged by Qualcomm.
 23                               The “Pegatron MSA” is substantively and/or
 24                         procedurally unconscionable.
 25                               The “Pegatron MSA” is unenforceable under
 26                         California’s Unfair Competition Laws, California
 27                         Business and Professions Code §§ 17200, et seq..
 28                               The “Pegatron MSA” is unenforceable due to public


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  1                         policy.
  2                               Qualcomm is estopped from recovering damages in
  3                         excess of a FRAND rate in connection with any claim for
  4                         damages for breach of the “Pegatron MSA” in light of
  5                         Qualcomm’s commitments to standard-setting
  6                         organizations, including its contractual commitments to at
  7                         least ETSI, TIA, and ATIS, with respect to which
  8                         Pegatron is an intended third party beneficiary and/or in
  9                         light of Pegatron’s reasonable reliance upon such
 10                         commitments, which was reasonable, foreseeable, and
 11                         caused Pegatron harm as a result.
 12                               Pegatron is excused from performance under the
 13                         “Pegatron MSA” to the extent that Qualcomm seeks to
 14                         enforce any provision containing a royalty rate that is
 15                         illegal and/or not in compliance with Qualcomm’s
 16                         contractual commitments to standard-setting
 17                         organizations, including at least ETSI, TIA, and ATIS.
 18                               Qualcomm is not entitled to any relief against
 19                         Pegatron because the “Pegatron MSA” must be reformed
 20                         to the extent that Qualcomm asserts it in a manner that is
 21                         inconsistent with Qualcomm’s contractual commitment to
 22                         license its standard essential patents on FRAND terms.
 23                               Qualcomm is not entitled to any relief against
 24                         Pegatron because the “Pegatron MSA” must be rescinded
 25                         to the extent that Qualcomm asserts it in an effort to seek
 26                         relief beyond Qualcomm’s contractual commitment to
 27                         license its standard essential patents on FRAND terms.
 28                               Qualcomm is not entitled to any relief because


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  1                         Pegatron has satisfied its valid legal obligations to
  2                         Qualcomm in all material respects.
  3                                Qualcomm’s claim for breach of contract of the
  4                         “Pegatron MSA” is preempted by Federal Law, including
  5                         at least 17 U.S.C. § 301.
  6                                Qualcomm is not entitled to any relief against
  7                         Pegatron because the “Pegatron MSA” is unenforceable
  8                         due to copyright misuse.
  9                                This claim is barred to the extent that, if
 10                         Qualcomm’s claims and interpretations are credited, the
 11                         “Pegatron MSA” would amount to unenforceable
 12                         liquidated damages provisions under California Civil Code
 13                         § 1671 and/or would be an unenforceable penalty.
 14                                Qualcomm’s claim is barred in whole or in part by
 15                         the economic loss doctrine.
 16                                Qualcomm’s claim is barred by equitable and/or
 17                         statutory set-off or offset.
 18                                Qualcomm is barred from asserting its claim as
 19                         alleged by the doctrines of equitable estoppel, unjust
 20                         enrichment, unclean hands, patent misuse, and waiver.
 21                                Qualcomm’s claim is barred because Pegatron’s
 22                         acts and omissions were justified and/or privileged.
 23                                Qualcomm’s claim is barred in whole or in part by a
 24                         failure to mitigate.
 25                                Qualcomm’s claim is barred because of ratification
 26                         of, agreement to, acquiescence in, or consent to Pegatron’s
 27                         alleged conduct.
 28                                Qualcomm’s claim is barred in whole or in part by


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  1                            the applicable statute(s) of limitations and/or doctrine of
  2                            laches.
  3                                  To the extent that Qualcomm has suffered damages,
  4                            if at all, all damages were caused by Qualcomm’s own
  5                            actions.
  6                                  Qualcomm’s claim is barred in whole or in part by
  7                            the doctrines of res judicata and/or collateral estoppel.
  8                                  Qualcomm is not entitled to injunctive relief, and
  9                            any alleged injury to Qualcomm is not immediate or
 10                            irreparable and Qualcomm has an adequate remedy at law.
 11               5.    COUNT V: WISTRON’S BREACH OF ITS LICENSE
 12               AGREEMENT (QC CM Complaint ¶¶ 175-90)
 13                            Applicable Elements
 14                                  Qualcomm and Wistron entered into a contract
 15                            titled, “Subscriber Unit License Agreement”, dated May
 16                            23, 2007 (“Wistron SULA”);
 17                                  Qualcomm’s performance or excuse of
 18                            nonperformance;
 19                                  Wistron breached the Wistron SULA;
 20                                  Qualcomm was harmed; and
 21                                  Wistron’s breach was a substantial factor in causing
 22                            Qualcomm’s harm. 36
 23                            Damages Sought
 24
 25   36
        CACI No. 303; see also Richman v. Hartley, 224 Cal. App. 4th 1182, 1186 (Cal.
 26   Ct. App. 2014) (cited by CACI); Barcel USA, LLC v. Baja Distributors, Inc., 2014
      WL 12539699, at *3 (S.D. Cal. Jan. 7, 2014) (using CACI to state the elements of a
 27   claim); Marlo v. United Parcel Serv., Inc., 890 F. Supp. 2d 1243, 1245 (C.D. Cal.
 28   2012) (“The CACI instructions ‘are approved by the Judicial Council as the state’s
      official jury instructions under the California Rules of Court’”.).

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  1                               Compensatory and consequential damages in
  2                         amounts to be proven at trial. (See, e.g., Expert Report of
  3                         Ambreen Salters.)
  4                         Additional Relief Sought
  5                               Injunction prohibiting Wistron from violating the
  6                         terms and conditions of the Wistron SULA and requiring
  7                         Wistron specifically to perform the obligations of the
  8                         Wistron SULA;
  9                               Reasonable attorneys’ fees to Qualcomm;
 10                               Expenses, costs, and disbursements in this action,
 11                         including prejudgment interest; and
 12                               Such other and further relief as the Court deems just
 13                         and proper.
 14                         Applicable Defenses:
 15                               Qualcomm has not met its burden of proof on each
 16                         of the elements of this claim.
 17                               Qualcomm’s claim is barred in whole or in part
 18                         because the “Wistron SULA” does not impose the
 19                         obligations that Qualcomm claims were breached.
 20                               The “Wistron SULA” violates U.S. federal antitrust
 21                         law, including at least 15 U.S.C. § 1, and is therefore
 22                         illegal and unenforceable as alleged by Qualcomm.
 23                               The “Wistron SULA” violates U.S. federal antitrust
 24                         law, including at least 15 U.S.C. § 2, and is therefore
 25                         illegal and unenforceable as alleged by Qualcomm.
 26                               The “Wistron SULA” violates California Business
 27                         and Professions Code § 16700 et seq. and is therefore void
 28                         and unenforceable as alleged by Qualcomm.


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  1                               The “Wistron SULA” is substantively and/or
  2                         procedurally unconscionable.
  3                               The “Wistron SULA” is unenforceable under
  4                         California’s Unfair Competition Laws, California
  5                         Business and Professions Code §§ 17200, et seq.
  6                               The “Wistron SULA” is unenforceable due to public
  7                         policy, patent misuse, and exhaustion of the purportedly
  8                         licensed patents.
  9                               The “Wistron SULA” is unenforceable due to
 10                         Qualcomm’s contractual commitment to license its
 11                         standard-essential patents on FRAND terms, pursuant to
 12                         its contracts with standard-setting organizations including
 13                         at least ETSI, TIA, and ATIS (with respect to which
 14                         Wistron is an intended third party beneficiary).
 15                               Qualcomm is estopped from recovering damages in
 16                         excess of a FRAND rate in light of its commitments to
 17                         standard-setting organizations, including its contractual
 18                         commitments to at least ETSI, TIA, and ATIS, with
 19                         respect to which Wistron is an intended third party
 20                         beneficiary and/or in light of Wistron’s reasonable reliance
 21                         upon such commitments, which was reasonable,
 22                         foreseeable, and caused Wistron harm as a result.
 23                               Qualcomm is not entitled to any relief against
 24                         Wistron because Qualcomm materially breached the
 25                         “Wistron SULA,” as set forth in the CMs’ Causes of
 26                         Action. See III.D.11 (Count XI).
 27                               Wistron is excused from performance under the
 28                         “Wistron SULA” because the current royalty rate is illegal


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  1                         and/or not in compliance with Qualcomm’s contractual
  2                         commitments to standard-setting organizations, including
  3                         at least ETSI, TIA, and ATIS.
  4                               Qualcomm is not entitled to any relief against
  5                         Wistron because the “Wistron SULA” must be reformed
  6                         to be consistent with Qualcomm’s contractual
  7                         commitment to license its standard essential patents on
  8                         FRAND terms.
  9                               Qualcomm is not entitled to any relief against
 10                         Wistron because the “Wistron SULA” must be rescinded
 11                         in so far as it seeks relief beyond Qualcomm’s contractual
 12                         commitment to license its standard essential patents on
 13                         FRAND terms.
 14                               Qualcomm is not entitled to any relief against
 15                         Wistron because Qualcomm is attempting to enforce a
 16                         license on patents that have expired and/or abandoned.
 17                               Wistron is excused from performance under the
 18                         “Wistron SULA,” and Qualcomm is not otherwise entitled
 19                         to any relief from Wistron, because Qualcomm’s right to
 20                         collect licensing fees for its patents has been exhausted
 21                         and/or Wistron has a license (express or implied) to
 22                         Qualcomm’s patents.
 23                               Qualcomm is not entitled to any relief against
 24                         Wistron because Apple has or will obtain a license to
 25                         Qualcomm’s patents, or is otherwise permitted to practice
 26                         Qualcomm’s patents.
 27                               Qualcomm is not entitled to any relief because
 28                         Wistron has satisfied its valid legal obligations to


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  1                         Qualcomm in all material respects.
  2                                This claim is barred to the extent that, if
  3                         Qualcomm’s claims and interpretations are credited, the
  4                         “Wistron SULA” would amount to unenforceable
  5                         liquidated damages provisions under California Civil Code
  6                         § 1671 and/or would be an unenforceable penalty.
  7                                Qualcomm’s claim is barred in whole or in part by
  8                         the economic loss doctrine.
  9                                Qualcomm’s claim is barred by equitable and/or
 10                         statutory set-off or offset.
 11                                Qualcomm is barred from asserting its claim as
 12                         alleged by the doctrines of equitable estoppel, unjust
 13                         enrichment, unclean hands, patent misuse, and waiver.
 14                                Qualcomm’s claim is barred because Wistron’s acts
 15                         and omissions were justified and/or privileged.
 16                                Qualcomm’s claim is barred in whole or in part by a
 17                         failure to mitigate.
 18                                Qualcomm’s claim is barred because of ratification
 19                         of, agreement to, acquiescence in, or consent to Wistron’s
 20                         alleged conduct.
 21                                Qualcomm’s claim is barred in whole or in part by
 22                         the applicable statute(s) of limitations and/or doctrine of
 23                         laches.
 24                                To the extent that Qualcomm has suffered damages,
 25                         if at all, all damages were caused by Qualcomm’s own
 26                         actions.
 27                                Qualcomm’s claim is barred in whole or in part by
 28                         the doctrines of res judicata and/or collateral estoppel.


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  1                                  Qualcomm is not entitled to injunctive relief, and
  2                            any alleged injury to Qualcomm is not immediate or
  3                            irreparable and Qualcomm has an adequate remedy at law.
  4               6.    COUNT VI: WISTRON’S BREACH OF ITS MASTER
  5               SOFTWARE AGREEMENT (QC CM Complaint ¶¶ 190-97)
  6                            Applicable Elements
  7                                  Qualcomm and Wistron entered into a contract
  8                            titled, “Master Software Agreement” (“Wistron MSA”);
  9                                  Qualcomm’s performance or excuse of
 10                            nonperformance;
 11                                  Wistron breached the Wistron MSA;
 12                                  Qualcomm was harmed; and
 13                                  Wistron’s breach was a substantial factor in causing
 14                            Qualcomm’s harm. 37
 15                            Damages Sought
 16                                  Compensatory and consequential damages in
 17                            amounts to be proven at trial. (See, e.g., Expert Report of
 18                            Ambreen Salters.)
 19                            Additional Relief Sought
 20                                  Reasonable attorneys’ fees to Qualcomm;
 21                                  Expenses, costs, and disbursements in this action,
 22                            including prejudgment interest; and
 23                                  Such other and further relief as the Court deems just
 24
 25   37
        CACI No. 303; see also Richman v. Hartley, 224 Cal. App. 4th 1182, 1186 (Cal.
 26   Ct. App. 2014) (cited by CACI); Barcel USA, LLC v. Baja Distributors, Inc., 2014
      WL 12539699, at *3 (S.D. Cal. Jan. 7, 2014) (using CACI to state the elements of a
 27   claim); Marlo v. United Parcel Serv., Inc., 890 F. Supp. 2d 1243, 1245 (C.D. Cal.
 28   2012) (“The CACI instructions ‘are approved by the Judicial Council as the state’s
      official jury instructions under the California Rules of Court’”.).

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  1                         and proper.
  2                         Applicable Defenses:
  3                               Qualcomm has not met its burden of proof on each
  4                         of the elements of this claim.
  5                               Qualcomm is not entitled to any relief because
  6                         Qualcomm has not identified any cognizable harm as a
  7                         result of the alleged breach of the “Wistron MSA.”
  8                               Qualcomm’s claim is barred because of a lack of
  9                         causation, including because any alleged injury or
 10                         damages that may have been suffered were not caused
 11                         solely or proximately by the alleged breach of the
 12                         “Wistron MSA.”
 13                               Qualcomm’s claim is barred in whole or in part
 14                         because the “Wistron MSA” does not impose the
 15                         obligations that Qualcomm claims were breached.
 16                               The “Wistron MSA” violates U.S. federal antitrust
 17                         law, including at least 15 U.S.C. § 1, and is therefore
 18                         illegal and unenforceable as alleged by Qualcomm.
 19                               The “Wistron MSA” violates U.S. federal antitrust
 20                         law, including at least 15 U.S.C. § 2, and is therefore
 21                         illegal and unenforceable as alleged by Qualcomm.
 22                               The “Wistron MSA” violates California Business
 23                         and Professions Code § 16700 et seq. and is therefore void
 24                         and unenforceable as alleged by Qualcomm.
 25                               The “Wistron MSA” is substantively and/or
 26                         procedurally unconscionable.
 27                               The “Wistron MSA” is unenforceable under
 28                         California’s Unfair Competition Laws, California


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  1                         Business and Professions Code §§ 17200, et seq.
  2                               The “Wistron MSA” is unenforceable due to public
  3                         policy.
  4                               Qualcomm is estopped from recovering damages in
  5                         excess of a FRAND rate in connection with any claim for
  6                         damages for breach of the “Wistron MSA” in light of
  7                         Qualcomm’s commitments to standard-setting
  8                         organizations, including its contractual commitments to at
  9                         least ETSI, TIA, and ATIS, with respect to which Wistron
 10                         is an intended third party beneficiary and/or in light of
 11                         Wistron’s reasonable reliance upon such commitments,
 12                         which was reasonable, foreseeable, and caused Wistron
 13                         harm as a result.
 14                               Wistron is excused from performance under the
 15                         “Wistron MSA” to the extent that Qualcomm seeks to
 16                         enforce any provision containing a royalty rate that is
 17                         illegal and/or not in compliance with Qualcomm’s
 18                         contractual commitments to standard-setting
 19                         organizations, including at least ETSI, TIA, and ATIS.
 20                               Qualcomm is not entitled to any relief against
 21                         Wistron because the “Wistron MSA” must be reformed to
 22                         the extent that Qualcomm asserts it in a manner that is
 23                         inconsistent with Qualcomm’s contractual commitment to
 24                         license its standard essential patents on FRAND terms.
 25                               Qualcomm is not entitled to any relief against
 26                         Wistron because the “Wistron MSA” must be rescinded to
 27                         the extent that Qualcomm asserts it in an effort to seek
 28                         relief beyond Qualcomm’s contractual commitment to


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  1                         license its standard essential patents on FRAND terms.
  2                                Qualcomm’s claim for breach of contract of the
  3                         “Wistron MSA” is preempted by Federal Law, including
  4                         at least 17 U.S.C. § 301.
  5                                Qualcomm is not entitled to any relief against
  6                         Wistron because the “Wistron MSA” is unenforceable due
  7                         to copyright misuse.
  8                                Qualcomm is not entitled to any relief because
  9                         Wistron has satisfied its valid legal obligations to
 10                         Qualcomm in all material respects.
 11                                This claim is barred to the extent that, if
 12                         Qualcomm’s claims and interpretations are credited, the
 13                         “Wistron MSA” would amount to unenforceable
 14                         liquidated damages provisions under California Civil Code
 15                         § 1671 and/or would be an unenforceable penalty.
 16                                Qualcomm’s claim is barred in whole or in part by
 17                         the economic loss doctrine.
 18                                Qualcomm’s claim is barred by equitable and/or
 19                         statutory set-off or offset.
 20                                Qualcomm is barred from asserting its claim as
 21                         alleged by the doctrines of equitable estoppel, unjust
 22                         enrichment, unclean hands, patent misuse, and waiver.
 23                                Qualcomm’s claim is barred because Wistron’s acts
 24                         and omissions were justified and/or privileged.
 25                                Qualcomm’s claim is barred in whole or in part by a
 26                         failure to mitigate.
 27                                Qualcomm’s claim is barred because of ratification
 28                         of, agreement to, acquiescence in, or consent to Wistron’s


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  1                            alleged conduct.
  2                                  Qualcomm’s claim is barred in whole or in part by
  3                            the applicable statute(s) of limitations and/or doctrine of
  4                            laches.
  5                                  To the extent that Qualcomm has suffered damages,
  6                            if at all, all damages were caused by Qualcomm’s own
  7                            actions.
  8                                  Qualcomm’s claim is barred in whole or in part by
  9                            the doctrines of res judicata and/or collateral estoppel.
 10                                  Qualcomm is not entitled to injunctive relief, and
 11                            any alleged injury to Qualcomm is not immediate or
 12                            irreparable and Qualcomm has an adequate remedy at law.
 13               7.    COUNT VII: COMPAL’S BREACH OF ITS LICENSE
 14               AGREEMENT (QC CM Complaint ¶¶ 198-215)
 15                            Applicable Elements
 16                                  Qualcomm and Compal entered into a contract
 17                            titled, “Subscriber Unit License Agreement”, dated
 18                            February 10, 2000, as amended (“Compal SULA”);
 19                                  Qualcomm’s performance or excuse of
 20                            nonperformance;
 21                                  Compal breached the Compal SULA;
 22                                  Qualcomm was harmed; and
 23                                  Compal’s breach was a substantial factor in causing
 24                            Qualcomm’s harm. 38
 25
      38
 26     CACI No. 303; see also Richman v. Hartley, 224 Cal. App. 4th 1182, 1186 (Cal.
      Ct. App. 2014) (cited by CACI); Barcel USA, LLC v. Baja Distributors, Inc., 2014
 27
      WL 12539699, at *3 (S.D. Cal. Jan. 7, 2014) (using CACI to state the elements of a
 28   claim); Marlo v. United Parcel Serv., Inc., 890 F. Supp. 2d 1243, 1245 (C.D. Cal.


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  1                            Damages Sought
  2                                  Compensatory and consequential damages in
  3                            amounts to be proven at trial. (See, e.g., Expert Report of
  4                            Ambreen Salters.)
  5                            Additional Relief Sought
  6                                  Injunction prohibiting Compal from violating the
  7                            terms and conditions of the Compal SULA and requiring
  8                            Compal specifically to perform the obligations of the
  9                            Compal SULA;
 10                                  Expenses, costs, and disbursements in this action,
 11                            including prejudgment interest; and
 12                                  Such other and further relief as the Court deems just
 13                            and proper.
 14                            Applicable Defenses:
 15                                  Qualcomm has not met its burden of proof on each
 16                            of the elements of this claim.
 17                                  Qualcomm’s claim is barred in whole or in part
 18                            because the “Compal SULA” does not impose the
 19                            obligations that Qualcomm claims were breached.
 20                                  The “Compal SULA” violates U.S. federal antitrust
 21                            law, including at least 15 U.S.C. § 1, and is therefore
 22                            illegal and unenforceable as alleged by Qualcomm.
 23                                  The “Compal SULA” violates U.S. federal antitrust
 24                            law, including at least 15 U.S.C. § 2, and is therefore
 25                            illegal and unenforceable as alleged by Qualcomm.
 26                                  The “Compal SULA” violates California Business
 27
 28   2012) (“The CACI instructions ‘are approved by the Judicial Council as the state’s
      official jury instructions under the California Rules of Court’”.).

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  1                         and Professions Code § 16700 et seq. and is therefore void
  2                         and unenforceable as alleged by Qualcomm.
  3                               The “Compal SULA” is substantively and/or
  4                         procedurally unconscionable.
  5                               The “Compal SULA” is unenforceable under
  6                         California’s Unfair Competition Laws, California
  7                         Business and Professions Code §§ 17200, et seq.
  8                               The “Compal SULA” is unenforceable due to public
  9                         policy, patent misuse, and exhaustion of the purportedly
 10                         licensed patents.
 11                               The “Compal SULA” is unenforceable due to
 12                         Qualcomm’s contractual commitment to license its
 13                         standard-essential patents on FRAND terms, pursuant to
 14                         its contracts with standard-setting organizations including
 15                         at least ETSI, TIA, and ATIS (with respect to which
 16                         Compal is an intended third party beneficiary).
 17                               Qualcomm is estopped from recovering damages in
 18                         excess of a FRAND rate in light of its commitments to
 19                         standard-setting organizations, including its contractual
 20                         commitments to at least ETSI, TIA, and ATIS, with
 21                         respect to which Compal is an intended third party
 22                         beneficiary and/or in light of Compal’s reasonable reliance
 23                         upon such commitments, which was reasonable,
 24                         foreseeable, and caused Compal harm as a result.
 25                               Qualcomm is not entitled to any relief against
 26                         Compal because Qualcomm materially breached the
 27                         “Compal SULA,” as set forth in the CMs’ Causes of
 28                         Action. See III.D.11 (Count XI).


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  1                               Compal is excused from performance under the
  2                         “Compal SULA” because the current royalty rate is illegal
  3                         and/or not in compliance with Qualcomm’s contractual
  4                         commitments to standard-setting organizations, including
  5                         at least ETSI, TIA, and ATIS.
  6                               Qualcomm is not entitled to any relief against
  7                         Compal because the “Compal SULA” must be reformed to
  8                         be consistent with Qualcomm’s contractual commitment
  9                         to license its standard essential patents on FRAND terms.
 10                               Qualcomm is not entitled to any relief against
 11                         Compal because the “Compal SULA” must be rescinded
 12                         in so far as it seeks relief beyond Qualcomm’s contractual
 13                         commitment to license its standard essential patents on
 14                         FRAND terms.
 15                               Qualcomm is not entitled to any relief against
 16                         Compal because Qualcomm is attempting to enforce a
 17                         license on patents that have expired and/or abandoned.
 18                               Compal is excused from performance under the
 19                         “Compal SULA,” and Qualcomm is not otherwise entitled
 20                         to any relief from Compal, because Qualcomm’s right to
 21                         collect licensing fees for its patents has been exhausted
 22                         and/or Compal has a license (express or implied) to
 23                         Qualcomm’s patents.
 24                               Qualcomm is not entitled to any relief against
 25                         Compal because Apple has or will obtain a license to
 26                         Qualcomm’s patents, or is otherwise permitted to practice
 27                         Qualcomm’s patents.
 28                               Qualcomm is not entitled to any relief because


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  1                         Compal has satisfied its valid legal obligations to
  2                         Qualcomm in all material respects.
  3                                This claim is barred to the extent that, if
  4                         Qualcomm’s claims and interpretations are credited, the
  5                         “Compal SULA” would amount to unenforceable
  6                         liquidated damages provisions under California Civil Code
  7                         § 1671 and/or would be an unenforceable penalty.
  8                                Qualcomm’s claim is barred in whole or in part by
  9                         the economic loss doctrine.
 10                                Qualcomm’s claim is barred by equitable and/or
 11                         statutory set-off or offset.
 12                                Qualcomm is barred from asserting its claim as
 13                         alleged by the doctrines of equitable estoppel, unjust
 14                         enrichment, unclean hands, patent misuse, and waiver.
 15                                Qualcomm’s claim is barred because Compal’s acts
 16                         and omissions were justified and/or privileged.
 17                                Qualcomm’s claim is barred in whole or in part by a
 18                         failure to mitigate.
 19                                Qualcomm’s claim is barred because of ratification
 20                         of, agreement to, acquiescence in, or consent to Compal’s
 21                         alleged conduct.
 22                                Qualcomm’s claim is barred in whole or in part by
 23                         the applicable statute(s) of limitations and/or doctrine of
 24                         laches.
 25                                To the extent that Qualcomm has suffered damages,
 26                         if at all, all damages were caused by Qualcomm’s own
 27                         actions.
 28                                Qualcomm’s claim is barred in whole or in part by


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  1                            the doctrines of res judicata and/or collateral estoppel.
  2                                  Qualcomm is not entitled to injunctive relief, and
  3                            any alleged injury to Qualcomm is not immediate or
  4                            irreparable and Qualcomm has an adequate remedy at law.
  5               8.    COUNT VIII: COMPAL’S BREACH OF ITS MASTER
  6               SOFTWARE AGREEMENT (QC CM Complaint ¶¶ 216-22)
  7                            Applicable Elements
  8                                  Qualcomm and Compal entered into a contract
  9                            titled, “Master Software Agreement” (“Compal MSA”);
 10                                  Qualcomm’s performance or excuse of
 11                            nonperformance;
 12                                  Compal breached the Compal MSA;
 13                                  Qualcomm was harmed; and
 14                                  Compal’s breach was a substantial factor in causing
 15                            Qualcomm’s harm. 39
 16                            Damages Sought
 17                                  Compensatory and consequential damages in
 18                            amounts to be proven at trial. (See, e.g., Expert Report of
 19                            Ambreen Salters.)
 20                            Additional Relief Sought
 21                                  Reasonable attorneys’ fees to Qualcomm;
 22                                  Expenses, costs, and disbursements in this action,
 23                            including prejudgment interest; and
 24
 25   39
        CACI No. 303; see also Richman v. Hartley, 224 Cal. App. 4th 1182, 1186 (Cal.
 26   Ct. App. 2014) (cited by CACI); Barcel USA, LLC v. Baja Distributors, Inc., 2014
      WL 12539699, at *3 (S.D. Cal. Jan. 7, 2014) (using CACI to state the elements of a
 27   claim); Marlo v. United Parcel Serv., Inc., 890 F. Supp. 2d 1243, 1245 (C.D. Cal.
 28   2012) (“The CACI instructions ‘are approved by the Judicial Council as the state’s
      official jury instructions under the California Rules of Court’”.).

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  1                               Such other and further relief as the Court deems just
  2                         and proper.
  3                         Applicable Defenses:
  4                               Qualcomm has not met its burden of proof on each
  5                         of the elements of this claim.
  6                               Qualcomm is not entitled to any relief because
  7                         Qualcomm has not identified any cognizable harm as a
  8                         result of the alleged breach of the “Compal MSA.”
  9                               Qualcomm’s claim is barred because of a lack of
 10                         causation, including because any alleged injury or
 11                         damages that may have been suffered were not caused
 12                         solely or proximately by the alleged breach of the
 13                         “Compal MSA.”
 14                               Qualcomm’s claim is barred in whole or in part
 15                         because the “Compal MSA” does not impose the
 16                         obligations that Qualcomm claims were breached.
 17                               The “Compal MSA” violates U.S. federal antitrust
 18                         law, including at least 15 U.S.C. § 1, and is therefore
 19                         illegal and unenforceable as alleged by Qualcomm.
 20                               The “Compal MSA” violates U.S. federal antitrust
 21                         law, including at least 15 U.S.C. § 2, and is therefore
 22                         illegal and unenforceable as alleged by Qualcomm.
 23                               The “Compal MSA” violates California Business
 24                         and Professions Code § 16700 et seq. and is therefore void
 25                         and unenforceable as alleged by Qualcomm.
 26                               The “Compal MSA” is substantively and/or
 27                         procedurally unconscionable.
 28                               The “Compal MSA” is unenforceable under


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  1                         California’s Unfair Competition Laws, California
  2                         Business and Professions Code §§ 17200, et seq.
  3                               The “Compal MSA” is unenforceable due to public
  4                         policy.
  5                               Qualcomm is estopped from recovering damages in
  6                         excess of a FRAND rate in connection with any claim for
  7                         damages for breach of the “Compal MSA” in light of
  8                         Qualcomm’s commitments to standard-setting
  9                         organizations, including its contractual commitments to at
 10                         least ETSI, TIA, and ATIS, with respect to which Compal
 11                         is an intended third party beneficiary and/or in light of
 12                         Compal’s reasonable reliance upon such commitments,
 13                         which was reasonable, foreseeable, and caused Compal
 14                         harm as a result.
 15                               Compal is excused from performance under the
 16                         “Compal MSA” to the extent that Qualcomm seeks to
 17                         enforce any provision containing a royalty rate that is
 18                         illegal and/or not in compliance with Qualcomm’s
 19                         contractual commitments to standard-setting
 20                         organizations, including at least ETSI, TIA, and ATIS.
 21                               Qualcomm is not entitled to any relief against
 22                         Compal because the “Compal MSA” must be reformed to
 23                         the extent that Qualcomm asserts it in a manner that is
 24                         inconsistent with Qualcomm’s contractual commitment to
 25                         license its standard essential patents on FRAND terms.
 26                               Qualcomm is not entitled to any relief against
 27                         Compal because the “Compal MSA” must be rescinded to
 28                         the extent that Qualcomm asserts it in an effort to seek


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  1                         relief beyond Qualcomm’s contractual commitment to
  2                         license its standard essential patents on FRAND terms.
  3                                Qualcomm is not entitled to any relief because
  4                         Compal has satisfied its valid legal obligations to
  5                         Qualcomm in all material respects.
  6                                Qualcomm’s claim for breach of contract of the
  7                         “Compal MSA” is preempted by Federal Law, including at
  8                         least 17 U.S.C. § 301.
  9                                Qualcomm is not entitled to any relief against
 10                         Compal because the “Compal MSA” is unenforceable due
 11                         to copyright misuse.
 12                                This claim is barred to the extent that, if
 13                         Qualcomm’s claims and interpretations are credited, the
 14                         “Compal MSA” would amount to unenforceable
 15                         liquidated damages provisions under California Civil Code
 16                         § 1671 and/or would be an unenforceable penalty.
 17                                Qualcomm’s claim is barred in whole or in part by
 18                         the economic loss doctrine.
 19                                Qualcomm’s claim is barred by equitable and/or
 20                         statutory set-off or offset.
 21                                Qualcomm is barred from asserting its claim as
 22                         alleged by the doctrines of equitable estoppel, unjust
 23                         enrichment, unclean hands, patent misuse, and waiver.
 24                                Qualcomm’s claim is barred because Compal’s acts
 25                         and omissions were justified and/or privileged.
 26                                Qualcomm’s claim is barred in whole or in part by a
 27                         failure to mitigate.
 28                                Qualcomm’s claim is barred because of ratification


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  1                          of, agreement to, acquiescence in, or consent to Compal’s
  2                          alleged conduct.
  3                                Qualcomm’s claim is barred in whole or in part by
  4                          the applicable statute(s) of limitations and/or doctrine of
  5                          laches.
  6                                To the extent that Qualcomm has suffered damages,
  7                          if at all, all damages were caused by Qualcomm’s own
  8                          actions.
  9                                Qualcomm’s claim is barred in whole or in part by
 10                          the doctrines of res judicata and/or collateral estoppel.
 11                                Qualcomm is not entitled to injunctive relief, and
 12                          any alleged injury to Qualcomm is not immediate or
 13                          irreparable and Qualcomm has an adequate remedy at law.
 14              9.    COUNT IX: DECLARATORY RELIEF (AGAINST EACH
 15              CM) (QC CM Complaint ¶¶ 223-29)
 16                          There is a substantial and actual controversy between
 17                    Qualcomm and the CMs having adverse legal interests, of
 18                    sufficient immediacy and reality.
 19                          Qualcomm seeks a declaration that:
 20                                Each CM has unjustifiably breached its obligations
 21                          under its License Agreement;
 22                                Qualcomm has not breached its obligations under
 23                          the License Agreements;
 24                                Each CM has unjustifiably breached its obligations
 25                          under its Master Software Agreement; and
 26                                Qualcomm has not breached its obligations under
 27                          the Master Software Agreements.
 28                          Damages Sought


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  1                               None.
  2                         Additional Relief Sought
  3                               Reasonable attorneys’ fees to Qualcomm;
  4                               Expenses, costs, and disbursements in this action,
  5                         including prejudgment interest; and
  6                               Such other and further relief as the Court deems just
  7                         and proper.
  8                         Applicable Defenses:
  9                                Qualcomm has not met its burden of proof on each
 10                         of the elements of this claim, and on the grounds and to
 11                         the extent that this is not a proper claim.
 12                               Qualcomm’s claim is barred in whole or in part
 13                         because the “License Agreements” and “Master Software
 14                         Agreements” do not impose the obligations that
 15                         Qualcomm claims were breached.
 16                               Each CM objects on the grounds and to the extent
 17                         that Qualcomm seeks monetary damages in connection
 18                         with this claim, which seeks declaratory relief for the
 19                         claims set forth in Counts I to VIII.
 20                               Each CM incorporates by reference its defenses to
 21                         Counts I to VIII above.
 22                               Each of the CMs’ “License Agreements” and
 23                         “Master Software Agreements” violates U.S. federal
 24                         antitrust law, including at least 15 U.S.C. § 1, and is
 25                         therefore illegal and unenforceable as alleged by
 26                         Qualcomm.
 27                               Each of the CMs’ “License Agreements” and
 28                         “Master Software Agreements” violates U.S. federal


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  1                         antitrust law, including at least 15 U.S.C. § 2, and is
  2                         therefore illegal and unenforceable as alleged by
  3                         Qualcomm.
  4                               Each of the CMs’ “License Agreements” and
  5                         “Master Software Agreements” violates California
  6                         Business and Professions Code § 16700 et seq. and is
  7                         therefore void and unenforceable as alleged by Qualcomm.
  8                               Each of the CMs’ “License Agreements” and
  9                         “Master Software Agreements” is substantively and/or
 10                         procedurally unconscionable.
 11                               Each of the CMs’ “License Agreements” and
 12                         “Master Software Agreements” is unenforceable under
 13                         California’s Unfair Competition Laws, California
 14                         Business and Professions Code §§ 17200, et seq..
 15                               Each of the CMs’ “License Agreements” is
 16                         unenforceable due to public policy, patent misuse, and
 17                         exhaustion of the purportedly licensed patents.
 18                               Each of the CMs’ “License Agreements” is
 19                         unenforceable due to Qualcomm’s contractual
 20                         commitment to license its standard-essential patents on
 21                         FRAND terms, pursuant to its contracts with standard-
 22                         setting organizations including at least ETSI, TIA, and
 23                         ATIS (with respect to which Compal is an intended third
 24                         party beneficiary).
 25                               Qualcomm is not entitled to any relief against any of
 26                         the CMs because Qualcomm materially breached each of
 27                         the CMs’ “License Agreements.”
 28                               Each of the CMs is excused from performance


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  1                         under its respective “License Agreement,” because the
  2                         current royalty rate is illegal and/or not in compliance with
  3                         Qualcomm’s contractual commitments to standard-setting
  4                         organizations, including at least ETSI, TIA, and ATIS.
  5                               Qualcomm is not entitled to any relief against any of
  6                         the CMs because each of the CMs’ “License Agreements”
  7                         must be reformed to be consistent with Qualcomm’s
  8                         contractual commitment to license its standard essential
  9                         patents on FRAND terms.
 10                               Qualcomm is not entitled to any relief against any of
 11                         the CMs because each of the CMs’ “License Agreements”
 12                         must be rescinded in so far as it seeks relief beyond
 13                         Qualcomm’s contractual commitment to license its
 14                         standard essential patents on FRAND terms.
 15                               Each of the CMs is excused from performance
 16                         under its respective “Master Software Agreement” to the
 17                         extent that Qualcomm seeks to enforce any provision
 18                         containing a royalty rate that is illegal and/or not in
 19                         compliance with Qualcomm’s contractual commitments to
 20                         standard-setting organizations, including at least ETSI,
 21                         TIA, and ATIS.
 22                               Qualcomm is not entitled to any relief against any of
 23                         the CMs because each of the CMs’ “Master Software
 24                         Agreements” must be reformed to the extent that
 25                         Qualcomm asserts it in a manner that is inconsistent with
 26                         Qualcomm’s contractual commitment to license its
 27                         standard essential patents on FRAND terms.
 28                               Qualcomm is not entitled to any relief against any of


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  1                         the CMs because each of the CMs’ “Master Software
  2                         Agreements” must be rescinded to the extent that
  3                         Qualcomm asserts it in an effort to seek relief beyond
  4                         Qualcomm’s contractual commitment to license its
  5                         standard essential patents on FRAND terms.
  6                               Qualcomm is not entitled to any relief against any of
  7                         the CMs because Qualcomm is attempting to enforce a
  8                         license on patents that have expired and/or abandoned.
  9                               Each of the CMs is excused from performance
 10                         under its respective “License Agreements” and “Master
 11                         Software Agreements” and Qualcomm is not otherwise
 12                         entitled to any relief from any of the CMs, because
 13                         Qualcomm’s right to collect licensing fees for its patents
 14                         has been exhausted and/or each of the CMs has a license
 15                         (express or implied) to Qualcomm’s patents.
 16                               Qualcomm is not entitled to any relief against any of
 17                         the CMs because Apple has or will obtain a license to
 18                         Qualcomm’s patents, or is otherwise permitted to practice
 19                         Qualcomm’s patents.
 20                               Qualcomm’s claim with respect to the “Master
 21                         Software Agreements” is preempted by Federal Law,
 22                         including at least 17 U.S.C. § 301.
 23                               Qualcomm is not entitled to any relief against any of
 24                         the CMs because the “Master Software Agreements” are
 25                         unenforceable due to copyright misuse.
 26                               Qualcomm is not entitled to any relief because each
 27                         of the CMs has satisfied its valid legal obligations to
 28                         Qualcomm in all material respects.


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  1                                   This claim is barred to the extent that, if
  2                            Qualcomm’s claims and interpretations are credited, the
  3                            CMs’ “License Agreements” and “Master Software
  4                            Agreements” would amount to unenforceable liquidated
  5                            damages provisions under California Civil Code § 1671
  6                            and/or would be an unenforceable penalty.
  7                                   Qualcomm is barred from asserting its claim as
  8                            alleged by the doctrines of equitable estoppel, unjust
  9                            enrichment, unclean hands, patent misuse, and waiver.
 10                                   Qualcomm’s claims are barred because each of the
 11                            CMs’ acts and omissions were justified and/or privileged.
 12                                   Qualcomm’s claims are barred because of
 13                            ratification of, agreement to, acquiescence in, or consent to
 14                            Compal’s alleged conduct.
 15                                   Qualcomm’s claims are barred in whole or in part
 16                            by the applicable statute(s) of limitations and/or doctrine
 17                            of laches.
 18                                   To the extent that Qualcomm has suffered damages,
 19                            if at all, all damages were caused by Qualcomm’s own
 20                            actions.
 21                                   Qualcomm’s claims are barred in whole or in part
 22                            by the doctrines of res judicata and/or collateral estoppel.
 23         D.    THE CMS’ CROSS-CLAIMS AGAINST QUALCOMM
 24         Below are the causes of action brought by the CMs, the defenses asserted by
 25   Qualcomm, and damages and other relief sought by the CMs. With respect to each
 26   cause of action listed below, the CMs seek a judgment awarding the CMs their
 27   expenses, costs, and attorneys’ fees in accordance with Rule 54(d) of the Federal
 28


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  1   Rules of Civil Procedure, each CM’s Subscriber Unit License Agreement with
  2   Qualcomm, and/or as is otherwise appropriate.40
  3          Qualcomm is the defendant in a case brought by the United States Federal
  4   Trade Commission and currently pending before Judge Lucy Koh in the Northern
  5   District of California, in which the CMs are third-party witnesses: FTC v. Qualcomm
  6   Inc., No. 17-cv-0220 (N.D. Cal). That case is scheduled to begin a bench trial on
  7   January 4, 2019; evidence is projected to run through January 28, 2019, after which
  8   the Court will issue findings of fact and conclusions of law after appropriate post-
  9   trial briefing. Qualcomm is a party to other related cases as well, including several
 10   proceedings pending before the International Trade Commission. Apple and the
 11   CMs contend that the facts and relief sought in the FTC v. Qualcomm case and in
 12   other Qualcomm cases overlap with the facts to be found and the relief sought in the
 13   instant action, and thus Apple and the CMs contend that the resolution of that matter
 14   and other matters are likely to affect the scope of this trial. The CMs reserve their
 15   rights to amend this list, as well as the defenses that one or more of the CMs have
 16   identified to Qualcomm’s causes of action, and move the Court as appropriate to
 17   apply collateral estoppel, issue preclusion, or other/similar doctrines to simplify the
 18   issues to be tried.41
 19                 1.        COUNT I: SHERMAN ACT § 2
 20                               Applicable Elements:
 21
 22   40
         The Court on November 20, 2018 dismissed Count XIII, XIV, XVI, XVII, XIX,
      XX, XXII, XXIII, XXV, XXVI, XXVIII, XXIX, XXXI, XXXII, XXXIV, XXXV,
 23
      XXXVII, XXXVIII, and LXVII. See D.I. No. 737. The CMs preserves their right
 24   to appeal the dismissal of these counts.
 25
      41
         Qualcomm objects to Apple and the CMs’ characterization and speculation
      regarding other cases not pending before this Court. Qualcomm objects to the
 26   inclusion of this paragraph entirely, which Apple and the CMs inserted for the first
 27   time at 10:27pm eastern time the night the pretrial order was due to be filed and
      refused to remove.
 28


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  1                                    Qualcomm possesses or at relevant times possessed
  2                            monopoly power in the relevant market;
  3                                    Qualcomm has willfully acquired or maintained that
  4                            power; and
  5                                    Qualcomm’s conduct has caused antitrust injury. 42
  6                                    Injunctive relief under Section 16 of the Clayton
  7                            Act, 15 U.S.C. § 26, is appropriate if a plaintiff faces a
  8                            significant threat of injury from an impending violation of
  9                            the antitrust laws or from a contemporary violation likely
 10                            to continue or recur.43
 11                                    A plaintiff has standing to enforce Section 16 of the
 12                            Clayton Act when its threatened loss or damage is of the
 13                            type the antitrust laws were designed to prevent and that
 14                            flows from that which makes defendants’ acts unlawful. 44
 15                            Damages and/or Relief Sought:
 16                                    A determination and declaration that Qualcomm
 17                            has violated Section 2 of the Sherman Act.
 18                                    An order enjoining Qualcomm from all unlawful
 19                            acts.
 20                                    Further injunctive relief necessary to remedy
 21                            Qualcomm’s unlawful behavior (including but not limited
 22                            to enjoining Qualcomm from interrupting supply of
 23                            baseband processor chipsets), the specifics of which will
 24                            be determined at a later date.
 25
      42
 26      Cost Mgmt. Servs., Inc. v. Washington Nat’l Gas Co., 99 F.3d 937, 949 (9th Cir.
      1996).
 27   43
         Zenith Radio Corp. v. Hazeltine Research, 395 U.S. 100, 130 (1969).
      44
 28      Cargill, Inc. v. Monfort of Colo., Inc., 479 U.S. 104, 113 (1986) (quoting
      Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977)).

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  1                                Trebled damages in amounts to be proven at trial.
  2                          (See, e.g., expert reports of Dr. Jeffrey J. Leitzinger.)
  3                                Costs of suit, including attorneys’ fees, pursuant to
  4                          15 U.S.C. § 15 and/or their Subscriber Unit License
  5                          Agreements with Qualcomm, in an amount to be
  6                          determined after trial.
  7                                Other and further relief as the Court deems just and
  8                          proper.
  9                          Applicable Defenses:
 10                    Without taking on (or relieving any other party of) the burden of
 11                    proof on any element on which another party bears the burden,
 12                    Qualcomm asserts the following defenses in response to the
 13                    CMs’ Count I:
 14                                The CMs’ Counterclaim fails to state a claim on
 15                          which relief can be granted.
 16                                The CMs’ Counterclaim is barred in whole or in
 17                          part by the applicable statutes of limitations, including, but
 18                          not limited to, California Business and Professions Code
 19                          § 17208 and 15 U.S.C. § 15b.
 20                                The CMs’ Counterclaim is barred in whole or in
 21                          part by the doctrine of laches.
 22                                The CMs’ Counterclaim is barred in whole or in
 23                          part by the doctrine of estoppel.
 24                                The CMs’ Counterclaim is barred in whole or in
 25                          part by the doctrine of waiver.
 26                                The CMs’ Counterclaim is barred in whole or in
 27                          part by the doctrine of unclean hands.
 28                                The CMs’ Counterclaim is barred in whole or in


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  1                         part because Qualcomm’s alleged conduct did not
  2                         unreasonably restrain trade and was lawful, pro-
  3                         competitive, and based on legitimate business and
  4                         economic justifications.
  5                               The CMs’ Counterclaim is barred in whole or in
  6                         part because the CMs have not suffered antitrust injury or
  7                         any injury of the type the antitrust laws were intended to
  8                         prevent.
  9                               The CMs’ Counterclaim is barred in whole or in
 10                         part because they have not sustained injury in fact or
 11                         damages proximately caused by any act or omission of
 12                         Qualcomm.
 13                               The CMs’ Counterclaim is barred in whole or in
 14                         part because any damages that the CMs purport to have
 15                         suffered are too remote or speculative to allow recovery,
 16                         and it is impossible to ascertain and allocate such alleged
 17                         damages with reasonable certainty.
 18                               The CMs’ Counterclaim is barred in whole or in
 19                         part because of ratification, agreement, acquiescence or
 20                         consent to Qualcomm’s alleged conduct.
 21                               To the extent that the CMs have suffered damages,
 22                         if at all, they have failed to take reasonable measures to
 23                         mitigate their damages in whole or in part, and are barred
 24                         from recovering damages they could have reasonably
 25                         avoided.
 26                               To the extent that the CMs have suffered damages,
 27                         if at all, all damages were caused by the CMs’ own
 28                         actions.


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  1                                   To the extent that the CMs have suffered damages,
  2                           if at all, their damages are subject to offset in the amount
  3                           of any obligations the CMs owe Qualcomm.
  4                                   The CMs are not entitled to injunctive relief because
  5                           any alleged injury to the CMs is not immediate or
  6                           irreparable and the CMs have an adequate remedy at law.
  7                                   The CMs’ Counterclaim is barred in whole or in
  8                           part because any recovery would result in unjust
  9                           enrichment to the CMs.
 10                                   The CMs’ Counterclaim is barred in whole or in
 11                           part because Qualcomm has satisfied its FRAND
 12                           commitments.
 13                                   The CMs are not entitled to interest, attorney’s fees
 14                           or costs in connection with this action.
 15               2.    COUNT II: SHERMAN ACT § 1
 16                           Applicable Elements:
 17                                   Qualcomm is a party to contract(s), combination(s)
 18                           or conspiracy(ies);
 19                                   in restraint of trade under either a per se or rule of
 20                           reason analysis; and
 21                                   that caused antitrust injury. 45
 22                           Damages and/or Relief Sought:
 23                                   A determination and declaration that Qualcomm has
 24                           violated Section 1 of the Sherman Act.
 25                                   An order enjoining Qualcomm from all unlawful
 26                           acts.
 27
      45
 28     American Ad Mgmt., Inc. v. GTE Corp., 92 F.3d 781, 788 (9th Cir. 1996);
      Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 488-489 (1977).

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  1                                Further injunctive relief necessary to remedy
  2                          Qualcomm’s unlawful behavior (including but not limited
  3                          to enjoining Qualcomm from interrupting supply of
  4                          baseband processor chipsets), the specifics of which will
  5                          be determined at a later date.
  6
  7                                Trebled damages in amounts to be proven at trial.
  8                          (See, e.g., expert reports of Dr. Jeffrey J. Leitzinger.)
  9                                Costs of suit, including attorneys’ fees, pursuant to
 10                          15 U.S.C. § 15 and/or their Subscriber Unit License
 11                          Agreements with Qualcomm, in an amount to be
 12                          determined after trial.
 13                                Other and further relief as the Court deems just and
 14                          proper.
 15                          Applicable Defenses
 16                    Without taking on (or relieving any other party of) the burden of
 17                    proof on any element on which another party bears the burden,
 18                    Qualcomm asserts the following defenses in response to CMs’
 19                    Count II:
 20                                The CMs’ Counterclaim fails to state a claim on
 21                          which relief can be granted.
 22                                The CMs’ Counterclaim is barred in whole or in
 23                          part by the applicable statutes of limitations, including, but
 24                          not limited to, California Business and Professions Code
 25                          § 17208 and 15 U.S.C. § 15b.
 26                                The CMs’ Counterclaim is barred in whole or in
 27                          part by the doctrine of laches.
 28                                The CMs’ Counterclaim is barred in whole or in


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  1                         part by the doctrine of estoppel.
  2                               The CMs’ Counterclaim is barred in whole or in
  3                         part by the doctrine of waiver.
  4                               The CMs’ Counterclaim is barred in whole or in
  5                         part by the doctrine of unclean hands.
  6                               The CMs’ Counterclaim is barred in whole or in
  7                         part because Qualcomm’s alleged conduct did not
  8                         unreasonably restrain trade and was lawful, pro-
  9                         competitive, and based on legitimate business and
 10                         economic justifications.
 11                               The CMs’ Counterclaim is barred in whole or in
 12                         part because the CMs have not suffered antitrust injury or
 13                         any injury of the type the antitrust laws were intended to
 14                         prevent.
 15                               The CMs’ Counterclaim is barred in whole or in
 16                         part because they have not sustained injury in fact or
 17                         damages proximately caused by any act or omission of
 18                         Qualcomm.
 19                               The CMs’ Counterclaim is barred in whole or in
 20                         part because any damages that the CMs purport to have
 21                         suffered are too remote or speculative to allow recovery,
 22                         and it is impossible to ascertain and allocate such alleged
 23                         damages with reasonable certainty.
 24                               The CMs’ Counterclaim is barred in whole or in
 25                         part because of ratification, agreement, acquiescence or
 26                         consent to Qualcomm’s alleged conduct.
 27                               To the extent that the CMs have suffered damages,
 28                         if at all, they have failed to take reasonable measures to


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  1                         mitigate their damages in whole or in part, and are barred
  2                         from recovering damages they could have reasonably
  3                         avoided.
  4                                  To the extent that the CMs have suffered damages,
  5                         if at all, all damages were caused by the CMs’ own
  6                         actions.
  7                                  To the extent that the CMs have suffered damages,
  8                         if at all, their damages are subject to offset in the amount
  9                         of any obligations the CMs owe Qualcomm.
 10                                  The CMs are not entitled to injunctive relief because
 11                         any alleged injury to the CMs is not immediate or
 12                         irreparable and the CMs have an adequate remedy at law.
 13                                  The CMs’ Counterclaim is barred in whole or in
 14                         part because any recovery would result in unjust
 15                         enrichment to the CMs.
 16                                  The CMs’ Counterclaim is barred in whole or in
 17                         part because Qualcomm has satisfied its FRAND
 18                         commitments.
 19                                  The CMs are not entitled to interest, attorney’s fees
 20                         or costs in connection with this action.
 21                          COUNT III: CARTWRIGHT ACT (CAL. BUS. &
 22                    PROF. CODE § 16700 ET SEQ., INCLUDING BUT NOT
 23                    LIMITED TO §§ 16720, 16722, 16726, 16727, AND 16750)
 24                         Applicable Elements:
 25                                  Qualcomm participated in the formation and
 26                         operation of an agreement (“combination”) to restrain
 27                         trade;
 28


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  1                                     that combination is unreasonable under a per se46 or
  2                             rule of reason analysis;
  3                                     Qualcomm engaged in illegal acts with the purpose
  4                             of furthering that agreement; and
  5                                     Qualcomm caused the CMs damage as a result of
  6                             those illegal acts.
  7                             Damages and/or Relief Sought:
  8                                      A determination and declaration that Qualcomm
  9                             has violated the Cartwright Act.
 10                                     A determination and declaration that Qualcomm’s
 11                             unlawful contracts are unenforceable either in whole or in
 12                             part.
 13                                     An order enjoining Qualcomm from all unlawful
 14                             acts.
 15                                     Further injunctive relief necessary to remedy
 16                             Qualcomm’s unlawful behavior (including but not limited
 17                             to enjoining Qualcomm from interrupting supply of
 18                             baseband processor chipsets), the specifics of which will
 19                             be determined at a later date.
 20                                     Trebled damages in amounts to be proven at trial.
 21                             (See, e.g., expert reports of Dr. Jeffrey J. Leitzinger.)
 22
      46
         A tying arrangement is per se illegal under Section 16720 where (1) a tying
 23   agreement, arrangement or condition existed whereby the sale of the tying product
 24   was linked to the sale of the tied product or service; (2) Qualcomm had sufficient
      economic power in the tying market to coerce the purchase of the tied product; (3) a
 25   substantial amount of sale was affected in the tied product; and (4) the CMs suffered
 26   pecuniary loss as a consequence of the unlawful act. Morrison v. Viacom, Inc., 66
      Cal. App. 4th 534 (Cal. App. 1st Dist. 1998). Under Section 16727, a tying
 27   arrangement is per se illegal if either element (2) or (3) (but not both) is established
 28   along with elements (1) and (4). Morrison v. Viacom, Inc., 66 Cal. App. 4th 534,
      540-42 (Cal. App. 1st Dist. 1998).

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  1                                 Costs of suit, including their attorneys’ fees,
  2                          pursuant to Section 16750 of the Cartwright Act and/or
  3                          their Subscriber Unit License Agreements with
  4                          Qualcomm, in an amount to be determined after trial.
  5                                 Other and further relief as the Court deems just and
  6                          proper.
  7                          Applicable Defenses:
  8                    Without taking on (or relieving any other party of) the burden of
  9                    proof on any element on which another party bears the burden,
 10                    Qualcomm asserts the following defenses in response to CMs’
 11                    Count III:
 12                                 The CMs’ Counterclaim fails to state a claim on
 13                          which relief can be granted.
 14                                 The CMs’ Counterclaim is barred in whole or in
 15                          part by the applicable statutes of limitations, including, but
 16                          not limited to, California Business and Professions Code §
 17                          17208 and 15 U.S.C. § 15b.
 18                                 The CMs’ Counterclaim is barred in whole or in
 19                          part by the doctrine of laches.
 20                                 The CMs’ Counterclaim is barred in whole or in
 21                          part by the doctrine of estoppel.
 22                                 The CMs’ Counterclaim is barred in whole or in
 23                          part by the doctrine of waiver.
 24                                 The CMs’ Counterclaim is barred in whole or in
 25                          part by the doctrine of unclean hands.
 26                                 The CMs’ Counterclaim is barred in whole or in
 27                          part because Qualcomm’s alleged conduct did not
 28                          unreasonably restrain trade and was lawful, pro-


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  1                         competitive, and based on legitimate business and
  2                         economic justifications.
  3                               The CMs’ Counterclaim is barred in whole or in
  4                         part because the CMs have not suffered antitrust injury or
  5                         any injury of the type the antitrust laws were intended to
  6                         prevent.
  7                               The CMs’ Counterclaim is barred in whole or in
  8                         part because they have not sustained injury in fact or
  9                         damages proximately caused by any act or omission of
 10                         Qualcomm.
 11                               The CMs’ Counterclaim is barred in whole or in
 12                         part because any damages that the CMs purport to have
 13                         suffered are too remote or speculative to allow recovery,
 14                         and it is impossible to ascertain and allocate such alleged
 15                         damages with reasonable certainty.
 16                               The CMs’ Counterclaim is barred in whole or in
 17                         part because of ratification, agreement, acquiescence or
 18                         consent to Qualcomm’s alleged conduct.
 19                               To the extent that the CMs have suffered damages,
 20                         if at all, they have failed to take reasonable measures to
 21                         mitigate their damages in whole or in part, and are barred
 22                         from recovering damages they could have reasonably
 23                         avoided.
 24                               To the extent that the CMs have suffered damages,
 25                         if at all, all damages were caused by the CMs’ own
 26                         actions.
 27                               To the extent that the CMs have suffered damages,
 28                         if at all, their damages are subject to offset in the amount


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  1                           of any obligations the CMs owe Qualcomm.
  2                                 The CMs are not entitled to injunctive relief because
  3                           any alleged injury to the CMs is not immediate or
  4                           irreparable and the CMs have an adequate remedy at law.
  5                                 The CMs’ Counterclaim is barred in whole or in
  6                           part because any recovery would result in unjust
  7                           enrichment to the CMs.
  8                                 The CMs’ Counterclaim is barred in whole or in
  9                           part because Qualcomm has satisfied its FRAND
 10                           commitments.
 11                                 The CMs are not entitled to interest, attorney’s fees
 12                           or costs in connection with this action.
 13               3.    COUNT IV: VIOLATIONS OF THE CALIFORNIA UNFAIR
 14               COMPETITION LAW
 15                           Applicable Elements:
 16                                 Qualcomm engaged in unlawful or unfair conduct;
 17                           and
 18                                 The CMs suffered injury in fact and lost money or
 19                           property as a result of the unlawful or unfair conduct. 47
 20                           Damages and/or Relief Sought:
 21                                 A decree that Qualcomm has violated the California
 22                           Unfair Competition Law.
 23                                 An order enjoining Qualcomm from all unlawful
 24
      47
 25      In re Act-Immune Marketing Litig., 2010 WL 3463491, at *6 (N.D. Cal. 2010);
      Lopez v. Stages of Beauty, LLC, 307 F. Supp.3d 1058, 1070-73 (S.D. Cal. 2018);
 26   Cel-Tech Comms., Inc. v. Los Angeles Cellular Telephone Co., 973 P.2d 527, 540
 27   (Cal. 1999) (“Section 17200 borrows violations of other laws and treats them as
      unlawful practices that the unfair competition law makes independently
 28   actionable.”).


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  1                          and unfair business practices.
  2                                Further injunctive relief necessary to remedy
  3                          Qualcomm’s unlawful and unfair behavior (including but
  4                          not limited to enjoining Qualcomm from interrupting
  5                          supply of baseband processor chipsets), the specifics of
  6                          which will be determined at a later date.
  7                                Restitution of all monies unfairly or unlawfully paid
  8                          to Qualcomm, in amounts to be proven at trial. (See, e.g.,
  9                          the expert reports of Dr. Jeffrey J. Leitzinger.)
 10                                Costs of suit, including their attorneys’ fees,
 11                          pursuant to their Subscriber Unit License Agreements with
 12                          Qualcomm and/or as otherwise appropriate, in an amount
 13                          to be determined after trial.
 14                                Other and further relief as the Court deems just and
 15                          proper.
 16                          Applicable Defenses:
 17                    Without taking on (or relieving any other party of) the burden of
 18                    proof on any element on which another party bears the burden,
 19                    Qualcomm asserts the following defenses in response to CMs’
 20                    Count IV:
 21                                The CMs’ Counterclaim fails to state a claim on
 22                          which relief can be granted.
 23                                The CMs’ Counterclaim is barred in whole or in
 24                          part by the applicable statutes of limitations, including, but
 25                          not limited to, California Business and Professions Code §
 26                          17208 and 15 U.S.C. § 15b.
 27                                The CMs’ Counterclaim is barred in whole or in
 28                          part by the doctrine of laches.


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  1                               The CMs’ Counterclaim is barred in whole or in
  2                         part by the doctrine of estoppel.
  3                               The CMs’ Counterclaim is barred in whole or in
  4                         part by the doctrine of waiver.
  5                               The CMs’ Counterclaim is barred in whole or in
  6                         part by the doctrine of unclean hands.
  7                               The CMs’ Counterclaim is barred in whole or in
  8                         part because Qualcomm’s alleged conduct did not
  9                         unreasonably restrain trade and was lawful, pro-
 10                         competitive, and based on legitimate business and
 11                         economic justifications.
 12                               The CMs’ Counterclaim is barred in whole or in
 13                         part because the CMs have not suffered antitrust injury or
 14                         any injury of the type the antitrust laws were intended to
 15                         prevent.
 16                               The CMs’ Counterclaim is barred in whole or in
 17                         part because they have not sustained injury in fact or
 18                         damages proximately caused by any act or omission of
 19                         Qualcomm.
 20                               The CMs’ Counterclaim is barred in whole or in
 21                         part because any damages that the CMs purport to have
 22                         suffered are too remote or speculative to allow recovery,
 23                         and it is impossible to ascertain and allocate such alleged
 24                         damages with reasonable certainty.
 25                               The CMs’ Counterclaim is barred in whole or in
 26                         part because of ratification, agreement, acquiescence or
 27                         consent to Qualcomm’s alleged conduct.
 28                               Any monetary damages under California Business


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  1                         & Professions Code §17200, et seq., are barred in their
  2                         entirety by those statutes and other applicable legal
  3                         authority.
  4                               To the extent that the CMs have suffered damages,
  5                         if at all, they have failed to take reasonable measures to
  6                         mitigate their damages in whole or in part, and are barred
  7                         from recovering damages they could have reasonably
  8                         avoided.
  9                               To the extent that the CMs have suffered damages,
 10                         if at all, all damages were caused by the CMs’ own
 11                         actions.
 12                               To the extent that the CMs have suffered damages,
 13                         if at all, their damages are subject to offset in the amount
 14                         of any obligations the CMs owe Qualcomm.
 15                               The CMs are not entitled to injunctive relief because
 16                         any alleged injury to the CMs is not immediate or
 17                         irreparable and the CMs have an adequate remedy at law.
 18                               The CMs’ Counterclaim is barred in whole or in
 19                         part because they are not entitled to restitution or
 20                         disgorgement of profits.
 21                               The CMs’ Counterclaim is barred in whole or in
 22                         part because any recovery would result in unjust
 23                         enrichment to the CMs.
 24                               The CMs’ Counterclaim is barred in whole or in
 25                         part because Qualcomm has satisfied its FRAND
 26                         commitments.
 27                               The CMs are not entitled to interest, attorney’s fees
 28                         or costs in connection with this action.


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  1               4.    COUNT V: BREACH OF CONTRACT (FRAND
  2               COMMITMENTS)
  3                           Applicable Elements: 48
  4                                  For contracts governed by French law:
  5                                  (a)    The existence of a contract between
  6                                  Qualcomm and ETSI, which may include a promise
  7                                  to act for the benefit of a third party,
  8                                  (b)    the parties had capacity to enter into the
  9                                  contract;
 10                                  (c)    Qualcomm’s breach;
 11                                  (d)    the resulting damages to the plaintiff, and
 12                                  (e)    the intent to benefit the third-party
 13                                  beneficiary (e.g., the CMs) appears from the terms
 14                                  of the contract.
 15                                  For contracts governed by U.S. or California law:
 16                                  (a)    The existence of a contract;
 17                                  (b)    the claimant’s performance or excuse for
 18                                  nonperformance;
 19                                  (c)    Qualcomm’s breach;
 20                                  (d)    the resulting damages;
 21                                  (e)    Qualcomm and the standard-setting
 22                                  organizations with which it was contracting
 23                                  (including ATIS and TIA) intended to benefit third
 24                                  party-beneficiaries (e.g., the CMs); and
 25
      48
 26      Oasis West Realty, LLC v. Goldman, 250 P.3d 1115, 1121 (Cal. 2011) (citing
      Richert v. Gen. Ins. Co., 442 P.2d 377 (Cal. 1968)); F.D.I.C. v. Levitt, No.
 27   11CV1284 JM BLM, 2011 WL 4591933, at *3 (S.D. Cal. Oct. 3, 2011) (citing Kirst
 28   v. Silna, 103 Cal. App. 3d 759, 763, 163 Cal. Rptr. 230 (1980)); see also Articles
      1205 to 1209 of the French Civil Code.

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  1                               (f)    the intent to benefit the third-party
  2                               beneficiary (e.g., the CMs) appears from the terms
  3                               of the contract.
  4                         Damages and/or Relief Sought:
  5                               The CMs seek a determination and declaration that
  6                         Qualcomm has breached its FRAND commitments to
  7                         standard setting organizations including ETSI, ATIS, and
  8                         TIA, including breach of its contractual obligation to
  9                         license its standard-essential patents under FRAND terms.
 10                               The CMs seek restitution of all monies unfairly or
 11                         unlawfully paid to Qualcomm and/or judgment against
 12                         Qualcomm for damages for Qualcomm’s breach of the
 13                         FRAND commitment. The amount and calculation for
 14                         such monies are described in the expert reports of Dr.
 15                         Jeffrey J. Leitzinger.
 16                               The CMs also seek their costs of suit, including
 17                         their attorneys’ fees, pursuant to their Subscriber Unit
 18                         License Agreements with Qualcomm and/or as otherwise
 19                         appropriate, in an amount to be determined after trial.
 20                               The CMs seek an award of such other and further
 21                         relief as the Court deems just and proper to remedy
 22                         Qualcomm’s breach of its FRAND commitment, including
 23                         but not limited to injunctive relief necessary to remedy
 24                         Qualcomm’s behavior (including but not limited to
 25                         enjoining Qualcomm from interrupting supply of baseband
 26                         processor chipsets), reformation, and rescission.
 27                                Other and further relief as the Court deems just and
 28                         proper.


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  1                          Applicable Defenses:
  2                    Without taking on (or relieving any other party of) the burden of
  3                    proof on any element on which another party bears the burden,
  4                    Qualcomm asserts the following defenses in response to CMs’
  5                    Count V:
  6                                The CMs’ Counterclaim fails to state a claim on
  7                          which relief can be granted.
  8                                The CMs’ Counterclaim is barred in whole or in
  9                          part by the applicable statutes of limitations, including, but
 10                          not limited to, California Business and Professions Code §
 11                          17208 and 15 U.S.C. § 15b.
 12                                The CMs’ Counterclaim is barred in whole or in
 13                          part by the doctrine of laches.
 14                                The CMs’ Counterclaim is barred in whole or in
 15                          part by the doctrine of estoppel.
 16                                The CMs’ Counterclaim is barred in whole or in
 17                          part by the doctrine of waiver.
 18                                The CMs’ Counterclaim is barred in whole or in
 19                          part by the doctrine of unclean hands.
 20                                The CMs’ Counterclaim for breach of contract is
 21                          barred because the CMs have not suffered any damages
 22                          from any such alleged breach.
 23                                The CMs’ Counterclaim is barred in whole or in
 24                          part because they have not sustained injury in fact or
 25                          damages proximately caused by any act or omission of
 26                          Qualcomm.
 27                                The CMs’ Counterclaim is barred in whole or in
 28                          part because any damages that the CMs purport to have


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  1                         suffered are too remote or speculative to allow recovery,
  2                         and it is impossible to ascertain and allocate such alleged
  3                         damages with reasonable certainty.
  4                               The CMs’ Counterclaim is barred in whole or in
  5                         part because of ratification, agreement, acquiescence or
  6                         consent to Qualcomm’s alleged conduct.
  7                               To the extent that the CMs have suffered damages,
  8                         if at all, they have failed to take reasonable measures to
  9                         mitigate their damages in whole or in part, and are barred
 10                         from recovering damages they could have reasonably
 11                         avoided.
 12                               To the extent that the CMs have suffered damages,
 13                         if at all, all damages were caused by the CMs’ own
 14                         actions.
 15                               To the extent that the CMs have suffered damages,
 16                         if at all, their damages are subject to offset in the amount
 17                         of any obligations the CMs owe Qualcomm.
 18                               The CMs are not entitled to injunctive relief because
 19                         any alleged injury to the CMs is not immediate or
 20                         irreparable and the CMs have an adequate remedy at law.
 21                               The CMs’ Counterclaim is barred in whole or in
 22                         part because they are not entitled to restitution or
 23                         disgorgement of profits.
 24                               The CMs’ Counterclaim is barred in whole or in
 25                         part because any recovery would result in unjust
 26                         enrichment to the CMs.
 27                               The CMs’ Counterclaim is barred in whole or in
 28                         part because Qualcomm has satisfied its FRAND


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  1                           commitments.
  2                                 The CMs are not entitled to interest, attorney’s fees
  3                           or costs in connection with this action.
  4                 5.   COUNT VI: BREACH OF IMPLIED COVENANT OF GOOD
  5                 FAITH AND FAIR DEALING (FRAND COMMITMENTS)
  6                           Applicable Elements:
  7                                 The existence of a contract;
  8                                 the CMs and/or the standard-setting organizations,
  9                           including ETSI, ATIS, and TIA, fulfilled its obligations
 10                           under the contract(s);
 11                                 Qualcomm unfairly interfered with the rights of the
 12                           CMs to receive the benefits of the contracts;
 13                                 that CMs were harmed by Qualcomm’s conduct. 49
 14                           Damages and/or Relief sought:
 15                                 The CMs seek a determination and declaration that
 16                           Qualcomm has breached its implied covenant of good
 17                           faith and fair dealing under Qualcomm’s contracts with
 18                           standard-setting organizations, including at least ETSI,
 19                           TIA, and ATIS, and/or the CMs.
 20                                 The CMs seek restitution of all monies unfairly or
 21                           unlawfully paid to Qualcomm and/or judgment against
 22                           Qualcomm for damages for Qualcomm’s breach. The
 23                           amount and calculation for such monies are described in
 24                           the expert reports of Dr. Jeffrey J. Leitzinger.
 25                                 The CMs also seek their costs of suit, including
 26
 27   49
        Amata v. Narconon Fresh Start, No. 14-cv-588-GPC, 2014 WL 5390196, at *9
 28   (S.D. Cal. Oct. 23, 2014); Sarbaz v. Wachovia Bank, No. 10-cv-3462-CRB, 2011
      WL 830236, at *3 (N.D. Cal. Mar. 3, 2011).

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  1                          their attorneys’ fees, pursuant to their Subscriber Unit
  2                          License Agreements with Qualcomm and/or as otherwise
  3                          appropriate, in an amount to be determined after trial.
  4                                The CMs seek an award of such other and further
  5                          relief as the Court deems just and proper to remedy
  6                          Qualcomm’s breach of its implied covenant of good faith
  7                          and fair dealing, including but not limited to injunctive
  8                          relief necessary to remedy Qualcomm’s behavior
  9                          (including but not limited to enjoining Qualcomm from
 10                          interrupting supply of baseband processor chipsets),
 11                          reformation, and rescission.
 12                          Applicable Defenses:
 13                    Without taking on (or relieving any other party of) the burden of
 14                    proof on any element on which another party bears the burden,
 15                    Qualcomm asserts the following defenses in response to CMs’
 16                    Count VI:
 17                                The CMs’ Counterclaim fails to state a claim on
 18                          which relief can be granted.
 19                                The CMs’ Counterclaim is barred in whole or in
 20                          part by the applicable statutes of limitations, including, but
 21                          not limited to, California Business and Professions Code §
 22                          17208 and 15 U.S.C. § 15b.
 23                                The CMs’ Counterclaim is barred in whole or in
 24                          part by the doctrine of laches.
 25                                The CMs’ Counterclaim is barred in whole or in
 26                          part by the doctrine of estoppel.
 27                                The CMs’ Counterclaim is barred in whole or in
 28                          part by the doctrine of waiver.


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  1                               The CMs’ Counterclaim is barred in whole or in
  2                         part by the doctrine of unclean hands.
  3                               The CMs’ Counterclaim for breach of contract is
  4                         barred because the CMs have not suffered any damages
  5                         from any such alleged breach.
  6                               The CMs’ Counterclaim is barred in whole or in
  7                         part because they have not sustained injury in fact or
  8                         damages proximately caused by any act or omission of
  9                         Qualcomm.
 10                               The CMs’ Counterclaim is barred in whole or in
 11                         part because any damages that the CMs purport to have
 12                         suffered are too remote or speculative to allow recovery,
 13                         and it is impossible to ascertain and allocate such alleged
 14                         damages with reasonable certainty.
 15                               The CMs’ Counterclaim is barred in whole or in
 16                         part because of ratification, agreement, acquiescence or
 17                         consent to Qualcomm’s alleged conduct.
 18                               To the extent that the CMs have suffered damages,
 19                         if at all, they have failed to take reasonable measures to
 20                         mitigate their damages in whole or in part, and are barred
 21                         from recovering damages they could have reasonably
 22                         avoided.
 23                               To the extent that the CMs have suffered damages,
 24                         if at all, all damages were caused by the CMs’ own
 25                         actions.
 26                               To the extent that the CMs have suffered damages,
 27                         if at all, their damages are subject to offset in the amount
 28                         of any obligations the CMs owe Qualcomm.


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  1                               The CMs are not entitled to injunctive relief because
  2                         any alleged injury to the CMs is not immediate or
  3                         irreparable and the CMs have an adequate remedy at law.
  4                               The CMs’ Counterclaim is barred in whole or in
  5                         part because they are not entitled to restitution or
  6                         disgorgement of profits.
  7                               The CMs’ Counterclaim is barred in whole or in
  8                         part because any recovery would result in unjust
  9                         enrichment to the CMs.
 10                               The CMs’ Counterclaim is barred in whole or in
 11                         part because Qualcomm has satisfied its FRAND
 12                         commitments.
 13                               The CMs are not entitled to interest, attorney’s fees
 14                         or costs in connection with this action.
 15              6.    Promissory Estoppel – Count VII
 16                         Applicable Elements:
 17                               Qualcomm’s clear and unambiguous promise;
 18                               reliance by the CMs;
 19                               the CMs’ reliance was reasonable and foreseeable;
 20                         and
 21                               the CMs were injured by their reliance.
 22                         Damages and/or Relief sought:
 23                               The CMs seek a determination and declaration that
 24                         Qualcomm is estopped from reneging on its promises to
 25                         standard-setting organizations, including at least ETSI,
 26                         TIA, and ATIS, to license on FRAND terms.
 27                               The CMs are entitled to monies unfairly or
 28                         unlawfully paid to Qualcomm. The amount and basis for


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  1                          calculating such monies are described in the expert reports
  2                          of Dr. Jeffrey J. Leitzinger.
  3                                 The CMs also seek their costs of suit, including
  4                          their attorneys’ fees, pursuant to their Subscriber Unit
  5                          License Agreements with Qualcomm and/or as otherwise
  6                          appropriate, in an amount to be determined after trial.
  7                                 The CMs seek an award of such other and further
  8                          relief as the Court deems just and proper to remedy
  9                          Qualcomm’s conduct, including but not limited to
 10                          injunctive relief necessary to remedy Qualcomm’s
 11                          behavior, reformation, rescission, and an order enjoining
 12                          Qualcomm from reneging on its promises to standard-
 13                          setting organizations, including at least ETSI, TIA, and
 14                          ATIS, to grant licenses to its standard-essential patents
 15                          under FRAND terms.
 16                                 Other and further relief as the Court deems just and
 17                          proper.
 18                          Applicable Defenses:
 19                    Without taking on (or relieving any other party of) the burden of
 20                    proof on any element on which another party bears the burden,
 21                    Qualcomm asserts the following defenses in response to CMs’
 22                    Count VII:
 23                                 The CMs’ Counterclaim fails to state a claim on
 24                          which relief can be granted.
 25                                 The CMs’ Counterclaim is barred in whole or in
 26                          part by the applicable statutes of limitations, including, but
 27                          not limited to, California Business and Professions Code §
 28                          17208 and 15 U.S.C. § 15b.


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  1                               The CMs’ Counterclaim is barred in whole or in
  2                         part by the doctrine of laches.
  3                               The CMs’ Counterclaim is barred in whole or in
  4                         part by the doctrine of estoppel.
  5                               The CMs’ Counterclaim is barred in whole or in
  6                         part by the doctrine of waiver.
  7                               The CMs’ Counterclaim is barred in whole or in
  8                         part by the doctrine of unclean hands.
  9                               The CMs’ Counterclaim is barred in whole or in
 10                         part because they have not sustained injury in fact or
 11                         damages proximately caused by any act or omission of
 12                         Qualcomm.
 13                               The CMs’ Counterclaim is barred in whole or in
 14                         part because any damages that the CMs purport to have
 15                         suffered are too remote or speculative to allow recovery,
 16                         and it is impossible to ascertain and allocate such alleged
 17                         damages with reasonable certainty.
 18                               The CMs’ Counterclaim is barred in whole or in
 19                         part because of ratification, agreement, acquiescence or
 20                         consent to Qualcomm’s alleged conduct.
 21                               To the extent that the CMs have suffered damages,
 22                         if at all, they have failed to take reasonable measures to
 23                         mitigate their damages in whole or in part, and are barred
 24                         from recovering damages they could have reasonably
 25                         avoided.
 26                               To the extent that the CMs have suffered damages,
 27                         if at all, all damages were caused by the CMs’ own
 28                         actions.


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  1                               To the extent that the CMs have suffered damages,
  2                         if at all, their damages are subject to offset in the amount
  3                         of any obligations the CMs owe Qualcomm.
  4                               The CMs are not entitled to injunctive relief because
  5                         any alleged injury to the CMs is not immediate or
  6                         irreparable and the CMs have an adequate remedy at law.
  7                               The CMs’ Counterclaim is barred in whole or in
  8                         part because they are not entitled to restitution or
  9                         disgorgement of profits.
 10                               The CMs’ Counterclaim is barred in whole or in
 11                         part because any recovery would result in unjust
 12                         enrichment to the CMs.
 13                               The CMs’ Counterclaim is barred in whole or in
 14                         part because Qualcomm has satisfied its FRAND
 15                         commitments.
 16                               The CMs are not entitled to interest, attorney’s fees
 17                         or costs in connection with this action.
 18              7.    COUNT VIII: DECLARATORY JUDGMENT THAT
 19              QUALCOMM DID NOT COMPLY WITH ITS [FRAND]
 20              OBLIGATIONS
 21                         Applicable Elements:
 22                               There is a substantial and actual controversy
 23                         between parties having adverse legal interests, of
 24                         sufficient immediacy and reality.
 25                               Qualcomm has breached its contracts with standard-
 26                         setting organizations, including at least ETSI, ATIS, and
 27                         TIA, breached the implied covenant of good faith and fair
 28                         dealing, and promissory estoppel.


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  1                          Damages and/or Relief sought:
  2                                  The CMs seek a determination and a declaration
  3                          that Qualcomm has breached its contracts with standard-
  4                          setting organizations, including at least ETSI, ATIS, and
  5                          TIA, has not offered the CMs licenses to its standard-
  6                          essential patents under FRAND terms, and has breached
  7                          its FRAND obligations in its licenses and licensing
  8                          negotiations with the CMs.
  9                                  The CMs also seek their costs of suit, including
 10                          their attorneys’ fees, pursuant to their Subscriber Unit
 11                          License Agreements with Qualcomm and/or as otherwise
 12                          appropriate, in an amount to be determined after trial.
 13                                  The CMs seek an award of such other and further
 14                          relief as the Court deems just and proper.
 15                          Applicable Defenses:
 16                    Without taking on (or relieving any other party of) the burden of
 17                    proof on any element on which another party bears the burden,
 18                    Qualcomm asserts the following defenses in response to CMs’
 19                    Count VIII:
 20                                  The CMs’ Counterclaim fails to state a claim on
 21                          which relief can be granted.
 22                                  The CMs’ Counterclaim is barred in whole or in
 23                          part by the applicable statutes of limitations, including, but
 24                          not limited to, California Business and Professions Code §
 25                          17208 and 15 U.S.C. § 15b.
 26                                  The CMs’ Counterclaim is barred in whole or in
 27                          part by the doctrine of laches.
 28                                  The CMs’ Counterclaim is barred in whole or in


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  1                         part by the doctrine of estoppel.
  2                               The CMs’ Counterclaim is barred in whole or in
  3                         part by the doctrine of waiver.
  4                               The CMs’ Counterclaim is barred in whole or in
  5                         part by the doctrine of unclean hands.
  6                               The CMs’ Counterclaim is barred in whole or in
  7                         part because they have not sustained injury in fact or
  8                         damages proximately caused by any act or omission of
  9                         Qualcomm.
 10                               The CMs’ Counterclaim is barred in whole or in
 11                         part because any damages that the CMs purport to have
 12                         suffered are too remote or speculative to allow recovery,
 13                         and it is impossible to ascertain and allocate such alleged
 14                         damages with reasonable certainty.
 15                               The CMs’ Counterclaim is barred in whole or in
 16                         part because of ratification, agreement, acquiescence or
 17                         consent to Qualcomm’s alleged conduct.
 18                               The CMs’ Counterclaim is barred in whole or in
 19                         part because Qualcomm has satisfied its FRAND
 20                         commitments.
 21                               The CMs are not entitled to interest, attorney’s fees
 22                         or costs in connection with this action.
 23              8.    COUNT IX: WAIVER
 24                         Applicable Elements:
 25                               There is a substantial and actual controversy
 26                         between parties having adverse legal interests, of
 27                         sufficient immediacy and reality.
 28                               The CMs are entitled to a declaratory judgment that


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  1                          either (a) Qualcomm intentionally relinquished the right to
  2                          charge above-FRAND rates when it promised to charge
  3                          only FRAND rates; or (b) Qualcomm’s actions, including
  4                          its promise to charge only FRAND rates, were so
  5                          inconsistent with an intent to charge above-FRAND rates
  6                          as to induce a reasonable belief that Qualcomm
  7                          relinquished that right.
  8                          Damages and/or Relief sought:
  9                                The CMs seek a declaratory judgment that
 10                          Qualcomm has waived the right to receive any
 11                          compensation for its standard essential patents other than
 12                          under FRAND terms.
 13                                The CMs also seek their costs of suit, including
 14                          their attorneys’ fees, pursuant to their Subscriber Unit
 15                          License Agreements with Qualcomm and/or as otherwise
 16                          appropriate, in an amount to be determined after trial.
 17                                The CMs seek an award of such other and further
 18                          relief as the Court deems just and proper to remedy
 19                          Qualcomm’s conduct, including but not limited to
 20                          injunctive relief necessary to remedy Qualcomm’s
 21                          behavior, reformation, and rescission.
 22                                Other and further relief as the Court deems just and
 23                          proper.
 24                          Applicable Defenses:
 25                    Without taking on (or relieving any other party of) the burden of
 26                    proof on any element on which another party bears the burden,
 27                    Qualcomm asserts the following defenses in response to CMs’
 28                    Count IX:


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  1                               The CMs’ Counterclaim fails to state a claim on
  2                         which relief can be granted.
  3                               The CMs’ Counterclaim is barred in whole or in
  4                         part by the applicable statutes of limitations, including, but
  5                         not limited to, California Business and Professions Code §
  6                         17208 and 15 U.S.C. § 15b.
  7                               The CMs’ Counterclaim is barred in whole or in
  8                         part by the doctrine of laches.
  9                               The CMs’ Counterclaim is barred in whole or in
 10                         part by the doctrine of estoppel.
 11                                The CMs’ Counterclaim is barred in whole or in
 12                         part by the doctrine of waiver.
 13                               The CMs’ Counterclaim is barred in whole or in
 14                         part by the doctrine of unclean hands.
 15                               The CMs’ Counterclaim is barred in whole or in
 16                         part because they have not sustained injury in fact or
 17                         damages proximately caused by any act or omission of
 18                         Qualcomm.
 19                               The CMs’ Counterclaim is barred in whole or in
 20                         part because any damages that the CMs purport to have
 21                         suffered are too remote or speculative to allow recovery,
 22                         and it is impossible to ascertain and allocate such alleged
 23                         damages with reasonable certainty.
 24                               The CMs’ Counterclaim is barred in whole or in
 25                         part because of ratification, agreement, acquiescence or
 26                         consent to Qualcomm’s alleged conduct.
 27                               The CMs are not entitled to injunctive relief because
 28                         any alleged injury to the CMs is not immediate or


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  1                         irreparable and the CMs have an adequate remedy at law.
  2                               The CMs’ Counterclaim is barred in whole or in
  3                         part because Qualcomm has satisfied its FRAND
  4                         commitments.
  5                                The CMs are not entitled to interest, attorney’s fees
  6                         or costs in connection with this action.
  7              9.    COUNT X: NEGLIGENT MISREPRESENTATION
  8                         Applicable Elements:
  9                               Qualcomm represented that a fact was true;
 10                               Qualcomm’s representation was not true;
 11                               Qualcomm had no reasonable grounds for believing
 12                         the representation was true;
 13                               Qualcomm intended that the CMs rely on the
 14                         representation;
 15                               the CMs reasonably relied on the representation;
 16                               the CMs were harmed; and
 17                               the CMs’ reliance on Qualcomm’s representation
 18                         was a substantial factor in causing their harm.
 19                         Damages and/or Relief sought:
 20                               The CMs seek restitution of all monies unfairly or
 21                         unlawfully paid to Qualcomm and/or judgment against
 22                         Qualcomm for damages for Qualcomm’s negligent
 23                         misrepresentation. The amount and calculation for such
 24                         monies are described in the expert reports of Dr. Jeffrey J.
 25                         Leitzinger.
 26                               The CMs seek a determination and declaration that
 27                         Qualcomm is liable for negligent misrepresentation,
 28                         including that Qualcomm negligently misrepresented to


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  1                          standard-setting organizations ETSI, ATIS, and TIA that it
  2                          would license its standard-essential patents on FRAND
  3                          terms so as to induce those standard-setting organizations
  4                          to adopt its technology.
  5                                The CMs also seek their costs of suit, including
  6                          their attorneys’ fees, pursuant to their Subscriber Unit
  7                          License Agreements with Qualcomm and/or as otherwise
  8                          appropriate, in an amount to be determined after trial.
  9                                The CMs seek an award of such other and further
 10                          relief as the Court deems just and proper to remedy
 11                          Qualcomm’s negligent misrepresentation, including but
 12                          not limited to injunctive relief necessary to remedy
 13                          Qualcomm’s behavior, reformation, and rescission.
 14                                Other and further relief as the Court deems just and
 15                          proper.
 16                          Applicable Defenses:
 17                    Without taking on (or relieving any other party of) the burden of
 18                    proof on any element on which another party bears the burden,
 19                    Qualcomm asserts the following defenses in response to CMs’
 20                    Count X:
 21                                The CMs’ Counterclaim fails to state a claim on
 22                          which relief can be granted.
 23                                The CMs’ Counterclaim is barred in whole or in
 24                          part by the applicable statutes of limitations, including, but
 25                          not limited to, California Business and Professions Code §
 26                          17208 and 15 U.S.C. § 15b.
 27                                The CMs’ Counterclaim is barred in whole or in
 28                          part by the doctrine of laches.


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  1                               The CMs’ Counterclaim is barred in whole or in
  2                         part by the doctrine of estoppel.
  3                               The CMs’ Counterclaim is barred in whole or in
  4                         part by the doctrine of waiver.
  5                               The CMs’ Counterclaim is barred in whole or in
  6                         part by the doctrine of unclean hands.
  7                               The CMs’ Counterclaim is barred in whole or in
  8                         part because they have not sustained injury in fact or
  9                         damages proximately caused by any act or omission of
 10                         Qualcomm.
 11                               The CMs’ Counterclaim is barred in whole or in
 12                         part because any damages that the CMs purport to have
 13                         suffered are too remote or speculative to allow recovery,
 14                         and it is impossible to ascertain and allocate such alleged
 15                         damages with reasonable certainty.
 16                               The CMs’ Counterclaim is barred in whole or in
 17                         part because of ratification, agreement, acquiescence or
 18                         consent to Qualcomm’s alleged conduct.
 19                               To the extent that the CMs have suffered damages,
 20                         if at all, they have failed to take reasonable measures to
 21                         mitigate their damages in whole or in part, and are barred
 22                         from recovering damages they could have reasonably
 23                         avoided.
 24                               To the extent that the CMs have suffered damages,
 25                         if at all, all damages were caused by the CMs’ own
 26                         actions.
 27                               To the extent that the CMs have suffered damages,
 28                         if at all, their damages are subject to offset in the amount


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  1                         of any obligations the CMs owe Qualcomm.
  2                                  The CMs are not entitled to injunctive relief because
  3                         any alleged injury to the CMs is not immediate or
  4                         irreparable and the CMs have an adequate remedy at law.
  5                                  The CMs’ Counterclaim is barred in whole or in
  6                         part because they are not entitled to restitution or
  7                         disgorgement of profits.
  8                                  The CMs’ Counterclaim is barred in whole or in
  9                         part because any recovery would result in unjust
 10                         enrichment to the CMs.
 11                                  The CMs’ Counterclaim is barred in whole or in
 12                         part because Qualcomm has satisfied its FRAND
 13                         commitments.
 14                                  The CMs are not entitled to interest, attorney’s fees
 15                         or costs in connection with this action.
 16              10.   COUNT XI: BREACH OF CONTRACT (LICENSE
 17              AGREEMENT)
 18                         Applicable Elements:
 19                                  The existence of a contract,
 20                                  the CMs’ performance or excuse for
 21                         nonperformance,
 22                                  Qualcomm’s breach, and
 23                                  the resulting damages to the CMs.
 24                         and/or
 25                                  The existence of a contract;
 26                                  the CMs fulfilled its obligations under the contract;
 27                                  Qualcomm unfairly interfered with the CMs’ rights
 28                         to receive the benefits of the contract;


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  1                                 that CMs were harmed by Qualcomm’s conduct. 50
  2                          Damages and/or Relief Sought:
  3                                 The CMs seek a determination and declaration that
  4                          Qualcomm has breached its contracts with each of the
  5                          CMs.
  6                                 The CMs are entitled to monies unfairly or
  7                          unlawfully paid to Qualcomm and seek judgment against
  8                          Qualcomm for damages. The amount and basis for
  9                          calculating such monies and/or damages are described in
 10                          the expert reports of Dr. Jeffrey J. Leitzinger.
 11                                 The CMs also seek their costs of suit, including
 12                          their attorneys’ fees, pursuant to their Subscriber Unit
 13                          License Agreements with Qualcomm and/or as otherwise
 14                          appropriate, in an amount to be determined after trial.
 15                                 The CMs seek an award of such other and further
 16                          relief as the Court deems just and proper to remedy
 17                          Qualcomm’s breach of contract, including but not limited
 18                          to injunctive relief necessary to remedy Qualcomm’s
 19                          behavior (including but not limited to enjoining
 20                          Qualcomm from interrupting supply of baseband
 21                          processor chipsets), reformation, and rescission.
 22                                 Other and further relief as the Court deems just and
 23                          proper.
 24                          Applicable Defenses:
 25                    Without taking on (or relieving any other party of) the burden of
 26
      50
         Oasis W. Realty, LLC v. Goldman, 250 P.3d 1115, 1121 (Cal. 2011) ; Amata v.
 27   Narconon Fresh Start, No. 14-cv-588-GPC, 2014 WL 5390196, at *9 (S.D. Cal.
 28   Oct. 23, 2014); Sarbaz v. Wachovia Bank, No. 10-cv-3462-CRB, 2011 WL 830236,
      at *3 (N.D. Cal. Mar. 3, 2011).

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  1                    proof on any element on which another party bears the burden,
  2                    Qualcomm asserts the following defenses in response to CMs’
  3                    Count XI:
  4                                The CMs’ Counterclaim fails to state a claim on
  5                          which relief can be granted.
  6                                The CMs’ Counterclaim is barred in whole or in
  7                          part by the applicable statutes of limitations, including, but
  8                          not limited to, California Business and Professions Code §
  9                          17208 and 15 U.S.C. § 15b.
 10                                The CMs’ Counterclaim is barred in whole or in
 11                          part by the doctrine of laches.
 12                                The CMs’ Counterclaim is barred in whole or in
 13                          part by the doctrine of estoppel.
 14                                The CMs’ Counterclaim is barred in whole or in
 15                          part by the doctrine of waiver.
 16                                The CMs’ Counterclaim is barred in whole or in
 17                          part by the doctrine of unclean hands.
 18                                The CMs’ Counterclaim for breach of contract is
 19                          barred because the CMs have not suffered any damages
 20                          from any such alleged breach.
 21                                The CMs’ Counterclaim is barred in whole or in
 22                          part because they have not sustained injury in fact or
 23                          damages proximately caused by any act or omission of
 24                          Qualcomm.
 25                                The CMs’ Counterclaim is barred in whole or in
 26                          part because any damages that the CMs purport to have
 27                          suffered are too remote or speculative to allow recovery,
 28                          and it is impossible to ascertain and allocate such alleged


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  1                         damages with reasonable certainty.
  2                               The CMs’ Counterclaim is barred in whole or in
  3                         part because of ratification, agreement, acquiescence or
  4                         consent to Qualcomm’s alleged conduct.
  5                               To the extent that the CMs have suffered damages,
  6                         if at all, they have failed to take reasonable measures to
  7                         mitigate their damages in whole or in part, and are barred
  8                         from recovering damages they could have reasonably
  9                         avoided.
 10                               To the extent that the CMs have suffered damages,
 11                         if at all, all damages were caused by the CMs’ own
 12                         actions.
 13                               To the extent that the CMs have suffered damages,
 14                         if at all, their damages are subject to offset in the amount
 15                         of any obligations the CMs owe Qualcomm.
 16                               The CMs are not entitled to injunctive relief because
 17                         any alleged injury to the CMs is not immediate or
 18                         irreparable and the CMs have an adequate remedy at law.
 19                               The CMs’ Counterclaim is barred in whole or in
 20                         part because they are not entitled to restitution or
 21                         disgorgement of profits.
 22                               The CMs’ Counterclaim is barred in whole or in
 23                         part because any recovery would result in unjust
 24                         enrichment to the CMs.
 25                               The CMs’ Counterclaim is barred in whole or in
 26                         part because Qualcomm has satisfied its FRAND
 27                         commitments.
 28                               The CMs are not entitled to interest, attorney’s fees


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  1                         or costs in connection with this action.
  2              11.   COUNT XII: DECLARATION OF UNENFORCEABILITY
  3              UNDER CAL. CIV. CODE §§ 1598-99
  4                         Applicable Elements:
  5                               There is a substantial and actual controversy
  6                         between parties having adverse legal interests, of
  7                         sufficient immediacy and reality.
  8                               (A) The contract has a single objective; and (B) the
  9                         object of the SULA is unlawful, whether in whole or in
 10                         part, or wholly impossible of performance.
 11                               The patent license agreements (SULAs) between
 12                         each CM and Qualcomm, and the royalty provision
 13                         therein, are unenforceable as violating public policy,
 14                         including because they require a royalty on exhausted
 15                         patents and/or products that do not practice the patents,
 16                         unpatented components and/or services, patents that do not
 17                         cover the same geographic region, and expired patents,
 18                         and therefore impermissibly extends Qualcomm’s
 19                         monopoly.
 20                               The Court must consider whether public policy
 21                         provides that the contract is unenforceable, or whether the
 22                         interest in the contract’s enforcement is outweighed in the
 23                         circumstances by a public policy against the enforcement
 24                         of such terms.
 25                         Damages and/or Relief sought:
 26                               The CMs seek a determination and declaration that
 27                         each of their patent license agreements with Qualcomm
 28                         are unenforceable pursuant to Cal. Civ. Code §§ 1598-99.


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  1                                 The CMs are entitled to restitution of all monies
  2                          unfairly or unlawfully paid to Qualcomm. The amount
  3                          and basis for calculating such monies are described in the
  4                          expert reports of Dr. Jeffrey J. Leitzinger.
  5                                 The CMs also seek their costs of suit, including
  6                          their attorneys’ fees, pursuant to their Subscriber Unit
  7                          License Agreements with Qualcomm and/or as otherwise
  8                          appropriate, in an amount to be determined after trial.
  9                                 The CMs seek an award of such other and further
 10                          relief as the Court deems just and proper to remedy
 11                          Qualcomm’s conduct, including but not limited to
 12                          injunctive relief necessary to remedy Qualcomm’s
 13                          behavior (including but not limited to enjoining
 14                          Qualcomm from interrupting supply of baseband
 15                          processor chipsets), reformation, and rescission.
 16                                 Other and further relief as the Court deems just and
 17                          proper.
 18                          Applicable Defenses:
 19                    Without taking on (or relieving any other party of) the burden of
 20                    proof on any element on which another party bears the burden,
 21                    Qualcomm asserts the following defenses in response to CMs’
 22                    Count XII:
 23                                 The CMs’ Counterclaim fails to state a claim on
 24                          which relief can be granted.
 25                                 The CMs’ Counterclaim is barred in whole or in
 26                          part by the applicable statutes of limitations, including, but
 27                          not limited to, California Business and Professions Code §
 28                          17208 and 15 U.S.C. § 15b.


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  1                               The CMs’ Counterclaim is barred in whole or in
  2                         part by the doctrine of laches.
  3                               The CMs’ Counterclaim is barred in whole or in
  4                         part by the doctrine of estoppel.
  5                               The CMs’ Counterclaim is barred in whole or in
  6                         part by the doctrine of waiver.
  7                               The CMs’ Counterclaim is barred in whole or in
  8                         part by the doctrine of unclean hands.
  9                               The CMs’ Counterclaim is barred in whole or in
 10                         part because they have not sustained injury in fact or
 11                         damages proximately caused by any act or omission of
 12                         Qualcomm.
 13                               The CMs’ Counterclaim is barred in whole or in
 14                         part because any damages that the CMs purport to have
 15                         suffered are too remote or speculative to allow recovery,
 16                         and it is impossible to ascertain and allocate such alleged
 17                         damages with reasonable certainty.
 18                               The CMs’ Counterclaim is barred in whole or in
 19                         part because of ratification, agreement, acquiescence or
 20                         consent to Qualcomm’s alleged conduct.
 21                               To the extent that the CMs have suffered damages,
 22                         if at all, they have failed to take reasonable measures to
 23                         mitigate their damages in whole or in part, and are barred
 24                         from recovering damages they could have reasonably
 25                         avoided.
 26                               To the extent that the CMs have suffered damages,
 27                         if at all, all damages were caused by the CMs’ own
 28                         actions.


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  1                               To the extent that the CMs have suffered damages,
  2                         if at all, their damages are subject to offset in the amount
  3                         of any obligations the CMs owe Qualcomm.
  4                               The CMs are not entitled to injunctive relief because
  5                         any alleged injury to the CMs is not immediate or
  6                         irreparable and the CMs have an adequate remedy at law.
  7                               The CMs’ Counterclaim is barred in whole or in
  8                         part because they are not entitled to restitution or
  9                         disgorgement of profits.
 10                               The CMs’ Counterclaim is barred in whole or in
 11                         part because any recovery would result in unjust
 12                         enrichment to the CMs.
 13                               The CMs’ Counterclaim is barred in whole or in
 14                         part because Qualcomm has satisfied its FRAND
 15                         commitments.
 16                               The CMs are not entitled to interest, attorney’s fees
 17                         or costs in connection with this action.
 18                         Qualcomm Objection:
 19                               The CMs state the incorrect standard the Court must
 20                         use to determine whether a contract or its provision violate
 21                         public policy. The correct standard is whether the interest
 22                         in the contract’s enforcement is “clearly outweighed” in
 23                         the circumstances by public policy. Erhart v. BofI
 24                         Holding, Inc., 2017 WL 588390, at *6 (S.D. Cal. Feb. 14,
 25                         2017) (citing Restatement (Second) of Contracts § 178)
 26                         (emphasis added); Restatement (Second) of Contracts
 27                         § 178. Several of the cases the CMs cited in support of its
 28                         recitation of the elements also use the “clearly


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  1                               outweighed” standard. Boston LLC v. Juarez, 245 Cal.
  2                               App. 4th 75, 85 (Cal. Ct. App. 2016) (citing Restatement
  3                               (Second) of Contracts § 178); Cariveau v. Halferty, 99
  4                               Cal. Rptr. 2d 417, 420 (2000). 51
  5            TRIAL WITNESSES
  6            Below are Apple and the CMs’, and Qualcomm’s, respective Trial Witness
  7   Lists.
  8            Each party reserves its rights: (1) to question any witnesses on any relevant
  9   subject matter within the witness’s personal knowledge and/or expertise, on any
 10   subject matter raised in each witness’s deposition taken in the above-captioned
 11   actions, Federal Trade Commission v. Qualcomm Incorporated, No. 17-cv-0220-
 12   LHK-NMC (N.D. Cal.), or In re: Qualcomm Antitrust Litigation, No. 17-md-2773-
 13   LHK-NMC (N.D. Cal.) (collectively, the “Coordinated Actions”), on any subject
 14   matter raised in the witness’s expert report(s), where applicable, and/or on any
 15   subject matter raised by opposing parties during trial; (2) to call any witness
 16   identified on another party’s Trial Witness List; and (3) to call additional witnesses
 17   for the purposes of rebuttal or impeachment, either in person or by deposition
 18   designation. No party’s Trial Witness List is a representation that any witness listed
 19   is available or willing to appear at trial. Should any witness listed not be available
 20   and willing to appear at trial, the parties reserve their rights to call that witness by
 21   designation of their deposition testimony.
 22            Apple and the CMs’ Trial Witness List separately identifies the witnesses that
 23   Apple and the CMs currently expect to call at trial and those they may call if the
 24   need arises. These witnesses may be called in person or by designation of their
 25   deposition testimony. Apple and the CMs further reserve their rights to (1) add or
 26   remove witnesses, or otherwise amend their Trial Witness List, based on the Court’s
 27   rulings on motions for summary judgment, motions to strike, Daubert motions,
 28
      51
           CM Response: See supra note 12.

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  1   motions in limine, evidentiary objections, or other motions, the submission of
  2   witness testimony, exhibits, or other evidence that Qualcomm may introduce, or as
  3   otherwise appropriate; and (2) modify their Trial Witness List in light of intervening
  4   legal developments, including but not limited to rulings or judgments that may be
  5   issued in the Coordinated Actions and/or other rulings or other judgments that may
  6   affect issues in this case pursuant to the doctrines of res judicata, collateral estoppel,
  7   or similar doctrines. 52
  8          Apple and the CMs object to Qualcomm’s Trial Witness List for the
  9   following reasons: (1) Apple and the CMs object to Qualcomm calling for live
 10   testimony Isabel Mahe, who resides and works in China, and does not meet the
 11   requirements of Federal Rule of Civil Procedure 45(c)(1); (2) Apple and the CMs
 12   object to Qualcomm calling those CM witnesses live who do not meet the
 13   requirements of Federal Rule of Civil Procedure 45(c)(1) and will not otherwise
 14   testify at trial, including those individuals listed on Apple and the CMs’ Trial
 15   Witness List; (3) Apple and the CMs reserve their rights to object to any witness’
 16   live testimony who, at the time of trial, does not meet the requirements of Federal
 17   Rule of Civil Procedure 45(c)(1); (4) Apple and the CMs object to Qualcomm’s
 18   identification of “Document Witness(es)” for Apple, the CMs, and third parties, as
 19   this identification does not constitute reasonable notice of the individual witnesses
 20   to be called, and similarly object to Qualcomm’s attempted reservation of a right to
 21   call unnamed witnesses outside the timing mandated by the Federal Rules of Civil
 22   Procedure, the Civil Local Rules for the United States District Court for the
 23   Southern District of California, the Court’s Chambers Rules, and/or the Court’s
 24   orders to “lay the foundation for the admissibility” of unspecified evidence; (5)
 25   Apple and the CMs object to Qualcomm calling Lew Zaretzki live or by deposition
 26   designation, subject to the resolution of Qualcomm’s clawback motions (see ECF
 27
      52
 28     Qualcomm objects to Apple and the CMs’ additional reservations, which purport
      to allow them to modify their Trial Witness List at any time for nearly any reason.

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  1   455, 546, 651), and Apple and Mr. Zaretzki’s further objections based on the
  2   untimeliness of a deposition, privilege and work product issues that are independent
  3   of the clawback motions (including issues related to third parties), and Federal Rules
  4   of Civil Procedure 26(b)(4)(D) and 45(d)(3)(B); 53 (6) Apple and the CMs object to
  5   Qualcomm presenting deposition testimony of Benedicte Fauvarque-Cosson, who
  6   Qualcomm is proffering as an expert witness pursuant to Federal Rule of Civil
  7   Procedure 26)(a)(2), and further object because Ms. Fauvarque-Cosson is not
  8   available and there was sufficient time to identify a substitute witness, see Carter
  9   Wallace, Inc. v. Otte, 474 F.2d 529, 535-36 (2d Cir. 1972).
 10         Qualcomm objects to Apple and the CMs’ Trial Witness List for the
 11   following reasons: (1) Qualcomm objects to the extent Apple and the CMs purport
 12   to call by deposition designation, or require live testimony from, any witness in a
 13   manner inconsistent with the Federal Rules of Civil Procedure; (2) Qualcomm
 14   objects to Apple and the CMs’ identification as trial witnesses Xuxin Cheng, Jianxin
 15   (Jason) Ding, Li Qiang (Richard) Wang and Nanfen (Nancy) Yu due to Huawei’s
 16   refusal to participate in appropriate discovery; (3) Qualcomm objects to Apple’s
 17   identification as a trial witness “Qualcomm 30(b)(6)” as vague; and (4) Qualcomm
 18   objects to Apple and the CMs’ identification as trial witnesses Robert Akl, David
 19   Choi, Andrew Sears, Friedhelm Rodermund, Robert Stevenson and Todd Zickler for
 20   the reasons set forth in Qualcomm’s pending motion to strike (see Dkt No. 676).
 21   Qualcomm does not adopt Apple and the CMs’ description of the anticipated
 22   substance of the testimony to be provided by the individuals on their witness list.
 23         Each party reserves its rights to object to any fact or expert witness providing
 24   testimony, either live or by deposition, that is subject in whole or in part to a ruling
 25   by the Court on a motion for summary judgment, motion to strike, motion in limine,
 26   Daubert motion, evidentiary objection, or other motion. The parties’ provision of
 27
      53
 28    Apple is willing to meet and confer with Qualcomm regarding its attempt to call
      Mr. Zaretzki after the final resolution of Qualcomm’s clawback motions.

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  1   deposition counter-designations or counter-counter designations is not a waiver of
  2   this or any other objection.
  3         A.     Fact Witnesses the Parties Expect to Call at Trial
  4         (CivLR 16.1(f)(6)(c)(3)(a))
  5                1.     Apple and the CMs
  6         Witness                           Substance of Testimony
  7
                        APPLE CURRENT AND FORMER EMPLOYEES
  8
       Andeer, Kyle      Apple and the CMs expect Mr. Andeer to testify about
  9
                         Apple’s business relationship with and agreements with
 10    Contact through Qualcomm, and their competitive effects in the relevant
       counsel for Apple markets; Apple’s compliance with the BCPA; Apple’s
 11
       One Apple Park    cooperation with competition agencies and responses to
 12    Way, Cupertino,   antitrust agency requests and inquiries in connection with
 13    CA 95014          their investigations of Qualcomm; competition in the relevant
                         markets for baseband processor chipsets; matters relating to
 14    (408) 996-1010
                         competitive effects of standard-setting organizations and the
 15                      FRAND promise; topics discussed at deposition; and matters
                         relating to Qualcomm’s counterclaims.
 16
       Blevins, Tony     Apple and the CMs expect Mr. Blevins to testify about
 17
       Contact through Apple’s business relationship with and agreements with
 18    counsel for Apple Qualcomm, the negotiation of said agreements, and their
                         competitive effects in the relevant markets; baseband chipset
 19    One Apple Park    supply issues and the resulting leverage Qualcomm gained
 20    Way, Cupertino,   during contract negotiations; Apple’s business relationship
       CA 95014          with and agreements with the CMs and the manufacturing of
 21
       (408) 996-1010    Apple cellular products; Apple’s lack of interference in the
 22                      CMs’ relationships with Qualcomm; the parties’ withholding
                         of payments in 2016 and 2017; the anticompetitive effects of
 23
                         Qualcomm’s conduct and business practices; the absence of
 24                      any justification for exclusivity with Apple; Qualcomm’s
                         competition in the relevant markets for baseband processor
 25
                         chipsets and the effects of Qualcomm’s agreements on that
 26                      market; Apple’s relationship with Intel and other potential
                         and actual baseband processor chipset suppliers; Apple’s
 27
                         attempts to dual-source and the reasons therefor; Apple’s
 28                      cooperation with competition agencies’ investigations of


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  1                        Qualcomm; topics discussed at deposition; and matters
                           relating to Qualcomm’s counterclaims.
  2
       Denney, Deborah   Apple and the CMs expect Ms. Denney to testify about
  3
       Contact through Apple’s business relationship with and agreements with the
  4    counsel for Apple CMs and manufacturing of Apple cellular products; Apple’s
                         lack of interference in the CMs’ relationships with
  5    One Apple Park    Qualcomm; the manufacturing of Apple cellular products;
  6    Way, Cupertino,   Apple’s lack of interference in the CMs’ relationships with
       CA 95014          Qualcomm; audits of the CMs by Qualcomm’s auditors; the
  7
       (408) 996-1010    parties’ withholding of payments in 2016 and 2017; Apple’s
  8                      operational, finance, and financial records; topics discussed
                         at deposition; and matters relating to Qualcomm’s
  9
                         counterclaims.
 10
       Schafer, Aaron    Apple and the CMs expect Mr. Schafer to testify about
 11
       Contact through Apple’s business relationship with and agreements with
 12    counsel for Apple Qualcomm, the negotiation of said agreements, and their
                         competitive effects in the relevant markets; Apple’s business
 13    One Apple Park    relationship with and agreements with the CMs and
       Way, Cupertino,   manufacturing of Apple’s cellular products; Apple’s lack of
 14
       CA 95014          interference in the CMs’ relationships with Qualcomm;
 15    (408) 996-1010    baseband chipset supply issues and the resulting leverage
 16                      Qualcomm gained during contract negotiations; competition
                         in the relevant markets for baseband processor chipsets and
 17                      the anticompetitive effects of Qualcomm’s conduct and
 18                      business practices; Apple’s attempts to dual-source and the
                         reasons therefor; Apple’s relationship with Intel and other
 19                      actual and potential baseband processor chipset suppliers;
 20                      topics discussed at deposition; and matters relating to
                         Qualcomm’s counterclaims.
 21
 22    Schiller, Phil    Apple and the CMs expect Mr. Schiller to testify about
       Contact through Apple’s marketing efforts in connection with devices that use
 23
       counsel for Apple baseband processor chipsets; the myriad factors unrelated to
 24                      cellular connectivity or performance that drive demand for
       One Apple Park    iPhone, iPad, and Apple Watch; the dispute between Apple
 25    Way, Cupertino,   and Qualcomm related to carrier aggregation payments
       CA 95014          pursuant to the Mav 7/8, 10, and 13 Statement of Work;
 26
       (408) 996-1010    topics discussed at deposition; and matters relating to
 27                      Qualcomm’s counterclaims.
 28


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  1    Sebeni, Johnson   Apple and the CMs expect Mr. Sebeni to testify about
  2    Contact through technical details relating to cellular functionality within
       counsel for Apple baseband processor chipsets; Apple cellular products’
  3                      support for one or more 3GPP standards including LTE and
       One Apple Park    UMTS; topics discussed at deposition; and matters relating to
  4    Way, Cupertino,   Qualcomm’s counterclaims.
  5    CA 95014
  6    (408) 996-1010

  7
  8    Watrous, B.J.     Apple and the CMs expect Mr. Watrous to testify about
  9    Contact through Apple’s business relationship with and agreements with
       counsel for Apple Qualcomm, the negotiation of said agreements, and their
 10                      competitive effects in the relevant markets; Apple’s inbound
       One Apple Park    and outbound licensing framework for both SEPs and NEPs;
 11    Way, Cupertino,   Apple’s licensing negotiations with other cellular patent
 12    CA 95014          holders; Apple’s business relationship with and agreements
       (408) 996-1010    with the CMs and manufacturing of Apple cellular products;
 13                      Apple’s lack of interference in the CMs’ relationships with
 14                      Qualcomm; the parties’ withholding of payments in 2016 and
                         2017; licensing of cellular SEPs or other patents; topics
 15                      discussed at deposition; and matters relating to Qualcomm’s
 16                      counterclaims.
 17    Williams, Jeff    Apple and the CMs expect Mr. Williams to testify about
 18    Contact through Apple’s business relationship with and agreements with
 19    counsel for Apple Qualcomm, the negotiation of said agreements, and their
                         competitive effects in the relevant markets; Apple’s
       One Apple Park    compliance with the BCPA; Apple’s business relationship
 20
       Way, Cupertino,   with and agreements with the CMs and manufacturing of
 21    CA 95014          Apple cellular devices; Apple’s lack of interference in the
 22    (408) 996-1010    CMs’ relationships with Qualcomm; the parties’ withholding
                         of payments in 2016 and 2017; Apple’s decision to
 23                      commence litigation against Qualcomm; the anticompetitive
 24                      effects of Qualcomm’s conduct and business practices; the
                         absence of any justification for exclusivity with Apple;
 25                      baseband supply issues and the resulting leverage Qualcomm
 26                      gained during contract negotiations; competition in the
                         relevant markets for baseband processor chipsets and the
 27                      anticompetitive effects of provisions in Qualcomm
 28                      agreements; Apple’s cooperation with competition agencies’


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  1                          investigations of Qualcomm; topics discussed at deposition;
                             and matters relating to Qualcomm’s counterclaims.
  2
                       CM CURRENT AND FORMER EMPLOYEES
  3
  4    Chong, Brian          Apple and the CMs expect Mr. Chong to testify about
  5    Contact through       Wistron’s negotiation of patent license and other agreements,
       counsel for the       including with Qualcomm; Wistron’s audit disputes with
  6                          Qualcomm; Wistron’s interactions with governmental
       CMs
  7                          agencies investigating Qualcomm; Wistron’s R&D with
       Wistron               respect to mobile devices; Wistron’s manufacturing and
  8    Corporation           product development activities; Wistron’s corporate structure
  9    21F, No. 88, Sec.     and history; topics discussed at deposition; and matters
       1, Hsintai 5th Rd.,   relating to Qualcomm’s claims.
 10    Hsichih, New
 11    Taipei City 22181,
       Taiwan
 12
 13    Lam, Joe           Apple and the CMs expect Mr. Lam to testify about
       Contact through Foxconn’s product development and manufacturing
 14                       activities, including for Apple; Foxconn’s business
       counsel for the
 15    CMs                relationship and interactions with its customers and other
                          entities; Foxconn’s patent license and other agreements,
 16    Hon Hai Precision including with Qualcomm, and related issues; Qualcomm’s
       Industry Co., Ltd. audit disputes with Foxconn; Foxconn’s interactions with
 17
       and FIH Mobile     governmental agencies investigating Qualcomm; Foxconn’s
 18    Ltd.               corporate history and structure; topics discussed at
 19    No. 66,            deposition; and matters relating to Qualcomm’s claims.
       Zhongshan Road,
 20    Tucheng Industrial
 21    Zone, Tucheng
       District, New
 22    Taipei City,
 23    Taiwan
 24    Peng, Eric            Apple and the CMs expect Mr. Peng to testify about
 25    Contact through       Compal’s corporate history and structure; Compal’s
       counsel for the       manufacturing and product development activities; Compal’s
 26                          business relationship and interactions with its customers and
       CMs
 27                          other entities; Compal’s license agreements and related issues
       Compal                and activities; topics discussed at deposition; and matters
 28    Electronics, Inc.     relating to Qualcomm’s claims.


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  1    Nos. 581 & 581-1,
       Ruiguang Road,
  2    Neihu District,
  3    Taipei City,
       11492, Taiwan
  4
       Yang, Monica        Apple and the CMs expect Ms. Yang to testify about
  5                        Pegatron’s negotiation of patent license and other
       Contact through
  6    counsel for the     agreements, including with Qualcomm; Pegatron’s
       CMs                 interactions with governmental agencies investigating
  7
                           Qualcomm; Pegatron’s corporate structure and history;
  8    Pegatron            Pegatron’s business relationship and interactions with its
       Corporation         customers and other licensees; topics discussed at deposition;
  9
       5F, No. 76,         and matters relating to Qualcomm’s claims.
 10    Ligong
 11    Street, Beitou
       District, Taipei
 12
       City 112, Taiwan
 13
                QUALCOMM CURRENT AND FORMER EMPLOYEES
 14
 15    Aberle, Derek    Apple and the CMs expect Mr. Aberle to testify about
       XCOM             Qualcomm’s business model, practices, procedures,
 16
                        operations, revenues, profits and costs; Qualcomm’s “no
 17    9530 Towne       license, no chips” policy; Qualcomm’s use of marketing
       Centre Dr., San  funds, strategic funds, incentive funds, and other rebates;
 18    Diego, CA 92121 Qualcomm’s concerns about Intel and other potential and
 19    Telephone number actual competitors as a competitive threat, and measures
 20    unknown          taken in response to that threat; Qualcomm’s licensing of
                        cellular SEPs and other patents, and its views on licensing
 21                     and FRAND; Qualcomm’s sales and business practices
 22                     relating to baseband processor chipsets and licensing; the
                        relationship between Qualcomm Inc. and other Qualcomm
 23                     entities; competition in the relevant markets for baseband
 24                     processor chipsets; Qualcomm’s relationships with
                        Authorized Purchasers; Qualcomm’s attempts to evade patent
 25                     exhaustion; Qualcomm’s withholding of BCP Payments to
 26                     Apple; Qualcomm’s sales or licensing agreements with
                        licensees, Apple, or other device manufacturers; the
 27                     conception, design and development of Qualcomm’s patents-
 28


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  1                      in-suit; topics discussed at deposition; and topics related to
                         Qualcomm’s counterclaims.
  2
       Amon, Cristiano   Apple and the CMs expect Mr. Amon to testify about
  3                      Qualcomm’s business model, practices, procedures,
       5775 Morehouse
  4    Dr., San Diego,   operations, revenues, profits and costs; Qualcomm’s “no
       CA 92121          license, no chips” policy; Qualcomm’s use of marketing
  5                      funds, strategic funds, incentive funds, and other rebates;
  6    (858) 845-4100    Qualcomm’s concerns about Intel and other potential and
                         actual competitors as a competitive threat, and measures
  7
                         taken in response to that threat; Qualcomm’s attempts to
  8                      evade patent exhaustion; Qualcomm’s sales and business
                         practices relating to baseband processor chipsets and
  9
                         licensing; the relationship between Qualcomm Inc. and other
 10                      Qualcomm entities; competition in the relevant markets for
                         baseband processor chipsets; Qualcomm’s sales or licensing
 11
                         agreements with licensees, Apple, or other device
 12                      manufacturers; the dispute between Apple and Qualcomm
                         over carrier aggregation payments; topics discussed at
 13
                         deposition; and topics related to Qualcomm’s counterclaims.
 14
       Gonell, Fabian    Apple and the CMs expect Mr. Gonell to testify about
 15                      Qualcomm’s business model, practices, procedures,
       5775 Morehouse
 16    Dr., San Diego,   operations, revenues, profits and costs; Qualcomm’s “no
       CA 92121          license, no chips” policy; Qualcomm’s licensing of cellular
 17                      SEPs and other patents, and its views on licensing and
 18    (858) 845-4100    FRAND; the value of Qualcomm’s patents; Qualcomm’s
                         sales and business practices relating to baseband processor
 19                      chipsets and licensing; the relationship between Qualcomm
 20                      Inc. and other Qualcomm entities; competition in the relevant
                         markets for baseband processor chipsets; Qualcomm’s sales
 21                      or licensing agreements with licensees, Apple, or other
 22                      device manufacturers; Qualcomm’s threats to cut off supply
                         to unlicensed customers; topics discussed at deposition; and
 23                      topics related to Qualcomm’s counterclaims.
 24
       Jacobs, Irwin     Apple and the CMs expect Mr. Jacobs to testify about
 25                      Qualcomm’s business model, practices, procedures,
       5775 Morehouse
 26    Dr., San Diego,   operations, revenues, profits and costs; Qualcomm’s “no
       CA 92121          license, no chips” policy; Qualcomm’s licensing of cellular
 27                      SEPs and other patents, and its views on licensing and
       (858) 845-4100    FRAND; the value of Qualcomm’s patents; Qualcomm’s
 28
                         sales and business practices relating to baseband processor

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  1                       chipsets and licensing, including the application of
                          Qualcomm’s licensing practices in negotiations with third
  2                       parties; the relationship between Qualcomm Inc. and other
  3                       Qualcomm entities; competition in the relevant markets for
                          baseband processor chipsets; Qualcomm’s sales to or
  4                       licensing agreements with licensees, Apple, or other device
  5                       manufacturers; Qualcomm’s threats to cut off supply to
                          unlicensed customers; Qualcomm’s attempts to evade patent
  6                       exhaustion; topics discussed at deposition; and topics related
  7                       to Qualcomm’s counterclaims.

  8    Jacobs, Paul     Apple and the CMs expect Mr. Jacobs to testify about
       XCOM             Qualcomm’s business model, practices, procedures,
  9
                        operations, revenues, profits and costs; Qualcomm’s “no
 10    9530 Towne       license, no chips” policy; Qualcomm’s use of marketing
       Centre Dr., San  funds, strategic funds, incentive funds, and other rebates;
 11    Diego, CA 92121 Qualcomm’s attempts to evade patent exhaustion;
 12    Telephone number agreements between Apple and Qualcomm; the competitive
       unknown          threat posed by WiMAX; Qualcomm’s licensing of cellular
 13
                        SEPs and other patents, and its views on licensing and
 14                     FRAND; Qualcomm’s sales and business practices relating to
                        baseband processor chipsets and licensing; the relationship
 15
                        between Qualcomm Inc. and other Qualcomm entities and
 16                     the decision to maintain a one-company structure;
                        competition in the relevant markets for baseband processor
 17
                        chipsets; Qualcomm’s sales or licensing agreements with
 18                     licensees, Apple, or other device manufacturers; topics
                        discussed at deposition, and topics related to Qualcomm’s
 19
                        counterclaims.
 20
       Koliander, Eric    Apple and the CMs expect Mr. Koliander to testify about
 21                       Qualcomm’s business model, practices, procedures,
       5775 Morehouse
 22    Dr., San Diego,    operations, revenues, profits and costs; Qualcomm’s “no
       CA 92121           license, no chips” policy; Qualcomm’s use of marketing
 23                       funds, strategic funds, incentive funds, and other rebates;
 24    (858) 845-4100     Qualcomm’s concerns about Intel and other potential and
                          actual competitors as a competitive threat, and measures
 25                       taken in response to that threat; Qualcomm’s sales and
 26                       business practices relating to baseband processor chipsets and
                          licensing; competition in the relevant markets for baseband
 27                       processor chipsets; Qualcomm’s market power; the
 28                       importance to Qualcomm of having Apple as a customer;


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  1                       Qualcomm’s relationships with Authorized Purchasers,
                          Qualcomm’s sales or licensing agreements with licensees,
  2                       Apple, or other device manufacturers; Qualcomm’s threats to
  3                       cut off supply to unlicensed customers; topics discussed at
                          deposition; and topics related to Qualcomm’s counterclaims.
  4
       Mollenkopf,        Apple and the CMs expect Mr. Mollenkopf to testify about
  5    Steven             Qualcomm’s business model, practices, procedures,
  6    5775 Morehouse     operations, revenues, profits and costs; Qualcomm’s “no
       Dr., San Diego,    license, no chips” policy; the uniqueness of Qualcomm’s
  7
       CA 92121           business model; Qualcomm’s use of marketing funds,
  8                       strategic funds, incentive funds, and other rebates; the
       (858) 845-4100     allocation of these funds between QTL and QCT;
  9
                          Qualcomm’s attempts to evade patent exhaustion;
 10                       Qualcomm’s concerns about Intel and other potential and
                          actual competitors as a competitive threat, and measures
 11
                          taken in response to that threat; Qualcomm’s licensing of
 12                       cellular SEPs and other patents, and its views on licensing
                          and FRAND; Qualcomm’s sales and business practices
 13
                          relating to baseband processor chipsets and licensing;
 14                       Qualcomm’s negotiations with Apple and its motivations and
                          goals in those negotiations; Qualcomm’s withholding of BCP
 15
                          Payments to Apple; the relationship between Qualcomm Inc.
 16                       and other Qualcomm entities and Qualcomm’s decision to
                          maintain a one-company structure; competition in the
 17
                          relevant markets for baseband processor chipsets;
 18                       Qualcomm’s relationships with Authorized Purchasers;
                          Qualcomm’s sales or licensing agreements with licensees,
 19
                          Apple, or other device manufacturers; Qualcomm’s patents;
 20                       Qualcomm’s threats to cut off supply to unlicensed
 21                       customers; topics discussed at deposition; and topics related
                          to Qualcomm’s counterclaims.
 22
       Reifschneider,   Apple and the CMs expect Mr. Reifschneider to testify about
 23    Eric             Qualcomm’s business model, practices, procedures,
 24    Marconi Group    operations, revenues, profits and costs; Qualcomm’s “no
                        license, no chips” policy; Qualcomm’s use of marketing
 25    1717 McKinney    funds, strategic funds, incentive funds, and other rebates;
 26    Ave., Dallas, TX Qualcomm’s licensing of cellular SEPs and other patents, and
       75202            its views on licensing and FRAND; Qualcomm’s
 27
       Telephone number negotiations with Apple and its motivations and goals in
 28    unknown          those negotiations; the relationship between Qualcomm Inc.


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  1                      and other Qualcomm entities; Qualcomm’s decision to
                         maintain a one-company structure; Qualcomm’s relationships
  2                      with Authorized Purchasers; Qualcomm’s sales or licensing
  3                      agreements with licensees, Apple, or other device
                         manufacturers; Qualcomm’s threats to cut off supply to
  4                      unlicensed customers; topics discussed at deposition; and
  5                      topics related to Qualcomm’s counterclaims.

  6    Wise, David       Apple and the CMs expect Mr. Wise to testify about
       5775 Morehouse    Qualcomm’s business model, practices, procedures,
  7
       Dr., San Diego,   operations, revenues, profits and costs; Qualcomm’s “no
  8    CA 92121          license, no chips” policy; Qualcomm’s licensing of cellular
                         SEPs and other patents, and its views on licensing and
  9    (858) 845-4100    FRAND; Qualcomm’s sales and business practices relating to
 10                      baseband processor chipsets and licensing; the relationship
                         between Qualcomm Inc. and other Qualcomm entities and
 11
                         Qualcomm’s decision to maintain a one-company structure;
 12                      competition in the relevant markets for baseband processor
                         chipsets; Qualcomm’s sales or licensing agreements with
 13
                         licensees, Apple, or other device manufacturers; topics
 14                      discussed at deposition; and topics related to Qualcomm’s
                         counterclaims.
 15
 16    Qualcomm          Apple and the CMs expect Qualcomm’s designated witnesses
       30(b)(6)          to testify about the topics Apple designated in its Rule
 17                      30(b)(6) subpoenas.
       5775 Morehouse
 18    Dr., San Diego,
 19    CA 92121

 20    (858) 845-4100

 21                          THIRD-PARTY WITNESSES
 22    Blumberg, Ira     Apple and the CMs expect Mr. Blumberg to testify about
 23    Lenovo            Lenovo’s inability to challenge Qualcomm’s supra-FRAND
                         royalty demands due to supply threats from Qualcomm;
 24    1009 Think Pl,    licensing practices in the cellular industry; competition in the
       Morrisville, NC   relevant markets for baseband processor chipsets;
 25    27560             Qualcomm’s policies and practices relating to the sale and
 26    (850) 253-6686    licensing of baseband processor chipsets and the competitive
 27                      effects thereof; the anticompetitive effects of Qualcomm’s
                         practices on Lenovo; and topics discussed at deposition.
 28


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  1    Davis, Mark        Apple and the CMs expect Mr. Davis to testify about
       Intel              licensing practices in the cellular industry; baseband
  2
                          processor chipset engineering; competition in the relevant
  3    12220 Scripps      markets for baseband processor chipsets; Qualcomm’s
       Summit Dr., San    policies and practices relating to the sale and licensing of
  4    Diego, CA 92131    baseband processor chipsets and the competitive effects
  5    (408) 765-8080     thereof; the anticompetitive effects of Qualcomm’s practices
                          on VIA and Intel; and topics discussed at deposition.
  6
  7    Evans, Aichatou    Apple and the CMs expect Ms. Evans to testify about Intel’s
       Intel              baseband processor chipset engineering efforts; competition
  8                       in the relevant markets for baseband processor chipsets;
  9    2200 Mission       Qualcomm’s policies and practices relating to the sale and
       College Blvd.,     licensing of baseband processor chipsets and the competitive
 10    Santa Clara, CA    effects thereof; the anticompetitive effects of Qualcomm’s
 11    95054              practices on Intel; and topics discussed at deposition.
       (408) 765-8080
 12
 13    Hill, Arthur Lee   Apple and the CMs expect Mr. Hill to testify about licensing
       Sony Mobile        practices in the cellular industry; SONY’s licensing
 14                       negotiations with Qualcomm and Qualcomm’s threats to cut
       3333 Piedmont      off baseband chipset supply; competition in the relevant
 15
       Rd., NE, Suite     markets for baseband processor chipsets; Qualcomm’s
 16    600, Atlanta, GA   policies and practices relating to the sale and licensing of
       30305              baseband processor chipsets and the competitive effects
 17
       (404) 443-5305     thereof; the anticompetitive effects of Qualcomm’s practices
 18                       on SONY; and topics discussed at deposition.
 19
       Madderom, Todd    Apple and the CMs expect Mr. Madderom to testify about
 20
       Motorola Mobility Motorola’s inability to challenge Qualcomm’s supra-FRAND
 21                      royalty demands because of the fear of supply threats from
       222 West          Qualcomm; licensing practices in the cellular industry;
 22    Merchandise Mart competition in the relevant markets for baseband processor
       Plaza #1800,      chipsets; Qualcomm’s policies and practices relating to the
 23    Chicago, IL 60654 sale and licensing of baseband processor chipsets and the
 24    (800) 668-6765    competitive effects thereof; the anticompetitive effects of
 25                      Qualcomm’s practices on Motorola; and topics discussed at
                         deposition.
 26
       Moynihan, Finbarr Apple and the CMs expect Mr. Moynihan to testify about
 27
       (John)            baseband processor chipset engineering; competition in the
 28    Mediatek          relevant markets for baseband processor chipsets;


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  1    120 Presidential    Qualcomm’s policies and practices relating to the sale and
       Way # 100,          licensing of baseband processor chipsets and the competitive
  2    Woburn, MA          effects thereof; the anticompetitive effects of Qualcomm’s
  3    01801               practices on MediaTek, including MediaTek’s delayed entry
       (781) 503-8000      into the 3G, LTE, and premium LTE markets; and topics
  4                        discussed at deposition.
  5
  6               2.      Qualcomm
  7
  8                                             Subject Matter &
            Name & Address
  9                                           Manner of Testimony
      Aberle, Derek             Qualcomm expects Mr. Aberle will testify about
 10   c/o Qualcomm Incorporated Qualcomm’s licensing business and practices,
 11   5775 Morehouse Drive      Qualcomm’s strategic business initiatives and
      San Diego, CA             Qualcomm’s business relationship with Apple.
 12   92121
 13                             Mr. Aberle will provide live testimony.
      Altman, Steve             Qualcomm expects Mr. Altman will testify about
 14   c/o Qualcomm Incorporated Qualcomm’s licensing business and practices,
 15   5775 Morehouse Drive      Qualcomm’s role in the cellular industry as a
      San Diego, CA             leading innovator of both cellular and non-cellular
 16   92121                     technologies and Qualcomm’s strategic business
 17                             initiatives.

 18                                  Mr. Altman will provide live testimony.
 19   Casaccia, Lorenzo              Qualcomm expects Mr. Casaccia will testify about
      Qualcomm Incorporated          Qualcomm’s R&D efforts, Qualcomm’s
 20   5775 Morehouse Drive           contributions to standard development
 21   San Diego, CA                  organizations (“SDOs”), 3GPP’s technical
      92121                          specification development processes, the reasons
 22                                  why “contribution counting” is not a reliable
 23                                  indicator of a company’s leadership in 3GPP
                                     standards and other reasons why contributions are
 24                                  not a proxy for the quantity or quality of a firm’s
 25                                  cellular SEP portfolio.
 26                                  Mr. Casaccia will provide live testimony.
 27
 28


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  1                                               Subject Matter &
           Name & Address
                                                Manner of Testimony
  2   Cathey, James              Qualcomm expects Mr. Cathey will testify about
  3   Qualcomm Incorporated      Qualcomm’s business relationship with the CMs,
      5775 Morehouse Drive       including the performance of certain contracts and
  4   San Diego, CA              Apple’s interference with the CMs’ contract
  5   92121                      performance.

  6                              Mr. Cathey will provide live testimony.
  7   Chen, Liren                Qualcomm expects Mr. Chen will testify about the
      Qualcomm Incorporated      nature, makeup and scope of Qualcomm’s patent
  8   5775 Morehouse Drive       portfolio, including its non-SEPs, and Qualcomm’s
  9   San Diego, CA              preparation of technical claim charts provided to
      92121                      Apple during licensing negotiations.
 10
 11                              Mr. Chen will provide live testimony.
      Chen, Victoria             Qualcomm expects Ms. Chen will testify about
 12   Qualcomm Incorporated      Qualcomm’s modem chip sales and Qualcomm’s
 13   5775 Morehouse Drive       business relationship with Apple, including the
      San Diego, CA              negotiation, terms, and/or performance of certain
 14   92121                      contracts or potential contracts.
 15
                                 Ms. Chen will provide live testimony.
 16   Dwight, Deborah            Qualcomm expects Ms. Dwight will testify about
 17   Qualcomm Incorporated      Qualcomm’s business relationship with the CMs,
      5775 Morehouse Drive       including Qualcomm’s negotiation with the CMs’
 18   San Diego, CA              for their license agreements with Qualcomm.
 19   92121
                                 Ms. Dwight will provide live testimony.
 20
      Gonell, Fabian             Qualcomm expects Mr. Gonell will testify about
 21   Qualcomm Incorporated      Qualcomm’s licensing business and practices,
      5775 Morehouse Drive       cellular SDOs and intellectual property rights
 22
      San Diego, CA              policies, and Qualcomm’s business relationship
 23   92121                      with Apple, including the negotiation, terms, and/or
                                 performance of certain contracts or potential
 24
                                 contracts.
 25
                                 Mr. Gonell will provide live testimony.
 26
 27
 28


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  1                                             Subject Matter &
           Name & Address
                                              Manner of Testimony
  2   Jacobs, Irwin             Qualcomm expects Dr. Jacobs will testify about the
  3   c/o Qualcomm Incorporated founding and early years of Qualcomm,
      5775 Morehouse Drive      Qualcomm’s contributions to cellular technology
  4   San Diego, CA             and standardized cellular technologies,
  5   92121                     Qualcomm’s licensing practices, and Qualcomm’s
                                modem chip sales.
  6
  7                               Dr. Jacobs will provide live testimony.
      Malladi, Durga              Qualcomm expects Dr. Malladi will testify about
  8   Qualcomm Incorporated       Qualcomm’s contributions to cellular technologies,
  9   5775 Morehouse Drive        cellular SDOs and cellular standards, and
      San Diego, CA               Qualcomm’s contributions to consumer and
 10   92121                       network device technologies.
 11
                                  Dr. Malladi will provide live testimony.
 12   Mollenkopf, Steven          Qualcomm expects Mr. Mollenkopf will testify
 13   Qualcomm Incorporated       about Qualcomm’s corporate strategy and business
      5775 Morehouse Drive        practices, Qualcomm’s modem chip sales and
 14   San Diego, CA               competition for modem chip sales, and
 15   92121                       Qualcomm’s business relationship with Apple and
                                  the CMs, including the negotiation, terms, and/or
 16                               performance of certain contracts or potential
 17                               contracts.
 18                               Mr. Mollenkopf will provide live testimony.
 19   Rogers, Alex                Qualcomm expects Mr. Rogers will testify about
      Qualcomm Incorporated       Qualcomm’s licensing business and practices,
 20   5775 Morehouse Drive        Qualcomm’s business relationship with original
 21   San Diego, CA               equipment manufacturers (“OEMs”), Apple’s
      92121                       inducement of regulatory investigations of
 22                               Qualcomm and Qualcomm’s business relationship
 23                               with Apple, including the negotiation of potential
                                  license agreements.
 24
 25                               Mr. Rogers will provide live testimony.
 26
 27
 28


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  1                                               Subject Matter &
           Name & Address
                                                Manner of Testimony
  2   Thompson, James            Qualcomm expects Dr. Thompson will testify about
  3   Qualcomm Incorporated      Qualcomm’s R&D efforts, Qualcomm’s
      5775 Morehouse Drive       contributions to cellular and non-cellular
  4   San Diego, CA              technologies, Qualcomm’s contributions to
  5   92121                      consumer device technologies, Qualcomm’s chipset
                                 engineering, cellular SDOs and cellular standards,
  6                              and standardized technologies and the
  7                              standardization process.

  8                              Dr. Thompson will provide live testimony.
  9   Andeer, Kyle               Qualcomm expects Mr. Andeer will testify about
      Apple Inc.                 Apple’s inducement of regulatory investigations of
 10   1 Apple Park Way           Qualcomm.
 11   Cupertino, CA
      95014                      Mr. Andeer will provide live testimony and/or
 12                              testimony by deposition designations.
 13   Blevins, Tony              Qualcomm expects Mr. Blevins will testify about
      Apple Inc.                 Apple’s business relationship with Qualcomm,
 14   1 Apple Park Way           Apple’s agreements with Qualcomm relating to
 15   Cupertino, CA              baseband processor chipsets, Apple’s business
      95014                      relationship with contract manufacturers,
 16                              competition in the modem chip industry, and
 17                              Apple’s inducement of regulatory investigations of
                                 Qualcomm.
 18
 19                              Mr. Blevins will provide live testimony and/or
                                 testimony by deposition designations.
 20   Cook, Tim                  Qualcomm expects Mr. Cook will testify about
 21   Apple Inc.                 Apple’s business strategy, Apple’s mobile devices,
      1 Apple Park Way           Apple’s sales and financial performance, Apple’s
 22   Cupertino, CA              business relationship with Qualcomm and the CMs,
 23   95014                      and Apple’s agreements with Qualcomm relating to
                                 modem chips.
 24
 25                              Mr. Cook will provide live testimony.
 26
 27
 28


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  1                                                Subject Matter &
           Name & Address
                                                 Manner of Testimony
  2   Cooper, Kim                Qualcomm expects Ms. Cooper will testify about
  3   Apple Inc.                 Apple’s business relationship with Qualcomm,
      1 Apple Park Way           Apple’s agreements with Qualcomm relating to
  4   Cupertino, CA              baseband processor chipsets, Apple’s business
  5   95014                      relationship with contract manufacturers, industry
                                 practice of licensing cellular SEPs and/or other
  6                              patents, and Apple’s licensing practices.
  7
                                 Ms. Cooper will provide live testimony and/or
  8                              testimony by deposition designations.
  9   Lutton, Richard (Chip)     Qualcomm expects Mr. Lutton will testify about
      c/o Apple Inc.             Apple’s business relationship with Qualcomm,
 10   1 Apple Park Way           industry practice of licensing cellular SEPs and/or
 11   Cupertino, CA              other patents and Apple’s licensing practices.
      95014
 12                              Mr. Lutton will provide live testimony and/or
 13                              testimony by deposition designations.
      Mansfield, Bob             Qualcomm expects Mr. Mansfield will testify about
 14   Apple Inc.                 Apple’s technical engineering requirements for its
 15   1 Apple Park Way           devices’ cellular capabilities, Apple’s business
      Cupertino, CA              relationship with Qualcomm and competition in the
 16   95014                      modem chip industry.
 17
                                 Mr. Mansfield will provide live testimony and/or
 18                              testimony by deposition designations.
 19   Risher, Jeff               Qualcomm expects Mr. Risher will testify about
      c/o Apple Inc.             Apple’s business relationship with Qualcomm,
 20   3500 Deer Creek Rd.        industry practice of licensing cellular SEPs and/or
 21   Palo Alto, CA              other patents, and Apple’s licensing practices.
      94304
 22                              Mr. Risher will provide live testimony and/or
 23                              testimony by deposition designations.
      Sauer, Matthias            Qualcomm expects Mr. Sauer will testify about
 24
      Apple Inc.                 Apple’s technical engineering requirements for its
 25   1 Apple Park Way           devices’ cellular capabilities, Apple’s business
      Cupertino, CA              relationship with Qualcomm and competition in the
 26
      95014                      modem chip industry.
 27
                                 Mr. Sauer will provide live testimony and/or
 28
                                 testimony by deposition designations.

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  1                                                Subject Matter &
           Name & Address
                                                Manner of Testimony
  2   Schiller, Phil             Qualcomm expects Mr. Schiller will testify about
  3   Apple Inc.                 Apple’s marketing efforts in connection with Apple
      1 Apple Park Way           devices that use baseband processor chipsets, the
  4   Cupertino, CA              features and attributes of those devices, and the
  5   95014                      pricing of Apple products.

  6                              Mr. Schiller will provide live testimony and/or
  7                              testimony by deposition designations.
      Teksler, Boris             Qualcomm expects Mr. Teksler will testify about
  8   (Formerly of Apple Inc.)   Apple’s business relationship with Qualcomm,
  9   Conversant Intellectual    industry practice of licensing cellular SEPs and/or
      Property Management        other patents and Apple’s licensing practices.
 10   2441 Park Blvd Suite 104
 11   Palo Alto, CA              Mr. Teksler will provide testimony by deposition
      94036                      designations.
 12
 13   Watrous, BJ                Qualcomm expects Mr. Watrous will testify about
      Apple Inc.                 Apple’s business relationship with Qualcomm,
 14   1 Apple Park Way           Apple’s agreements with Qualcomm relating to
 15   Cupertino, CA              baseband processor chipsets, Apple’s business
      95014                      relationship with contract manufacturers, industry
 16                              practice of licensing cellular SEPs and/or other
 17                              patents and Apple’s licensing practices.
 18                              Mr. Watrous will provide live testimony and/or
 19                              testimony by deposition designations.
      Whitt, Jayna               Qualcomm expects Ms. Whitt will testify about
 20   Apple Inc.                 Apple’s business relationship with Qualcomm,
 21   1 Apple Park Way           Apple’s agreements with Qualcomm relating to
      Cupertino, CA              baseband processor chipsets, Apple’s business
 22   95014                      relationship with contract manufacturers, industry
 23                              practice of licensing cellular SEPs and/or other
                                 patents and Apple’s licensing practices.
 24
 25                              Ms. Whitt will provide live testimony and/or
                                 testimony by deposition designations.
 26
 27
 28


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  1                                                  Subject Matter &
           Name & Address
                                                   Manner of Testimony
  2   Williams, Jeff                Qualcomm expects Mr. Williams will testify about
  3   Apple Inc.                    Apple’s business relationship with Qualcomm,
      1 Apple Park Way              Apple’s agreements with Qualcomm relating to
  4   Cupertino, CA                 baseband processor chipsets, Apple’s business
  5   95014                         relationship with contract manufacturers,
                                    competition in the sale of baseband processor
  6                                 chipsets, Apple’s marketing efforts in connection
  7                                 with devices that use baseband processor chipsets,
                                    and Apple’s inducement of regulatory
  8                                 investigations of Qualcomm.
  9
                                    Mr. Williams will provide live testimony and/or
 10                                 testimony by deposition designations.
 11   Petersson, Christina          Qualcomm expects Ms. Petersson will testify about
      Telefonaktiebolaget L.M.      industry licensing practices and Ericsson’s business
 12   Ericsson                      relationship with Qualcomm.
 13   Kista, Global Headquarters
      Torshamnsgatan 21             Ms. Petersson will provide testimony by deposition
 14   164 83 Stockholm, Sweden      designations.
 15   Weiler, Dirk                  Qualcomm expects Mr. Weiler will testify about
      Nokia Technologies            industry licensing practices and Nokia’s business
 16   200 South Mathilda Ave        relationship with Qualcomm.
 17   Sunnyvale, CA
      94086                         Mr. Weiler will provide live testimony and/or
 18                                 testimony by deposition designations.
 19
 20        B.      Expert Witnesses the Parties Expect to Call at Trial
 21        (CivLR 16.1(f)(6)(c)(3)(b))
 22
 23                1.    Apple and the CMs
 24
           Witness                           Substance of Testimony
 25
 26    Bernheim,           Apple and the CMs expect Professor Bernheim to testify
 27    Douglas             regarding economic principles for antitrust analysis in this
                           case, the economics of standard setting, the meaning and
 28                        purpose of FRAND commitments, the industry and relevant


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  1    Contact through markets, Qualcomm’s market power, Qualcomm’s
       counsel for Apple anticompetitive conduct, the effects of Qualcomm’s conduct
  2    and the CMs       on competition, to evaluate alleged business justifications for
  3    Department of     Qualcomm’s conduct, to rebut Qualcomm experts, and topics
       Economics,        discussed at deposition.
  4
       Stanford
  5    University,
       Stanford, CA,
  6
       94305-6072
  7    (650) 725-8732
  8
       Bims, Harry       Apple and the CMs expect Dr. Bims to testify, as an
  9
       Contact through independent expert and person of skill in the relevant art,
 10    counsel for Apple regarding the technical background and the state of the art
       and the CMs       relevant to the claims of one or more of the patents-in-suit
 11                      including U.S. Patent No. 9,137,822; the interpretation of the
       1314 Chilco       claims of one or more of the patents-in-suit including U.S.
 12
       Street, Menlo     Patent No. 9,137,822; the invalidity and/or unenforceability
 13    Park, CA 94025    of the claims of one or more of the patents-in-suit including
 14    (650) 283-4174    U.S. Patent No. 9,137,822; secondary indicia of non-
                         obviousness as they relate to one of more of the patents-in-
 15                      suit including U.S. Patent No. 9,137,822; the non-essentiality
 16                      to the relevant standard of one or more of the patents-in-suit
                         including U.S. Patent No. 9,137,822; the design and
 17                      operation of the accused products as they relate to one or
 18                      more of the patents-in-suit including U.S. Patent No.
                         9,137,822; noninfringement of the claims of one or more of
 19                      the patents-in-suit including U.S. Patent No. 9,137,822;
 20                      noninfringing alternatives to the extent any of the accused
                         products are deemed to infringe claims of one or more of the
 21                      patents-in-suit including U.S. Patent No. 9,137,822; whether
 22                      claims of Qualcomm patents, if practiced, would be
                         substantially embodied in a Qualcomm baseband processor
 23                      chipset, other components of a mobile device, and/or the
 24                      network infrastructure; wireless communication technologies
                         and associated standards; technical comparability of licensing
 25                      agreements; ex ante alternatives to technologies embodied in
 26                      relevant cellular SEPs; and topics discussed at deposition.
 27
 28                        Additionally, to the extent that Qualcomm’s experts Dr.
                           Andrews, Dr. Gitlin and Dr. Jayant are permitted to and do

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  1                          testify, Apple and the CMs expert Dr. Bims to testify
                             regarding their failure to show that certain of Qualcomm’s
  2                          SEP are essential to any cellular standard and are invalid
  3                          and/or not important.

  4    Leitzinger, Jeffrey   Apple and the CMs expect Dr. Leitzinger to testify regarding
       Contact through       issues relating to the CMs’ (and each of their) causal injuries
  5                          and damages (including but not limited to overcharge
       counsel for the
  6    CMs                   damages, restitution, and disgorgement) in connection with
                             their counterclaims and defenses in the above-captioned
  7    EconOne               litigation, and other economic matters relevant to assessing
  8    Research, Inc.        the injury to competition as a result of Qualcomm’s conduct;
       550 South Hope        and topics discussed at deposition.
  9
       Street, Suite 800,
 10
       Los Angeles, CA
 11    90071
 12    (213) 624-9600
 13    Libchaber, Remy   Apple and the CMs expect Professor Libchaber to testify
 14    Contact through about the meaning under French law of Qualcomm’s IPR
       counsel for Apple disclosure obligation under the ETSI IPR Policy and FRAND
 15                      commitment to ETSI; and topics discussed at deposition.
       and the CMs
 16    University of Paris
 17    I: Pantheon-
       Sorbonne
 18
       12 Place du
 19    Panthéon, 75231
 20    Paris, France
 21    +33 1 44 07 80 00

 22    Meyer, Paul       Apple and the CMs expect Mr. Meyer to testify regarding the
 23    Contact through economic issues implicated by the claims of this lawsuit,
       counsel for Apple including the disgorgement of royalties paid by Apple and/or
 24    and the CMs       the CMs, whether the royalty rates and related fees paid by
                         Apple/or and the CMs adhere to FRAND, the restitution
 25    TM Financial      owed to Apple and/or the CMs for excessive license fees, and
 26    Forensics, LLC    secondary indicia of non-obviousness; issues surrounding
 27    Two Embarcadero FRAND licensing, including Apple’s, the CMs’, and
       Ctr., Suite 2510, Qualcomm’s licensing practices, as well as the royalty that
 28                      would apply to making, using, selling, offering for sale


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  1    San Francisco, CA and/or importing products encompassed by any valid,
       94111             standard-essential, non-exhausted, and infringed patent
  2                      claims at issue in this lawsuit; and topics discussed at
       (415) 692-6350
  3                      deposition.

  4    Scott Morton,     Apple and the CMs expect Professor Scott Morton to testify
       Fiona             regarding economic principles for antitrust analysis in this
  5
       Contact through case, the economics of standard setting, the meaning and
  6    counsel for Apple purpose of FRAND commitments, the industry and relevant
       and the CMs       markets, Qualcomm’s market power, the anticompetitive
  7
                         nature of Qualcomm’s conduct, the effects of Qualcomm’s
  8    Charles River     conduct on competition, to rebut Qualcomm experts, and
       Associates        topics discussed at deposition.
  9
       200 Clarendon
 10    Street Boston, MA
 11    02116
       (617) 425-3000
 12
 13    Simcoe, Timothy   Apple and the CMs expect Professor Simcoe to testify
 14    Contact through regarding the process and economics of standard setting, the
       counsel for Apple meaning and purpose of FRAND commitments, economic
 15    and the CMs       principles for assessing FRAND terms, whether Qualcomm’s
                         royalties, license terms, and offers to Apple comport with
 16    Boston University FRAND, the value of Qualcomm’s SEPs, to rebut Qualcomm
 17    595               experts, and topics discussed at deposition.
       Commonwealth
 18    Avenue, Boston,
 19    MA 02215
 20    (617) 353-2000
 21    Stark, Wayne      Apple and the CMs expect Dr. Stark to testify, as an
 22    Contact through independent expert and person of skill in the relevant art,
       counsel for Apple regarding the technical background and the state of the art
 23                      relevant to the claims of one or more of the patents-in-suit
       and the CMs
 24                      including U.S. Patent Nos. 7,095,725 and 6,556,549; the
       EECS              interpretation of the claims of one or more of the patents-in-
 25    Department, The   suit including U.S. Patent Nos. 7,095,725 and 6,556,549; the
       University of     invalidity and/or unenforceability of the claims of one or
 26    Michigan, Ann     more of the patents-in-suit including U.S. Patent Nos.
 27    Arbor, MI 48109- 7,095,725 and 6,556,549; secondary indicia of non-
       2122              obviousness as they relate to one of more of the patents-in-
 28
                         suit including U.S. Patent Nos. 7,095,725 and 6,556,549; the

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  1    Phone (734) 763-    non-essentiality to the relevant standard of one or more of the
       0390                patents-in-suit including U.S. Patent Nos. 7,095,725 and
  2                        6,556,549; the design and operation of the accused products
  3                        as they relate to one or more of the patents-in-suit including
                           U.S. Patent Nos. 7,095,725 and 6,556,549; noninfringement
  4                        of the claims of one or more of the patents-in-suit including
  5                        U.S. Patent Nos. 7,095,725 and 6,556,549; noninfringing
                           alternatives to the extent any of the accused products are
  6                        deemed to infringe claims of one or more of the patents-in-
  7                        suit including U.S. Patent Nos. 7,095,725 and 6,556,549;
                           whether claims of Qualcomm patents, if practiced, would be
  8                        substantially embodied in a Qualcomm baseband processor
  9                        chipset, other components of a mobile device, and/or the
                           network infrastructure; wireless communication technologies
 10                        and associated standards, technical comparability of licensing
 11                        agreements; ex ante alternatives to technologies embodied in
                           relevant cellular SEPs; and topics discussed at deposition.
 12
 13
                           Additionally, to the extent that Qualcomm’s experts Dr.
 14                        Andrews, Dr. Gitlin and Dr. Jayant are permitted to and do
                           testify, Apple and the CMs expect Dr. Stark to testify
 15
                           regarding their failure to show that certain of Qualcomm’s
 16                        SEP are essential to any cellular standard and are invalid
                           and/or not important.
 17
 18    Valenti, Matthew  Apple and the CMs expect Dr. Valenti to testify regarding
 19    Contact through technical analysis of Qualcomm patents, including whether
       counsel for Apple claims of Qualcomm patents, if practiced, would be
 20    and the CMs       substantially embodied in a Qualcomm baseband processor
                         chipset, other components of a mobile device, and/or the
 21    Lane Dept. of     network infrastructure; and topics discussed at deposition.
 22    Comp. Sci. &
       Electrical
 23    Engineering, West
 24    Virginia
       University,
 25    Morgantown, WV
 26    26506-6109
       (304) 293-9139
 27
 28    Wells, Jonathan     Apple and the CMs expect Dr. Wells to testify, as an
                           independent expert and person of skill in the relevant art,

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  1    Contact through regarding the technical background and the state of the art
       counsel for Apple relevant to the claims of one or more of the patents-in-suit
  2    and the CMs       including U.S. Patent Nos. 7,246,242, 7,289,630, 8,867,494,
  3    533 Peters Ave,   and 9,059,819; the interpretation of the claims of one or more
       Suite 204,        of the patents-in-suit including U.S. Patent Nos. 7,246,242,
  4                      7,289,630, 8,867,494, and 9,059,819; the invalidity and/or
       Pleasanton, CA
  5    94566             unenforceability of the claims of one or more of the patents-
                         in-suit including U.S. Patent Nos. 7,246,242, 7,289,630,
  6    (925) 200-5124    8,867,494, and 9,059,819; secondary indicia of non-
  7                      obviousness as they relate to one of more of the patents-in-
                         suit including U.S. Patent Nos. 7,246,242, 7,289,630,
  8                      8,867,494, and 9,059,819; the non-essentiality to the relevant
  9                      standard of one or more of the patents-in-suit including U.S.
                         Patent Nos. 7,246,242, 7,289,630, 8,867,494, and 9,059,819;
 10                      the design and operation of the accused products as they
 11                      relate to one or more of the patents-in-suit including U.S.
                         Patent Nos. 7,246,242, 7,289,630, 8,867,494, and 9,059,819;
 12                      noninfringement of the claims of one or more of the patents-
 13                      in-suit including U.S. Patent Nos. 7,246,242, 7,289,630,
                         8,867,494, and 9,059,819; noninfringing alternatives to the
 14                      extent any of the accused products are deemed to infringe
 15                      claims of one or more of the patents-in-suit including U.S.
                         Patent Nos. 7,246,242, 7,289,630, 8,867,494, and 9,059,819;
 16                      whether claims of Qualcomm patents, if practiced, would be
 17                      substantially embodied in a Qualcomm baseband processor
                         chipset, other components of a mobile device, and/or the
 18                      network infrastructure; wireless communication technologies
 19                      and associated standards, including the counting of
                         contributions to one or more standards; technical
 20                      comparability of licensing agreements; ex ante alternatives to
 21                      technologies embodied in relevant cellular SEPs; and topics
                         discussed at deposition.
 22
                           Additionally, to the extent that Qualcomm’s experts Dr.
 23                        Andrews, Dr. Gitlin and Dr. Jayant are permitted to and do
 24                        testify, Apple and the CMs expect Dr. Wells to testify
                           regarding their failure to show that certain of Qualcomm’s
 25                        SEP are essential to any cellular standard and are invalid
 26                        and/or not important.

 27    Welsch, Roy         Apple and the CMs expect Dr. Welsch to testify regarding
                           the correct size of a statistical sample of Qualcomm’s
 28
                           population of patents to estimate certain characteristics of the

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  1    Contact through whole Qualcomm patent population; and topics discussed at
       counsel for Apple deposition.
  2    and the CMs
  3    100 Main Street,
       E62-564,
  4
       Cambridge, MA
  5    02139
  6    (617) 253-6601
  7    Wicker, Stephen     Apple and the CMs expect Dr. Wicker to testify, as an
  8    Contact through independent expert and person of skill in the relevant art,
  9    counsel for Apple regarding the technical background and the state of the art
       and the CMs         relevant to the claims of one or more of the patents-in-suit
 10                        including U.S. Patent Nos. 6,694,469 and 7,096,021; the
       386 Rhodes Hall, interpretation of the claims of one or more of the patents-in-
 11    Cornell             suit including U.S. Patent Nos. 6,694,469 and 7,096,021; the
       University, Ithaca, invalidity and/or unenforceability of the claims of one or
 12
       NY 14853            more of the patents-in-suit including U.S. Patent Nos.
 13    (607) 255-8817      6,694,469 and 7,096,021; secondary indicia of non-
 14                        obviousness as they relate to one of more of the patents-in-
                           suit including U.S. Patent Nos. 6,694,469 and 7,096,021; the
 15                        non-essentiality to the relevant standard of one or more of the
 16                        patents-in- suit including U.S. Patent Nos. 6,694,469 and
                           7,096,021; the design and operation of the accused products
 17                        as they relate to one or more of the patents-in-suit including
 18                        U.S. Patent Nos. 6,694,469 and 7,096,021; noninfringement
                           of the claims of one or more of the patents-in-suit including
 19                        U.S. Patent Nos. 6,694,469 and 7,096,021; noninfringing
 20                        alternatives to the extent any of the accused products are
                           deemed to infringe claims of one or more of the patents-in-
 21                        suit including U.S. Patent Nos. 6,694,469 and 7,096,021;
 22                        whether claims of Qualcomm patents, if practiced, would be
                           substantially embodied in a Qualcomm baseband processor
 23                        chipset, other components of a mobile device, and/or the
 24                        network infrastructure; evolution of wireless communication
                           technologies over time, including the evolution of smart
 25                        phone technology and Apple smart phone technology, and
 26                        associated standards; technical comparability of licensing
                           agreements, and ex ante alternatives to technologies
 27                        embodied in relevant cellular SEPs; and topics discussed at
 28                        deposition.


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  1                        Additionally, to the extent that Qualcomm’s experts Dr.
                           Andrews, Dr. Gitlin and Dr. Jayant are permitted to and do
  2                        testify, Apple and the CMs expect Dr. Wicker to testify
  3                        regarding their failure to show that certain of Qualcomm’s
                           SEP are essential to any cellular standard and are invalid
  4                        and/or not important.
  5                        Similarly, Apple and the CMs expect Dr. Wicker to provide
                           rebuttal testimony, to the extent that Qualcomm’s expert Dr.
  6
                           Madisetti is permitted to and does testify, regarding Dr.
  7                        Madisetti’s failure to show that certain Qualcomm
                           “exemplary patents” provide Apple, the CMs or consumers
  8
                           any value, including because Dr. Madisetti has not shown
  9                        that Apple, the CMs, or any consumers use the technology of
 10                        the Qualcomm “exemplary patents” and because the
                           “exemplary patents” are likely invalid.
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 12
            2.    Qualcomm
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 14
                                            Statement of Qualifications &
           Name & Address
 15                                         Subject Matter of Testimony
       Andrews, Jeff             Dr. Andrews is an expert in electrical engineering,
 16
       c/o Qualcomm Incorporated and is a professor at the University of Texas-Austin.
 17    5775 Morehouse Drive      He holds a B.S. in Engineering from Harvey Mudd
 18    San Diego, CA             College and a M.S. and Ph.D. in Electrical
       92121                     Engineering from Stanford University.
 19
 20                                 Qualcomm expects Dr. Andrews will testify
                                    regarding the subject matter of his expert report,
 21                                 including the importance of certain Qualcomm
 22                                 technologies, as well as certain standard essential
                                    patents (“SEPs”) related to WCDMA, 4G LTE and
 23                                 5G NR.
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  1                                         Statement of Qualifications &
           Name & Address
                                             Subject Matter of Testimony
  2    Chipty, Tasneem           Dr. Chipty is an expert economist specializing in
  3    c/o Qualcomm Incorporated marketplace behaviors with a focus on issues of
       5775 Morehouse Drive      antitrust and regulatory policy. She holds a B.A. in
  4    San Diego, CA             Economics and Mathematics from Wellesley
  5    92121                     College and a Ph.D. in Economics from the
                                 Massachusetts Institute of Technology.
  6
  7                                 Qualcomm expects Dr. Chipty will testify regarding
                                    the subject matter of her expert reports, including
  8                                 competition for modem chips, market definition,
  9                                 market power and certain contracts entered into
                                    between Qualcomm and Apple, as well as in
 10                                 rebuttal to Apple and the CMs’ experts.
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  1    Casaccia, Lorenzo           Mr. Casaccia is a leading engineer at Qualcomm
       c/o Qualcomm Incorporated   and works with SDOs such as ETSI. Since 2008,
  2    5775 Morehouse Drive        Mr. Casaccia has led the team of Qualcomm
  3    San Diego, CA               employees who participate in standards
       92121                       development at 3GPP. From 2008 to 2012, Mr.
  4                                Casaccia was Director of Technical Standards and,
  5                                from 2012 to 2015, he was Senior Director of
                                   Technical Standards. Since 2015, Mr. Casaccia has
  6                                been Vice President of Technical Standards at
  7                                Qualcomm. Mr. Casaccia has attended over one
                                   hundred 3GPP meetings, including 35 Radio
  8                                Access Network (“RAN”) Plenary meetings and
  9                                over 50 Working Group meetings, and has overseen
                                   Qualcomm’s submission of thousands of Technical
 10                                Documents (“TDocs”, or “contributions”) since
 11                                2008. Mr. Casaccia regularly interacts with 3GPP
                                   participants from other companies, including
 12                                reviewing other companies’ contributions, and he
 13                                directly oversees a team of over 20 Qualcomm
                                   employees who are responsible for day-to-day
 14                                standards development and participation within
 15                                3GPP. He received a laurea degree in Electrical
                                   Engineering from the Polytechnic University of
 16                                Turin and a Telecommunications degree from the
 17                                Eurecom Institute of Sophia Antipolis. He also
                                   holds a laurea degree in Philosophy and a master’s
 18                                degree in the Philosophy of Knowledge from the
 19                                Sapienza University of Rome and has attended a
                                   business strategy course at Harvard Business
 20                                School.
 21
                                   Qualcomm expects Mr. Casaccia will testify about
 22                                Qualcomm’s R&D efforts, Qualcomm’s
 23                                contributions to SDOs, 3GPP’s technical
                                   specification development processes, the reasons
 24                                why “contribution counting” is not a reliable
 25                                indicator of a company’s leadership in 3GPP
                                   standards and other reasons why contributions are
 26                                not a proxy for the quantity or quality of a firm’s
 27                                cellular SEP portfolio, as well as in rebuttal to
                                   Apple and the CMs’ experts.
 28


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  1                                        Statement of Qualifications &
           Name & Address
                                            Subject Matter of Testimony
  2                              Qualcomm does not believe that any of Mr.
  3                              Casaccia’s expected testimony would be subject to
                                 Federal Rules of Evidence 702, 703 or 705, but has
  4                              previously disclosed Mr. Casaccia as an expert
  5                              witness out of an abundance of caution in order to
                                 provide notice of his expected testimony.
  6    Evans, David              Dr. Evans is the Chairman of the Global Economics
  7    c/o Qualcomm Incorporated Group. He has held faculty positions at the
       5775 Morehouse Drive      University of Chicago Law School and the
  8    San Diego, CA             University College London, as well as a tenured
  9    92121                     professorship at Fordham University School of Law
                                 until 1995. He holds a B.A, M.A., and Ph.D. in
 10                              Economics from the University of Chicago.
 11
                                   Qualcomm expects Dr. Evans will testify regarding
 12                                the subject matter of his expert reports, including
 13                                the value of cellular technologies for smartphone
                                   users and device makers, including Apple, and the
 14                                economic impact of certain patent licensing
 15                                structures, as well as in rebuttal to Apple and the
                                   CMs’ experts.
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  1                                          Statement of Qualifications &
           Name & Address
                                             Subject Matter of Testimony
  2    Fauvarque-Cosson,         Professor Fauvarque-Cosson is a Professor of
  3    Benedicte                 Private Law at Universite Pantheon-Assas (Paris II)
       c/o Qualcomm Incorporated since 2002, before which she taught at other
  4    5775 Morehouse Drive      universities since 1995. She received her Ph.D. in
  5    San Diego, CA             law in 1994 from Universite Pantheon-Assas
       92121                     (Paris II) and a LL.B. from King’s College London.
  6                              She regularly provides expert testimony interpreting
  7                              French law. Dr. Fauvarque-Cosson was recently
                                 appointed as a judge on the Conseil d’État of
  8                              France.
  9
                                    Qualcomm expects Professor Fauvarque-Cosson
 10                                 will testify regarding the subject matter of her
 11                                 expert reports, including the scope of a party’s
                                    obligations arising from FRAND commitments
 12                                 made to the European Telecommunications
 13                                 Standards Institute (“ETSI”) under French contract
                                    law, as well as in rebuttal to Apple and the CMs’
 14                                 experts.
 15
                                 Dr. Fauvarque-Cosson will provide testimony by
 16                              deposition designations.
 17    Gitlin, Richard           Dr. Gitlin is an expert in electrical engineering, and
       c/o Qualcomm Incorporated holds the Agere Endowed Chair in Electrical
 18    5775 Morehouse Drive      Engineering at the University of South Florida. He
 19    San Diego, CA             holds a B.E.E. from the City College of New York
       92121                     and a M.S. and Eng. Sc. D. in Electrical
 20                              Engineering from Columbia University.
 21
                                    Qualcomm expects Dr. Gitlin will testify regarding
 22                                 the subject matter of his expert report, including the
 23                                 importance of certain Qualcomm patented
                                    technologies to the mobile ecosystem, including to
 24                                 the WCDMA, 4G LTE, and 5G NR standards.
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  1                                         Statement of Qualifications &
           Name & Address
                                            Subject Matter of Testimony
  2    Hart, Oliver              Dr. Hart is a Nobel Prize-winning economist who
  3    c/o Qualcomm Incorporated has held a tenured professorship at Harvard
       5775 Morehouse Drive      University since 1993 and focuses on contracting
  4    San Diego, CA             theory. He is also a Fellow of the Econometric
  5    92121                     Society, the American Academy of Arts and
                                 Sciences, the British Academy and the American
  6                              Finance Association as well as a member of the
  7                              National Academy of Sciences. Hart earned his
                                 B.A. in Mathematics from King’s College at
  8                              Cambridge University before his M.A. in
  9                              Economics from Warwick University and Ph.D. in
                                 Economics from Princeton University.
 10
 11                               Qualcomm expects Dr. Hart will testify regarding
                                  the subject matter of his expert report, including the
 12                               parties’ contracting practices and the value of
 13                               Qualcomm’s licensing practices in facilitating
                                  investment and other productivity-enhancing
 14                               activities.
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  1                                         Statement of Qualifications &
           Name & Address
                                            Subject Matter of Testimony
  2    Huber, Bertram            Dr. Huber is a Principal of IP*SEVA and is a
  3    c/o Qualcomm Incorporated Lecturer at the University of Tübingen/Germany on
       5775 Morehouse Drive      Laws of IPRs, International IP Strategy and
  4    San Diego, CA             Management and License Agreements/Licensing
  5    92121                     Law. He has extensive negotiation and technology
                                 licensing experience, and has participated in the
  6                              elaboration of IPR/patent policies at ETSI. He
  7                              received his undergraduate degrees from the
                                 Universities of Münster and Tübingen in Law and
  8                              his Doctorate in Law from the University of
  9                              Tübingen.

 10                              Qualcomm expects Dr. Huber will testify regarding
 11                              the subject matter of his expert reports, including
                                 the development and meaning of ETSI’s intellectual
 12                              property rights (“IPR”) policy. Dr. Huber will also
 13                              provide expert testimony about the obligations of
                                 patent licensors that have made FRAND
 14                              commitments to ETSI, including whether certain
 15                              licensing positions are consistent with FRAND, as
                                 well as testify in rebuttal to Apple and the CMs’
 16                              experts.
 17    Jayant, Nikil             Dr. Jayant is a Professor Emeritus at the Georgia
       c/o Qualcomm Incorporated Institute of Technology and an Adjunct Professor at
 18    5775 Morehouse Drive      the University of California at Santa Barbara. He
 19    San Diego, CA             has held research positions at Stanford University,
       92121                     Bell Laboratories and the Georgia Institute of
 20                              Technology, and presently is a Co-Founder and the
 21                              CEO of VQLink, a Georgia Institute of Technology
                                 startup. He holds a B.Sc. in Physics and
 22                              Mathematics from Mysore University, India, and a
 23                              B.E. and Ph.D. in Electrical Communications from
                                 the Indian Institute of Science.
 24
 25                                Qualcomm expects Dr. Jayant will testify regarding
                                   the subject matter of his expert report, including the
 26                                importance of certain Qualcomm patented
 27                                technologies to the mobile ecosystem, including to
                                   the WCDMA, 4G LTE, and 5G NR standards.
 28


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  1                                         Statement of Qualifications &
           Name & Address
                                             Subject Matter of Testimony
  2    Knittel, Christopher      Dr. Knittel holds a tenured professorship at MIT in
  3    c/o Qualcomm Incorporated Applied Economics, and his research focuses on
       5775 Morehouse Drive      industrial organization, environmental economics
  4    San Diego, CA             and applied econometrics. Knittel holds a B.A. in
  5    92121                     Economics from California State University,
                                 Stanislaus, an M.A. in Economics from the
  6                              University of California, Davis, and a Ph.D. in
  7                              Economics from the University of California,
                                 Berkeley.
  8
  9                              Qualcomm expects Dr. Knittel will testify regarding
                                 the subject matter of his expert report, including the
 10                              value enhancement of cellular technology in mobile
 11                              devices, including Apple’s devices.
       Madisetti, Vijay          Dr. Madisetti is a Professor in Electrical and
 12    c/o Qualcomm Incorporated Computer Engineering at the Georgia Institute of
 13    5775 Morehouse Drive      Technology. He holds a B. Tech (Hons) in
       San Diego, CA             Electronics and Electrical Communications
 14    92121                     Engineering from the Indian Institute of
 15                              Technology and a Ph.D. in Electrical Engineering
                                 and Computer Sciences from the University of
 16                              California, Berkeley.
 17
                                 Qualcomm expects Dr. Madisetti will testify
 18                              regarding the subject matter of his expert report,
 19                              including the technical merit, value for user
                                 experience, and relevance to customers and device
 20                              makers of certain Qualcomm patents.
 21    Michalson, William        Dr. Michalson is a faculty member of the Electrical
       c/o Qualcomm Incorporated and Computer Engineering Department at the
 22    5775 Morehouse Drive      Worcester Polytechnic Institute in Massachusetts.
 23    San Diego, CA             He holds a B.S. in Electrical Engineering from
       92121                     Syracuse University, and a M.S. and Ph.D. in
 24                              Electrical Engineering from Worcester Polytechnic.
 25
                                    Qualcomm expects Dr. Michalson will testify
 26                                 regarding the subject matter of his expert report,
 27                                 including the technical merit, value for user
                                    experience, and relevance to customers and device
 28
                                    makers of certain Qualcomm patents.

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  1                                        Statement of Qualifications &
           Name & Address
                                            Subject Matter of Testimony
  2    Nevo, Aviv                Dr. Nevo is an antitrust economist who holds a
  3    c/o Qualcomm Incorporated tenured professorship in the Marketing Department
       5775 Morehouse Drive      at the Wharton School of Business and in the
  4    San Diego, CA             Department of Economics at the University of
  5    92121                     Pennsylvania. He is the former Deputy Assistant
                                 Attorney General for Economic Analysis of the
  6                              Antitrust Division at DOJ (2013-2014). Dr. Nevo
  7                              holds a Ph.D. and A.M. in Economics from Harvard
                                 University and his B.Sc. with Special Honors in
  8                              Mathematics and Economics from Tel Aviv
  9                              University.

 10                              Qualcomm expects Dr. Nevo will testify regarding
 11                              the subject matter of his expert reports, including
                                 Qualcomm’s licensing practices and Apple’s and
 12                              the CMs’ theories of antitrust harm, as well as in
 13                              rebuttal to Apple and the CMs’ experts.
       Parulski, Kenneth         Mr. Parulski is the Chief Scientist and Managing
 14    c/o Qualcomm Incorporated Member of aKAP Innovation, LLC, which provides
 15    5775 Morehouse Drive      innovation and digital photography-related
       San Diego, CA             consulting services. He holds a B.S. and an M.S. in
 16    92121                     Electrical Engineering from the Massachusetts
 17                              Institute of Technology.
 18                                Qualcomm expects Mr. Parulski will testify
 19                                regarding the subject matter of his expert report,
                                   including the technical merit, value for user
 20                                experience, and relevance to customers and device
 21                                makers of certain Qualcomm patents.
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  1                                        Statement of Qualifications &
           Name & Address
                                            Subject Matter of Testimony
  2    Pedram, Massoud           Dr. Pedram is a Professor of Electrical Engineering
  3    c/o Qualcomm Incorporated and the Charles Lee Powell Chair in Electrical
       5775 Morehouse Drive      Engineering and Computer Science in the Viterbi
  4    San Diego, CA             School of Engineering, University of Southern
  5    92121                     California. He holds a B.S. in Electrical
                                 Engineering from the California Institute of
  6                              Technology and an M.S. and Ph.D. in Electrical
  7                              Engineering and Computer Sciences from the
                                 University of California, Berkeley.
  8
  9                              Qualcomm expects Dr. Pedram will testify
                                 regarding the subject matter of his expert report,
 10                              including the technical merit, value for user
 11                              experience, and relevance to customers and device
                                 makers of certain Qualcomm patents.
 12    Prince, Jeffrey           Dr. Prince is an empirical researcher of industrial
 13    c/o Qualcomm Incorporated organization and applied econometrics, and holds a
       5775 Morehouse Drive      tenured professorship at the Kelley School of
 14    San Diego, CA             Business at Indiana University. He has published
 15    92121                     works focusing on technology markets and
                                 telecommunications. He holds a Ph.D. and M.A. in
 16                              Economics from Northwestern University and a
 17                              B.A. in Economics and B.S. in
                                 Mathematics/Statistics from Miami University.
 18
 19                                Qualcomm expects Dr. Prince will testify regarding
                                   the subject matter of his expert report, including the
 20                                value of certain Qualcomm technologies and the
 21                                price premium associated with the value those
                                   technologies enable in smartphones.
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  1                                         Statement of Qualifications &
           Name & Address
                                             Subject Matter of Testimony
  2    Putnam, Jonathan          Dr. Putnam is the founder and principal at
  3    c/o Qualcomm Incorporated Competition Dynamics Inc. and previously was an
       5775 Morehouse Drive      assistant professor at the Centre for Innovation Law
  4    San Diego, CA             and Policy at the University of Toronto until 2005,
  5    92121                     as well as an adjunct assistant professor and lecturer
                                 at other universities. He holds a B.A., M.A. and
  6                              Ph.D. in Economics from Yale.
  7
                                 Qualcomm expects Dr. Putnam will testify
  8                              regarding the subject matter of his expert report,
  9                              including FRAND patent licensing agreements in
                                 the cellular industry and Apple’s proffered
 10                              comparable licenses, as well as in rebuttal to Apple
 11                              and the CMs’ experts.
       Salters, Ambreen          Ms. Salters is an economic expert and consultant
 12    c/o Qualcomm Incorporated involved primarily in intellectual property and
 13    5775 Morehouse Drive      complex commercial disputes. She has participated
       San Diego, CA             in licensing negotiations, designed and managed
 14    92121                     royalty audits, and performed intellectual property
 15                              valuations for licensors and licensees. Ms. Salters
                                 earned her M.S. in Economics and B.B.A. in
 16                              Finance and Economics from Baylor University.
 17
                                    Qualcomm expects Ms. Salters will testify
 18                                 regarding the subject matter of her expert report,
 19                                 including the damages suffered by Qualcomm as a
                                    result of Apple’s and the CMs’ conduct at issue.
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  1                                        Statement of Qualifications &
           Name & Address
                                            Subject Matter of Testimony
  2    Snyder, Edward            Dr. Snyder is the Indra K. Nooyi Dean and William
  3    c/o Qualcomm Incorporated S. Beinecke Professor of Economics and
       5775 Morehouse Drive      Management at the Yale School of Management.
  4    San Diego, CA             Dr. Snyder began his professional career as an
  5    92121                     economist with the U.S. Department of Justice’s
                                 Antitrust Division. He earned a Ph.D. in
  6                              Economics and an M.A. in Public Policy from the
  7                              University of Chicago.

  8                              Qualcomm expects Dr. Snyder will testify
  9                              regarding the subject matter of his expert reports,
                                 including the modem chip industry and Apple’s and
 10                              the CMs’ theories of antitrust harm, as well as in
 11                              rebuttal to Apple and the CMs’ experts.
       Villasenor, John          Dr. Villasenor is a Professor of Electrical
 12    c/o Qualcomm Incorporated Engineering at the University of California, Los
 13    5775 Morehouse Drive      Angeles. He holds a B.S. in Electrical Engineering
       San Diego, CA             from the University of Virginia and a M.S. and
 14    92121                     Ph.D. in Electrical Engineering from Stanford
 15                              University.
 16                              Qualcomm expects Dr. Villasenor will testify
 17                              regarding the subject matter of his expert reports,
                                 including the value and performance of faster
 18                              cellular standards arising from the development of
 19                              new cellular technologies, as well as in rebuttal to
                                 Apple and the CMs’ experts.
 20    Wigdor, Daniel            Dr. Wigdor is an Associate Professor of Computer
 21    c/o Qualcomm Incorporated Science at the University of Toronto. He holds a
       5775 Morehouse Drive      B.Sc., M.Sc., and Ph.D. in Computer Science from
 22    San Diego, CA             the University of Toronto.
 23    92121
                                 Qualcomm expects Dr. Wigdor will testify
 24                              regarding the subject matter of his expert report,
 25                              including the technical merit, value for user
                                 experience, and relevance to customers and device
 26                              makers of certain Qualcomm patents.
 27
 28


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  1                                         Statement of Qualifications &
           Name & Address
                                            Subject Matter of Testimony
  2    Williams, Tim             Dr. Williams is an expert in electrical engineering,
  3    c/o Qualcomm Incorporated specializing in the communications field. He holds
       5775 Morehouse Drive      a B.S. in Electrical Engineering from Michigan
  4    San Diego, CA             Technological University, a M.S. and Ph.D. in
  5    92121                     Electrical Engineering from the University of Texas
                                 at Austin, as well as an M.B.A. from the University
  6                              of Texas at Austin.
  7
                                    Qualcomm expects Dr. Williams will testify
  8                                 regarding the subject matter of his expert reports,
  9                                 including the modem chip industry and the viability
                                    of certain modem chip suppliers to meet Apple’s
 10                                 technical demands for its mobile devices through
 11                                 time, as well as in rebuttal to Apple and the CMs’
                                    experts.
 12
 13
            C.     Additional Witnesses the Parties May Call at Trial
 14
            (CivLR 16.1(f)(6)(c)(3)(c))
 15
                   1.     Apple and the CMs
 16
 17
            Witness                           Substance of Testimony
 18
                        APPLE CURRENT AND FORMER EMPLOYEES
 19
 20    Butzow, Tim       Apple and the CMs expect Mr. Butzow to testify about
 21    Contact through Apple’s procurement of baseband processor chipsets,
 22    counsel for Apple including Apple’s reasons for switching from Infineon to
                         Qualcomm; competition in the relevant markets for baseband
       One Apple Park    processor chipsets; Apple’s business relationship with
 23
       Way, Cupertino,   Qualcomm, including Apple’s agreements with Qualcomm;
 24    CA 95014          topics discussed at deposition; and matters relating to
 25    (408) 996-1010    Qualcomm’s counterclaims.
 26    Cook, Tim         Apple and the CMs expect Mr. Cook to testify about Apple’s
 27    Contact through business relationship with Qualcomm, including Apple’s
 28    counsel for Apple agreements with Qualcomm; Apple’s decision to commence
                         litigation against Qualcomm and withhold royalties from the


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  1    One Apple Park       CMs; the parties’ withholding of payments in 2016 and
       Way, Cupertino,      2017; Apple’s cooperation with regulatory investigations of
  2    CA 95014             Qualcomm; Apple’s compliance with the BCPA, including
  3    (408) 996-1010       the absence of any inducement by Apple with respect to
                            Samsung instigating the KFTC investigation; topics
  4                         discussed at deposition; and matters relating to Qualcomm’s
  5                         counterclaims.

  6    Cooper, Kim       Apple and the CMs expect Ms. Cooper to testify about
  7    Contact through Apple’s relationship and negotiations with cellular network
       counsel for Apple carriers; negotiations with Qualcomm related to the carrier
  8                      aggregation provision in the Mav 7/8, 10, and 13 Statement
       One Apple Park    of Work; Apple’s business relationship with and agreements
  9    Way, Cupertino,   with the CMs, including Qualcomm’s audits of the CMs;
 10    CA 95014          Apple’s lack of interference in the CMs’ relationships with
       (408) 996-1010    Qualcomm; topics discussed at deposition; and matters
 11
                         relating to Qualcomm’s counterclaims.
 12
       Drance, Kaiann    Apple and the CMs expect Ms. Drance to testify about
 13
       Contact through Apple’s marketing efforts in connection with cellular enabled
 14    counsel for Apple devices, including the value of non-cellular features of the
                         iPhone and iPad; Apple’s approach for developing cellular-
 15    One Apple Park    enabled products; Apple’s process for selecting features to
       Way, Cupertino,   include and market in its cellular products; topics discussed
 16
       CA 95014          at deposition; and matters relating to Qualcomm’s
 17    (408) 996-1010    counterclaims.
 18
       Plotka-Workman,   Apple and the CMs expect Ms. Plotka-Workman to testify
 19    Helene            about the parties’ interactions with standard-setting
 20    Contact through organizations; analyses of Apple, Qualcomm, and others’
 21    counsel for Apple patent portfolios; standard-setting organizations’ and others’
                         intellectual property rights policies; topics discussed at
       One Apple Park    deposition; and matters relating to Qualcomm’s
 22
       Way, Cupertino,   counterclaims.
 23    CA 95014
 24    (408) 996-1010
 25    Sanguinetti, LouieApple and the CMs expect Mr. Sanguinetti to testify about
 26    Contact through the development of the iPhone and various generations
       counsel for Apple thereof; Apple’s selection of baseband processor chipsets,
 27                      including Apple’s decision to dual-source; Apple’s business
 28                      relationship with Qualcomm; competition in the relevant
                         markets for baseband processor chipsets; technical details

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  1    One Apple Park      relating to cellular functionality within Apple’s cellular
       Way, Cupertino,     products; topics discussed at deposition; and matters relating
  2    CA 95014            to Qualcomm’s counterclaims.
  3    (408) 996-1010
  4    Sauer, Matthias   Apple and the CMs expect Mr. Sauer to testify about
  5    Contact through competition in the relevant markets for baseband processor
  6    counsel for Apple chipsets, including the exit of multiple chipset suppliers over
                         the past decade; Apple’s decision to dual-source baseband
       One Apple Park    chipsets; technical details relating to cellular functionality
  7
       Way, Cupertino,   within Apple’s cellular products; Apple cellular products’
  8    CA 95014          support for one or more 3GPP standards, including LTE and
  9    (408) 996-1010    UMTS; topics discussed at deposition; and matters relating to
                         Qualcomm’s counterclaims.
 10
 11    Sewell, Bruce     Apple and the CMs expect Mr. Sewell to testify about
       Contact through Apple’s business relationship with Qualcomm, including the
 12
       counsel for Apple negotiation of the BCPA and other agreements with
 13                      Qualcomm; the dispute between Apple and Qualcomm over
       One Apple Park    carrier aggregation payments related to the Mav 7/8, 10, and
 14    Way, Cupertino,   13 Statement of Work; Apple’s business relationship with
       CA 95014          and agreements with the CMs; Apple’s lack of interference
 15
       (408) 996-1010    in the CMs’ relationships with Qualcomm; licensing of
 16                      cellular SEPs or other patents; topics discussed at deposition;
 17                      and matters relating to Qualcomm’s counterclaims.

 18    Tom, David        Apple and the CMs expect Mr. Tom to testify about Apple’s
 19    Contact through business relationship with Qualcomm, including the
       counsel for Apple negotiation of agreements with Qualcomm; Apple’s business
 20                      relationship with and agreements with the CMs, including
       One Apple Park    Qualcomm’s audits of the CMs; Apple’s lack of interference
 21    Way, Cupertino,   in the CMs’ relationships with Qualcomm; topics discussed
 22    CA 95014          at deposition; and matters relating to Qualcomm’s
       (408) 996-1010    counterclaims.
 23
 24    Whitt, Jayna      Apple and the CMs expect Ms. Whitt to testify about Apple’s
 25    Contact through inbound and outbound licensing frameworks for both SEPs
       counsel for Apple and NEPs; Apple’s licensing negotiations with other cellular
 26                      patent holders; Apple’s business relationship with
       One Apple Park    Qualcomm, including licensing negotiations and agreements
 27    Way, Cupertino,   relating to baseband processor chipsets and licensing;
 28    CA 95014          Apple’s business relationship with and agreements with the


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  1    (408) 996-1010      CMs; Apple’s lack of interference in the CMs’ relationships
                           with Qualcomm; licensing of cellular SEPs or other patents;
  2                        topics discussed at deposition; and matters relating to
  3                        Qualcomm’s counterclaims.

  4                     CM CURRENT AND FORMER EMPLOYEES
  5    Chang, Rick       Apple and the CMs expect Mr. Chang to testify about
  6    Contact through Compal’s product development and manufacturing activities;
       counsel for the   Compal’s chip procurement activities; Compal’s agreements
  7                      with component suppliers, including Qualcomm; Compal’s
       CMs
  8                      manufacturing and product development activities; Compal’s
       Compal            business relationship and interactions with its customers and
  9    Electronics, Inc. other entities; Compal’s corporate history and structure;
 10    Nos. 581 & 581-1, topics discussed at deposition; and matters relating to
       Ruiguang Road,    Qualcomm’s claims.
 11    Neihu District,
 12    Taipei City,
       11492, Taiwan
 13
 14    Lee, Jessica        Apple and the CMs expect Ms. Lee to testify about Compal’s
       Contact through     patent license agreement with Qualcomm; Qualcomm’s audit
 15                        disputes with Compal; Compal’s corporate history and
       counsel for the
 16    CMs                 structure; topics discussed at deposition; and matters relating
                           to Qualcomm’s claims.
 17    Compal
       Electronics, Inc.
 18
       Nos. 581 & 581-1,
 19    Ruiguang Road,
 20    Neihu District,
       Taipei City,
 21    11492, Taiwan
 22
       Wu, Ashley          Apple and the CMs expect Ms. Wu to testify about Compal’s
 23                        product development and manufacturing activities; Compal’s
       Contact through
 24    counsel for the     business relationship and interactions with its customers and
       CMs                 other entities; Compal’s royalty reporting; Compal’s
 25                        corporate history and structure; topics discussed at
       Compal              deposition; and matters relating to Qualcomm’s claims.
 26    Electronics, Inc.
 27    Nos. 581 & 581-1,
 28    Ruiguang Road,


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  1    Neihu District,
       Taipei City,
  2    11492, Taiwan
  3    Chen, Vincent        Apple and the CMs expect Mr. Chen to testify about
  4    Contact through      Foxconn’s license and other agreements with Qualcomm;
       counsel for the      Foxconn’s product development and manufacturing
  5                         activities; Foxconn’s corporate history and structure; topics
       CMs
  6                         discussed at deposition.
       Hon Hai Precision
  7    Industry Co., Ltd.
  8    and FIH Mobile
       Ltd.
  9
       No. 66, Zhongshan
 10    Road, Tucheng
 11    Industrial Zone,
       Tucheng District,
 12    New Taipei City,
 13    Taiwan

 14    Chiang, Michael      Apple and the CMs expect Mr. Chiang to testify about
       Contact through      Foxconn’s corporate history and structure; Foxconn’s
 15                         manufacturing and product development activities;
       counsel for the
 16    CMs                  Foxconn’s business relationship and interactions with its
                            customers and other entities; Foxconn’s license agreements
 17    Hon Hai Precision    and related issues and activities; topics discussed at
 18    Industry Co., Ltd.   deposition; and matters relating to Qualcomm’s claims.
       and FIH Mobile
 19    Ltd.
 20    No. 66, Zhongshan
 21    Road, Tucheng
       Industrial Zone,
 22    Tucheng District,
 23    New Taipei City,
       Taiwan
 24
       Chih, Calvin         Apple and the CMs expect Mr. Chih to testify about
 25                         Foxconn’s corporate history and structure and generally
       Contact through
 26    counsel for the      address Foxconn’s manufacturing and product development
       CMs                  activities, Foxconn’s business relationship and interactions
 27                         with its customers and other entities, Foxconn’s license
 28    Hon Hai Precision
       Industry Co., Ltd.

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  1    and FIH Mobile       agreements and related issues and activities, topics discussed
       Ltd.                 at deposition, and matters relating to Qualcomm’s claims.
  2
       No. 66, Zhongshan
  3    Road, Tucheng
       Industrial Zone,
  4
       Tucheng District,
  5    New Taipei City,
       Taiwan
  6
  7    Huang, Justin        Apple and the CMs expect Mr. Huang to testify about
       Contact through      Foxconn’s license agreements with and royalty reporting to
  8                         entities, including Qualcomm, and related issues; Foxconn’s
       counsel for the
  9    CMs                  corporate history and structure; Foxconn’s manufacturing
                            and product development activities and business strategy;
 10    Hon Hai Precision    Foxconn’s business relationship and interactions with its
 11    Industry Co., Ltd.   customers and other entities; topics discussed at deposition;
       and FIH Mobile       and matters relating to Qualcomm’s claims.
 12    Ltd.
 13    No. 66, Zhongshan
       Road, Tucheng
 14
       Industrial Zone,
 15    Tucheng District,
       New Taipei City,
 16
       Taiwan
 17
       Bai, Jessie        Apple and the CMs expect Ms. Bai to testify about
 18
       Contact through Pegatron’s chip procurement activities; Pegatron’s product
 19    counsel for the    development and manufacturing activities; Pegatron’s
       CMs                agreements with component suppliers, including Qualcomm;
 20                       Pegatron’s business relationship and interactions with its
 21    Pegatron           customers and other entities; Pegatron’s corporate history
       Corporation        and structure; topics discussed at deposition; and matters
 22
       5F, No. 76, Ligong relating to Qualcomm’s claims.
 23    Street, Beitou
 24    District, Taipei
       City 112, Taiwan
 25
 26    Chao, Lily           Apple and the CMs expect Ms. Chao to testify about
       Contact through      Pegatron’s license and other agreements, including with
 27                         Qualcomm, and related issues; Pegatron’s royalty payments
       counsel for the
 28    CMs                  and reporting; Qualcomm’s audit disputes with Pegatron;
                            Pegatron’s product development and manufacturing

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  1    Pegatron           activities; Pegatron’s interactions with governmental
       Corporation        agencies investigating Qualcomm; Pegatron’s corporate
  2
       5F, No. 76, Ligong history and structure; Pegatron’s business relationship and
  3                       interactions with its customers and other entities; topics
       Street, Beitou     discussed at deposition; and matters relating to Qualcomm’s
  4    District, Taipei   claims.
       City 112, Taiwan
  5
  6    Liu, Brenda        Apple and the CMs expect Ms. Liu to testify about
       Contact through Pegatron’s corporate history and structure; Pegatron’s
  7                       product development and manufacturing activities;
       counsel for the
  8    CMs                Pegatron’s business relationship and interactions with its
                          customers and other entities, including Apple; Pegatron’s
  9    Pegatron           patent license and other agreements with Qualcomm, and
       Corporation        related issues; Qualcomm’s audit disputes with Pegatron;
 10
       5F, No. 76, Ligong Pegatron’s interactions with governmental agencies
 11                       investigating Qualcomm; topics discussed at deposition; and
       Street, Beitou
 12                       matters relating to Qualcomm’s claims.
       District, Taipei
 13    City 112, Taiwan

 14    Wang, Renee        Apple and the CMs expect Ms. Wang to testify about
 15    Contact through Pegatron’s patent license and other agreements, including
       counsel for the    with Qualcomm, and related issues; Pegatron’s royalty
 16    CMs                payments and reporting; Qualcomm’s audit disputes with
                          Pegatron; Pegatron’s interactions with governmental
 17    Pegatron           agencies; Pegatron’s corporate history and structure; topics
 18    Corporation        discussed at deposition; and matters relating to Qualcomm’s
 19    5F, No. 76, Ligong claims.

 20    Street, Beitou
       District, Taipei
 21    City 112, Taiwan
 22    Yao, Denese          Apple and the CMs expect Ms. Yao to testify about
 23    Contact through      Pegatron’s product development and manufacturing
       counsel for the      activities; Pegatron’s business relationship and interactions
 24                         with its customers and other entities; Pegatron’s corporate
       CMs
 25                         history and structure; topics discussed at deposition; and
       Pegatron             matters relating to Qualcomm’s claims.
 26    Corporation
 27    5F, No. 76, Ligong
 28


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  1    Street, Beitou
       District, Taipei
  2    City 112, Taiwan
  3    Huang, Eric         Apple and the CMs expect Mr. Huang to testify about
  4    Contact through Wistron’s patent license and other agreements, including
       counsel for the     with Qualcomm, and related issues (including negotiation of
  5                        Wistron’s patent license agreement with Qualcomm);
       CMs
  6                        Wistron’s manufacturing and product development activities;
       Wistron             discussions regarding choice of modem chips for cellular
  7    Corporation         devices; Wistron’s chip procurement activities; Wistron’s
  8    21F, No. 88, Sec. R&D with respect to cellular mobile devices; Wistron’s
  9    1, Hsintai 5th Rd., business relationship and interactions with its customers and
       Hsichih, New        other entities; Wistron’s corporate structure and history;
 10    Taipei City 22181, topics discussed at deposition; and matters relating to
       Taiwan              Qualcomm’s claims.
 11
 12    Shen, David           Apple and the CMs expect Mr. Shen to testify about
       Contact through       Wistron’s product development and manufacturing activities;
 13                          Wistron’s business relationship and interactions with its
       counsel for the
 14    CMs                   customers and other entities; Wistron’s patent license
                             agreement with Qualcomm and related issues (including
 15    Wistron               royalties and negotiation or renegotiation of such license);
 16    Corporation           Wistron’s corporate history and structure; topics discussed at
       21F, No. 88, Sec.     deposition; and matters relating to Qualcomm’s claims.
 17
       1, Hsintai 5th Rd.,
 18    Hsichih, New
 19    Taipei City 22181,
       Taiwan
 20
       Wang, Selena          Apple and the CMs expect Ms. Wang to testify about
 21                          Wistron’s manufacturing and product development activities,
       Contact through
 22    counsel for the       including of Apple products; Wistron’s business relationship
       CMs                   and interactions with its customers and other entities;
 23                          Wistron’s patent license agreement with entities, including
 24    Wistron               Qualcomm, and related issues; topics discussed at deposition;
       Corporation           and matters relating to Qualcomm’s claims.
 25
       21F, No. 88, Sec.
 26    1, Hsintai 5th Rd.,
       Hsichih, New
 27
       Taipei City 22181,
 28    Taiwan


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  1    Ma, Eric (by       Topics discussed at deposition.
       deposition)
  2
  3    Tien, Shawn (by    Topics discussed at deposition.
       deposition)
  4
  5             QUALCOMM CURRENT AND FORMER EMPLOYEES

  6    Achour, Baaziz     Apple and the CMs expect Mr. Achour to testify about
  7    5775 Morehouse     Qualcomm’s modem chip engineering; competition in the
       Dr., San Diego,    relevant markets for baseband processor chipsets; alleged
  8                       business justifications for Qualcomm’s conduct and
       CA 92121
  9                       contractual provisions, including the absence of any
       (858) 845-4100     justification for exclusivity with Apple; Qualcomm’s “no
 10                       license, no chips” policy; competitive effects and causation;
 11                       topics discussed at deposition; and matters relating to
                          Qualcomm’s counterclaims.
 12
 13    Altman, Jeff       Apple and the CMs expect Mr. Altman to testify about
       5775 Morehouse     Qualcomm’s business model, practices, procedures,
 14                       operations, revenues, profits and costs; Qualcomm’s business
       Dr., San Diego,
 15    CA 92121           practices and objectives regarding WiMAX; Qualcomm’s
                          “no license, no chips” policy; Qualcomm’s licensing of
 16    (858) 845-4100     cellular SEPs and other patents, and its views on licensing
 17                       and FRAND; Qualcomm’s use of “strategic funds”,
                          “marketing funds”, and other rebates; Qualcomm’s
 18                       relationships with Authorized Purchasers; Qualcomm’s sales
 19                       or licensing agreements with licensees, Apple, or other
                          device manufacturers; Qualcomm’s interactions with
 20                       potential and actual customers and licensees, including
 21                       Apple, VIA Telecom, and MediaTek; topics discussed at
                          deposition; and topics related to Qualcomm’s counterclaims.
 22
       Altman, Steven     Apple and the CMs expect Mr. Altman to testify about
 23
       AJL Investments,   Qualcomm’s IP strategy, including its “no license, no chips”
 24                       policy; Qualcomm’s business model, practices, procedures,
       LLC
 25                       operations, revenues, profits and costs; Qualcomm’s sales or
       18386 Santa        licensing agreements with licensees, Apple, or other device
 26    Eugenia St,        manufacturers; Qualcomm’s concerns about Intel and other
       Fountain           potential and actual competitors as a competitive threat, and
 27    Valley, CA 92708   measures taken in response to that threat; topics discussed at
 28    (714) 593-6409     deposition; and topics related to Qualcomm’s counterclaims.


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  1    Blecker, Marvin   Apple and the CMs expect Mr. Blecker to testify about the
       12824 Silver      negotiation of agreements with Apple, including the
  2
       Acacia Place, San Marketing Incentive Agreement; Qualcomm’s business
  3    Diego 92130       practices and objectives regarding WiMAX; Qualcomm’s
                         “no license, no chips” policy; Qualcomm’s use of marketing
  4    Telephone number funds, strategic funds, incentive funds, and other rebates;
  5    unknown           Qualcomm’s licensing of cellular SEPs and other patents,
                         and its views on licensing and FRAND; Qualcomm’s
  6
                         attempts to evade patent exhaustion; the relationship between
  7                      Qualcomm Inc. and other Qualcomm entities; Qualcomm’s
                         relationships with Authorized Purchasers; Qualcomm’s sales
  8
                         or licensing agreements with licensees, Apple, or other
  9                      device manufacturers; Qualcomm’s threats to cut off supply
 10                      to unlicensed customers; topics discussed at deposition; and
                         topics related to Qualcomm’s counterclaims.
 11
       Casaccia, Lorenzo   Apple and the CMs expect Mr. Casaccia to testify about
 12                        cellular standard-setting organizations and cellular standards;
       Avenida de
 13    Europa 4, Planta    Qualcomm’s contributions to cellular technology, its
       Baja B Edificio     opinions thereof, and the correctness of those opinions;
 14                        topics discussed at deposition; and topics related to
       Bruselas, Parque
 15    Empresarial La      Qualcomm’s counterclaims.
 16    Maraleja, Madrid,
       28108, Spain
 17
       +39-06-49218121
 18
       Chae-Banks,         Apple and the CMs expect Mr. Chae-Banks to testify about
 19
       Yunhui              Qualcomm’s business relationship with the CMs, including
 20    5775 Morehouse      the negotiation of the CMs’ SULAs; Qualcomm’s “no
       Dr., San Diego,     license, no chips” policy; and topics discussed at deposition.
 21
       CA 92121
 22
       (858) 845-4100
 23
       Chen, Liren         Apple and the CMs expect Mr. Chen to testify about
 24
       5775 Morehouse      Qualcomm’s patent portfolio, including its categorization,
 25    Dr., San Diego,     rating, and tracking of patents; comparisons of Qualcomm’s
       CA 92121            patent portfolio to the portfolios of other companies;
 26
                           Qualcomm’s technical-claim-chart information provided to
 27    (858) 845-4100      Apple during licensing negotiations; Qualcomm’s attempts to
 28


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  1                      evade patent exhaustion; topics discussed at deposition; and
                         topics related to Qualcomm’s counterclaims.
  2
       Dwight, Deborah   Apple and the CMs expect Ms. Dwight to testify about
  3                      Qualcomm’s business relationship with the CMs, including
       5775 Morehouse
  4    Dr., San Diego,   the negotiation of the CMs’ SULAs; Qualcomm’s “no
       CA 92121          license, no chips” policy; topics discussed at deposition; and
  5                      topics related to Qualcomm’s counterclaims.
  6    (858) 845-4100

  7    Grob, Matthew     Apple and the CMs expect Mr. Grob to testify about
       XCOM              Qualcomm’s strategy regarding cellular technology and
  8
                         standards, the inventorship, conception, reduction to practice;
  9    9530 Towne        diligence in reduction to practice of the purported invention
       Centre Dr., San   disclosed and claimed in United States Patent No. 6,556,549;
 10    Diego, CA 92121   the claimed subject matter of this patent; the construction of
 11                      the claims of this patent; the prior art to this patent and the
                         state of the art at the time the alleged invention was made;
 12
                         the prosecution of the application that led to this patent;
 13                      topics discussed at deposition; and topics related to
                         Qualcomm’s counterclaims.
 14
 15
       Gupta, Kirti      Apple and the CMs expect Ms. Gupta to testify about
 16                      Qualcomm’s forward citation methodology and its
       5775 Morehouse
 17    Dr., San Diego,   conversations and advocacy regarding this methodology;
       CA 92121          Qualcomm’s business model, practices, procedures,
 18                      operations, revenues, profits and costs; competition in the
       (858) 845-4100    relevant markets for baseband processor chipsets; licensing
 19
                         of cellular SEPs or other patents; Qualcomm’s sales to or
 20                      licensing agreements with licensees, Apple, or other device
 21                      manufacturers; Qualcomm’s “no license, no chips” policy;
                         topics discussed at deposition; and topics related to
 22                      Qualcomm’s counterclaims.
 23
       Han, John         Apple and the CMs expect Mr. Han to testify about
 24    5775 Morehouse    Qualcomm’s business model, practices, procedures,
       Dr., San Diego,   operations, revenues, profits and costs; Qualcomm’s “no
 25
       CA 92121          license, no chips” policy; Qualcomm’s sales or licensing
 26                      agreements with licensees, Apple, or other device
       (858) 845-4100    manufacturers; Qualcomm’s licensing practices for cellular
 27
                         and Wi-Fi patents; Qualcomm’s use of marketing funds,
 28                      strategic funds, incentive funds, and other rebates; changes to


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  1                        Qualcomm’s business practices; topics discussed at
                           deposition; and topics related to Qualcomm’s counterclaims.
  2
       Lederer, Jim        Apple and the CMs expect Mr. Lederer to testify about
  3                        Qualcomm’s business model, practices, procedures,
       Entegris, Inc.
  4                        operations, revenues, profits and costs; Qualcomm’s “no
       325 N Wiget Ln      license, no chips” policy; Qualcomm’s sales and business
  5    #140, Walnut        practices relating to baseband processor chipsets;
  6    Creek, CA 94598     competition in the relevant markets for baseband processor
       (800) 394-4083      chipsets; Qualcomm’s use of marketing funds, strategic
  7
                           funds, incentive funds, and other rebates; the allocation of
  8                        these funds between QTL and QCT; Qualcomm’s
                           relationships with Authorized Purchasers; Qualcomm’s sales
  9
                           to or licensing agreements with licensees, Apple, or other
 10                        device manufacturers; the importance to Qualcomm of
                           having Apple as a customer; topics discussed at deposition;
 11
                           and topics related to Qualcomm’s counterclaims.
 12
       Martin, Roger       Apple and the CMs expect Mr. Martin to testify about
 13                        Qualcomm’s patent portfolio, including its categorization,
       Enduragive
 14                        rating, and tracking of patents; Qualcomm’s use of forward
       1220 Pacific Ln.,   citations to evaluate the value of Qualcomm’s patents;
 15    Del Mar, CA         Qualcomm’s “no license, no chips” policy; cellular SSOs and
       92121               intellectual property rights policies; patent essentiality,
 16
                           exhaustion, infringement, ownership, scope and validity;
 17                        Qualcomm’s licensing strategy and practices; topics
 18                        discussed at deposition; and topics related to Qualcomm’s
                           counterclaims.
 19
 20    Mehta, Sanjay       Apple and the CMs expect Mr. Mehta to testify about
       5775 Morehouse      Qualcomm’s business model, practices, procedures,
 21                        operations, revenues, profits and costs; Qualcomm’s “no
       Dr., San Diego,
 22    CA 92121            license, no chips” policy; Qualcomm’s licensing of cellular
                           SEPs and other patents, and its views on licensing and
 23    (858) 845-4100      FRAND; Qualcomm’s sales and business practices relating
 24                        to baseband processor chipsets and licensing; the relationship
                           between Qualcomm Inc. and other Qualcomm entities;
 25                        competition in the relevant markets for baseband processor
 26                        chipsets; Qualcomm’s sales to or licensing agreements with
                           licensees, Apple, or other device manufacturers; topics
 27                        discussed at deposition; and topics related to Qualcomm’s
 28                        counterclaims.


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  1    Pilgram, Ryan       Apple and the CMs expect Mr. Pilgram to testify about
       5775 Morehouse      Qualcomm’s audits and royalty examinations of the CMs;
  2
       Dr., San Diego,     Qualcomm’s audit disputes with the CMs and Apple;
  3    CA 92121            Pricewaterhouse Cooper’s activities as Qualcomm’s auditor;
                           Qualcomm’s oversight of its auditors’ activities; topics
  4    (858) 845-4100      discussed at deposition; and topics related to Qualcomm’s
  5                        counterclaims.
  6    Qian, Kun           Apple and the CMs expect Mr. Qian to testify about
  7    5775 Morehouse      Qualcomm’s business model, practices, procedures,
       Dr., San Diego,     operations, revenues, profits and costs; Qualcomm’s “no
  8                        license, no chips” policy; the uniqueness of Qualcomm’s
       CA 92121
  9                        business model; Qualcomm’s sales and business practices
       (858) 845-4100      relating to baseband processor chipsets and licensing;
 10                        competition in the relevant markets for baseband processor
 11                        chipsets; Qualcomm’s sales or licensing agreements with
                           licensees, Apple, or other device manufacturers; topics
 12                        discussed at deposition; and topics related to Qualcomm’s
 13                        counterclaims.
 14    Robinson, Hank   Apple and the CMs expect Mr. Robinson to testify about
 15    HSR Tech Advisor Qualcomm’s business model, practices, procedures,
       Inc.             operations, revenues, profits and costs; Qualcomm’s “no
 16                     license, no chips” policy; Qualcomm’s licensing of cellular
       1810 E Sahara    SEPs and other patents, and its views on licensing and
 17    Ave Ste 214, Las FRAND; Qualcomm’s use of incentives, including chipset
 18    Vegas, 89104 NV purchase incentives, and the relationship thereof to royalties;
 19                     the relationship between Qualcomm Inc. and other
                        Qualcomm entities; competition in the relevant markets for
 20                     baseband processor chipsets; Qualcomm’s concerns and
 21                     beliefs about Intel and other actual and potential competitors
                        as a competitive threat, and actions taken as a result; the
 22                     anticompetitive effects of Qualcomm’s royalties and pricing
 23                     policies; Qualcomm’s relationships with Authorized
                        Purchasers; Qualcomm’s sales or licensing agreements with
 24                     licensees, Apple, or other device manufacturers;
 25                     Qualcomm’s patents; topics discussed at deposition; and
                        topics related to Qualcomm’s counterclaims.
 26
       Rogers, Alex        Apple and the CMs expect Mr. Rogers to testify about
 27
                           Qualcomm’s decision to withhold BCP Payments from
 28                        Apple in 2016; Qualcomm’s demand that Apple alter its


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  1    5775 Morehouse    testimony to the KFTC in exchange for release of the BCP
       Dr., San Diego,   Payments; Qualcomm’s business model, practices,
  2    CA 92121          procedures, operations, revenues, profits and costs;
  3    (858) 845-4100    Qualcomm’s “no license, no chips” policy; Qualcomm’s
                         licensing of cellular SEPs and other patents, and its views on
  4                      licensing and FRAND; the value of Qualcomm’s patents;
  5                      Qualcomm’s royalty rates and practices the relationship
                         between Qualcomm Inc. and other Qualcomm entities;
  6                      Qualcomm’s relationships with Authorized Purchasers;
  7                      Qualcomm’s sales or licensing agreements with licensees,
                         Apple, or other device manufacturers; Qualcomm’s patents,
  8                      topics discussed at deposition; and topics related to
  9                      Qualcomm’s counterclaims.

 10    Rosenberg,        Apple and the CMs expect Mr. Rosenberg to testify about
       Donald            Qualcomm’s business model, practices, procedures,
 11
       5775 Morehouse    operations, revenues, profits and costs; Qualcomm’s “no
 12    Dr., San Diego,   license, no chips” policy; the uniqueness of Qualcomm’s
       CA 92121          business model; Qualcomm’s licensing of cellular SEPs and
 13
                         other patents, and its views on licensing and FRAND;
 14    (858) 845-4100    Qualcomm’s lobbying and PR efforts before and during
                         litigation with Apple; Qualcomm’s relationships with foreign
 15
                         companies; law enforcement agencies’ investigations of
 16                      Qualcomm; the relationship between Qualcomm Inc. and
                         other Qualcomm entities; Qualcomm’s withholding of BCP
 17
                         Payments to Apple; Qualcomm’s relationships with
 18                      Authorized Purchasers; Qualcomm’s sales or licensing
                         agreements with licensees, Apple, or other device
 19
                         manufacturers; Qualcomm’s patents; topics discussed at
 20                      deposition; and topics related to Qualcomm’s counterclaims.
 21    Saam, Henry       Apple and the CMs expect Mr. Saam to testify about
 22    5775 Morehouse    Qualcomm’s competitive analyses regarding cellular
       Dr., San Diego,   products, product planning, roadmap planning, and potential
 23                      competitors including MediaTek; Qualcomm’s business
       CA 92121
 24                      model, practices, procedures, operations, revenues, profits
       (858) 845-4100    and costs; Qualcomm’s “no license, no chips” policy;
 25                      Qualcomm’s sales and business practices relating to
 26                      baseband processor chipsets and licensing; the relationship
                         between Qualcomm Inc. and other Qualcomm entities;
 27                      competition in the relevant markets for baseband processor
 28                      chipsets; licensing of cellular SEPs or other patents;


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  1                         Qualcomm’s sales to or licensing agreements with licensees,
                            Apple, or other device manufacturers; topics discussed at
  2                         deposition; and topics related to Qualcomm’s counterclaims.
  3    Thompson, James      Apple and the CMs expect Mr. Thompson to testify about
  4    5775 Morehouse       Qualcomm’s R&D, marketing, and commercialization of
       Dr., San Diego,      cellular chipsets; Qualcomm’s baseband processor chipset
  5                         roadmaps; competition in the relevant markets for baseband
       CA 92121
  6                         chipsets; Qualcomm’s “no license, no chips” policy; the
       (858) 845-4100       impact of QTL’s practices on QCT; Qualcomm’s chipset
  7
                            engineering and related customer support; topics discussed at
  8                         deposition; and topics related to Qualcomm’s counterclaims.
  9    Tiedemann,           Apple and the CMs expect Mr. Tiedemann to testify about
 10    Edward               Qualcomm’s interactions with SSOs and contribution to
       5775 Morehouse       cellular standards; Qualcomm’s decision to support CDMA-
 11                         based technologies instead of OFDM-based technologies;
       Dr., San Diego,
 12    CA 92121             topics discussed at deposition; and topics related to
                            Qualcomm’s counterclaims.
 13    (858) 845-4100
 14    Willenegger,         Apple and the CMs expect Mr. Willenegger to testify about
 15    Serge                Qualcomm’s cellular chipset licensing practices;
       5775 Morehouse       Qualcomm’s cellular intellectual property rights policies;
 16                         topics discussed at deposition; and topics related to
       Dr., San Diego,
 17    CA 92121             Qualcomm’s counterclaims.
 18    (858) 845-4100
 19    Attar, Rashid (by deposition)                 Topics discussed at deposition.
 20
       Au, Jean Put Ling (by deposition)             Topics discussed at deposition.
 21
       Bender, Paul E. (by deposition)               Topics discussed at deposition.
 22
 23    Bharadwaj, Arjun (by deposition)              Topics discussed at deposition.

 24    Bhushan, Naga (by deposition)                 Topics discussed at deposition.
 25    Blanz, Josef J. (by deposition)               Topics discussed at deposition.
 26
       Cathey, James (by deposition)                 Topics discussed at deposition.
 27
       Chandrasekher, Anand (by deposition)          Topics discussed at deposition.
 28


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  1    Chen, Victoria (by deposition)               Topics discussed at deposition.
  2    Chun, Miran (by deposition)                  Topics discussed at deposition.
  3
       Cobb, Greg (by deposition)                   Topics discussed at deposition.
  4
       Davis, George (by deposition)                Topics discussed at deposition.
  5
  6    Dickey, Cliff (by deposition)                Topics discussed at deposition.

  7    Dill, Roel (by deposition)                   Topics discussed at deposition.
  8    Doh, James (by deposition)                   Topics discussed at deposition.
  9
       Dwight, Deborah (by deposition)              Topics discussed at deposition.
 10
       Escott, Adrian (by deposition)               Topics discussed at deposition.
 11
 12    Esteves, Eduardo A. S. (by deposition)       Topics discussed at deposition.

 13    Gorokhov, Alexei (by deposition)             Topics discussed at deposition.
 14    Hahn, Harold (by deposition)                 Topics discussed at deposition.
 15    Hartogs, Michael (by deposition)             Topics discussed at deposition.
 16
       Jha, Sanjay (by deposition)                  Topics discussed at deposition.
 17
       Katouzian, Alex (by deposition)              Topics discussed at deposition.
 18
 19    Kressin, Keith (by deposition)               Topics discussed at deposition.
 20    Lopez-Hodoyan, Mauricio (by deposition)      Topics discussed at deposition.
 21    Lott, Christopher Gerard (by deposition)     Topics discussed at deposition.
 22
       Lupin, Louis (by deposition)                 Topics discussed at deposition.
 23
       Morris, Anthony (by deposition)              Topics discussed at deposition.
 24
 25    Nash, David (by deposition)                  Topics discussed at deposition.

 26    Olsen, Amy (by deposition)                   Topics discussed at deposition.
 27    Padovani, Roberto (by deposition)            Topics discussed at deposition.
 28


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  1    Pandya, Sandeep (by deposition)               Topics discussed at deposition.
  2    Roberts, Brandon (by deposition)              Topics discussed at deposition.
  3
       Rouse, Thomas R. (by deposition)              Topics discussed at deposition.
  4
       Sambhwani, Sharad Deepak (by deposition)      Topics discussed at deposition.
  5
  6    Samimi, Abbaseh (by deposition)               Topics discussed at deposition.

  7    Schieffelin, Pamela (by deposition)           Topics discussed at deposition.
  8    Sinder, Daniel (by deposition)                Topics discussed at deposition.
  9
       Skiver, Gerald (by deposition)                Topics discussed at deposition.
 10
       Teague, Edward Harrison (by deposition)       Topics discussed at deposition.
 11
 12    Thoreson, Gunnar (by deposition)              Topics discussed at deposition.

 13    Tibbits, Nathan (by deposition)               Topics discussed at deposition.
 14    Wadrzyk, Mark (by deposition)                 Topics discussed at deposition.
 15    Weiser, Jonathan (by deposition)              Topics discussed at deposition.
 16
       Wyatt, William (by deposition)                Topics discussed at deposition.
 17
                               THIRD-PARTY WITNESSES
 18
 19    Blaylock, Richard  Apple and the CMs expect Mr. Blaylock to testify about
 20    Pillsbury Winthrop Qualcomm’s licensing practices and threats to cut off supply
 21    Shaw Pittman LLP of baseband processor chipsets to customers who do not sign
                          licenses; licensing practices in the cellular industry;
       12255 El Camino competition in the relevant markets for baseband processor
 22
       Real #300, San     chipsets; Qualcomm’s policies and practices relating to the
 23    Diego, CA 92130 sale and licensing of baseband processor chipsets and the
 24    (585) 509-4000     competitive effects thereof, the anticompetitive effects of
                          Qualcomm’s practices on ZTE; and topics discussed at
 25                       deposition.
 26
       Constantine,        Apple and the CMs expect Mr. Constantine to testify about
 27    Kevin               Intel’s ability to meet Apple’s baseband chipset
 28    Intel               requirements; the benefits to Intel from doing business with
                           Apple, licensing practices in the cellular industry; baseband

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  1    2200 Mission          processor chipset engineering; competition in the relevant
       College Blvd.         markets for baseband processor chipsets; Qualcomm’s
  2                          policies and practices relating to the sale and licensing of
       Santa Clara, CA
  3    95054                 baseband processor chipsets and the competitive effects
                             thereof; the anticompetitive effects of Qualcomm’s practices
  4    (408) 765-8080        on Intel; and topics discussed at deposition.
  5    Ding, Jianxin         Apple and the CMs expect Mr. Ding to testify about
  6    (Jason)               Qualcomm’s licensing negotiations with Huawei and
       Huawei/HiSilicon      Qualcomm’s threats to cut off baseband chipset supply
  7
                             unless Huawei agreed to sign a license; licensing practices in
  8    Section H, Huawei     the cellular industry; baseband processor chipset engineering;
       Industrial Base,      competition in the relevant markets for baseband processor
  9    Bantian, Longgang     chipsets; Qualcomm’s policies and practices relating to the
 10    District, Shenzhen,   sale and licensing of baseband processor chipsets and the
       Guangdong             competitive effects thereof; the anticompetitive effects of
 11    518129                Qualcomm’s practices on Huawei; and topics discussed at
 12    86-755-2878-0808      deposition.
 13    Grubbs, John          Apple and the CMs expect Mr. Grubbs to testify about
 14    BlackBerry            Qualcomm’s licensing negotiations with Blackberry; the
                             supra-FRAND terms of Blackberry’s SULA; Blackberry’s
 15    5030 Riverside        valuation of Qualcomm’s SEPs; licensing practices in the
 16    Dr., Irving, TX       cellular industry; competition in the relevant markets for
       75039                 baseband processor chipsets; Qualcomm’s policies and
 17                          practices relating to the sale and licensing of baseband
       (972) 373-1700
 18                          processor chipsets and the competitive effects thereof; the
                             anticompetitive effects of Qualcomm’s practices on
 19
                             Blackberry; and topics discussed at deposition.
 20
       Hong, Eushuk          Apple and the CMs expect Mr. Hong to testify about
 21    (Andrew)              Qualcomm’s refusal to provide Samsung a chipset-level
 22    Samsung               license and its impact on Samsung’s modem development;
                             Qualcomm’s conditioning any agreement on delayed entry
 23    129 Samsung-Ro,       by Samsung and other conditions; licensing practices in the
       Yeongtong-gu,         cellular industry; baseband processor chipset engineering;
 24
       Suwon-si,             competition in the relevant markets for baseband processor
 25    Gyeonggi-do,          chipsets; Qualcomm’s policies and practices relating to the
       South Korea           sale and licensing of baseband processor chipsets and the
 26
       16677                 competitive effects thereof; the anticompetitive effects of
 27    82-32-279-0962        Qualcomm’s practices on Samsung; and topics discussed at
 28                          deposition.


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  1    Keddy, Asha       Apple and the CMs expect Ms. Keddy to testify about Intel’s
       Intel             involvement in the SSO process and its development and
  2
                         leadership in 4G and 5G technologies; WiMAX and
  3    2200 Mission      Qualcomm’s efforts to impede its adoption; licensing
       College Blvd.,    practices in the cellular industry; baseband processor chipset
  4    Santa Clara, CA   engineering; competition in the relevant markets for
  5    95054             baseband processor chipsets; Qualcomm’s policies and
       (408) 765-8080    practices relating to the sale and licensing of baseband
  6
                         processor chipsets and the competitive effects thereof; the
  7                      anticompetitive effects of Qualcomm’s practices on Intel;
                         and topics discussed at deposition.
  8
  9    Kim, Yooseok      Apple and the CMs expect Mr. Kim to testify about
       Samsung           Qualcomm’s refusal to provide Samsung a chipset-level
 10                      license and its impact on Samsung’s modem development;
 11    129 Samsung-Ro,   Qualcomm’s conditioning any agreement on delayed entry
       Yeongtong-gu,     by Samsung and other conditions; Qualcomm’s lawsuit
 12    Suwon-si,         against Meizu in retaliation for Meizu’s decision to source
 13    Gyeonggi-do,      baseband chipsets from Samsung; licensing practices in the
       South Korea       cellular industry; baseband processor chipset engineering;
 14    16677             competition in the relevant markets for baseband processor
 15    82-32-279-0962    chipsets; Qualcomm’s policies and practices relating to the
                         sale and licensing of baseband processor chipsets and the
 16                      competitive effects thereof; the anticompetitive effects of
 17                      Qualcomm’s practices on Samsung; and topics discussed at
                         deposition.
 18
 19    Lee, Injung       Apple and the CMs expect Mr. Lee to testify about
       Samsung           Qualcomm’s refusal to provide Samsung a chipset-level
 20                      license and its impact on Samsung’s modem development;
       129 Samsung-Ro,   licensing practices in the cellular industry; baseband
 21
       Yeongtong-gu,     processor chipset engineering; competition in the relevant
 22    Suwon-si,         markets for baseband processor chipsets; Qualcomm’s
       Gyeonggi-do,      policies and practices relating to the sale and licensing of
 23
       South Korea       baseband processor chipsets and the competitive effects
 24    16677             thereof; the anticompetitive effects of Qualcomm’s practices
 25    82-32-279-0962    on Samsung; and topics discussed at deposition.
 26    Lindner, Thomas   Apple and the CMs expect Mr. Lindner to testify about the
 27    Intel             benefits of working with Apple; Intel’s role in the CDMA
                         market; differences between Qualcomm’s and other
 28                      licensors’ approaches to licensing; licensing practices in the


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  1    Südwestpark 2-4,     cellular industry; baseband processor chipset engineering,
       90449 Nürnberg,      competition in the relevant markets for baseband processor
  2    Germany              chipsets; Qualcomm’s policies and practices relating to the
  3    +49 911 37880        sale and licensing of baseband processor chipsets and the
                            competitive effects thereof; the anticompetitive effects of
  4                         Qualcomm’s practices on Intel; and topics discussed at
  5                         deposition.

  6    Maghame,             Apple and the CMs expect Ms. Maghame to testify about
       Taraneh              Apple’s licensing framework; the FRAND promise and its
  7
       Via Licensing        interpretation in the industry; the evolution of Apple’s
  8                         approach to SEP licensing; licensing practices in the cellular
       456 Montgomery       industry, including changes thereof over time; baseband
  9    St, San Francisco,   processor chipset engineering, competition in the relevant
 10    CA 94104             markets for baseband processor chipsets; Qualcomm’s
       (415) 645-4700       policies and practices relating to the sale and licensing of
 11
                            baseband processor chipsets and the competitive effects
 12                         thereof; the anticompetitive effects of Qualcomm’s practices
                            on VIA; and topics discussed at deposition.
 13
 14    Renduchintala,       Apple and the CMs expect Mr. Renduchintala to testify about
       Murthy               Qualcomm’s business model, practices, procedures,
 15                         operations, revenues, profits and costs; the anticompetitive
       Accenture
 16                         effects of Qualcomm’s practices on Intel; Qualcomm’s
       415 Mission St       licensing of cellular SEPs and other patents, and its views on
 17    floor 35, San        licensing and FRAND; competition in the relevant markets
 18    Francisco, CA        for baseband processor chipsets; Qualcomm’s relationships
       94105                with Authorized Purchasers; Qualcomm’s sales to or
 19                         licensing agreements with licensees, Apple, or other device
       (415) 537-5000
 20                         manufacturers; and topics discussed at deposition.
 21    Talla, Deepu         Apple and the CMs expect Mr. Talla to testify about
 22    NVIDIA               competition or the absence thereof in the baseband chipset
                            market; the reasons for Nvidia’s exit from the market;
 23    2730 San Tomas       Qualcomm’s dominance in the CDMA chipset market; the
       Expy., Santa         importance of Apple as a customer; licensing practices in the
 24    Clara, CA 95051      cellular industry; baseband processor chipset engineering;
 25    (408) 486-2000       competition in the relevant markets for baseband processor
 26                         chipsets; Qualcomm’s policies and practices relating to the
                            sale and licensing of baseband processor chipsets and the
 27                         competitive effects thereof; the anticompetitive effects of
 28


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  1                         Qualcomm’s practices on Nvidia, and topics discussed at
                            deposition.
  2
       Ahn, Seung Ho (by deposition)                Topics discussed at deposition.
  3
  4    Bhushan, Mohit (by deposition)               Topics discussed at deposition.

  5    Cheng, Xuxin (by deposition)                 Topics discussed at deposition.
  6    Efstathiou, Chris (by deposition)            Topics discussed at deposition.
  7
       Eul, Hermann (by deposition)                 Topics discussed at deposition.
  8
       Hayter, Dana (by deposition)                 Topics discussed at deposition.
  9
 10    Johnson, Christopher (by deposition)         Topics discussed at deposition.

 11    Kalkman, John (by deposition)                Topics discussed at deposition.
 12    Kang, Hojin (Alex) (by deposition)           Topics discussed at deposition.
 13
       Loh, Kou-Hung (Lawrence) (by deposition)     Topics discussed at deposition.
 14
       Martikainen, Susanna (by deposition)         Topics discussed at deposition.
 15
 16    Miller, Todd (by deposition)                 Topics discussed at deposition.

 17    McElvaine, Ranae (by deposition)             Topics discussed at deposition.
 18    McGregor, Scott (by deposition)              Topics discussed at deposition.
 19    Murray, Owen (by deposition)                 Topics discussed at deposition.
 20
       Petersson, Christina (by deposition)         Topics discussed at deposition.
 21
       Rahnasto, Ilkka (by deposition)              Topics discussed at deposition.
 22
 23    Rango, Robert (by deposition)                Topics discussed at deposition.
 24    Rubin, Andy (by deposition)                  Topics discussed at deposition.
 25    Shen Nan (Spencer) (by deposition)           Topics discussed at deposition.
 26
       Tonini, Pamela (by deposition)               Topics discussed at deposition.
 27
       Varadarajan, Godavarthi (by deposition)      Topics discussed at deposition.
 28


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  1    Wang, Li Qiang (Richard) (by deposition)     Topics discussed at deposition.
  2    Weiler, Dirk (by deposition)                 Topics discussed at deposition.
  3
       Wolff, Stefan (by deposition)                Topics discussed at deposition.
  4
       Yu, Nanfen (Nancy) (by deposition)           Topics discussed at deposition.
  5
  6    Zander, Martin (by deposition)               Topics discussed at deposition.

  7                                   EXPERT WITNESSES
  8    Akl, Robert       Apple and the CMs expect Dr. Akl to provide rebuttal
  9    Contact through testimony, to the extent that Qualcomm’s expert William
 10    counsel for Apple Michalson is permitted to and does testify, regarding Dr.
       and the CMs       Michalson’s failure to show that 16 Qualcomm “exemplary
 11                      patents” related to the area of location tracking and location-
       Harvard           based services provide Apple, the CMs and consumers any
 12    University, 33    value, including because Dr. Michalson has not shown that
       Oxford St.,       Apple, the CMs, or any consumers use the technology of the
 13
       Cambridge, MA     16 Qualcomm “exemplary patents” and because the 16
 14    02138             “exemplary patents” are likely invalid.
 15    (617) 495-4390    Apple and the CMs further expect Dr. Akl to provide rebuttal
 16                      testimony, to the extent that Qualcomm’s expert Jeffrey
                         Andrews is permitted to and does testify, regarding Dr.
 17                      Andrews’s failure to show that 34 Qualcomm “exemplary
 18                      patents” related to the areas of waveform, carrier
                         aggregation, heterogeneous networks, and unlicensed
 19                      spectrum are particularly fundamental and/or important to
 20                      any telecommunications standard, including because Dr.
                         Andrews has not shown that the technology of the
 21                      Qualcomm “exemplary patents” are essential to any portion
 22                      of any telecommunications standard, because the 34
                         “exemplary patents” are invalid, and/or because patents
 23                      owned by other companies are comparably fundamental
 24                      and/or important to the same areas of telecommunications
                         standards identified by Dr. Andrews.
 25
       Choi, David       Apple and the CMs expect Dr. Choi to provide rebuttal
 26
       Contact through testimony, to the extent that Qualcomm’s expert Massoud
 27    counsel for Apple Pedram is permitted to and does testify, regarding Dr.
       and the CMs       Pedram’s failure to show that 68 Qualcomm “exemplary
 28
                         patents” related to the area of power management provide

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  1    2706 Winding        Apple, the CMs or consumers any value, including because
       Trail Place,        Dr. Pedram has not shown that Apple, the CMs, or any
  2    Boulder, CO         consumers use the technology of the 68 Qualcomm
  3    80304.              “exemplary patents” and because the 68 “exemplary patents”
       (858) 352-8889      are likely invalid.
  4
  5    Lanning, Mark     Apple and the CMs expect Mr. Lanning to provide rebuttal
  6    Contact through testimony, to the extent that Qualcomm’s experts Dr. Gitlin
       counsel for Apple and Dr. Jayant are permitted to and do testify, regarding Dr.
  7    and the CMs       Gitlin’s and Dr. Jayant’s failure to show that certain of
                         Qualcomm’s SEP are essential to any cellular standard and
  8    4 Eagles Nest,    are invalid and/or not important.
  9    Greenville, TX
       75402-9027
 10
       (903) 454-3399
 11
       Rodermund,        Apple and the CMs expect Mr. Rodermund to testify
 12    Friedhelm         regarding the meaning of Qualcomm’s FRAND commitment
 13    Contact through to ETSI; the history and proper interpretation of ETSI
 14    counsel for Apple policies, including its intellectual rights policy; industry
       and the CMs       practice as it relates to the FRAND commitment; rebuttal to
 15                      Qualcomm’s experts on these topics, to the extent
       IOTECC GmbH       Qualcomm’s experts are permitted to and do testify about
 16    Am Steiner        them; and topics discussed at deposition.
 17    Graben 18, 56077
       Koblenz, Germany
 18
       +49 172 2606489
 19
 20    Sears, Andrew     Apple and the CMs expect Dr. Sears to provide rebuttal
       Contact through testimony, to the extent that Qualcomm’s expert Daniel
 21
       counsel for Apple Wigdor is permitted to and does testify, regarding Dr.
 22    and the CMs       Wigdor’s failure to show that 22 Qualcomm “exemplary
                         patents” related to the area of user interfaces and mobile
 23    332 Information   device software provide Apple, the CMs and consumers any
       Sciences and      value, including because Dr. Wigdor has not shown that
 24    Technology        Apple, the CMs, or any consumers use the technology of the
 25    Building          22 Qualcomm “exemplary patents” and because the 22
 26    University Park,  “exemplary patents” are likely invalid.
       PA 16802
 27
       (410) 802-5045
 28


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  1    Simonson, Itamar  Apple and the CMs expect Dr. Simonson to provide rebuttal
  2    Contact through testimony, to the extent Mr. Prince or Dr. Knittel is permitted
       counsel for Apple to and does testify, regarding the methodological failures of
  3    and the CMs       Mr. Prince’s conjoint study and Dr. Knittel’s failure to
                         account for market definition and brand loyalty in his
  4    Stanford Graduate comparison of iPhone and iPod touch pricing.
  5    School of
       Business, 655
  6    Knight Way,
  7    Stanford, CA
       94305
  8
       (650) 723-2146
  9
       Stevenson, Robert Apple and the CMs expect Dr. Stevenson to provide rebuttal
 10
       Contact through testimony, to the extent that Qualcomm’s expert Dr. Nikil
 11    counsel for Apple Jayant is permitted to and does testify, regarding Dr. Jayant’s
       and the CMs       failure to show that 13 Qualcomm “Evaluated Patents”
 12
                         related to the area of speech and video coding provide Apple,
 13    1961 Camp         the CMs or consumers any value, including because Dr.
       Madron Rd., Lot   Jayant has not shown that Apple, the CMs, or any consumers
 14    38, Buchanan, MI use the technology of the 13 Qualcomm “Evaluated Patents”
 15    49107             and because the 13 “Evaluated Patents” are likely invalid.
 16    (574) 339-3514

 17    Stoffel-Munck,        Apple and the CMs expect Mr. Stoffel-Munck to testify
       Philippe              about French law and the application of French law to
 18                          Qualcomm’s promises to ETSI; rebuttal to Qualcomm’s
       Contact through
 19    counsel for the       experts on these topics, to the extent Qualcomm’s experts are
       CMs                   permitted to and do testify about them; and topics discussed
 20
                             at deposition.
 21    Université de Paris
       I (Panthéon
 22    Sorbonne)
 23    12, place du
 24    Panthéon, 75005
       Paris, France
 25
       +33 01 47 00 04
 26    68
 27    Zickler, Todd         Apple and the CMs expect Dr. Zickler to provide rebuttal
 28                          testimony, to the extent that Qualcomm’s expert Ken


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  1    Contact through Parulski is permitted to and does testify, regarding Mr.
       counsel for Apple Parulski’s failure to show that 19 Qualcomm “exemplary
  2    and the CMs       patents” related to the area of digital image processing
  3    Harvard           provide Apple, the CMs and consumers any value, including
       University        because Mr. Parulski has not shown that Apple, the CMs, or
  4                      any consumers use the technology of the 19 Qualcomm
       33 Oxford St.,    “exemplary patents” and because the 19 “exemplary patents”
  5    Cambridge, MA     are likely invalid.
  6    02138
  7    (617) 495-4390
  8
  9                     2. Qualcomm (Fact Witnesses)
 10
 11                                           Subject Matter &
         Name & Address
                                            Manner of Testimony
 12   Achour, Baaziz        Qualcomm expects Mr. Achour will testify about
 13   Qualcomm Incorporated Qualcomm’s modem chip business and Qualcomm’s
      5775 Morehouse Drive modem chip relationship with Apple.
 14   San Diego, CA
 15   92121                 Mr. Achour will provide live testimony.
      Amon, Cristiano       Qualcomm expects Mr. Amon will testify about
 16   Qualcomm Incorporated Qualcomm’s modem chip business, Qualcomm’s
 17   5775 Morehouse Drive modem chip sales and competition for modem chip
      San Diego, CA         sales and Qualcomm’s business relationship with Apple
 18   92121                 and the CMs, including the negotiation, terms and/or
 19                         performance of certain contracts or potential contracts.
 20                         Mr. Amon will provide live testimony.
 21   Chae-Banks, Yunhui    Qualcomm expects Ms. Chae-Banks will testify about
      Qualcomm Incorporated Qualcomm’s business relationship with the CMs,
 22   5775 Morehouse Drive including the negotiation, terms, and/or performance of
 23   San Diego, CA         certain contracts, and Apple’s interference with the
      92121                 CMs’ performance of their contracts with Qualcomm.
 24
 25                            Ms. Chae-Banks will provide live testimony.
 26
 27
 28


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  1                                            Subject Matter &
         Name & Address
                                             Manner of Testimony
  2   Chandrasekher,          Qualcomm expects Mr. Chandrasekher will testify
  3   Anand                   about Qualcomm’s modem chip sales and competition
      c/o Qualcomm            for modem chip sales.
  4   Incorporated
  5   5775 Morehouse Drive    Mr. Chandrasekher will provide live testimony.
      San Diego, CA
  6   92121
  7   Chun, Miran             Qualcomm expects Mr. Chun will testify about
      Qualcomm Incorporated   Qualcomm’s market research, including research
  8   5775 Morehouse Drive    regarding consumer preferences.
  9   San Diego, CA
      92121                   Mr. Chun will provide live testimony.
 10   Cobb, Greg              Qualcomm expects Mr. Cobb will testify about
 11   c/o Qualcomm            Qualcomm’s business relationship with the CMs,
      Incorporated            including licensing agreements and component supply
 12   5775 Morehouse Drive    agreements.
 13   San Diego, CA
      92121                   Mr. Cobb will provide live testimony.
 14   Davis, George           Qualcomm expects Mr. Davis will testify about
 15   Qualcomm Incorporated   Qualcomm’s finances and accounting.
      5775 Morehouse Drive
 16   San Diego, CA           Mr. Davis will provide live testimony.
 17   92121
      Dickey, Cliff           Qualcomm expects Mr. Dickey will testify about
 18   Qualcomm Incorporated   Qualcomm’s licensing practices, including OEMs’
 19   5775 Morehouse Drive    payment of royalties pursuant to their license
      San Diego, CA           agreements with Qualcomm.
 20
      92121
 21                         Mr. Dickey will provide live testimony.
      Dill, Roel            Qualcomm expects Mr. Dill will testify about
 22
      Qualcomm Incorporated Qualcomm’s accounting practices and documents.
 23   5775 Morehouse Drive
      San Diego, CA         Mr. Dill will provide live testimony.
 24
      92121
 25   Doh, Jim              Qualcomm expects Mr. Doh will testify about
      c/o Qualcomm          Qualcomm’s modem chip sales and competition for
 26
      Incorporated          modem chip sales.
 27   5775 Morehouse Drive
 28   San Diego, CA         Mr. Doh will provide live testimony.
      92121

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  1                                              Subject Matter &
         Name & Address
                                               Manner of Testimony
  2   Grob, Matthew           Qualcomm expects Mr. Grob will testify about
  3   c/o Qualcomm            Qualcomm’s development of and contributions to
      Incorporated            cellular technologies and standardized cellular
  4   5775 Morehouse Drive    technologies, Qualcomm’s development of and
  5   San Diego, CA           contributions to consumer and network device
      92121                   technologies, cellular SDOs and cellular standards,
  6                           Qualcomm’s modem chipset engineering and
  7                           Qualcomm’s R&D practices.

  8                         Mr. Grob will provide live testimony.
  9   Gupta, Kirti          Qualcomm expects Dr. Gupta will testify about
      Qualcomm Incorporated Qualcomm’s business practices.
 10   5775 Morehouse Drive
 11   San Diego, CA         Dr. Gupta will provide live testimony.
      92121
 12   Hahn, Hal             Qualcomm expects Mr. Hahn will testify about
 13   c/o Qualcomm          Qualcomm’s business relationship with the CMs,
      Incorporated          including licensing agreements.
 14   5775 Morehouse Drive
 15   San Diego, CA         Mr. Hahn will provide live testimony.
      92121
 16   Hartogs, Michael      Qualcomm expects Mr. Hartogs will testify about
 17   c/o Qualcomm          Qualcomm’s business relationship with Apple,
      Incorporated          including the negotiation, terms, and/or performance of
 18   5775 Morehouse Drive certain contracts or potential contracts, Qualcomm’s
 19   San Diego, CA         licensing business and practices, and Qualcomm’s
      92121                 business relationship with the CMs, including the
 20                         negotiation, terms, and/or performance of certain
 21                         contracts or potential contracts, including the CMs’
                            SULAs, and Qualcomm’s licensing practices.
 22
 23                           Mr. Hartogs will provide live testimony.
      Jha, Sanjay             Qualcomm expects Mr. Jha will testify about
 24
      c/o Qualcomm            Qualcomm’s corporate strategy, Qualcomm’s modem
 25   Incorporated            chip sales and competition for modem chip sales.
      5775 Morehouse Drive
 26
      San Diego, CA           Mr. Jha will provide live testimony.
 27   92121
 28


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  1                                            Subject Matter &
         Name & Address
                                             Manner of Testimony
  2   Katouzian, Alex       Qualcomm expects Mr. Katouzian will testify about
  3   Qualcomm Incorporated Qualcomm’s modem chip development, modem chip
      5775 Morehouse Drive sales and competition for modem chip sales.
  4   San Diego, CA
  5   92121                 Mr. Katouzian will provide live testimony.
      Koliander, Eric       Qualcomm expects Mr. Koliander will testify about
  6   Qualcomm Incorporated Qualcomm’s modem chip sales and competition for
  7   5775 Morehouse Drive modem chip sales, and Qualcomm’s business
      San Diego, CA         relationship with Apple, including the negotiation,
  8   92121                 terms, and/or performance of certain contracts or
  9                         potential contracts.

 10                         Mr. Koliander will provide live testimony.
 11   Kressin, Keith        Qualcomm expects Mr. Kressin will testify about
      Qualcomm Incorporated Qualcomm’s modem chip engineering, Qualcomm’s
 12   5775 Morehouse Drive competition for modem chip sales, Qualcomm’s modem
 13   San Diego, CA         chip roadmap and Qualcomm’s business relationship
      92121                 with OEMs.
 14
 15                           Mr. Kressin will provide live testimony.
      Lederer, James          Qualcomm expects Mr. Lederer will testify about
 16   c/o Qualcomm            Qualcomm’s business relationship with the CMs,
 17   Incorporated            including licensing agreements and component supply
      5775 Morehouse Drive    agreements.
 18   San Diego, CA
 19   92121                   Mr. Lederer will provide live testimony.
      Lopez-Hodoyan,          Qualcomm expects Mr. Lopez-Hodoyan will testify
 20
      Mauricio                about Qualcomm’s competition for modem chip sales.
 21   Qualcomm Incorporated
      5775 Morehouse Drive    Mr. Lopez-Hodoyan will provide live testimony.
 22
      San Diego, CA
 23   92121
      Lupin, Louis            Qualcomm expects Mr. Lupin will testify about
 24
      c/o Qualcomm            Qualcomm’s licensing practices, including the
 25   Incorporated            negotiation, terms, and/or performance of certain
      5775 Morehouse Drive    contracts or potential contracts, Qualcomm’s business
 26
      San Diego, CA           relationship with certain OEMs, and Qualcomm’s
 27   92121                   interactions with and communications with SDOs.
 28
                              Mr. Lupin will provide live testimony.

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  1                                               Subject Matter &
         Name & Address
                                               Manner of Testimony
  2   Martin, Roger           Qualcomm expects Mr. Martin will testify about
  3   c/o Qualcomm            Qualcomm’s IP policies, Qualcomm’s evaluation of and
      Incorporated            technical information related to its patents, including
  4   5775 Morehouse Drive    but not limited to patents relevant to litigation with
  5   San Diego, CA           Apple, Qualcomm’s patent portfolio, and Qualcomm’s
      92121                   contributions to cellular and non-cellular technologies.
  6
  7                         Mr. Martin will provide live testimony.
      Mehta, Sanjay         Qualcomm expects Mr. Mehta will testify about
  8   Qualcomm Incorporated Qualcomm’s corporate strategy and Qualcomm’s
  9   5775 Morehouse Drive modem chip sales and competition for modem chip
      San Diego, CA         sales.
 10   92121
 11                         Mr. Mehta will provide live testimony.
      Nash, David           Qualcomm expects Mr. Nash will testify about
 12   Qualcomm Incorporated Qualcomm’s business relationships with network
 13   5775 Morehouse Drive carriers.
      San Diego, CA
 14   92121                 Mr. Nash will provide live testimony.
 15   Olsen, Amy            Qualcomm expects Ms. Olsen will testify about
      Qualcomm Incorporated Qualcomm’s licensing practices.
 16   5775 Morehouse Drive
 17   San Diego, CA         Ms. Olsen will provide live testimony.
      92121
 18   Padovani, Roberto     Qualcomm expects Dr. Padovani will testify about
 19   c/o Qualcomm          Qualcomm’s pivotal role in developing innovative
      Incorporated          cellular technologies for the past three decades,
 20
      5775 Morehouse Drive including Qualcomm’s contributions to cellular
 21   San Diego, CA         technologies and standardized cellular technologies,
      92121                 Qualcomm’s contributions to consumer and network
 22
                            device technologies, cellular SDOs and cellular
 23                         standards, and Qualcomm’s R&D practices
 24
                              Dr. Padovani will provide live testimony.
 25   Pandya, Sandeep         Qualcomm expects Mr. Pandya will testify about
      c/o Qualcomm            Qualcomm’s chipset engineering efforts, including
 26
      Incorporated            engineering efforts for Apple, Qualcomm’s modem
 27   5775 Morehouse Drive    chip sales, and competition for modem chip sales.
      San Diego, CA
 28
      92121                   Mr. Pandya will provide live testimony.

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  1                                           Subject Matter &
         Name & Address
                                             Manner of Testimony
  2   Pilgram, Ryan         Qualcomm expects Mr. Pilgram will testify about
  3   Qualcomm Incorporated Qualcomm’s business relationship with the CMs,
      5775 Morehouse Drive including the performance of certain contracts, and
  4   San Diego, CA         Apple’s interference with the CMs’ contract
  5   92121                 performance.

  6                         Mr. Pilgram will provide live testimony.
  7   Qian, Kun             Qualcomm expects Mr. Qian will testify about
      Qualcomm Incorporated Qualcomm’s modem chip sales and competition for
  8   5775 Morehouse Drive modem chip sales.
  9   San Diego, CA
      92121                 Mr. Qian will provide live testimony.
 10   Reifschneider, Eric   Qualcomm expects Mr. Reifschneider will testify about
 11   c/o Qualcomm          Qualcomm’s licensing business and practices,
      Incorporated          Qualcomm’s strategic business initiatives and
 12   5775 Morehouse Drive Qualcomm’s business relationship with Apple.
 13   San Diego, CA
      92121                 Mr. Reifschneider will provide live testimony.
 14   Robinson, Hank        Qualcomm expects Mr. Robinson will testify about
 15   c/o Qualcomm          Qualcomm’s modem chip sales and competition for
      Incorporated          modem chip sales.
 16   5775 Morehouse Drive
 17   San Diego, CA         Mr. Robinson will provide live testimony.
      92121
 18   Saam, Henry           Qualcomm expects Mr. Saam will testify about
 19   Qualcomm Incorporated Qualcomm’s competitive analyses for modem chips.
      5775 Morehouse Drive
 20
      San Diego, CA         Mr. Saam will provide live testimony.
 21   92121
      Samimi, Abbaseh       Qualcomm expects Ms. Samimi will testify about
 22
      Qualcomm Incorporated Qualcomm’s business relationship with the CMs,
 23   5775 Morehouse Drive including the performance of certain contracts, and
      San Diego, CA         Apple’s interference with the CMs’ contract
 24
      92121                 performance.
 25
                              Ms. Samimi will provide live testimony.
 26
 27
 28


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  1                                            Subject Matter &
         Name & Address
                                             Manner of Testimony
  2   Sinder, Daniel        Qualcomm expects Mr. Sinder will testify about
  3   Qualcomm Incorporated Qualcomm’s contributions to cellular technologies and
      5775 Morehouse Drive standardized technologies, and Qualcomm’s
  4   San Diego, CA         contributions to consumer device technologies.
  5   92121
                            Mr. Sinder will provide live testimony.
  6   Skiver, Gerald        Qualcomm expects Mr. Skiver will testify about
  7   Qualcomm Incorporated Qualcomm’s business relationship with the CMs,
      5775 Morehouse Drive including licensing negotiations.
  8   San Diego, CA
  9   92121                 Mr. Skiver will provide live testimony.
      Thoreson, Gunnar      Qualcomm expects Mr. Thoreson will testify about
 10   Qualcomm Incorporated Qualcomm’s modem chip product planning and
 11   5775 Morehouse Drive competition for modem chip sales.
      San Diego, CA
 12   92121                 Mr. Thoreson will provide live testimony.
 13   Tiedemann, Edward     Qualcomm expects Mr. Tiedemann will testify about
      Qualcomm Incorporated Qualcomm’s contributions to cellular technologies,
 14   5775 Morehouse Drive cellular SDOs and cellular standards, and standardized
 15   San Diego, CA         technologies and the standardization process.
      92121
 16                         Mr. Tiedemann will provide live testimony.
 17   Wadrzyk, Mark         Qualcomm expects Mr. Wadrzyk will testify about
      Qualcomm Incorporated Qualcomm’s patent practices and interactions with
 18   5775 Morehouse Drive SDOs.
 19   San Diego, CA
      92121                 Mr. Wadrzyk will provide live testimony.
 20
      Weiser, Jonathan      Qualcomm expects Mr. Weiser will testify about
 21   Qualcomm Incorporated Qualcomm’s modem chip sales and agreements with
      5775 Morehouse Drive OEMs concerning modem chip sales, supply and other
 22
      San Diego, CA         related agreements.
 23   92121
                            Mr. Weiser will provide live testimony.
 24
      Wise, David           Qualcomm expects Mr. Wise will testify about
 25   Qualcomm Incorporated Qualcomm’s corporate strategy.
      5775 Morehouse Drive
 26
      San Diego, CA         Mr. Wise will provide live testimony.
 27   92121
 28


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  1                                            Subject Matter &
         Name & Address
                                             Manner of Testimony
  2   Wyatt, Will           Qualcomm expects Mr. Wyatt will testify about
  3   Qualcomm Incorporated Qualcomm’s modem chip sales and Qualcomm’s
      5775 Morehouse Drive business model, practices, procedures, operations,
  4   San Diego, CA         revenues, profits and costs generally.
  5   92121
                            Mr. Wyatt will provide live testimony.
  6   Apple Document        Qualcomm expects that the parties will be able to
  7   Witness(es)           resolve by agreement issues of authentication,
                            foundation and the applicability of Federal Rule of
  8                         Evidence 803(6) with respect to trial exhibits.
  9                         However, if the parties are unable to resolve such
                            issues, Qualcomm reserves the right to call
 10                         individual(s) from Apple, as necessary, to establish the
 11                         admissibility of documents on Qualcomm’s exhibit list.
      Butzow, Tim           Qualcomm expects Mr. Butzow will testify about
 12   Apple Inc.            Apple’s business relationship with Qualcomm, Apple’s
 13   1 Apple Park Way      agreements with Qualcomm relating to modem chipsets
      Cupertino, CA         and competition in the modem chip industry.
 14   95014
 15                         Mr. Butzow will provide live testimony and/or
                            testimony by deposition designations.
 16   Caballero, Ruben      Qualcomm expects Mr. Caballero will testify about
 17   Apple Inc.            Apple’s business relationship with Qualcomm,
      1 Apple Park Way      competition in the modem chip industry and cellular
 18   Cupertino, CA         standards and technologies, including 5G technologies.
 19   95014
                            Mr. Caballero will provide live testimony and/or
 20                         testimony by deposition designations.
 21   Cue, Eddy             Qualcomm expects Mr. Cue will testify about Apple’s
      Apple Inc.            technologies, including Apple’s web-based
 22
      1 Apple Park Way      technologies.
 23   Cupertino, CA
      95014                 Mr. Cue will provide live testimony and/or testimony
 24
                            by deposition designations.
 25
 26
 27
 28


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  1                                              Subject Matter &
         Name & Address
                                               Manner of Testimony
  2   Denney, Deborah         Qualcomm expects Ms. Denney will testify about
  3   Apple Inc.              Apple’s business relationship with contract
      1 Apple Park Way        manufacturers and Apple operations finance and
  4   Cupertino CA            financial records.
  5   95014-0642
                              Ms. Denney will provide live testimony and/or
  6                           testimony by deposition designations.
  7   Dillon, Sean            Qualcomm expects Mr. Dillon will testify about
      Apple Inc.              Apple’s inducement of regulatory investigations of
  8   1 Apple Park Way        Qualcomm.
  9   Cupertino CA
      95014-0642              Mr. Dillon will provide live testimony and/or testimony
 10                           by deposition designations.
 11   Drance, Kaiaan          Qualcomm expects Ms. Drance will testify about
      Apple Inc.              Apple’s marketing efforts in connection with cellular
 12   1 Apple Park Way        enabled devices.
 13   Cupertino, CA
      95014               Ms. Drance will provide live testimony and/or
 14                       testimony by deposition designations.
 15   Gudmundsson, Martin Qualcomm expects Mr. Gudmundsson will testify about
      Apple Inc.          Apple’s business relationship with Qualcomm, Apple’s
 16   1 Apple Park Way    agreements with Qualcomm relating to baseband
 17   Cupertino, CA       processor chipsets and Apple’s business relationship
      95014               with contract manufacturers.
 18
 19                           Mr. Gudmundsson will provide live testimony and/or
                              testimony by deposition designations.
 20
      Hato, Mie               Qualcomm expects Mr. Hato will testify about Media
 21   Media Arts Lab          Arts Lab’s business relationship with Apple and
      12539 Beatrice St       Apple’s marketing practices.
 22
      Los Angeles, CA
 23   90066                   Mr. Hato will provide live testimony.
      Maghame, Taraneh        Qualcomm expects Ms. Maghame will testify about
 24
      Via Licensing           industry practice of licensing cellular SEPs and/or other
 25   Corporation             patents, Apple’s licensing practices and SDOs.
      1275 Market Street
 26
      San Francisco, CA       Ms. Maghame will provide testimony by deposition
 27   94103                   designations.
 28


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  1                                                Subject Matter &
         Name & Address
                                                Manner of Testimony
  2   Mahe, Isabel            Qualcomm expects Ms. Mahe will testify about Apple’s
  3   Apple Inc.              business relationship with Qualcomm, competition in
      1 Apple Park Way        the sale of baseband processor chipsets and technical
  4   Cupertino, CA           details relating to cellular functionality within Apple’s
  5   95014                   cellular products.

  6                           Ms. Mahe will provide live testimony and/or testimony
  7                           by deposition designations.
      Oppenheimer, Peter      Qualcomm expects Mr. Oppenheimer will testify about
  8   c/o Apple Inc.          Apple’s accounting practices, including accounting of
  9   1 Apple Park Way        Apple’s costs and margins for its iPhone and iPad
      Cupertino, CA           devices.
 10   95014
 11                           Mr. Oppenheimer will provide testimony by deposition
                              designations.
 12   Plotka-Workman,         Qualcomm expects Ms. Plotka-Workman will testify
 13   Helene                  about industry practice of licensing cellular SEPs and/or
      Apple Inc.              other patents, Apple’s licensing practices and SDOs.
 14   1 Apple Park Way
 15   Cupertino, CA           Ms. Plotka-Workman will provide live testimony and/or
      95014                   testimony by deposition designations.
 16   Sanguinetti, Louie      Qualcomm expects Mr. Sanguinetti will testify about
 17   Apple Inc.              Apple’s business relationship with Qualcomm,
      1 Apple Park Way        competition in the sale of baseband processor chipsets
 18   Cupertino, CA           and technical details relating to cellular functionality
 19   95014                   within Apple’s cellular products.
 20                           Mr. Sanguinetti will provide live testimony and/or
 21                           testimony by deposition designations.
      Schafer, Aaron          Qualcomm expects Mr. Schafer will testify about
 22
      Apple Inc.              Apple’s business relationship with Qualcomm, Apple’s
 23   1 Apple Park Way        agreements with Qualcomm relating to baseband
      Cupertino, CA           processor chipsets, Apple’s business relationship with
 24
      95014                   contract manufacturers, competition in the sale of
 25                           baseband processor chipsets, Apple’s inducement of
                              regulatory investigations of Qualcomm and Apple’s
 26
                              relationship with Intel.
 27
                              Mr. Schafer will provide live testimony and/or
 28
                              testimony by deposition designations.

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  1                                              Subject Matter &
         Name & Address
                                               Manner of Testimony
  2   Schell, Steve           Qualcomm expects Mr. Schell will testify about
  3   (Formerly of Apple      Apple’s technical engineering requirements for its
      Inc.)                   devices’ cellular capabilities, Apple’s business
  4   Edisun Microgrids       relationship with Qualcomm and competition in the
  5   6950 Napa Valley        modem chip industry.
      Corporate Way Suite S
  6   Napa, CA                Mr. Schell will provide live testimony and/or testimony
  7   94599                   by deposition designations.
      Sewell, Bruce           Qualcomm expects Mr. Sewell will testify about
  8   c/o Apple Inc.          Apple’s business relationship with Qualcomm, Apple’s
  9   1 Apple Park Way        agreements with Qualcomm relating to baseband
      Cupertino, CA           processor chipsets, Apple’s business relationship with
 10   95014                   contract manufacturers, industry practice of licensing
 11                           cellular SEPs and/or other patents, Apple’s licensing
                              practices and Apple’s inducement of regulatory
 12                           investigations of Qualcomm.
 13
                              Mr. Sewell will provide live testimony and/or testimony
 14                           by deposition designations.
 15   Srouji, Johny           Qualcomm expects Mr. Srouji will testify about
      Apple Inc.              Apple’s technical engineering requirements for its
 16   1 Apple Park Way        devices’ cellular capabilities, Apple’s business
 17   Cupertino, CA           relationship with Qualcomm and competition in the
      95014                   modem chip industry.
 18
 19                           Mr. Srouji will provide live testimony and/or testimony
                              by deposition designations.
 20   Jaynes, Michael         Qualcomm expects Mr. Jaynes will testify about
 21   Apple Inc.              Apple’s practices in intellectual property transfer
      1 Apple Park Way        pricing.
 22   Cupertino, CA
 23   95014                   Mr. Jaynes will provide live testimony and/or testimony
                              by deposition designations.
 24
      McDevitt, Larry         Qualcomm expects Mr. McDevitt will testify about
 25   Apple Inc.              Apple’s accounting practices, including Apple’s bill of
      1 Apple Park Way        materials calculations for iPhone and iPad devices.
 26
      Cupertino, CA
 27   95014                   Mr. McDevitt will provide live testimony and/or
                              testimony by deposition designations.
 28


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  1                                              Subject Matter &
         Name & Address
                                               Manner of Testimony
  2   Narang, Mohit           Qualcomm expects Mr. Narang will testify about
  3   Apple Inc.              Apple’s iPhone and iPad device engineering and
      1 Apple Park Way        certification work relating to wireless and cellular
  4   Cupertino, CA           technologies.
  5   95014
                              Mr. Narang will provide live testimony and/or
  6                           testimony by deposition designations.
  7   Sebeni, Johnson         Qualcomm expects Mr. Sebeni will testify about
      Apple Inc.              Apple’s wireless engineering efforts for its iPhone and
  8   1 Apple Park Way        iPad devices.
  9   Cupertino, CA
      95014                   Mr. Sebeni will provide live testimony and/or testimony
 10                           by deposition designations.
 11   Tom, David              Qualcomm expects Mr. Tom will testify about Apple’s
      Apple Inc.              business relationship with Qualcomm, including certain
 12   1 Apple Park Way        agreements or potential agreements, and Apple’s
 13   Cupertino, CA           business relationship with component suppliers for
      95014                   iPhone and iPad device.
 14
 15                           Mr. Tom will provide live testimony and/or testimony
                              by deposition designations.
 16   Zaretzki, Lew           Qualcomm expects Mr. Zaretzki will testify about
 17   Hamilton IP Ventures    industry practice of licensing cellular SEPs and/or other
      c/o Apple Inc.          cellular patents, Apple’s licensing practices and his
 18   1 Apple Park Way        consulting work for Apple.
 19   Cupertino CA
      95014-2083              Mr. Zaretzki has not yet been deposed in this action
 20                           pending the resolution of Qualcomm’s motions
 21                           regarding certain documents improperly clawed back
                              by Apple. Upon resolution of those motions,
 22                           Qualcomm will seek to depose Mr. Zaretzki. At trial,
 23                           Mr. Zaretzki will provide live testimony and/or
                              testimony by deposition designations.
 24
      Johnson, Chris          Qualcomm expects Mr. Johnson will testify about
 25   Bain & Company          Bain’s consulting work performed for Intel, including
      415 Mission Street      any analyses conducted regarding the modem chip
 26
      Suite 4800              industry and the cellular device industry.
 27   San Francisco, CA
      94105                   Mr. Johnson will provide testimony by deposition
 28
                              designations.

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  1                                              Subject Matter &
         Name & Address
                                               Manner of Testimony
  2   Grubbs, John            Qualcomm expects Mr. Grubbs will testify about
  3   c/o Blackberry Ltd.     industry licensing practices and Blackberry’s business
      2200 University Avenue relationship with Qualcomm.
  4   Waterloo, Ontario
  5   N2K 0A2                 Mr. Grubbs will provide testimony by deposition
      Canada                  designations.
  6   Rango, Robert           Qualcomm expects Mr. Rango will testify about
  7   (Formerly of Broadcom competition in the modem chip industry and industry
      Limited)                licensing practices.
  8   101 Theory #200,
  9   Irvine, CA              Mr. Rango will provide live testimony.
      92617
 10   Compal Document         Qualcomm expects that the parties will be able to
 11   Witness(es)             resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
 12                           Evidence 803(6) with respect to trial exhibits.
 13                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
 14                           individual(s) from Compal, as necessary, to establish
 15                           the admissibility of documents on Qualcomm’s exhibit
                              list.
 16   Peng, Eric              Qualcomm expects Mr. Peng will testify about all
 17   Compal Electronics Co., subject matter about which he was designated or asked
      Ltd.                    during his deposition and Compal’s corporate history
 18   c/o Gibson, Dunn &      and structure.
 19   Crutcher LLP
      333 South Grand         Mr. Peng will provide live testimony and/or testimony
 20   Avenue, 54th Fl.        by deposition designations.
 21   Los Angeles, CA
      90071
 22
      Tien, Shawn             Qualcomm expects Mr. Tien will testify about
 23   Compal Electronics Co., Compal’s product marketing, design, development and
      Ltd.                    manufacturing activities, discussions regarding choice
 24
      c/o Gibson, Dunn &      of modem chips for cellular devices, Compal’s license
 25   Crutcher LLP            agreements (including with Qualcomm), Compal’s
      333 South Grand         royalty reporting, Qualcomm’s audit disputes with
 26
      Avenue, 54th Fl.        Compal and Compal’s corporate history and structure.
 27   Los Angeles, CA
      90071                   Mr. Tien will provide live testimony and/or testimony
 28
                              by deposition designations.

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  1                                               Subject Matter &
         Name & Address
                                                Manner of Testimony
  2   Chang, Rick             Qualcomm expects Mr. Chang will testify about
  3   Compal Electronics Co., Compal’s product development and manufacturing
      Ltd.                    activities, chip procurement activities, and corporate
  4   c/o Gibson, Dunn &      history and structure.
  5   Crutcher LLP
      333 South Grand         Mr. Chang will provide live testimony and/or testimony
  6   Avenue, 54th Fl.        by deposition designations.
  7   Los Angeles, CA
      90071
  8   Lee, Jessica            Qualcomm expects Ms. Lee will testify about Compal’s
  9   Compal Electronics Co., patent license agreement with Qualcomm and
      Ltd.                    Qualcomm’s royalty audits of Compal.
 10   c/o Gibson, Dunn &
 11   Crutcher LLP            Ms. Lee will provide live testimony and/or testimony
      333 South Grand         by deposition designations.
 12   Avenue, 54th Fl.
 13   Los Angeles, CA
      90071
 14   Wu, Ashley              Qualcomm expects Ms. Wu will testify about Compal’s
 15   Compal Electronics Co., product development and manufacturing activities and
      Ltd.                    Compal’s royalty reporting.
 16   c/o Gibson, Dunn &
 17   Crutcher LLP            Ms. Wu will provide live testimony and/or testimony by
      333 South Grand         deposition designations.
 18   Avenue, 54th Fl.
 19   Los Angeles, CA
      90071
 20   Tonini, Pamela          Qualcomm expects Ms. Tonini will testify about
 21   Deloitte & Touche LLP Deloitte & Touche’s royalty audit work performed on
      695 Town Center Drive behalf of Qualcomm.
 22   Costa Mesa, CA
 23   92626                   Ms. Tonini will provide live testimony.
      Zander, Martin          Qualcomm expects Mr. Zander will testify about
 24
      Telefonaktiebolaget     industry licensing practices and Ericsson’s business
 25   L.M. Ericsson           relationship with Qualcomm.
      Kista, Global
 26
      Headquarters            Mr. Zander will provide testimony by deposition
 27   Torshamnsgatan 21       designations.
      164 83 Stockholm
 28
      Sweden

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  1                                              Subject Matter &
         Name & Address
                                               Manner of Testimony
  2   Foxconn Document        Qualcomm expects that the parties will be able to
  3   Witness(es)             resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
  4                           Evidence 803(6) with respect to trial exhibits.
  5                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
  6                           individual(s) from Foxconn, as necessary, to establish
  7                           the admissibility of documents on Qualcomm’s exhibit
                              list.
  8   Chiang, Michael         Qualcomm expects Mr. Chiang will testify about
  9   Hon Hai Precision       Foxconn’s business relationship with Apple, Foxconn’s
      Industry Co., Ltd.      business relationship with Qualcomm, Foxconn’s
 10   c/o Gibson, Dunn &      payment and non-payment of royalties to Qualcomm,
 11   Crutcher LLP            and Foxconn’s meetings with Apple regarding royalties
      333 South Grand         owed to Qualcomm.
 12   Avenue, 54th Fl.
 13   Los Angeles, CA         Mr. Chiang will provide live testimony and/or
      90071                   testimony by deposition designations.
 14   Chih, Calvin            Qualcomm expects Mr. Chih will testify about
 15   Hon Hai Precision       Foxconn’s license agreements with cellular patent
      Industry Co., Ltd.      holders and Foxconn’s meetings with Apple regarding
 16   c/o Gibson, Dunn &      royalties owed to Qualcomm.
 17   Crutcher LLP
      333 South Grand         Mr. Chih will provide live testimony and/or testimony
 18   Avenue, 54th Fl.        by deposition designations.
 19   Los Angeles, CA
      90071
 20   Huang, Justin           Qualcomm expects Mr. Huang will testify about
 21   Hon Hai Precision       Foxconn’s license agreements with Qualcomm, royalty
      Industry Co., Ltd.      reporting to Qualcomm, corporate strategy, corporate
 22   c/o Gibson, Dunn &      history and corporate structure.
 23   Crutcher LLP
      333 South Grand         Mr. Huang will provide live testimony and/or testimony
 24
      Avenue, 54th Fl.        by deposition designations.
 25   Los Angeles, CA
      90071
 26
 27
 28


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  1                                             Subject Matter &
         Name & Address
                                              Manner of Testimony
  2   Chen, Vincent           Qualcomm expects Mr. Chen will testify about
  3   Hon Hai Precision       Foxconn’s license and other agreements with
      Industry Co., Ltd.      Qualcomm.
  4   c/o Gibson, Dunn &
  5   Crutcher LLP            Mr. Chen will provide live testimony and/or testimony
      333 South Grand         by deposition designations.
  6   Avenue, 54th Fl.
  7   Los Angeles, CA
      90071
  8   Lam, Joe                Qualcomm expects Mr. Lam will testify about
  9   Hon Hai Precision       Foxconn’s product development and manufacturing
      Industry Co., Ltd.      activities, Foxconn’s patent license agreement and other
 10   c/o Gibson, Dunn &      agreements with Qualcomm, Foxconn’s audit disputes
 11   Crutcher LLP            with Qualcomm, Foxconn’s interactions with
      333 South Grand         government agencies and Foxconn’s corporate history
 12   Avenue, 54th Fl.        and structure.
 13   Los Angeles, CA
      90071                   Mr. Lam will provide live testimony and/or testimony
 14                           by deposition designations.
 15   Constantine, Kevin      Qualcomm expects Mr. Constantine will testify about
      Intel Corporation       competition in the modem chip industry, Intel’s
 16   2200 Mission College    business relationship with Apple, Apple’s technical
 17   Blvd                    requirements for its chip suppliers and technical
      Santa Clara, CA         specifications of Intel chips.
 18   95054
 19                           Mr. Constantine will provide testimony by deposition
                              designation.
 20   Eul, Hermann            Qualcomm expects Mr. Eul will testify about
 21   (Formerly of Intel      competition in the modem chip industry, Intel’s
      Corporation)            business relationship with Apple, Apple’s technical
 22   1151 Maplewood Drive    requirements for its chip suppliers and technical
 23   Itasca, Illinois        specifications of Intel chips.
      60143
 24
                              Mr. Eul will provide testimony by deposition
 25                           designations.
 26
 27
 28


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  1                                                 Subject Matter &
           Name & Address
                                                  Manner of Testimony
  2    Keddy, Asha               Qualcomm expects Ms. Keddy will testify about
  3    Intel Corporation         competition in the modem chip industry, Intel’s
       2200 Mission College      research and development and engineering efforts for
  4    Blvd.                     5G technologies, and technical specifications of Intel
  5    Santa Clara, CA           chips.
       95054
  6                              Ms. Keddy will provide testimony by deposition
  7                              designations.
       Lindner, Thomas           Qualcomm expects Mr. Lindner will testify about
  8    Intel Corporation         competition in the modem chip industry, Intel’s
  9    Südwestpark 2-4           business relationship with Apple, Apple’s technical
       90449 Nürnberg            requirements for its chip suppliers, and technical
 10    Germany                   specifications of Intel chips.
 11
                               Mr. Lindner will provide testimony by deposition
 12                            designations.
 13    Wolff, Stefan           Qualcomm expects Mr. Wolff will testify about
       Intel Corporation       competition in the modem chip industry, Intel’s
 14    9380 Carroll Park Drive business relationship with Apple, Apple’s technical
 15    San Diego, CA           requirements for its chip suppliers and technical
       92121                   specifications of Intel chips.
 16
 17                              Mr. Wolff will provide testimony by deposition
                                 designations. 54
 18    McElvaine, Ranae          Qualcomm expects Ms. McElvaine will testify about
 19    InterDigital              industry licensing practices.
       Communications Corp.
 20    200 Bellevue Parkway      Ms. McElvaine will provide testimony by deposition
 21    Suite 300                 designations.
       Wilmington, DE
 22    19809
 23    Bhushan, Mohit            Qualcomm expects Mr. Bhushan will testify about
       MediaTek Inc.             competition in the modem chip industry, MediaTek’s
 24
       2860 Junction Ave         business relationship with Apple and industry licensing
 25    San Jose, CA              practices.
       95134
 26
                                 Mr. Bhushan will provide live testimony.
 27
      54
 28    Qualcomm understands that Mr. Wolff is planning to move to Germany in
      December 2018, and may be unavailable to testify live at trial in this action.

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  1                                               Subject Matter &
         Name & Address
                                                Manner of Testimony
  2   Loh, Lawrence            Qualcomm expects Mr. Loh will testify about
  3   MediaTek Inc.            competition in the modem chip industry, MediaTek’s
      2860 Junction Ave        business relationship with Apple and industry licensing
  4   San Jose, CA             practices.
  5   95134
                            Mr. Loh will provide testimony by deposition
  6                         designations.
  7   Madderom, Todd        Qualcomm expects Mr. Madderom will testify about
      Motorola Mobility LLC industry licensing practices, Motorola’s business
  8   1295 E Algonquin Road relationship with Qualcomm and Motorola’s modem
  9   Schaumburg, IL        chip procurement decisions.
      60196
 10                         Mr. Madderom will provide testimony by deposition
 11                         designations.
      Martikainen, Susanna Qualcomm expects Ms. Martikainen will testify about
 12   Nokia, Inc.           industry licensing practices and Nokia’s business
 13   Karaportti 3          relationship with Qualcomm.
      02610 Espoo
 14   Finland               Ms. Martikainen will provide testimony by deposition
 15                         designations.
      Rahnasto, Ilkka       Qualcomm expects Mr. Rahnasto will testify about
 16   Nokia, Inc.           industry licensing practices and Nokia’s business
 17   Karaportti 3          relationship with Qualcomm.
      02610 Espoo
 18   Finland               Mr. Rahnasto will provide testimony by deposition
 19                         designations.
      Pegatron Document     Qualcomm expects that the parties will be able to
 20
      Witness(es)           resolve by agreement issues of authentication,
 21                         foundation and the applicability of Federal Rule of
                            Evidence 803(6) with respect to trial exhibits.
 22
                            However, if the parties are unable to resolve such
 23                         issues, Qualcomm reserves the right to call
                            individual(s) from Pegatron, as necessary, to establish
 24
                            the admissibility of documents on Qualcomm’s exhibit
 25                         list.
 26
 27
 28


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  1                                               Subject Matter &
         Name & Address
                                                Manner of Testimony
  2   Chao, Lily              Qualcomm expects Ms. Chao will testify about
  3   Pegatron Corporation    Pegatron’s license and other agreements (including with
      c/o Gibson, Dunn &      Qualcomm), Pegatron’s royalty payments and
  4   Crutcher LLP            reporting, Qualcomm’s audit disputes with Pegatron,
  5   333 South Grand         Pegatron’s product development and manufacturing
      Avenue, 54th Fl.        activities, Pegatron’s interactions with governmental
  6   Los Angeles, CA         agencies investigating Qualcomm, and Pegatron’s
  7   90071                   corporate history and structure.

  8                           Ms. Chao will provide live testimony and/or testimony
  9                           by deposition designations.
      Yang, Monica            Qualcomm expects Ms. Yang will testify about
 10   Pegatron Corporation    Pegatron’s patent license and other agreements
 11   c/o Gibson, Dunn &      (including with Qualcomm), Pegatron’s interactions
      Crutcher LLP            with governmental agencies investigating Qualcomm,
 12   333 South Grand         and Pegatron’s corporate structure and history.
 13   Avenue, 54th Fl.
      Los Angeles, CA         Ms. Yang will provide live testimony and/or testimony
 14   90071                   by deposition designations.
 15   Bai, Jessie             Qualcomm expects Ms. Bai will testify about
      Pegatron Corporation    Pegatron’s modem chip procurement practices.
 16   c/o Gibson, Dunn &
 17   Crutcher LLP            Ms. Bai will provide live testimony and/or testimony by
      333 South Grand         deposition designations.
 18   Avenue, 54th Fl.
 19   Los Angeles, CA
      90071
 20   Liu, Brenda             Qualcomm expects Ms. Liu will testify about
 21   Pegatron Corporation    Pegatron’s product development and manufacturing
      c/o Gibson, Dunn &      activities, license agreement and other agreements with
 22   Crutcher LLP            Qualcomm, audit disputes with Qualcomm and
 23   333 South Grand         interactions with government agencies.
      Avenue, 54th Fl.
 24
      Los Angeles, CA         Ms. Liu will provide live testimony and/or testimony by
 25   90071                   deposition designations.
 26
 27
 28


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  1                                              Subject Matter &
         Name & Address
                                              Manner of Testimony
  2   Wang, Renee             Qualcomm expects Ms. Wang will testify about
  3   Pegatron Corporation    Pegatron’s license agreement and other agreements
      c/o Gibson, Dunn &      with Qualcomm, royalty payments and reporting, audit
  4   Crutcher LLP            disputes with Qualcomm and interactions with
  5   333 South Grand         government agencies.
      Avenue, 54th Fl.
  6   Los Angeles, CA         Ms. Wang will provide live testimony and/or testimony
  7   90071                   by deposition designations.
      Yao, Denese             Qualcomm expects Ms. Yao will testify about
  8   Pegatron Corporation    Pegatron’s business relationship with Apple and
  9   c/o Gibson, Dunn &      Pegatron’s meetings with Apple regarding royalties
      Crutcher LLP            owed to Qualcomm.
 10   333 South Grand
 11   Avenue, 54th Fl.        Ms. Yao will provide live testimony and/or testimony
      Los Angeles, CA         by deposition designations.
 12   90071
 13   Blaylock, Richard       Qualcomm expects Mr. Blaylock will testify about
      Pillsbury Winthrop      ZTE’s business relationship with Qualcomm.
 14   Shaw Pittman LLP
 15   12255 El Camino Real    Mr. Blaylock will provide live testimony.
      #300
 16   San Diego, CA
 17   92130
      Murray, Owen            Qualcomm expects Mr. Murray will testify about
 18   PricewaterhouseCooper   Qualcomm’s royalty audits of the CMs.
 19   s LLP
      199 Fremont Street      Mr. Murray will provide live testimony and/or
 20   7th Fl.                 testimony by deposition designations.
 21   San Francisco, CA
      94105
 22
      Ahn, Seungho            Qualcomm expects Dr. Ahn will testify about industry
 23   Samsung Electronics     licensing practices, Samsung’s business relationship
      Co., Ltd.               with Qualcomm and regulatory investigations of
 24
      33 Seongchon-gil,       Qualcomm.
 25   Seocho-gu
      Seoul 06765             Dr. Ahn will provide testimony by deposition
 26
      Korea                   designations.
 27
 28


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  1                                              Subject Matter &
         Name & Address
                                               Manner of Testimony
  2   Kang, Hojin (“Alex”)    Qualcomm expects Mr. Kang will testify about
  3   Samsung Electronics     competition in the modem chip industry and Samsung’s
      Co., Ltd.               business relationship with Qualcomm.
  4   33 Seongchon-gil,
  5   Seocho-gu               Mr. Kang will provide testimony by deposition
      Seoul 06765             designations.
  6   Korea
  7   Lee, Injung             Qualcomm expects Mr. Lee will testify about industry
      Samsung Electronics     practices of licensing cellular SEPs and/or other patents
  8   Co., Ltd.               and Samsung’s business relationship with Qualcomm.
  9   33 Seongchon-gil,
      Seocho-gu               Mr. Lee will provide testimony by deposition
 10   Seoul 06765             designations.
 11   Korea
      Hill, Lee               Qualcomm expects Mr. Hill will testify about industry
 12   Sony Mobile             licensing practices and Sony’s business relationship
 13   Communications          with Qualcomm.
      3333 Piedmont Road
 14   NE                      Mr. Hill will provide testimony by deposition
 15   Atlanta, GA             designations.
      30305
 16   Wistron Document        Qualcomm expects that the parties will be able to
 17   Witness(es)             resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
 18                           Evidence 803(6) with respect to trial exhibits.
 19                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
 20                           individual(s) from Wistron, as necessary, to establish
 21                           the admissibility of documents on Qualcomm’s exhibit
                              list.
 22
      Shen, David             Qualcomm expects Mr. Shen will testify about all
 23   Wistron Corporation     subject matter about which he was asked during his
      c/o Gibson, Dunn &      deposition.
 24
      Crutcher LLP
 25   333 South Grand         Mr. Shen will provide live testimony and/or testimony
      Avenue, 54th Fl.        by deposition designations.
 26
      Los Angeles, CA
 27   90071
 28


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  1                                               Subject Matter &
         Name & Address
                                                Manner of Testimony
  2   Wang, Selena            Qualcomm expects Ms. Wang will testify about
  3   Wistron Corporation     Wistron’s manufacturing and product development
      c/o Gibson, Dunn &      activities (including with respect to Apple products),
  4   Crutcher LLP            and Wistron’s royalty reporting and royalty payments
  5   333 South Grand         under patent license agreements with Qualcomm.
      Avenue, 54th Fl.
  6   Los Angeles, CA         Ms. Wang will provide live testimony and/or testimony
  7   90071                   by deposition designations.
      Huang, Eric             Qualcomm expects Mr. Huang will testify about
  8   Wistron Corporation     Wistron’s license agreement with Qualcomm.
  9   c/o Gibson, Dunn &
      Crutcher LLP            Mr. Huang will provide live testimony and/or testimony
 10   333 South Grand         by deposition designations.
 11   Avenue, 54th Fl.
      Los Angeles, CA
 12   90071
 13   Ma, Eric                Qualcomm expects Mr. Ma will authenticate certain
      Wistron Corporation     documents.
 14   c/o Gibson, Dunn &
 15   Crutcher LLP            Mr. Ma will provide live testimony and/or testimony by
      333 South Grand         deposition designations.
 16   Avenue, 54th Fl.
 17   Los Angeles, CA
      90071
 18   Shen, Spencer (Nan      Qualcomm expects Mr. Shen will testify about industry
 19   Shen)                   licensing practices and ZTE’s license agreements with
      ZTE Corporation         Qualcomm and other cellular patent licensors.
 20   ZTE Plaza
 21   Keji Road South Hi-     Mr. Shen will provide testimony by deposition
      Tech Industrial Park    designations.
 22   Shenzhen 518057
 23   China
      AT&T Document           Qualcomm expects that the parties will be able to
 24
      Witness(es)             resolve by agreement issues of authentication,
 25                           foundation and the applicability of Federal Rule of
                              Evidence 803(6) with respect to trial exhibits.
 26
                              However, if the parties are unable to resolve such
 27                           issues, Qualcomm reserves the right to call
                              individual(s) from AT&T, as necessary, to establish the
 28
                              admissibility of documents on Qualcomm’s exhibit list.

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  1                                              Subject Matter &
         Name & Address
                                               Manner of Testimony
  2   Avanci Document         Qualcomm expects that the parties will be able to
  3   Witness(es)             resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
  4                           Evidence 803(6) with respect to trial exhibits.
  5                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
  6                           individual(s) from Avanci, as necessary, to establish the
  7                           admissibility of documents on Qualcomm’s exhibit list.
      Bain Document           Qualcomm expects that the parties will be able to
  8   Witness(es)             resolve by agreement issues of authentication,
  9                           foundation and the applicability of Federal Rule of
                              Evidence 803(6) with respect to trial exhibits.
 10                           However, if the parties are unable to resolve such
 11                           issues, Qualcomm reserves the right to call
                              individual(s) from Bain, as necessary, to establish the
 12                           admissibility of documents on Qualcomm’s exhibit list.
 13   Boston Consulting       Qualcomm expects that the parties will be able to
      Group Document          resolve by agreement issues of authentication,
 14   Witness(es)             foundation and the applicability of Federal Rule of
 15                           Evidence 803(6) with respect to trial exhibits.
                              However, if the parties are unable to resolve such
 16                           issues, Qualcomm reserves the right to call
 17                           individual(s) from Boston Consulting Group, as
                              necessary, to establish the admissibility of documents
 18                           on Qualcomm’s exhibit list.
 19   Blackberry Document     Qualcomm expects that the parties will be able to
      Witness(es)             resolve by agreement issues of authentication,
 20                           foundation and the applicability of Federal Rule of
 21                           Evidence 803(6) with respect to trial exhibits.
                              However, if the parties are unable to resolve such
 22                           issues, Qualcomm reserves the right to call
 23                           individual(s) from Blackberry, as necessary, to establish
                              the admissibility of documents on Qualcomm’s exhibit
 24
                              list.
 25
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  1                                              Subject Matter &
         Name & Address
                                               Manner of Testimony
  2   BLU Products            Qualcomm expects that the parties will be able to
  3   Document Witness(es)    resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
  4                           Evidence 803(6) with respect to trial exhibits.
  5                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
  6                           individual(s) from BLU Products, as necessary, to
  7                           establish the admissibility of documents on
                              Qualcomm’s exhibit list.
  8   Broadcom Document       Qualcomm expects that the parties will be able to
  9   Witness(es)             resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
 10                           Evidence 803(6) with respect to trial exhibits.
 11                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
 12                           individual(s) from Broadcom, as necessary, to establish
 13                           the admissibility of documents on Qualcomm’s exhibit
                              list.
 14   Ericsson Document       Qualcomm expects that the parties will be able to
 15   Witness(es)             resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
 16                           Evidence 803(6) with respect to trial exhibits.
 17                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
 18                           individual(s) from Ericsson, as necessary, to establish
 19                           the admissibility of documents on Qualcomm’s exhibit
                              list.
 20   Essential Products      Qualcomm expects that the parties will be able to
 21   Document Witness(es)    resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
 22                           Evidence 803(6) with respect to trial exhibits.
 23                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
 24
                              individual(s) from Essential Products, as necessary, to
 25                           establish the admissibility of documents on
                              Qualcomm’s exhibit list.
 26
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  1                                            Subject Matter &
         Name & Address
                                             Manner of Testimony
  2   HTC Document          Qualcomm expects that the parties will be able to
  3   Witness(es)           resolve by agreement issues of authentication,
                            foundation and the applicability of Federal Rule of
  4                         Evidence 803(6) with respect to trial exhibits.
  5                         However, if the parties are unable to resolve such
                            issues, Qualcomm reserves the right to call
  6                         individual(s) from HTC, as necessary, to establish the
  7                         admissibility of documents on Qualcomm’s exhibit list.
      Huawei Document       Qualcomm expects that the parties will be able to
  8   Witness(es)           resolve by agreement issues of authentication,
  9                         foundation and the applicability of Federal Rule of
                            Evidence 803(6) with respect to trial exhibits.
 10                         However, if the parties are unable to resolve such
 11                         issues, Qualcomm reserves the right to call
                            individual(s) from Huawei, as necessary, to establish
 12                         the admissibility of documents on Qualcomm’s exhibit
 13                         list.
      Intel Document        Qualcomm expects that the parties will be able to
 14   Witness(es)           resolve by agreement issues of authentication,
 15                         foundation and the applicability of Federal Rule of
                            Evidence 803(6) with respect to trial exhibits.
 16                         However, if the parties are unable to resolve such
 17                         issues, Qualcomm reserves the right to call
                            individual(s) from Intel, as necessary, to establish the
 18                         admissibility of documents on Qualcomm’s exhibit list.
 19   InterDigital Document Qualcomm expects that the parties will be able to
      Witness(es)           resolve by agreement issues of authentication,
 20                         foundation and the applicability of Federal Rule of
 21                         Evidence 803(6) with respect to trial exhibits.
                            However, if the parties are unable to resolve such
 22                         issues, Qualcomm reserves the right to call
 23                         individual(s) from InterDigital, as necessary, to
                            establish the admissibility of documents on
 24
                            Qualcomm’s exhibit list.
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  1                                              Subject Matter &
         Name & Address
                                               Manner of Testimony
  2   Lenovo Document         Qualcomm expects that the parties will be able to
  3   Witness(es)             resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
  4                           Evidence 803(6) with respect to trial exhibits.
  5                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
  6                           individual(s) from Lenovo, as necessary, to establish
  7                           the admissibility of documents on Qualcomm’s exhibit
                              list.
  8   Marvell Document        Qualcomm expects that the parties will be able to
  9   Witness(es)             resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
 10                           Evidence 803(6) with respect to trial exhibits.
 11                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
 12                           individual(s) from Marvell, as necessary, to establish
 13                           the admissibility of documents on Qualcomm’s exhibit
                              list.
 14   MediaTek Document       Qualcomm expects that the parties will be able to
 15   Witness(es)             resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
 16                           Evidence 803(6) with respect to trial exhibits.
 17                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
 18                           individual(s) from MediaTek, as necessary, to establish
 19                           the admissibility of documents on Qualcomm’s exhibit
                              list.
 20   Motorola Document       Qualcomm expects that the parties will be able to
 21   Witness(es)             resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
 22                           Evidence 803(6) with respect to trial exhibits.
 23                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
 24
                              individual(s) from Motorola, as necessary, to establish
 25                           the admissibility of documents on Qualcomm’s exhibit
                              list.
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  1                                              Subject Matter &
         Name & Address
                                               Manner of Testimony
  2   Nokia Document          Qualcomm expects that the parties will be able to
  3   Witness(es)             resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
  4                           Evidence 803(6) with respect to trial exhibits.
  5                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
  6                           individual(s) from Nokia, as necessary, to establish the
  7                           admissibility of documents on Qualcomm’s exhibit list.
      NVIDIA Document         Qualcomm expects that the parties will be able to
  8   Witness(es)             resolve by agreement issues of authentication,
  9                           foundation and the applicability of Federal Rule of
                              Evidence 803(6) with respect to trial exhibits.
 10                           However, if the parties are unable to resolve such
 11                           issues, Qualcomm reserves the right to call
                              individual(s) from NVIDIA, as necessary, to establish
 12                           the admissibility of documents on Qualcomm’s exhibit
 13                           list.
      Samsung Document        Qualcomm expects that the parties will be able to
 14   Witness(es)             resolve by agreement issues of authentication,
 15                           foundation and the applicability of Federal Rule of
                              Evidence 803(6) with respect to trial exhibits.
 16                           However, if the parties are unable to resolve such
 17                           issues, Qualcomm reserves the right to call
                              individual(s) from Samsung, as necessary, to establish
 18                           the admissibility of documents on Qualcomm’s exhibit
 19                           list.
      Sony Document           Qualcomm expects that the parties will be able to
 20   Witness(es)             resolve by agreement issues of authentication,
 21                           foundation and the applicability of Federal Rule of
                              Evidence 803(6) with respect to trial exhibits.
 22                           However, if the parties are unable to resolve such
 23                           issues, Qualcomm reserves the right to call
                              individual(s) from Sony, as necessary, to establish the
 24
                              admissibility of documents on Qualcomm’s exhibit list.
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  1                                              Subject Matter &
         Name & Address
                                               Manner of Testimony
  2   Sprint Spectrum         Qualcomm expects that the parties will be able to
  3   Document Witness(es)    resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
  4                           Evidence 803(6) with respect to trial exhibits.
  5                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
  6                           individual(s) from Sprint Spectrum, as necessary, to
  7                           establish the admissibility of documents on
                              Qualcomm’s exhibit list.
  8   TBWA Worldwide          Qualcomm expects that the parties will be able to
  9   Document Witness(es)    resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
 10                           Evidence 803(6) with respect to trial exhibits.
 11                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
 12                           individual(s) from TBWA Worldwide, as necessary, to
 13                           establish the admissibility of documents on
                              Qualcomm’s exhibit list.
 14   Texas Instruments       Qualcomm expects that the parties will be able to
 15   Document Witness(es)    resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
 16                           Evidence 803(6) with respect to trial exhibits.
 17                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
 18                           individual(s) from Texas Instruments, as necessary, to
 19                           establish the admissibility of documents on
                              Qualcomm’s exhibit list.
 20   T-Mobile Document       Qualcomm expects that the parties will be able to
 21   Witness(es)             resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
 22                           Evidence 803(6) with respect to trial exhibits.
 23                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
 24
                              individual(s) from T-Mobile, as necessary, to establish
 25                           the admissibility of documents on Qualcomm’s exhibit
                              list.
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  1                                              Subject Matter &
         Name & Address
                                               Manner of Testimony
  2   Verizon Document        Qualcomm expects that the parties will be able to
  3   Witness(es)             resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
  4                           Evidence 803(6) with respect to trial exhibits.
  5                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
  6                           individual(s) from Verizon, as necessary, to establish
  7                           the admissibility of documents on Qualcomm’s exhibit
                              list.
  8   Via Licensing           Qualcomm expects that the parties will be able to
  9   Document Witness(es)    resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
 10                           Evidence 803(6) with respect to trial exhibits.
 11                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
 12                           individual(s) from Via Licensing, as necessary, to
 13                           establish the admissibility of documents on
                              Qualcomm’s exhibit list.
 14   ZTE Document            Qualcomm expects that the parties will be able to
 15   Witness(es)             resolve by agreement issues of authentication,
                              foundation and the applicability of Federal Rule of
 16                           Evidence 803(6) with respect to trial exhibits.
 17                           However, if the parties are unable to resolve such
                              issues, Qualcomm reserves the right to call
 18                           individual(s) from ZTE, as necessary, to establish the
 19                           admissibility of documents on Qualcomm’s exhibit list.
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  1                     3. Qualcomm (Expert Witnesses)
  2
  3                                         Statement of Qualifications &
              Name & Address
                                             Subject Matter of Testimony
  4    Stasik, Eric              Dr. Stasik was Ericsson’s Director of IPR and
  5    c/o Qualcomm Incorporated Licensing. He has been involved in SEP licensing
       5775 Morehouse Drive      related to ETSI (and other) standards since joining
  6    San Diego, CA             Ericsson in 1992, including participating in
  7    92121                     numerous negotiations for SEPs licenses on behalf
                                 of both SEP holders and licensees. He has degrees
  8                              in Electrical Engineering from the Georgia Institute
  9                              of Technology.

 10                                     Qualcomm expects Dr. Stasik will testify regarding
 11                                     the subject matter of his expert reports, including
                                        Qualcomm’s licensing practices and FRAND
 12                                     licensing practices in the cellular industry, as well
 13                                     as in rebuttal to Apple and the CMs’ experts.

 14
 15           TRIAL EXHIBITS

 16           Apple and the CMs’ exhibit list is lodged with the Court electronically on a

 17   USB drive and titled Attachment 1. Qualcomm’s trial exhibit list is lodged with

 18   the Court electronically on a USB drive and titled Attachments 2A through 2D.

 19   Attachments 2B through 2D, respectively, list the license agreements, royalty cap

 20   letters, and component supply and incentive agreements that Qualcomm provided in

 21   response to Apple Interrogatory Nos. 9 and 13. At this point, the parties have

 22   agreed that their exhibit lists do not need to distinguish between the exhibits the

 23   parties actually expect to offer at trial and the exhibits the parties reserve the right to

 24   offer at trial. The parties have also agreed to object to each other’s exhibits at a later

 25   time.

 26           Each party reserves its rights: (1) to use exhibits not listed for any

 27   permissible purpose, including for impeachment, to refresh recollection, or in

 28   rebuttal; (2) to modify its exhibit list in response to subsequent developments in this


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  1   case, including (i) the Court’s rulings on pending or future motions, and (ii) expert
  2   depositions, which are ongoing; (3) to modify its exhibit list in response to any
  3   subsequent productions by any party; (4) without waiving any objections, to use or
  4   offer any exhibit listed or used by any party; (5) to prepare and use any schedules,
  5   summaries, diagrams and charts, including those permitted by Federal Rule of Civil
  6   Procedure 1006, as trial exhibits; and (6) to correct errors in its exhibit list, and to
  7   correct or replace any images exchanged to include, for example, clearer or color
  8   copies of any exhibits, and/or to replace any PDF with a native file. Each party also
  9   reserves its right to not offer exhibits listed on its exhibit list, and the fact that an
 10   exhibit is listed on a party’s exhibit list does not constitute a waiver of any objection
 11   that party may have to another party offering or using that exhibit.
 12          Apple and the CM’s Trial Exhibit List identifies the documentary evidence
 13   that Apple and the CMs currently expect to or may introduce into evidence at trial.
 14   This Trial Exhibit List is based on information currently available to Apple and the
 15   CMs. Apple and the CMs reserve their rights: (1) to supplement, revise, correct,
 16   clarify, withdraw, or otherwise amend this Trial Exhibit List based on Qualcomm’s
 17   deposition designations and counter-designations and/or Apple’s counter-
 18   designations and counter-counter designations thereto, Qualcomm’s Trial Exhibit
 19   List, the submission of witness testimony, exhibits, or other evidence that
 20   Qualcomm may introduce, or as otherwise appropriate; (2) to modify their Trial
 21   Exhibit List in light of intervening legal developments, including but not limited to
 22   rulings or judgments that may be issued in the Coordinated Actions and/or other
 23   rulings or other judgments that may affect issues in this case pursuant to the
 24   doctrines of res judicata, collateral estoppel, or similar doctrines; and (3) to correct
 25   omissions in their Trial Exhibit List.55
 26
 27
      55
 28     Qualcomm objects to Apple and the CMs’ additional reservations, which purport
      to allow them to modify their Trial Exhibit List at any time for nearly any reason.

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  1         Apple and the CMs’ Trial Exhibit List is not a representation that any
  2   individual exhibit listed is admissible at trial, and the inclusion of a document on
  3   this list or on Qualcomm’s list, does not constitute Apple’s or the CMs’ agreement
  4   that it may be deemed admitted at trial. Apple and the CMs reserve their rights to
  5   challenge the admissibility of any document listed on this Trial Exhibit List, or
  6   Qualcomm’s Trial Exhibit List, for any reason, including to assert a privilege.
  7         STIPULATED FACTS
  8         A statement of stipulated facts is attached as Attachment 3. These facts are
  9   undisputed, and the parties hereby stipulate to them for incorporation into the trial
 10   record without the necessity of supporting testimony or exhibits. However, the
 11   parties agree that no party will object to the presentation of evidence in support of
 12   any stipulated fact at trial on the ground that such fact was included in this
 13   stipulation. The parties agree that the stipulation of facts is made without prejudice
 14   to any party’s ability to bring any motions in limine or other pre-trial motions.
 15         Qualcomm’s Position:
 16         The parties have exchanged lists of proposed stipulated facts to which they
 17   have asked the other parties to stipulate. Apple and the CMs proposed 27 facts.
 18   Qualcomm was willing to discuss stipulations with respect to 19 of those proposed
 19   facts, contingent upon the parties’ ongoing negotiations and Apple accepting certain
 20   modifications for accuracy. Qualcomm proposed 101 facts, including such facts as,
 21   “Apple launched the first iPhone in June 2007”, “The first cellular standard to use
 22   CDMA technology was the 2G standard known as IS-95, adopted in July 1993” and
 23   “All Apple iPhones launched in 2018 include Intel baseband processors and do not
 24   include Qualcomm baseband processors”. Apple was willing to discuss stipulations
 25   with respect to only 2 of those proposed facts. Qualcomm believes that Apple and
 26   the CMs have not provided a good faith basis for their refusal to reach further
 27   factual stipulations as proposed by Qualcomm, and that it would be prejudicial to
 28   Qualcomm and confusing to the jury for certain of Apple’s proposed stipulations to


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  1   be presented to the jury without also presenting certain stipulations proposed by
  2   Qualcomm. As a result, Qualcomm has agreed to stipulate to only 13 of Apple’s
  3   proposed facts. Those facts are attached as Attachment 3. Qualcomm remains
  4   willing to agree to certain additional factual stipulations proposed by Apple, as
  5   modified, contingent on Apple and the CMs’ willingness to agree to corresponding
  6   factual stipulations proposed by Qualcomm.
  7         Apple and the Contract Manufacturers’ Position:
  8         Apple and the CMs sent a proposed list of 27 stipulated facts to Qualcomm on
  9   November 16, 2018. Qualcomm responded on the evening of November 21,
 10   rejecting or completely rewriting nine stipulated facts and revising others.
 11   Qualcomm also proposed an additional 101 stipulated facts, beginning with an
 12   proposed stipulation about Apple’s total iPhone and iPhone-related revenues that
 13   would not be appropriate evidence before the jury (“In 2012, Apple reported
 14   approximately $80.5 billion in revenue attributable to iPhone handset and related
 15   products and services sales. This represented about 51% of Apple’s overall revenue
 16   in 2012.”); cf. Guardian Life Ins. Co. of Am. v. Andraos, No. CV0705732SJOF-
 17   MOX, 2009 WL 10674144, at *3 (C.D. Cal. Sept. 10, 2009) (granting motion in
 18   limine to exclude evidence of a corporate party's “wealth and size” as unfairly
 19   prejudicial; citing cases). Apple and the CMs responded on November 24 and
 20   explained because the stipulated facts are to be read to the jury, Apple and the CMs
 21   were not inclined to include lengthy recitations of details that were more likely to
 22   confuse than inform the jury. That said, Apple and the CMs incorporated two of
 23   Qualcomm’s proposed facts, with modifications, and indicated that they were
 24   willing to meet and confer further regarding proposals for stipulated facts after the
 25   pretrial conference.
 26         DEPOSITION DESIGNATIONS
 27         Apple and the CMs’ deposition designations are lodged with the Court
 28   electronically on a USB drive and titled Attachment 4. Qualcomm’s deposition


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  1   designations are lodged with the Court electronically on a USB drive and titled
  2   Attachment 5.
  3         Each party reserves its rights: (1) to call for live testimony at trial any of the
  4   individuals for whom it has designated deposition testimony, to the extent permitted
  5   by the Federal Rules of Civil Procedure and the Federal Rules of Evidence; (2) to
  6   designate deposition testimony for any witness identified on any party’s Trial
  7   Witness List as being available for live testimony, should the parties learn or
  8   otherwise agree that such witness will not testify live at trial; (3) to modify,
  9   supplement and alter its deposition designations for the purposes of rebuttal and/or
 10   impeachment; and (4) to modify its deposition designations in light of the totality of
 11   the testimony being offered at trial. The inclusion of testimony in a party’s
 12   deposition designations does not waive any objections the party may have to the
 13   introduction of any testimony if such testimony is offered by an opposing party.
 14         Apple and the CMs’ deposition designations are made based on the
 15   information currently available to Apple and the CMs. Apple and the CMs reserve
 16   their rights to: (1) supplement, revise, correct, clarify, withdraw, or otherwise
 17   amend their designations based on the Court’s rulings on motions for summary
 18   judgment, motion to strike, motion in limine, Daubert motion, evidentiary
 19   objections, or other motions, Qualcomm’s deposition designations and counter-
 20   designations or Trial Exhibit List, the submission of witness testimony, exhibits, or
 21   other evidence that Qualcomm may introduce, or as otherwise appropriate; (2)
 22   modify their designations in light of intervening legal developments, including but
 23   not limited to rulings or judgments that may be issued in the Coordinated Actions
 24   and/or other rulings or other judgments that may affect issues in this case pursuant
 25   to the doctrines of res judicata, collateral estoppel, or similar doctrines; (3) to correct
 26   errors and/or omissions; (4) to use any deposition testimony designated, counter-
 27   designated, counter-counter designated, or designated for “rebuttal” by Qualcomm;
 28   and (5) to use any designations, counter-designations, or counter-counter


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  1   designations in any manner permitted by the Court, the Federal Rules of Civil
  2   Procedure, and/or the Federal Rules of Evidence.56
  3         Qualcomm further reserves its rights: (1) to modify its deposition
  4   designations as necessary in response to the Court’s rulings on Qualcomm’s
  5   challenges to Apple’s assertions of privilege or other protections from discovery;
  6   and (2) to add deposition designations where necessary to lay the foundation for the
  7   admissibility of evidence should the parties prove unable to stipulate to
  8   admissibility.
  9         Apple incorporates its objections to Qualcomm’s Trial Witness List. (See
 10   Section IV, supra). Apple further objects to all of Qualcomm’s late-disclosed
 11   “rebuttal” designations, which Qualcomm served without any advance notice after
 12   the close of business on Wednesday, November 21, 2018 (the day before
 13   Thanksgiving), as untimely, outside the scope of the Federal Rules of Civil
 14   Procedure and Federal Rules of Evidence, and contrary to the parties’ agreed
 15   schedule for exchange of deposition designations. Apple and the CMs reserve all
 16   other objections to Qualcomm’s designations, as agreed by the parties. (See Section
 17   VI, supra).
 18         Qualcomm objects to Apple and the CMs’ purported designation of
 19   deposition testimony from at least 76 transcripts (from the depositions of 54
 20   witnesses) that cannot properly be designated in this case under the Federal Rules of
 21   Civil Procedure:
 22                 •    Derek Aberle (March 27-28, 2018)
 23                 •    Baaziz Achour (February 21-22, 2018)
 24                 •    Jeff Altman (May 31-June 1, 2018)
 25                 •    Rashid Attar (May 11, 2018)
 26
 27   56
        Qualcomm objects to Apple and the CMs’ additional reservations, which purport
 28   to allow them to modify their deposition designations at any time for nearly any
      reason.

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  1              •     Jean Put Ling Au (April 25, 2018)
  2              •     Paul Edward Bender (May 1, 2018)
  3              •     Arjun Bharadwaj (April 26, 2018)
  4              •     Mohit Bhushan (June 5, 2018)
  5              •     Naga Bhushan (April 17, 2018)
  6              •     Richard Blaylock (February 27, 2018)
  7              •     Marvin Blecker (February 21-22 & 27, 2018)
  8              •     Yunhui Chae-Banks (March 27-28, 2018)
  9              •     Liren Chen (April 16-17, 2018)
 10              •     Victoria Chen (February 8-9, 2018)
 11              •     Miran Chun (April 12, 2018)
 12              •     Gregory Cobb (April 19, 2018)
 13              •     Mark Davis (February 22, 2018)
 14              •     Cliff Dickey (April 20, 2018)
 15              •     Roel Dill (April 11, 2018)
 16              •     Jim Doh (March 27, 2018)
 17              •     Chris Efstathiou (February 13, 2018)
 18              •     Eduardo Esteves (May 16, 2018)
 19              •     Alexei Gorokhov (April 10, 2018)
 20              •     Kirti Gupta (January 16 & March 22, 2018)
 21              •     Harold Hahn (May 7, 2018)
 22              •     Michael Hartogs (February 28-March 1, 2018)
 23              •     Irwin Jacobs (March 2 & 26, 2018)
 24              •     Paul Jacobs (April 17-18, 2018)
 25              •     Sanjay Jha (March 15, 2018)
 26              •     Alex Katouzian (April 17-18, 2018)
 27              •     Eric Koliander (February 1-2, 2018)
 28              •     Keith Kressin (February 7-8, 2018)


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  1               •      James Lederer (January 24-25, 2018)
  2               •      Mauricio Lopez-Hodoyan (April 26, 2018)
  3               •      Louis Lupin (March 7-8, 2018)
  4               •      Roger Martin (February 1-2, 2018)
  5               •      Scott McGregor (March 28, 2018)
  6               •      Anthony Morris (May 18, 2018)
  7               •      David Nash (March 29, 2018)
  8               •      Amy Olsen (May 2, 2018)
  9               •      Roberto Padovani (May 16, 2018)
 10               •      Sandeep Pandya (May 16, 2018)
 11               •      Kun Qian (February 8-9, 2018)
 12               •      Robert Rango (February 13, 2018)
 13               •      Eric Reifschneider (February 22-23, 2018)
 14               •      Hank Robinson (April 24, 2018)
 15               •      Thomas Rouse (April 27, 2018)
 16               •      Henry Saam (May 10, 2018)
 17               •      Sharad Sambhwani (April 18, 2018)
 18               •      Abbaseh Samimi (January 17 & April 19, 2018)
 19               •      Daniel Sinder (April 25, 2018)
 20               •      Edward Teague (April 12, 2018)
 21               •      Gunnar Thoreson (April 24, 2018)
 22               •      William Wyatt (January 16 & May 4, 2018)
 23         These transcripts are for witnesses who are within 100 miles of the Court and
 24   are not otherwise eligible for designation under Federal Rule of Civil Procedure 32.
 25         Qualcomm further incorporates its objections to Apple and the CMs’ Trial
 26   Witness List. (See Section IV, supra.) Qualcomm reserves all other objections in
 27   accordance with the parties’ agreement.
 28


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  1        AGREEMENTS BETWEEN THE PARTIES REGARDING PRETRIAL
  2   AND TRIAL MANAGEMENT
  3        The parties have agreed to the following:
  4        A.    Presentation of Evidence
  5              1.       The order of presentation of evidence shall be as follows:
  6                             Apple’s case-in-chief against Qualcomm;
  7                             CMs’ case-in-chief against Qualcomm
  8                             Qualcomm’s defense against Apple’s and the CMs’
  9                       claims; Qualcomm’s case-in-chief against Apple and the CMs
 10                             CMs’ defense against Qualcomm’s claims and rebuttal
 11                             Apple’s defense against Qualcomm’s claims and rebuttal
 12                             Qualcomm’s rebuttal
 13        B.    Witness Availability
 14              1.       For each witness a party calls for live testimony at trial and who
 15              is on another party’s witness list, the party calling the witness shall also
 16              make the witness available for live direct examination by such other
 17              party.
 18              2.       It is the intent of the parties that witnesses will generally only be
 19              called to testify once. However, the parties reserve their rights to call
 20              witnesses who are their respective employees or former employees for
 21              a second appearance in order to address issues raised or evidence
 22              presented after their first appearance.
 23        C.    Disclosure of Witnesses and Direct Examination Materials
 24              1.       Forty-two calendar days before trial is scheduled to commence,
 25              each party shall identify which of its previously served deposition
 26              designations that party actually intends and expects to offer at trial.
 27              Fourteen calendar days thereafter, all other parties shall identify their
 28              objections and which of their previously served counter-designations


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  1              they actually intend and expect to offer at trial. Seven calendar days
  2              thereafter, all other parties shall identify their objections to the counter-
  3              designations. The parties shall meet and confer promptly regarding the
  4              designations, counter-designations and objections.
  5              2.    The intent of the parties is that the revised deposition
  6              designations and counter-designations exchanged pursuant to the
  7              provision above will be a subset of the initial designations, counter-
  8              designations, and counter-counter-designations exchanged on
  9              November 2, 2018, November 14, 2018, and November 19, 2018,
 10              respectively. However, a party may include in its revised counter-
 11              designations any testimony that was previously designated by an
 12              opposing party, even if that testimony was not included in the first
 13              party’s initial deposition designations. For the avoidance of doubt, the
 14              party who previously designated such testimony and withdrew that
 15              designation in its revised deposition designations may raise objections
 16              to the designation of such testimony by an opposing party.
 17              3.    The party calling a witness shall notify all other parties of: the
 18              witnesses it plans to call, the order in which it plans to call those
 19              witnesses, whether such witnesses will be called live or by deposition
 20              designation, and the exhibits and demonstratives it expects to use with
 21              each witness by 10:00 a.m. PT at least two calendar days before the day
 22              on which they intend to call the witnesses. For example, if a party
 23              intends to call two witnesses on a Monday, then it must disclose those
 24              witnesses, the order of those witnesses, whether each witness will be
 25              called live or by designation, and the exhibits and demonstratives it
 26              expects to use with each witness by email to all other parties by the
 27              preceding Saturday at 10:00 a.m. PT. All other parties shall identify
 28              any remaining objections to those exhibits or objections to those


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  1              demonstratives by 8:00 p.m. PT the day of disclosure, and the parties
  2              shall meet and confer regarding the exhibits and objections at 9:30 p.m.
  3              PT the day of disclosure. For the avoidance of doubt, the disclosure
  4              required by this paragraph shall not apply to exhibits or demonstratives
  5              to be used solely for cross examination or for direct examination of a
  6              witness who is a hostile witness, an adverse party, or a witness
  7              identified with an adverse party.
  8              4.    For each witness to be called by deposition designation, the party
  9              shall identify by email which of its previously served designations it
 10              intends to offer at trial by 10:00 a.m. PT at least two calendar days
 11              before the day on which the designations will be offered. For example,
 12              if a party intends to play designations at trial on a Monday, then it must
 13              disclose those designations by email to all other parties by the
 14              preceding Saturday at 10:00 a.m. PT. All other parties shall identify
 15              any remaining objections and counter-designations by 6:00 p.m. PT the
 16              day of disclosure. All other parties shall identify their objections to
 17              counter-designations by 8:00 p.m. PT the day of disclosure. The
 18              parties shall meet and confer regarding the designations, counter-
 19              designations and objections at 9:30 p.m. PT the day of disclosure.
 20              5.    The party proffering deposition designations shall provide the
 21              video of the final deposition designations to all other parties by 9:00
 22              p.m. PT the day before a party intends to play a deposition at trial.
 23        D.    Disclosure of Demonstratives and Summary Exhibits
 24              1.    The timing set forth in Local Rule 16.1(f)(9) shall not apply to
 25              opening or closing demonstratives. The parties agree to meet and
 26              confer at a later date regarding any exchange of such demonstratives.
 27              2.    Each party shall serve by email the summary exhibits permitted
 28              by FRE 1006 that it intends to use at trial on all other parties by 9:00


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  1              a.m. PT at least seven calendar days before trial. Any objections shall
  2              be served on all other parties by 9:00 a.m. PT two calendar days after
  3              disclosure. The parties shall meet and confer promptly regarding any
  4              disputes.
  5        E.    Disclosures and Objections to Exhibits and Demonstratives
  6              1.      The parties shall exchange exhibit lists pursuant to Rule 26(a)(3)
  7              on November 2, 2018. The parties are not required to distinguish on
  8              November 2, 2018, those exhibits that they actually expect to offer at
  9              trial (CivLR 16.1(f)(6)(c)(a)) from those exhibits that they do not
 10              expect to offer at this time but reserve the right to offer at trial (CivLR
 11              16.1(f)(6)(c)(b)).
 12              2.      Apple and the CMs shall serve a joint exhibit list.
 13              3.      Apple and the CMs shall number their exhibits using the form
 14              PTX-####. Qualcomm shall number its exhibits using the form DTX-
 15              ####.
 16              4.      No party shall identify any objections to another party’s exhibit
 17              list on November 9, 2018, and each party shall be deemed to have
 18              reserved its rights to lodge objections to each exhibit on every other
 19              party’s exhibit list, subject to the parties’ agreed-upon schedule for
 20              serving such objections.
 21              5.      Forty-two calendar days before trial is scheduled to commence,
 22              Apple and the CMs will narrow their joint exhibit list to no more than
 23              3,000 exhibits (that figure to include summary exhibits permitted by
 24              FRE 1006 but not to include the “voluminous writings, recordings or
 25              photographs” summarized in such exhibits), and Qualcomm will
 26              narrow its exhibit list to no more than 3,000 exhibits (that figure to
 27              include summary exhibits permitted by FRE 1006 but not to include the
 28              “voluminous writings, recordings or photographs” summarized in such


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  1              exhibits), not counting any joint exhibits agreed upon between all
  2              parties. Each side shall serve objections to the revised exhibit list
  3              fourteen calendar days thereafter. The parties shall then meet and
  4              confer promptly regarding any disputes, particularly to the extent the
  5              parties can agree upon representative disputes (i.e., disputes that the
  6              parties believe would govern categories of exhibits if resolved).
  7              6.     For the avoidance of doubt, any “voluminous writings,
  8              recordings or photographs” a party intends to summarize in a summary
  9              exhibit pursuant to FRE 1006 must be included in the exhibit list that
 10              party serves forty-two calendar days before trial. For the further
 11              avoidance of doubt, the parties are not required to list summary exhibits
 12              in that exhibit list.
 13              7.     In order to reduce duplication of documents on the parties’ trial
 14              exhibit lists, the parties agree that a duplicate of a document used as a
 15              deposition exhibit may be introduced through designated deposition
 16              testimony. In the exhibit lists the parties serve forty-two calendar days
 17              before trial, the parties will identify any trial exhibits that are duplicates
 18              of deposition exhibits, and shall identify the corresponding deposition
 19              exhibits.
 20        F.    Authenticity of Exhibits
 21              1.     Documents produced from a party’s files in response to a
 22              discovery request in this action, Federal Trade Commission v.
 23              Qualcomm Incorporated, No. 17-cv-0220-LHK-NMC (N.D. Cal.), or
 24              In re: Qualcomm Antitrust Litigation, No. 17-md-2773-LHK-NMC
 25              (N.D. Cal.) (together, the “Coordinated Actions”) shall be deemed
 26              authentic within the meaning of the Federal Rules of Evidence solely
 27              for the purposes of this action.
 28              2.     Any party who objects to the authenticity of a document


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  1              produced in the Coordinated Actions by an entity that is not a party in
  2              this action and that is identified on another party’s initial exhibit list
  3              shall serve a specific good-faith written objection to the authenticity of
  4              that document (ESI Order, ¶ 6(c)) no later than December 14, 2018.
  5              The parties shall meet and confer promptly regarding those objections.
  6        G.    Deposition Designations and Objections
  7              1.    The parties shall exchange initial deposition designations
  8              pursuant to Rule 26(a)(3) on November 2, 2018. To the extent Apple
  9              and the CMs designate testimony from the same witness, Apple and the
 10              CMs shall serve a joint set of deposition designations for that witness.
 11              2.    The parties shall exchange counter-designations on November
 12              14, 2018, at 1:00 p.m. PT. To the extent Apple and the CMs designate
 13              testimony from the same witness, Apple and the CMs shall serve a joint
 14              set of counter-designations for that witness.
 15              3.    The parties shall exchange any counter-counter-designations on
 16              November 19, 2018. To the extent Apple and the CMs designate
 17              testimony from the same witness, Apple and the CMs shall serve a joint
 18              set of counter-counter-designations for that witness.
 19              4.    No party shall identify any objections to another party’s
 20              designations on November 9, 2018. Each party shall be deemed to
 21              have reserved its rights to lodge objections to each designation, and
 22              counter-designation and counter-counter-designation served by every
 23              other party, subject to the parties’ agreed-upon schedule for serving
 24              such objections.
 25        H.    Miscellaneous
 26              1.    The parties agree they will not file their November 2, 2018
 27                    pretrial disclosures, or objections to such disclosures, as that
 28


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  1                     material will be included in the Proposed Final Pretrial
  2                     Conference Order lodged with the Court on November 26, 2018.
  3         ADDITIONAL ISSUES
  4               1.    The parties note that in the course of deciding jury instructions
  5               the Court will need to interpret disputed provisions of several contracts,
  6               including the BCPA, MSA, 2013 SOW, and Qualcomm’s FRAND
  7               commitments. The parties propose that the Court resolve any contract
  8               interpretation issues after the presentation of evidence but before
  9               charging the jury with final jury instructions.
 10               2.    In the interests of efficiency and minimizing the burden on the
 11               jury and witnesses, Qualcomm proposes that if a party does not object
 12               to an exhibit, or if a party’s objections to an exhibit are overruled by the
 13               Court, then such exhibit shall be admitted against that party and may be
 14               published to the jury at any time, with or without a sponsoring witness.
 15               Apple and the CMs object to this proposal, which they are concerned
 16               will confuse the jury and Court, including any later appellate court, due
 17               to the voluminous introduction of exhibits without foundational and/or
 18               explanatory testimony.
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      Dated: April 9, 2019
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